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  3                                                                          APR272020
  4                                                                        By:R,Smith,
                                                                                     Clerk

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  8                     SUPERIORCOURT OF THE STATEOF CALIFORNIA
  9                         COUNTYOF SAN DIEGO, CENTRALDMSION
 10                                                   LEAD CASE NO.:
      JANE DOE NOS. 1 - 22, inclusive, individuals;
                                                      Case No. 37-2016-00019027-CU-FR-CTL
 11
                     Plaintiffs,
      v.                                              CONSOLIDATEDWITH:
 12                                                   Case No.: 37-2017-00033321-CU-FR-CTL
 13                                                   Case No.: 37-2017-00043712-CU-FR-CTL
      GIRLSDOPORN.COM,a bµsiness organization,
      fonn unknown; MICHAEL J. PRATT, an
 14   individual;ANDRE GARCIA,an individual;          STATEMENTOF DECISION
                                                                 '
      MATTHEW WOLFE, an individual;BLL
 15                                                   Judge:Hon.KevinA. Enright
      MEDIA, INC., a California corporation;BLL
                                                      Dept.:904
 16   MEDIA HOLDINGS, LLC, a Nevada limited
      liability company; DOMI PUBLICATIONS,
      LLC, a Nevada limited liability company;EG      Trial Date: August 19, 2019
 17
      PUBLICATIONS,INC., a California
 18   corv.oration;MlM MEDIA, LLC, a California
      limited liability company; BUBBLEGUM
 19   FILMS, INC., a business organization,fonn
      unknown; OH WELL MEDIA LIMITED, a
 20
      business organization, fonn unknown;MERRO
 21   MEDIA, INC., a California corporation;
      MERRO MEDIA HOLDINGS,LLC, a Nevada
 22   limited liability company,
                   Defendants.
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                                         STATEMENT OF DECISION


                                                                                EXH. 1 - 001
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  I          Having considered the pleadings, evidence presented, and arguments of counsel, and having
  2   assessed the credibility of the witnesses, the Court filed the Proposed Statement of Decision.
  3   Having also considered Plaintiffs' Proposed Corrections and Amendments to Proposed Statement
  4   of Decision, the Co~ now files this Statement of Decision.
  5   I.     STATEMENT OF DECISION
  6          This is an action for fraud, concealment; false promise, misappropriation of likeness (both
  7   statutory and common law), and violation of Business and Professions Code sec. 17200 brought by

  8   Plaintiffs Jane Does I through 22 (collectively, Plaintiffs) against Defendants GirlsDoPom.com,
  9   Michael Pratt, Matthew Wolfe, Andre Garcia, BLL Media, Inc., BLL Media Holdings, LLC, EG

 10   Publications, Inc., MIM Media, LLC, Merro Media, Inc., Merro Media Holdings, LLC, and Domi
 11   Publications, LLC (collectively, Defendants).

 12          Jane Does 1-22 were represented by Edward Chapin, Esq. and Cara Van Dom, Esq. of
 13   Sanford, Heisler & Sharp, LLP, John O'Brien, Esq. of Stokes O'Brien, LLP, and Brian Holm, Esq.,
 14   ofthe Holm Law Group, PC.
 15          Defendants GirlsDoPom.com, Michael Pratt, Andre Garcia, Matthew Wolfe, BLL Media,

 16   Inc., BLL Media Holdings, LLC, EG Publications, Inc., MIM Media, LLC, Bubblegum Films, Inc.,
 17   Merro Media, Inc. and Merro Media Holdings, LLC were representedby Aaron Sadock, Esq. and
 18   Bonnie McKnight, Esq. of Panakos Law, APC and Daniel Kaplan, Esq. of the Law Offices of

 19   Daniel Kaplan.
 20          Defendant Domi Publications, LLC was represented by George Rikos, Esq. of the Law

 21   Offices of George Rikos.
 22          Plaintiffs sought and received defaults against Clockwork Productions, Inc., Oh Well Media

 23   Limited, and Sidle Media Limited.

 24   II.    FINDINGS OF FACT
 25          A.      Summary and Overviewof Defendants' BusinessPlan
 26          Defendants run an online pornography business, including most notably a subscription

 27   website called GirlsDoPom.com. The site features sex videos of young women between the ages of
 28   18 and 23. Defendants' business is premised on the construct that the women in the videos are not
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                                           STATEMENTOF DECISION


                                                                                      EXH. 1 - 002
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  1   professional porn stars but are amateur college-aged women filming pornography for the first and

  2   only time. Subscribers are meant to be left with the impression that the women in Defendants'

  3   videos are everyday women that they could encounter in their communities, campuses, and daily

  4   lives.

  5            Defendants are aware that the models recruited for GirlsDoPorn do not intend to pursue a

  6   career in adult entertainment. The.,women are mostly students with careers ahead of them.who have

  7   only even considered Defendants' solicitations to film a pornographic video due to some immediate

  8   and pressing financial need.

  9            In accordance with this one-time-only amateur paradigm, Defendants' business is dependent

 10   on recruiting a constant stream of new models in order to generate fresh website content. The Court

 11   finds Plaintiffs have proven that Defendants use fraudulent practices to facilitate such recruitment.

 12   Defendants take considerable, calculated steps to falsely assure prospective models that their videos

 13   will never be posted online, come to light in the United States, or be seen by anyone who might

 14   know them. Defendants' assurances of privacy and security are reinforced by paid "references"-

 15   women hired who are or pose as previous models and (in accordance with a script) provide new

 16   recruits with false comfort that the experience is safe and enjoyable, and that the videos have never

 17   appeared online or been discovered by anyone in the models' lives.

 18            Once a newly-recruited woman has flown to San Diego, she finds herself alone in a hotel

 19   room with two men about to shoot a pornographic video. At this point, Defendants have her sign

 20   documents containing dense and ambiguous legalese, which Defendants falsely describe as being

 21   the written version of what she has already agreed to. Defendants rush and pressure the woman to

 22   sign the documents quickly without reading them and engage in other deceptive, coercive, and

 23   threatening behavior to secure their signatures as described below. The Court finds these putative

 24   contracts invalid and unenforceable--part and parcel of Defendants' fraudulent scheme.

 25            Defendants' representations are false. Contrary to their explicit promises that the videos will

 26   never appear online, Defendants publish the videos on their paid subscription website and many

 27   popular free "tube" sites such as Pornhub.com. They also use extensive affiliate marketing and

 28   other techniques to maximize web traffic to their sites. Plaintiffs believe that Defendants increase
                                                         -3-
                                             STATEMENTOF DECISION


                                                                                         EXH. 1 - 003
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  1   viewership of the videos by deliberately leaking and disseminating their true identities and personal

  2   information-including     by sending the videos directly to the models' friends, family members,

  3   classmates, employers, and social media contacts. This is similar to a direct-marketing promotional

  4   device that makes the videos "go viral" in the models' communities. When the women inevitably

  5   learn what Defendants have done with their videos, many complain to Defendants, begging them to

  6   remove the videos fn;im the internet. In response, Defendants usually simpl)' fgnore any such

  7   messages and block the complaining model.

  8           Defendants' tactics have caused the videos to become common knowledge in Plaintiffs'

  9   communities and among their relations and peers-the very thing that Plaintiffs feared and that

 10   Defendants expressly assured them would not happen. As a result, Plaintiffs have suffered and

 11   continue to suffer far-reaching and often tragic consequences. Collectively, they have experienced

 12   severe harassment, emotional and psychological trauma, and rep~tational harm; lost jobs, academic

 13   and professional opportunities, and family and personal relationships; and had their lives derailed

 14   and uprooted. They have become pariahs in their communities. Several Plaintiffs have become

 15   suicidal. This Court finds that Plaintiffs' injuries are directly attributable to Defendants' fraudulent

 16   scheme and that Defendants' conduct warrants both compensatory and punitive damages, as well as

 17   equitable relief.

 18           Defendants have sought to evade accountability for their actions by funneling the fruits of

 19   the enterprise to overseas companies. Defendant Michael Pratt declared bankruptcy.

 20           Accordingly, the Court determines that each of the Defendants are jointly and severally

 21   liable to the Plaintiffs here and issues appropriate relief, as set forth below.

 22           B.      Defendants' Pornography Enterprise

 23                  · i. The Websites

 24           GirlsDoPorn.com ("GirlsDoPorn" or "GDP") is a pornography website featuring young

 25   women, ages 18 to 23, engaging in intercourse with a male actor. GDP's female models have never

 26   appeared in a pornographic video before and represent that they will not do so again. GDP

 27   publishes exclusive content featuring young female models who cannot be seen elsewhere. (Ex.

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                                             STATEMENTOF DECISION


                                                                                          EXH. 1 - 004
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  1   1576.1.) 1 Defendants recruit the women, produce the videos,and solely control the contentthat

  2   appears on GirlsDoPorn.com,and it is undisputedthat pornographicvideos and photographsof all
  3   Plaintiffswere published on GirlsDoPorn.com.GirlsDoPornearns money by selling subscriptions
  4   to view the complete video content in the members-onlysection.As set forth below, the Court finds
  5   that Defendants own or control the rights to the GirlsDoPorn.comcontent,trademark,and domain
  6   name.
  7           GirlsDoT~s.com ("GirlsDoToys"or "GDT") is a pornographicwebsite featuringyoung
  8   women in "solo" scenes (i.e., using sex toys). The women are usually the same as those who shoot
  9   boy-girl GDP videos because Defendantsdo not separatelyrecruit women for solo videos.
 10   Defendantsshoot, produce, edit, and publish the videos for GDT, and the website earns money
 11   through subscription sales. Defendantscontrol all aspects of the website. As explainedbelow,the
 12   Court finds that Defendants own or control the righ!s to the GirlsDoToys.comtrademarkand
 i3   domainname, as well as the content on the site.
 14           MomPOV.com ("MomPOV'') is a pornographicwebsitefeaturing"mature" womenover 30
 15   engagingin sexual intercourse with a male actor who is holdingthe camera.Defendantsrecruitthe
 16   women, produce and edit the videos, and publish the videoson the website, which-like GDP-
 17   earns revenue by selling subscriptions.Prior to February 2015, MomPOVwas operated alongside
 18   GirlsDoPornand GirlsDoToys.Since February 2015, certainaspects ofMomPOV were shiftedinto
 19   a separate entity created solely for that purpose.
 20                  ii. The Individual Defendants and their Agents

 21           Defendant A{ichael Pratt, originallyfromNew Zealand,conceivedthe idea for

 22   GirlsDoPorn.comin 2006 while he was living in Brisbane,Australia.(Depositionof MichaelPratt,
 23   VolumeI, December 6, 2018 ["Pratt Depo. Vol. I"] at 14:5 -15:6.) He moved to the United States
 24   in 2007 and launched the website in 2009. (Depositionof MichaelPratt, VolumeIII, taken May 6,
 25   2019 ["Pratt Depo. Vol. III"] at 152:18-153:6.) He has ownedand operated GirlsDoPornthrough

 26

 27           1GirlsDoPorn's channelon Pornhubadvertising:"Realamateurgirlshavingsex on videoforthe
 28   veryfirsttime... Youwill not findthesegirlson anyotherwebsite- all girlsare 100%exclusive-this is the
      onlyand onlytimetheydo porn."
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                                            STATEMENT OF DECISION


                                                                                       EXH. 1 - 005
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  1   a series of different entities through the years but has always maintained ultimate control of the

  2   website as well as those individuals he hires to assist him in producing videos for his websites.

  3   (Pratt Depo Vol. I, at 60:21 -61:4.) Pratt recruits models and has served as videographer, and then

  4   edits and publishes the videos online himself. (Pratt Depo Vol. 1 at 64:7 -11; 185:11 - 21; 208:4 -

  5   209:23). Pratt receives 100% of the profits made by GirlsDoPom.com. (10/02/19 Trial Tr. 127:6-

  6   10.)
  7           Pratt also co-founded the website MomPOV.com witli.Douglas Wiederhold in 2010,

  8   (Wiederhold Depo at 39:3 - 7, 124:19-22),         and the website GirlsDoToys.com with Matthew

  9   Wolfe in 2014. (10/3/19 Trial Tr. 110:19-22; Ex. I 052 [Letter oflntent].). Pratt was involved in

 10   therecruitrnentofand/orservedasthevideographerforJaneDoes3,4,5,9,               11, 13, 14, 15, 18, 19,

 11   20, and 22.2 As videographer, Pratt often presented documents to models to sign and answered any

 12   questions they had surrounding the shoot.

 13          Douglas Wiederhold (not a defendant) was hired by Pratt to serve as the male performer for

 14   GirlsDoPom videos in 2007. (Deposition of Douglas Wiederhold, taken July 17, 2018

 15   ["Wiederhold Depo"] at I 06:9 - 22). In 2010, he and Pratt co-founded MomPOV.com.

 16   (Wiederhold Depo at 39:3 - 7, 124: 19 - 22). Wiederhold also served as the male performer in

 17   MomPOV videos and generally handled operations of the website since its inception. He stopped

 18   shooting videos for GirlsDoPom in or around 2012. (Id at 49:25 - 50:5). Wiederhold did not

 19   interact personally with any of the Plaintiffs.

 20          Defendant Matthew Wolfe, a childhood friend of Pratt from New Zealand,joined Pratt in

 21   the United States and began providing services for Pratt's pornography business in 2011. (10/2/19

 22   Trial Tr. 9:6- 9.) Wolfe's duties include or have included payroll, bookkeeping, billing, technical

 23   assistance, recruiting, and videography. (I 0/2/19 Trial Tr. 25: 13 - 26:2, 134:7 - 8.) As

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 25          2
               (I 0/01/19 Trial Tr. 9:5-10; 21: 14-16 [Jane Doe 3]; 8/28/19Trial Tr. 83:23-84:9[Jane Doe 4];
      9/18/19 Trial Tr. 21 :20-22:8 [Jane Doe 5]; 9/30/19 Trial Tr. 16:19-18:9[Jane Doe 9]; 9/10/19 Trial Tr.
 26
      121:13-25 [Jane Doe 11]; 9/09/19 Trial Tr. 38:10-39:6 [Jane Doe 13]; 10/15/19Trial Tr. 28:13-14;52:17-21
      [Jane Doe 14]; 8/20/19 Trial Tr. 201:15-17; 202:2-18 [Jane Doe 15];9/24/19 Trial Tr. 11:4-23[Jane Doe
 27
      16]; (Depositionof Jane Doe 18, March 22, 2019 ["Doe 18 Depo."] 92:10-13 [JaneDoe 18]),9/09/19Trial
 28   Tr. 212:6-9 [Jane Doe 19]; 9/16/19 Trial Tr. 7:2-7, 12:3-9 [Jane Doe 20]; and Depositionof Jane Doe 22,
      January 22, 2019 ["Doe 22 Depo."J at 238:20-239:2[Jane Doe 22].)
                                                            -6-
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                                                                                        EXH. 1 - 006
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  1   videographer, he often answered questions posed by models and presented documents to them to

  2   sign. (Trial Tr. 08/22/19 at 37:24-38:4        and Deposition of Jane Doe 21 taken on May 4, 2019 at

  3   107:20-111:19.)      In 2011, Wolfe and Pratt purchased the domain GirlsDoToys.com and Wolfe has
  4   filmed many of the videos. (10/3/19 Trial Tr. 110: 19 - 22.) He was produced as the PMQ for the

  5   entities that run Gir!sDoPom and Gir!sDoToys in this case. (10/2/19 Trial Tr. 88:1- 7.) In his

  6   testimony, Pratt deferred to Wolfe as, more knowledgeable on many issues relating to his

  7   businesses. (Pratt Depo Vol. 1 at 32:6 - 9). Wolfe was involved in the recruitment of and/or served
                                                                                    3
  8   asvideographerforJaneDoes          1,2,5,    7,9, 10, 12, 14, 17,21,and22.

  9           Defendant Andre Garcia was hired by Pratt to serve as the male talent and "casting

 10   director" for GirlsDoPom.com       (Pratt Depo. Vol. I, 54:1 -3.) Garcia earns a commission for each

 11   model he recruits and is paid an hourly rate on top of those commissions. (Pratt Depo Vol. 3 at

 12   151 :8-11).   As male talent, Garcia often presented the documents to models to sign and answered

 13   questions they posed surrounding the shoot. (Trial Tr. 09/10/19 at 136:7- 16; 137: 18 - 23; Trial Tr.

 14   09/10/19 at 136:7 - 21.) Garcia is the male talent appearing in each of the Plaintiffs' videos and was

 15   involved in the recruitment process of or otherwise made representations to Jane Does 1, 2, 3, 4, 5,

 16   6, 7, 8, 10, 11, 12, 13, 14, 18, 19, 20, and 21. 4

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 20
              3 Jane Doe  I (Trial Tr. 09/11/19 at 150:23-151 :7), Jane Doe 2 (Trial Tr. 09/25/19 at 52: 16-20; 62: 13-
 21   17), Jane Doe 5 (Trial Tr. 09/18/19 at 27:2-8), Jane Doe 7 (Deposition of Jane Doe 7 Volume 2 taken on
      August 8, 2018 ["Jane Doe 7 Depo Vol. 2") at 253:20-22; 284:7-10), Jane Doe 9 (Trial Tr. 09/30/19 at
 22   29: 10-14), Jane Doe IO (Trial Tr. 10/07/19 at 126: 13-15), Jane Doe 12 (Trial Tr. 08/22 at 35: 13-22), Jane
      Doe 14 (Trial Tr. 10/15/19 at 89:6-12), Jane Doe 17 (Trial Tr. 08/29/19 at 182: 15-21), Jane Doe ii
 23   (Deposition of Jane Doe 21 taken on May 4, 2019 at I 05:3-5), and Jane Doe 22 (Deposition of Jane Doe 22
      taken on January 22, 2019 at 276:16-21).
 24
         ,    4 JD I (Trial Tr. 09/11/19 at 152:5-14), 2 (Trial Tr. 09/25/19 at54:6-15),    3 (Trial Tr. 10/01/19 at
 25   12:6-11), 4 (Trial Tr. 08/28/19 at 85: 19-86: 18), 5 (Trial Tr. 09/18/19 at 10:ll-17), 6 (Trial Tr. 08/27/19 at
      23:5-7), 7 (Jane Doe 7 Depo Vol. 2 at 284:22-285:1), 8 (Deposition of Jane Doe 8 taken May 11, 2018 at
 26   73:11-20), 10 (Trial Tr. 10/07/19 at 112:26-113:5, 11 (Trial Tr. 09/10/19 at 135:20-136:21), 12 (Trial Tr.
      08/22/19 at 15:15-18), 13 (Trial Tr. 09/09/19 at 26:3-12), 14 (Trial Tr. 10/15/19 at 17:23-25), 18 (Deposition
 27   ofJane Doe 18 taken on March 22, 2019 at 132:15-133:4), 19 (Trial Tr. 09/09/19 at 220:17-221:8), 20 (Trial
      Tr. 09/16/19 at 26:7-21), and 21 (Deposition ofJane Doe 21 taken May 4, 2019 at 48:22-49:4; 59:24-25).
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  I           Theodore ("Teddy'? Gyi worked as videographer for GirlsDoPorn and GirlsDoToys from

  2   November 2015 through April or May 2017. (8/29/19 Trial Tr. 73:10- 22.) As part of his job, Gyi

  3   also assisted with chauffeuring women around San Diego and often presented documents to models

  4   to sign and answered questions they posed surrounding the shoot. (Trial Tr. 8/21/19 at 84:1-14)

  5   Wolfe and Pratt instructed Gyi on how to handle questions posed by models. (8/29/19 Trial Tr.

  6   86:11 - 21). Gyi serveµ as videographer for Jane Does 6, 8, 11, 13, 15, 18, 19/imd 20.5

  7           Valorie Moser worked for Pratt as an administrative assistant from March 2015 until 2018.

  8   (9/20/19 Trial Tr. 61 :14- 19.) She organized contracts, receipts, and expenses, and performed

  9   QuickBooks and payroll. (Id at 62:24- 63:4.) She also chauffeured models around San Diego and

 10   helped get models prepared for their shoot. (Trial Tr. 9/20/19 at 77:3 -23.) In or around 2018, Pratt

 11   asked Moser to assist with recruiting certain women BLL Media had been unable to convince to

 12   shoot a video. (Trial Tr. 09/23/19 at 93:9-23). Pratt instructed M9ser on what to say and what not

 13   to say when recruiting, and Moser took notes during that conversation. (Trial Tr. 09/20/19 at 89: 15

 14   - 91: 15). Moser did not interact personally with any of the Plaintiffs.

 15          Kevin Holloway, a now-deceased attorney out of Wichita, Kansas, assisted Pratt in forming

 16   the first entity that would eventually become the pornography enterprise at issue today. (Ex. 1660.1

 17   [Articles ofincorporation for Clockwork Productions, Inc. filed November 29, 2006).) Holloway

 18   also incorporated entities in Vanuatu on Pratt's behalf (PrattDepo. Vol. I, 243:12- 15 [KH set up

 19   BGF].) Pratt claims that Holloway owned of all of the videos produced for GirlsDoPorn and

 20   GirlsDoToys by way of these Vanuatu entities,6 but, for the reasons stated below, the Court finds

 21   that Pratt owned and controlled these entities as well as the rights to the videos.

 22

 23

 24           5 JD6 (Trial Tr. 8/27/19 at 58:21-23), 8 (Deposition ofJane Doe 8 taken May 11, 2018 at 153:12-15,

 25   Trial Ex. 342.3), II (Trial Tr. 09/10/19 at 131:4-5), 13 (Trial Tr. 09/09/19at26:13-17), 15 (Trial Tr.
      08/21/19 at 72:3-8), 18 (Deposition of Jane Doe 18 taken on March22, 2019 at 130:17-18), 19 (Trial Tr.
 26   09/09/19 at 218:13-14), and 20 (Trial Tr. 09/16/19at 70:3-9).
              6
               Pratt claims he struck a deal with Holloway in 2006, and that Hollowayowns Oh Well Media
 27
      Limited. (Pratt Depo. Vol.I, 62:7- 9, 67:1 - 9; 102:8- 103:4; 117:I9- 119:12[explainingKH gave MP
 28   equipment,MP hasn't compensatedhim]; 271:7 -277: 11 [MP transferredthe rights to OWM becausethat's
      the way it was supposed to be].)
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  I          Reference Models. Defendants hired reference models to assist with recruitingby
  2   communicatingwith prospectivemodels to assuage their objectionsand doubts about :filminga
  3   pornographicvideo. (Pratt Depo. Vol. II, 188:19- 22.) Pratt, Wolfe, and/or Garcia instruct
  4   reference models on what to say when they speak with prospectivemodels. The referencemodels
  5   who communicatedwith Plaintiffs in this case include Kailyn Wright,AmberlynNored Clark,
  6   Alicia McKay, and Cat Wilkens.
  7          Defendants-hiredother individuals to assist with their business operations,includingAlex
  8   Martinez who provided DMCA takedown services for the Websites (Depositionof Alejandro
  9   Martinez taken on April 17, 2018 at 46:21 - 47: I); Alex Foster,who acts as a videographerfor
 IO GirlsDoPornand "any other productions" the Defendantsmay shoot, including GirlsDoToys(Pratt
 11   Depo Vol. I at 53:16-25); CameronBrown, who performedDMCA copyrightremoval services
 12   for the company, like Mr. Martinez. (Pratt Depo Vol.. 1 at 54:4 - 6); and Kevin Gibsonwho was a
 13 porn producer working for GirlsDoPom alongside Mr. Pratt from at least November2016 until
 14 October 2018 (Trial Tr. 10/29/19at 40:25 -41 :12). Defendantshired Jamia McDonald,Kevin
 15 Gibson's then-girlfriend, to repeatedly harass Plaintiffs' counsel with phone calls every day for
 16 $300 a week. (Trial Tr. 10129/19at 47:24 - 48:16). None of these individualspersonallyinteracted
 17 with the Plaintiffs in this case.
 18                  iii. The Entities

 19          Defendants used more than a dozen entities to operatetheir three pornographicwebsites.
 20   Defendants admit to owning, either directly or indirectly, some of the entities, includingBLL
 21   Media, Inc.; BLL Media Holdings, LLC; Domi Publications,LLC; MlM Media, Inc.; Merro
 22   Media, Inc.; Merro Media Holdings, LLC; EG Publications,Inc.; UHD Productions,LLC; EBB
 23   Marketing, Inc.; and Hayst Holdings, Limited.
 24          Defendants deny holding an ownershipinterest in severalother related entities,including
 25   Clockwork Productions, Inc., Bubblegum Films, Inc., Oh Well Media, Ltd., Sidle Media Ltd., and
 26   Torque Asset Management, LLC. In fact, these are the entitiesthat, at one time or another,have
 27   purported to hold the rights to the videos Defendants produce,the domain name of their websites,
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  1   and the trademark of their brands-the     entirety of Defendants' assets. Each of these entities exists

  2   under the laws of the Republic of Vanuatu-a       tiny, remote island in the South Pacific.

  3           The Court received no evidence of writings establishing the Vanuatu entities' separate and

  4   independent status. The Court received no evidence of consideration paid to Defendants by these

  5   entities in exchange for ownership rights to the videos and websites. Not only do Defendants claim

  6   that they do not own these entities, but they claim tu have no knowledge of the person who does

  7   ownthem.

  8           Talcing into account each Party's ability to provide evidence (Cal. Code Evid. § 412; CACI

  9   No. 203 [Party Having Power to Produce Better Evidence]) and noting the absence of evidence

 10   supporting Defendants' theory, the Court finds: there are no contracts, no consideration, and no third-

 11   party owners, known to Defendants, because Defendants themselves own these entities.

 12           As explained in detail below, t~e evidence at trial supports a finding that all entities are·a

 13 . single business enterprise. Therefore, the Court treats them as one.

 14           C.      Defendants' Deceptive and Unfair Business Practices
 15           Over the course of a 99-day trial, the Court heard from 22 Plaintiffs (live and by deposition)

 16   who provided credible testimony. The Court also heard from seven non-plaintiff models who

 17   testified about one of the most humiliating and devastating experiences of their young lives.

 18   Plaintiffs further called four women Defendants hired as reference models; these witnesses

 19   admitted to lying to prospective models such as the Plaintiffs in this action even though, by telling

 20   the truth, they implicated themselves in a fraudulent scheme. Finally, Plaintiffs also called four of

 21   Defendants' former employees, whose testimony, in part, corroborated that of the Plaintiffs.

 22           In contrast, only one individual Defendant, Wolfe, appeared live, and he provided guarded, .
 23   and at times inconsistent testimony. Pratt, on the other hand, fled the country, ignoring a properly

 24   served notice to appear and an arrest warrant issued by this Court, opting instead to testify by

 25   deposition. In evaluating the evidence, the Court considers Defendants' failure to credibly explain

 26   or deny Plaintiffs' evidence against them. (CACI No. 205.)

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                                             STATEMENTOF DECISION

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  1                  iv. Defendants Use Deceptive RecruitingPractices
  2          The success of Defendants' business turns on their ability to induce young womenwho
  3   would not otherwise consider filming pornographyto fly to San Diego and shoot a pornographic
  4   video. Defendants' success in doing this is based on severalpractices:first, they drew womenin
  5   through bait-and-switchadvertisementsfor clothed modeling;second,they offered enoughmoney
  6   to overcomethe woman's general compunctionagainst the idea of pornography;and third, they lied
  7   about a significant concern the women have-where and how the video will be distributedand who
  8   will be able to see it. Finally, by carefully concealingtheir own identitiesat every stage of the
  9   recruitingprocess, Defendants severely curtail the women's abilityto investigatethe truth of these
 IO misrepresentations,concealments,and to protect themselvesagainstDefendants' fraudulent
 11   scheme.
 12                              1. Defendants Post Mis/eadingCraigslistAdvertisements         Which

 13                                  Direct Recruits to Their Websites

 14          Defendantspost advertisementson Craigslist.comthatpurport to seek women for clothed
 15 modelingwork in towns and cities all over the United Statesand Canada. (I 0/2/19 Trial Tr. 120:2-
 16   14.) These facially benign ads offer to pay women ages 18 to 22 with little to no modeling
 17 experiencea large sum of money-typically around $5,000-for photo and/or video shoots. (E.g.,
 18 (8/27/19 Trial Tr. 12:3-10) [JD 6]; (8/29/19 Trial Tr. 183:17-21) [JD 17]; (9/9/19 Trial Tr.
 19 212:19-24) [JD 19].) The ads also direct prospective modelsto Defendant-ownedmodeling
 20   websites such as www.BeginModeling.com,www.ModelingGigs.com,and
 21   www.ModelingWorks.com,which also appear to advertise clothedmodelingwork. (Ex. 1543.1)
 22   The websites contain an applicationform where prospectivemodelscan enter their names, ages,
 23   height, weight, location and contact informationand attach photographs.(Ex. 1543.1.)
 24          Neither the Craigslist ads nor these websites contain ruiyindicationthat nudity or
 25   pornographyis involved. (10/2/19 Trial Tr. 143:26-144:19 [Wolfetestifyingthis is because
 26   Craigslistremoves ads related to pornography].)Contrary to Defendants' explanation,the Court
 27   finds that Defendants deliberatelyused deceptive advertisementsand websites to mislead women
 28   about the nature of the work; Defendantsaimed to cast a wider net to attract a certain type of
                                                        -11-
                                            STATEMENT OF DECISION


                                                                                        EXH. 1 - 011
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   1   applicant-women who would not intentionallyrespond to a solicitationto appear in a
   2   pornographic video.7 This is consistent with Defendants' depiction of GDP models as making a
   3   one-time-only stint into pornography,

   4           Women can apply for the purported modeling work through Craigslist by email or the
   5   application page on Defendants' modeling websites by submittingname, age, height, weight,
   6   location, email address, phone number, and pictures. (Ex. 1543.I) If the applicant meets
                                                                                                    .
   7   Defendants' criteria, she will receive an email from Defendants. (10/2/19 Trial Tr. 120:25-28.)
   8                               2. DefendantsSend DeceptiveEmailsDesignedto get the Womanon
   9                                   the Phone
 IO            Defendants use a few different stock emails to respond to applicants, but the one received
 11    by most of the Plaintiffs in this case is the stock email from "Jonathan." (E.g., Exs. 121.2; 151; 276;
  12   612.)8 This email does not contain the word pornography9 but inste/ld states "[t]his is a legitimate
  13   adult gig for an established Southern California company." (lbid) 10
 14            The stock email makes the "gig" sound fast, easy, and safe and begins assuaging women's
 15    concerns right off the bat: "None of your personal informationwill be given out in the video or
 16    afterwards, no names etc. are used in the video." (Ibid. [sic in original].) The email also represents,
 17    "We have shot over 200+ models, you can speak or Skype with as many as you want and talk to
  18 them about their experience with us." In reality, although Defendantshave shot hundreds of
 19    models, they only permit a prospective model to speak with a few select "references"-some of
 20    whom are not actual previous GDP models but have been hired to give fraudulent testimonials. In
 21
 22            7
                 All Plaintiffstestifiedthey wouldnot considerrespondingto an ad for pornography.Mosttestified
 23    they did not considerevennudemodeling.
               8
                   Defendantsused a few otherstockemails:one from"Mike"(Ex. 453.) and onefrom"Robb"(Ex.
 24    277.)
               9
 25             Defendantsinstructtheir employeesnot to use the word"pornography"or "porn."(9/23/19Trial
       Tr. 225:21-25 [ValorieMoserexplainingthat Prattsuggestedshe usethe word"adultvideo"as opposedto
 26    "pornography"in recruitingmodels];Ex. 169.5.54["adultvideo"hand-writtenat the top of the page.)
               10
 27             Somewomenfindthe term "adultgig" to be vagueand believeit mayreferto nudemodelingas
       opposedto hardcorepornography.(Sept.9, 2019 TrialTr. 214:23-215:S[JaneDoe 19 unsurewhetherthe
 28    emailmeantporn or nudephotoshoot].)Somedo not learnthe ad is for pornographyuntilthey arriveat the
       shoot.(Aug.29, 2019 TrialTr. 194:12-195:8[JaneDoe 17 believedthis emailreferredto nudemodeling].)
                                                     -12-
                                             STATEMENTOF DECISION


                                                                                         EXH. 1 - 012
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   1    any case, Defendants channel new recruits solely to particular references who have been instructed

   2    and paid to present Defendants' false narrative.

   3            Although some Plaintiffs responded to this first email, each Plaintiff testified that the idea of

   4    filming a pornographic video triggered concerns about where the video would be distributed and

   5    who would be able to see it. Plaintiffs were all aware of the existence and proliferation of internet

   6    pornography,.. but wanted to hear more about this particular offer beq,ause the email indicated that
                                                                                 .,~



   7    their identities would be protected and suggested that the other women who !:J.adshot a video did not

   8    regret_it. (E.g., 10/1/19, Trial Tr.13:10-17     [JD 3]; 9/10/19, Trial Tr. 120:3-5 [JD 11]; 8/22/19,
   9    Trial Tr. 18:5 - 20:19 [JD 12]; 9/24/19, Trial Tr. 12:10 -14 [JD 16]; 9/16/19 Trial Tr. 12:14-22

  10    [JD 20].) This job also offered notably high pay for what appeared to be very little work. 11 Many
  11    Plaintiffs testified that, although they ordinarily would not consider doing pornography, this offer

  12    was uniquely enticing.

  13·           If women do not respond to this initial email, Defendants do not give up. Instead, they send
  14    a follow-up email sometimes increasing the amount of pay and offering clothed modeling and more

  15    detailed assurances. (Exs. 278; 618; 810.) Some Plaintiffs responded to this email specifically

  16    because of the offer to do clothed modeling.12 (E.g., (8/21/19 Trial Tr. 18: 16 - 19:12) [JD 15];

  17    (8/29/19 Trial Tr. 187:13 -188:17) [JD 17].) In fact, clothed modeling has never been part of

  18    Defendants' business. The Court finds that Defendants make this offer with no plan or intention to

  19    fulfill it and include it in this email solely for the purpose of misleading women about the nature of

  20    the job in order to elicit a response from those who would not otherwise respond.

  21            Several Plaintiffs testified they found this second email particularly persuasive. It provides

  22    more details about the types of girls who have done a shoot: "All the girls that I shoot are first

  23

  24            11 Indeed, many Plaintiffs testified they were in precariousfinancial situations and althoughsome

  25    admitted this pressure impactedtheir decisions, all steadfastlystatedthat even given theirfinancial situations
        they would not have done the video if they had known it would be widely publishedonline and availablein
  26    the United States. (See, e.g., Jane Doe 4, Jane Doe 5, Jane Doe 9,Jane Doe 19.)
                12 The legitimacy of this offer is buttressed by the additionalstatement, "Clothes form [sic] BCBG
  27
        and Bebe are provided by us and you can keep them." (Exs. 278 [JD 6]; 340 [JD 8]; 618 [JD 13];   no
  28    [JD15]; 81O[JD17].) [JD 17 saying that she believed it because it included this statementabout clothes ...
        (9/3/19 Trial Tr. 104:6-17).)
                                                             -13-
                                                STATEMENTOF DECISION


                                                                                              EXH. 1 - 013
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  1   times. I shoot cheerleaders, sorority girls, preppy college girls, IG [InstagramJ models with 70k
  2   followers and models of that caliber." (Ibid.) Several Plaintiffstestified that these representations
  3   helped to lure them in because the type of girls described were relatable to them-Jane Doe 15 was
  4   on her collegiate cheerleading team; Jane Doe 13 was in a sorority. Plaintiffs also interpretedthis
  5   statement to mean that these women (who led lives similarto their own) had not been negatively
  6   impacted by .shootingthe videos and had continued10 lead their normal lives. (E.g., (8/21/19Trial
  7   Tr. 23,:22-24:2) [JD 15].)
  8          The follow-up email also says, "We have over 50 models that you can speak or
  9   Skype/Facetimewith." Defendants even send pictures of recent models who look like ordinary
 10   women who are happy and safe. (Exs. 285; 618; 818.) ManyPlaintiffs testified that these pictures
 11   were relatable and made them more comfortable. (E.g., (8/22/19Trial Tr. 22:14-23:1, 27:4-16)
 12   [JD 12]; (10/15/19 Trial Tr. 75:2- 14) [JD 14]; (Depositionof Jane Doe 22, January 1, 2019 ["Jane
 13   Doe 22 Depo."] at 152:4- 7) [JD 22].) Defendants also send pictures of the hotel rooms,the sets,
 14   camera equipment, and the male performers, which Plaintiffstestifiedimproved their comfortlevel
 15   because they felt that Defendants were being open and generouswith informationand becausethe
 16   images looked professional and legitimate. (E.g., JD 6 [8/27/19Trial Tr. 34:4 - 1OJ;JD 14
 17   [10/15/19 Trial Tr. 75:15-24].)
 18          It should be noted that Defendants also present the experienceas a glamorous opportunityto
 19 · travel to Southern California and enjoy expensive amenities they could not ordinarily afford.One
 20   indicated that this depiction influencedher decision to respondto the ad. Other Plaintiffstestified
 21   that these representations assisted in convincing them that Defendantsran a legitimate,professional
 22   operation. (E.g., IDs 6, 17).
 23                              3. DefendantsFalsely PromiseMorePay than they Intend to Provide

 24          The Court also finds that it is Defendants' business practiceand strategy to offer as much
 25   money as needed to entice a recruit to San Diego for a shoot, but sometimeswith no intentionof
 26   actually following through. This often involved increasing the offers until a candidate agreed. For
 27   example, Valorie Moser testified that Pratt instructed her to "(m]ake an offer of a price that was
 28   high enough to get the model on a plane." (9/20/19 Trial Tr. 115:15-24 ["high-balled"or
                                                        -14-
                                            STATEMENTOF DECISION


                                                                                        EXH. 1 - 014
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  1   "exaggerated" amounts were frequently quoted].) Defendantsused this strategy with multiple
  2   Plaintiffs. (E.g. Jane Doe 6, JD 8, JD 10, JD 15, JD 16, JD21.) Jane Doe 6, in particular,did not
  3   reply to Jonathan's email until he increased the offer from $5,000 for two videos to $7,000 for one
  4   video. She testified that she would not have agreed to accept any less. (8/27/19 Trial Tr. 172:2-
  5   174:2.)

  6          Defendants sometimes do not hgnor their promisesregarding pay. Once a model has arriVed
  7   at the hotel room in San Diego and has stripped down to begin filming, Defendantsat times use a
  8   pretext (a supposed flaw in her appearance) to pay her less than the agreed-to amount.13 (E.g. Jane
  9   Does 10, 12, 13, 15, 19 and 20) Defendants have never previouslyinformed the model that her pay
 IO is not fixed but is contingent and subject to change. Some Plaintiffswould not have agreed to the
 11   videos had they known that Defendants claimed the unilateraldiscretion to slash their pay, often by
 12 thousands of dollars. However, by the time models have arrivedin San Diego and.filming is about
 13 to begin, they have no choice but to relent and proceed with the shoot. Defendantsthreaten them
 14 with consequences if they do not do so.
 15          The Court finds that Defendants deliberately mislead some models by increasing or
 16   overstating the amount of pay offered with little intention to fulfill that promise.14
 17                                4. Defendants Misrepresent Facts and Make False Assurances on the

 18                                   Phone

 19          Defendants' goal is to initiate a phone call with a prospectivemodel as quickly as possible.
 20   (Exs. 277 [JD6]; 510 [JD 12]; 621 [JD 13]; 714 [JD 15]; 944 (JD 21]; 994 [JD 22].) When a model
 21
 22
 23           13
                   This is oftenaccompaniedby cruelor cuttingcommentarywhichhumiliatesthe models.
 24           14 Defendants'conductis illustratedby the testimonyof Jane.DoeA, a third-partymodelwhowas

      recruitedand shot her videoduringtrial. (10/31/19 TrialTr. 41:9-15,42:11-24, 46:5-16, 55:1-20, 98:12-14.)
 25   Jonathan(Garcia)first offeredher $6,000 for a boy-girlshootand $2,000for a soloshootand slowlyraised
      the amountuntil he had offeredher $10,000-$6,000 for the boy-girlshootand $4,000 for the solo.
 26   (I 0/31/19 TrialTr. 127:28-129:2.)Defendantshad alreadyshut downthe websitewheresolovideosare
 27   posted,GirlsDoToys,and stoppedfilmingsuchvideos.(I 0/7/19 TrialTr. 38:8-18; I l/25/19 TrialTr. 177:1-
      9.) GarciaaugmentedDefendants'offerfor the part of the shootthathe knewwouldnot occur.JaneDoeA
 28   was not givena chanceto shootthe solo scenewhenshe traveledto SanDiegoand received$6,000 instead
      of the promised$10,000. (I 0/31/19 TrialTr. 129:3-6, 61:23-26.)
                                                         -15-
                                              STATEMENT OF DECISION


                                                                                          EXH. 1 - 015
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  I   asks questions by email or text, Defendants answer somequestions in writing,15 but if a prospective
  2   model asks about where the video will be distributed, Defendants always ask to discuss it over the
  3   phone. (Exs. 9.1 [JD!]; 218 [JDS]; 371.1 -2, 372.7 [JD 9]; 725 [JDIS]; 779.2 [JD 16].}The Court

  4   finds that Defendants deliberately avoid written communicationsabout distribution with
  5   prospective models because Defendants misrepresent where and how the videos will be distributed.

  6   Defendants produced no vv,:ritten
                                      communications to the contrary. (CACI 203, 205,)'
  7           Based on consistent testim<,nyat trial, the Court fmds that, during the initial phone call

  8   between Defendants and prospective models, Defendants assure the women that the video will
  9   never be seen by anyone they know because it will only be distributed on DVD in a foreign

 IO country; it thus will never be available in the United States, and it will never be published online.
 11   While the details of Defendants' representations varied slightly,16 the part of the message that
 12   mattered to the prospective models remained the same--"it' snot go.ingonline and no one in the

 13   United States will find out." The specific destination represented simply made these material
 14   representations credible and believable to Plaintiffs.
 15           Every Plaintiffs' significant concern (aside from her physical safety) was where the video

 16   would be distributed and who would be able to see it. Nearly every Plaintiff asked questions and
 17   expressed her concerns about distribution during the phone calls with Defendants. Some Plaintiffs
 18   testified they did not have a chance or need to ask questions because Defendants told them what
 19 · they wanted to know as soon as they got on the phone. (E.g., JD 22 [Jane Doe 22 Depo. 150:12-
 20   151:18].) Some explained their particular situations and reasons that they were concerned about

 21   distribution of the video. (JD I [9/11/19 Trial Tr. 157:14 - 19],JD 9 [9/30/19 Trial Tr. 15:17 - 25],
 22   JD 12 [8/22/19 Trial Tr. 20:20-21:3], JD 15 [8/21/19 Trial Tr. 23:8-13].) Defendants assured
 23   each woman that they had done this many times before and the videos had never appeared online

 24

 25           15 (E.g.,Ex. 875.1-2[JD 19 askingaboutthe male talent];Ex. 511 [JD 12 askingaboutmodelsthat

      have filmedwith the company].)
 26           16 SometimesDefendantssaid the DVDwouldbe sent to a single "privatecollector"in Australia

      (JD!, JD5, JD10,JDl9), sold exclusivelyin Australia(JD4,JD6, ID7,JD9, JD! l, JDJ2, JD!7, JD20),New
 27
      Zealand(JD16),Australiaand New Zealand(JD 22), SouthAmerica(ID 3), Australiaand SouthAmerica
 28   (JD 18),the UK (JDl5), "overseas"(JD2, JD8),or ''to men on fishingboats overseas"(JD14),to "exclusive
      memberswith paid subscriptions"(JD13),or "to a smalloverseasaudience(JD21).
                                                       -16-
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                                                                                        EXH. 1 - 016
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   1   and no one in the United States had ever found out. As setforth in the Court's findingsregarding
  2    the individual Plaintiffs (see below), Defendants had a ready answer for any questionsasked. (See,
  3    e.g., (9/18/19 Trial Tr. 13:8 - 16) [JD 5] [Defendants said the private collector signed a contract
  4    that he would not redistribute DVD]; (10/16/19 Trial Tr. 49:2- 11) [JD 14] [Defendantssaid the
  5    DVD was encrypted and could not be copied]; (8/26/19 Trial Tr. 181:19 - 25) [JD 15] [Defendants
  6    said that ifth,e  video did somehow end up online, they had ways of taking it down].)A truthful
                   . .~-··

  7    answer to questions about distribution would have upset Defendants' scheme.by revealingthe true
  8    nature of the enterprise.
  9           Nor was there any particular act of diligence that would have revealed the truth to Plaintiffs
 10 . and other women ensnared in Defendants' scheme. Defendants' use of aliases and other business
 11    names and websites ensured that a prospective model who checkedDefendants' reputationson the
  12   internet would not learn that they owned and operated.a popular website called GirlsDoPomand
  13   that their videos were strewn across dozens of other websites.17
 14           Defendants argued that Plaintiffs did not do their due diligence because they did not obtain
 15    an explanation for how Defendants could guarantee that a video (once distributed in any medium)
 16    would not be uploaded onto the internet. However, Defendants' scheme was remarkablysuccessful
  17 for a reason, and the sheer number of GDP models-numbering in the hundreds-attests to its
  18   effectiveness. Plaintiffs were young individuals with no experiencein the pornographyindustry.
 19    Defendants, on the other hand, were significantly older and held themselves out as experienced
 20    professionals with knowledge of how the videos would actuallybe distributed and who would
 21    actually have access to them. Plaintiffs asked Defendants extensivequestions regardingtheir
 22    concerns, and Defendants provided answers that placated those concerns and, to a person of

 23
 24            17
                   This point is drivenhomeby the testimonyof third-partymodelB.F. whotestifiedthatshe spent
       hoursresearchingBeginModeling.com        beforeagreeingto appearin the video.(9/24/2019 TrialTr. 208:2 -
 25    209:3.) Deep in the internet,she founda storyfrom a womanthatsoundedsimilarto whatDefendants        had
       told her. (Id. at 209: 11 - 17.) B.F. immediatelytextedJonathanandaskedhim outrightwhetherhe had
 26    anythingto do with GirlsDoPorn.(Id. at 209:19-23.) Jonathan,whofirstaskedto speakwithher on the
       phone,denied.theallegation,saying:"'No. We knowwhothat companyis. That's not us. Yourvideowould
 27
       only be goingon DVDsto Australia.It's not goingto be online.It's not goingto be in the US."' (Id. at
 28    209:24-210:2, 212: 11- 18.) He then providedher with contactinfonnationfor threereferencemodelswho
       backedup his story.(Id. at 212:21 -213:13.)
                                                             -17-
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   1   Plaintiffs' age, education, and experience, seemed quite reasonable. Plaintiffs had no ability to

  2    independently verify the information Defendants provided and little reason to do so. The record

  3    establishes that Plaintiffs relied upon Defendants' assurances, as Defendants knew and hoped they

  4    would.

  5             Defendants affirmatively stated in no uncertain terms that they would not distribute the

  6    videos via the internet, but would target them exclusively for very limited DVD production in

  7    overseas locales. They then proceeded to do exactly the opposite, guaranteeing that the videos

  8    would be widely published on the internet and disseminated in Plaintiffs' communities. What might

  9    have conceivably transpired if the videos had instead been sold to a single private collector in

 10 . Australia, for instance, is beside the point.

  I1            Defendants are persistent in their recruiting efforts. Several Plaintiffs testified that

  12   Defendants called and texted them multiple times a day every day. Jane Doe 20, for example,

  13   agreed to do the shoot and booked a flight, then got cold feet and backed out. She testified that Pratt

 14    called and texted her, comforted and convinced her until she finally relented. (09/16/19 Trial Tr.

 15    19:16-27)     [JD 20].

 16             Defendants also use other means of communication to convince women to trust and believe

 17    them. Defendants offer to Facetime or Skype with women while they are at another shoot to show

 18    them .around the set, introduce them to the model being filmed, and let them see the atmosphere.

 19    (JD 6 (8/27/19 Trial Tr. 44:23 -45:3); JD 15 (8/21/19 Trial Tr. 62:14- 63:13); JD 20 (9/16/19

 20    Trial Tr. 16:16 - 17:5).) Several Plaintiffs testified that this communication made them more

 21    comfortable and increased their trust in Defendants; Jane Doe 6 testified that the photos Defendants

 22    sent of money, previous models, and the hotel rooms "looked like everything they were promising

 23    [her]," (08/27/19 Trial Tr. 34:4 - 10).

 24                                 5. Defendants Pay Reference Models to Repeat their Fraudulent

 25                                     Misrepresentations

 26             One of Defendants' most effective recruitment techniques was the use of reference models

 27    to speak to prospective models and bolster Defendants' misrepresentations. Knowing that their own

 28    assurances would only take them so far, Defendants hired women to speak with prospective models
                                                           -18-
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                                                                                             EXH. 1 - 018
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   1   and provide a so-called "first-hand" account of their experience working with Defendants. (See

   2   9/20/19 Trial Tr. 95: 13 - 96:3 [Pratt asked Moser to assist in recruiting women with whom he had

   3   been unsuccessful because he thought "they would be more responsive to a female voice"].) In

   4   reality, this is yet another deception.

   5           As mentioned above, Defendants state in their very first email to prospective models that

   6   there are hundreds of women who have s~ot videos with Defendants and would be happy to share._,

   7   their experiences. (Ex. 276.1.) Defendants typicaHy mention the references again on the phone and

   8   then put the prospective model in touch with at least one reference.

   9           Defendants use three types of reference women. The first type consist of women who have

  10   recently shot a video with Defendants and have not yet learned that the videos are released online.

  11   The second type consists of prior models who are in fact aware that the videos are published online.

  12   The third type consists of women who have never actually shot a video with Defendants but who

  13   are paid to say that they have. Reference women from each category testified at trial.

  14          Amberlyn Clark was friends with Andre Garcia when he asked her to act as a reference to

  15   assist him in recruiting models in or around 2016. (8/20/19 Trial Tr. 147:10- 16; 148:19- 25.)

  16   Clark knew Garcia was an actor and recruiter for GirlsDoPom.com when she agreed to act as a

  17   reference. (Id. at 149:1 - 13.) She has never filmed a video with Defendants. (Id at 151:9- 15.)

  18           Clark testified that Garcia instructed her to tell prospective models that the videos "wouldn't

  19   be put online and that they would go to private collectors" located "[o]utside of the U.S." (Id. at

  20   150:4-25.) He also instructed her to assure models that "no one would find out." (Id. at 158:2 - 7.)

 21    Clark admitted to acting as a reference for 'just a handful" of women and that she was compensated

 22    based upon Defendants' attractiveness rating for each woman. (Id. at 157:1 -5; 158:9-21.) Clark

 23    acted as a reference for at least two Plaintiffs, Jane Does 6 and 15.

  24          Kailyn Wright was an unsuspecting reference at first but continued acting as a reference

  25   even after she learned the truth. 18 (Deposition ofKailyn Wright, May 13, 2019 ["Wright Depo."] at

  26

  27           18 Before she became a reference model, she testified that she shot a video with Defendantsafter

  28   seeking assurancesthat the video would not be published online and that she would not have agreedto shoot
       the video if she had known it would be released on websites such as Pornhub. (WrightDepa. 41 :9-42:04.)
                                                          -19-
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                                                                                            EXH. 1 - 019
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  1   22:16-23:1.) She testified that Defendantspaid her to talkto potential modelsand "makethem
  2   feel comfortableand like, reassure them, like, it was fine and legit." (Id. at 14:5 - 8.) Defendants
  3   instructed Wright that, if a prospectivemodel asked her miere the videos wouldgo, "to tell them it
  4   would not be going on!ine and that it was going overseasto wealthiercountries."(Id at 15:20 -
  5   16:3.) When asked why she told women that their videos wouldnot be releasedonlinewhen she
  6   knew that this was not true,.she stated, "Because that's whatthey told me to say. Tilit's what they
  7   were paying me to say." (Id at 23:4 -10.)
  8          Wright testified that when she was recruiting modelsfor Defendants,she had a text message
  9   saved on her phone that she would send to the women. (Id at 35:8 - 11.) She identifiedExhibit
 10   745, produced by Jane Doe 15, as the text message she sentto prospectivemodels.(Id at 37:9-
 11   15.) Wright was a reference for several Plaintiffs, includingJane Does 1, 15, 17, and 21.19

 12           Taylor Rodgers also acted as a referencefor prospectivemodels, but she did so only prior to

 13   learning that her video had been posted on!ine. (Depositionof Taylor Rodgers,April 13, 2019
 14   ["RodgersDepo."] at 33:12 - 34:02.) Rodgers shot two videoswith Defendantsbased on Pratt's
 15   assurances that the video would "absolutelynot" be online and was "only going to be distributedin
 16   Australia to some rich guy." (Id at 22:7 - 23:6.) Prior to shootingthe video, she received3 to 4
 17   references from Pratt and spoke with each one: (Id at 16:10-17:13.)
 18          After she filmed her first video, Pratt and Garcia offeredto pay her to speak with
 19   prospective models and she agreed because, at that time, she believedthat Defendantshad told her
 20   the truth. (Id at 33:19- 34:13.) Pratt texted her "examplesof what to say" and she "knew from
 21   talking to girls prior you're just trying to make the girl feel comfortable."(Id at 34:6 - 16.) As
 22   instructed (and as she believed to be true), Rodgers told betweenfive and seven womenthat "the
 23   videos would not be distributedanywhere except for to DVDto a guy in Australia."(Id at 33:12 -
 24   15; 36:24-37:6.) One of the prospective models she spoke to was Jane Doe 12.
 25          Rodgers shot a second video before learning her first videowas online. (Id at 40: 12 -
 26   41: 11.) After she learned that her video was online, Rodgers was "upset" that she had encouraged

 27
              19 Defendants'
 28                         financial records show 56 payments to Wright from May 18, 2015 until February 3,
      2016. (Ex. 1677.433-.842.)
                                                        -20-
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   I   women to shoot a video based on what turned out to be false information and stopped acting as a
   2   reference. (Id at49:14-17.)2°

   3           Alicia McKay, another woman who shot a video with Defendants based on the same false

   4   statements, agreed to be a reference because she believed what they told her about distribution was
   5   true. (Deposition of Alicia McKay, Volume I, November 13,2018 ["McKay Depo. Vol. I"J at 53:8

   6   - 54: 14.)21 Aftsir she learned that the video was online, Pratt asked her'i:o continue as a reference.
                    •   ,.J



   7   (Id at 63:20 - 64:7.) She asked what she was supposed to say when someone asked about
   8   distribution. Defendants instructed that she could be evasive and direct the prospective model to
   9   Garcia. (Id. at 65:13 - 67:17; 76:11 - 77:6.) A recording McKay made of her phone call with
  10   Garcia was played during trial. Garcia told her to talk to prospectivemodels on the phone rather

  11   than by text. (72:3 - 13.) He said that she did not have to answera lofof questions; she shouldjust
  12   tell them "one, you're going to get paid; two, everythi1!g'spaid for; three, it's legit - - you know,
  13 it's not a bunch of weirds, anything like that, and that's it." (72:19- 73:2.) If the women ask about
  14   where the video will go, "just try to get her on the phone" and explain that there are three different
  15   brands and "it depends on which ones you're doing.. ,· . don't ever use any names or anything like
  16 · that because we[ ... ] don't want to, you know, make it seem worse than it is." (73:4- 73:17.)

  17 McKay acted as a reference for Jane Doe 6.22
  18           Several Plaintiffs testified that they were eager to speak to the reference(s), asked pointed
  19   questions about distribution, and likely would not have filmedtheir video if the references had not
 20    confirmed Defendants' representations about distribution. (JD I, 5, 6, 12, 15, 20, 21, 22.) Some
  21   Plaintiffs stated that communicating with the references increasedtheir trust in Defendants and

  22
               20 Defendants'suggestthat Rodgers'testimonyis lessthancrediblebecauseshe appearedin
 23    multiplepornographicvideosafterlearningher videowas online.Rodgerscrediblytestifiedas to the impact
       of Defendants'conducton her life as wellas her lackof personalincentiveto testify.
 24            21 Like Rodgers,after she learnedthe first videowas online,McKaydecidedto do anotherbecause

 25    "I figuredat that point I was kindof, for lack of a - - I was screwedat that point,for lack of a betterword,
       and I didn't get the full compensationof funds,so I figured,you knowwhat,it's leaked.I'm gettingblown
  26   up by friendsand family,so I mightas wellgo and do it." (McKayDepa.62:12-21.)
               22 Defendantssuggestthat McKayis not crediblebecauseshehas engagedin certaintypesof sex
  27
       work such as escorting,exoticdancing,and "camming."(McKayDepa. 113:14-114:20.) TheCourt
  28   disagrees.McKaywas forthcomingin her testimonyand voluntarilymadenumerousstatementscontraryto
       her interests.
                                                     -21-
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   1    solidified their decision to shoot the video. (JD 2, 3, 11, 13, 14, 16, 17, 18, 19.) A few Plaintiffs

   2    were given or offered references but did not contact the references for a variety ofreasons, but all

   3    stated that just being offered the references made Defendants' statements seem supported and
   4    legitimate. 23

   5            Defendants' methods of inducing women to believe their representations about the limited

   6    ~c:opeof distribution has been honed over nearly a dec11cj~,
                                                                  Prior to hiring reference women to
        '·.,

   7    cajole prospective models, Defendants directed women to a web'sitecalled Bubblegumcasting.com

   8    where they could view testimonial videos of young women praising their experiences working with

   9    Defendants. While some Plaintiffs required more convincing than others, all Plaintiffs ultimately

  10    believed Defendants' promises about limited distribution of the videos.

  11            Defendants push women to make a decision quickly. Several Plaintiffs recalled Jonathan

  12    pressuring them to let him book a flight to San Diego within the first few days, assuring them tha~

  13    they could always change their flight or cancel it. (E.g., 08/21/19 Trial Tr. 25: 19 - 24 [Before Jane

  14    Doe 15 got off her first phone call with Garcia, he already booked her hotel and flight]. See also

  15    10/15/19 Trial Tr. [Jane Doe 14 testified that she had not committed to the gig when Garcia booked

  16    her flight].) Several Plaintiffs testified that they still had not made up their minds at the time their

  17    flights were purchased. Still in their home state, hundreds or thousands of miles away from

  18    Defendants, some Plaintiffs felt they had not made a commitment and could still decide against

  19    shooting the video up until the time that they boarded the plane to San Diego. All Plaintiffs who

  20    flew boarded the plane in reliance on Defendants' assurances.

  21.                       ii. Once the Women Arrive in San Diegr,,Defendants Give them No
  22                            Opportunity to Learn the Truth and Little Choice in Completing the Shoot

  23            Upon arriving in San Diego, women are picked up from the airport by one or more of the

  24    Defendants or one of their employees, such as videographer Theodore "Teddy" Gyi or makeup

  25

  26            23 Jane Doe 4 "didn't want anyone else to know that [she]was doing it." (08/28/19Trial Tr. 88:15-

        16.) Jane Doe 8 believed Defendants given "they were providingthe referencesand... all of this
  27
        information." (Depositionof Jane Doe 8, May 11, 2018 ["Jane Doe 8 Depo.") at 79:19-20.)Jane Doe 9 did
  28    not call because she did not think the Defendants "were going to give [her) someoneto call and... have
        negative things to say about the experience."(9/30/19 Trial Tr. 140:1-3.)
                                                            -22-
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   1   artist Riva Yousif. Defendants and their employees are friendly and make the woman feel

   2   comfortable. (Jane Doe 3 testified that her "fight or flight system" calmed down after talking to

   3   Pratt and Garcia in the car to the hotel, 2019/10/01 Trial Tr. 20:19-27; Jane Doe 6 depicted Riva

   4   as a "motherly figure," 2019/08/19 Trial Tr. 49:8 -9.) Sometimes they go straight to the hotel to

   5   check the woman in; other times, they take the woman shopping or out to eat. Sometimes they go to

   6   one of the Defendants' apartments to socialize before the shoot.

   7          Many women continued to ask questions to confinn what they were told over the phone;

   8   they receive the same answers and assurances, often from a different person than they spoke with

   9   on the phone. Other women were already fully convinced by Defendants' representations and did

  10   not feel a need to ask further questions. Defendants' employees know how to answer questions

  11   about distribution: they should confirm the video will not be online, they should never mention

  12   GirlsDoPom.com, and they should reassure models that everything will be fine. (08/29/19 Trial Tr.

  13   86:3 - 9 [Teddy Gyi testified that he "was told to tell [women] that there was no videos [sic] posted

  14   online"]. 09/20/19 Trial Tr. 68: 18 - 22; 170:14- 171:3 [ValMoser testified that she "was asked to"

  15   sign an NDA; Moser also testified that Michael Pratt inst~cted her not to disclose distribution to

  16   models per her NDA].) The Court finds that Pratt, Wolfe, and Garcia all knowingly gave false

  17   information to multiple Plaintiffs in San Diego. Gyi and Yousif also participated in the scheme by

  18   misrepresenting or concealing facts as instructed by Defendants.

  19          The shoots take place in a hotel room (often the same hotel room where the model stayed or

  20   will stay) in San Diego, either that day or the following. In the hotel room, the videographer (Pratt,

  21   Wolfe, or Gyi) sets up the lights and camera equipment, and the model's hair and makeup are done

  22   by a professional makeup artist (usually Yousif). Some women reported a pleasant, relaxed

  23   atmosphere in the hotel room prior to the shoot. Typically, everyone engaged in small talk; if the

  24   model posed further questions about distribution of the videos, Defendants continued to answer

  25   with the same responses.

  26                              1. Defendants Offer WomenDrugs and/orAlcohol Before the Shoot

  27          More often than not, Garcia offers alcohol and/or marijuana to the model, regardless of her

  28   age, before the shoot and encourages her to drink or smoke in order to calm her nerves and loosen
                                                         -23-
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   I   up. Approximately half of the Plaintiffs accepted the offer and six Plaintiffs reported feeling

   2   significantly intoxicated prior to the shoot.

   3           Of the 28 models who testified at trial, Defendants offered alcohol or marijuana to 7 who

   4   were underage. This includes.McKay, who was 19 years old when Garcia offered her alcohol and

   5   marijuana prior to the shoot. (McKay Depo. 23:24- 24:15; 42:17 - 22; 50:3 - 14.)

   6           Only Jane Does 4 andJ6 claim that they were so thoroughly intoxicated that they cannot
                                                                                                             .
   7   recall portions of the evening during-which the videos were shot. Both show signs of intoxication in

   8   their videos. Jane Does I, 8, 15, 17, and 18 testified that they felt moderate symptoms of

   9   intoxication. For most of the Plaintiffs, the alcohol or marijuana served to diminish their defenses

  IO and make them less alert. 24
  11                                2. DefendantsAttempt to ShowApparent Consent
  12           Defendants are aware of the fact that women who agree to sho.ot a pornographic video based

  13   on the promise that it will not be published online will be very upset when Defendants post the

  14   video online. In preparation, Defendants had Plaintiffs sign documents just before the filming

  15   occurred.

  16                                             a. DefendantsSurprise Womenwith Documentsto Sign
  17                                                 Moments Before the Shoot
  18           Just before filming, Defendants present women with at least one document to sign.

  19   Defendants do not provide the documents to the model before she arrives at the shoot-even if she

  20   asks whether there are any papers to sign-and purposely wait until minutes before the shoot begins

  21   to inform the model that she is expected to sign documents immediately so that filming can begin.

  22   (E.g., Jane Doe 5 emailed Garcia asking "Is there any contracting involved," which was ignored, .

  23   09/18/19 Trial Tr. 12:1 -13:19. Jane Doe 5 testified that she did not know she would be handed

  24   documents until right before filming, Id. 22:9 - 21.) This delay is not for lack of opportunity.

  25   Many women testified that they spent hours with Defendants and their employees (eating, driving

  26
  27           24
                  Defense expert Dr. Mark Kalish testified that when he reviewedPlaintiffs' videos, he did not see
  28   visible indicators of intoxication.But most of the Plaintiffs did not claim to be so severely intoxicatedthat
       one would necessarily observe such symptoms.
                                                            -24-
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   1 around, shopping, or socializing in the hotel room or one of the Defendants' apartments)prior to
   2   Defendants' presenting the docmnentsfor them to sign. (E.g., 08/27/19 Trial Tr. 49:22-50:4; 51:3
   3   - 8; 54:4 - 8; 54: 16 - 56:20 [Yousifdrove Jane Doe 6 around San Diego, purchasedher food, and
   4   dropped her off at her hotel. After spending a night there, she spent time socializingin Garcia's
   5   apartmentwith another model and then played video gamesthere. Next, Jane Doe 6 went shopping
   6                        to Garcia's apartment,got her hair andmakeup do·iie,took nude photographs,
       with Yousif, rety,_med
   7   then went to the hotel to film].) By the time the docmnentsare presented, many womenhave
   8   consmnedalcohol and/or marijuana at Defendants' behest;Defendantsurge them to do so in order
   9   to relax, lower their inhibitions, and enable them to go throughwith the shoot.
  10          Although Defendants testified to the contrary,the credibleevidence at trial indicatedthat
  11 they do not permit women much uninterruptedtime to read or review the docmnentsbefore signing
  12 them. Defendants consistently discouragethe models fi;omreading,and they rush and/or distract
  13 the models while they are completingthe documents. (JaneDoes I, 2, 3, 5, 7, 8, 9, 11, 12, 13, 14,
  14   15, 16, 17, 18, 19, 20, 21, 22.) Some women testified that Garcia,Wolfe, and/or Pratt became
  15 irritable and aggressive when they asked questions about the documentsor requestedtime to read
  16 them. Others testified that they were badgered to sign hastily and did not feel that they had the
  17 option of asking for more time. The Court finds that Defendantsused these tactics to reducethe
  18 likelihood that women would read and understand what they were signing.
  19          When handing the documentsto a model, the Defendantsbriefly explain the pUl])Ose
                                                                                             and
  20   content of what she is being asked to sign. These representationsare false and designedto induce
  21   the women to sign without further question.In some instances,Defendantsactuallytell the model
  22   that the docmnents state that the video will not be released onlineor in the United States and that
  23   her name and privacy will be fully protected. Sometimes,Defendantsrepresentthat the documents
  24   were 'just to prove that [she is] 18," (08/28/19 Trial Tr. 93:9),or to show Defendantswere "not
  25   forcing [her] to do this," (09/10/19 Trial Tr. 136:14).In otherinstances, Defendants are vague,
  26   saying, "This is just about the basic agreements,everything we spoke about," (09/09/19Trial Tr.
  27   51:4 -5), or "just kind of a formality." (08/22/19 Trial Tr. 37:16.)

  28
                                                        -25-
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   I           Defendants know that these representations about the documents are false. They are

   2   designed to build on and reinforce Defendants' prior statements and promises that the videos would

   3   not be released online, would only be on DVD overseas, and wo\lld never be seen by anyone in

   4   America. The Court finds that these representations are deliberate efforts to deceive models about

   5   the content and purpose of the documents in order to induce the women to sign. By presenting the

   6   do~uments
         __,     as consonant with and merely memorializing prs':viousconversations and agreements,

   7   Defendants also seek to prevent models from recognizing that these are critical legal documents by

   8   ·which they will be purporting to give up their rights for the first time.

   9           These false representations are effective because, even if read carefully, the documents

  10   themselves do not directly contradict Defendants' specific, express promises about how the videos

  11   will be used; they do not clearly indicate that the videos will be published online on
  12   GirlsDoPom.com (which is never identified), as well as dozens of free tube sites, and marketed

  13   broadly on affiliate websites. Instead, the documents contain broad, vague releases couched in

  14   disorganized, complicated legalese. In essence, upon presenting the documents, Defendants profess

  15   to be cutting through the dense legal language and explaining its purported practical import and

  16   effect: It means only that Defendants will sell the videos on DVD to overseas clients-as they have

  17   repeatedly stated and agreed.

  18           The "Artists Agreement and Release 2257 Declaration" ("2257 Dedaration") is a document

  19   containing the model's name, date of birth, and driver's license or passport infonnation that federal

 20    law requires both the "model" and the "producer" to sign under penalty of perjury after the

 21    producer examines the picture identification of the model to ensure that the model is over the age of

  22   eighteen. All Plaintiffs signed a 2257 Declaration for each of their videos.

  23           On the reverse side of the 2257 beclaration is the Model/Talent Release, 25 a one-page

  24 . document containing seven paragraphs of small font with no portions highlighted orset off from the

  25

  26

  27           25 All Plaintiffs signed the 2257 Declarationand the ModeVTalentRelease.Some Plaintiffssigned

       an additional document.
  28
                                                          -26-
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                                                                                          EXH. 1 - 026
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   I   rest of the text in any way to signal importance. The veryfirst sentence of the documentcontains
   2   140 words of prolix legalese:
   3                  For and in consideration ofmy engagementas a model by
                      Clockwork Productions Inc on behalf ofBLL Media Inc., hereafter
   4
                      referred to as the photographer, on terms or fee hereafter stated, I
   5                  hereby give the photographer, his legal representativesand assigns,
                      those for whom the photographer is acting,and those acting with
                                                                                                          '   ,;,
   6                  his permission, or his employeis, the right and permission to
                      copyright and/or use, reuse and/or publish and republish videos,
  .7                  films, photographs, pictures or portraits ofme, or in which I may
   8                  be distorted in character, or form, in conjunctionwith my own
                      fictitious name, on reproduction thereof in color,or black and
   9                  white made through any media by the photographerat his studio,
                      or elsewhere, for any purposes whatsoever,includingthe right to
  JO                  sub license such rights; including the use of any printed matter in
                      coajunction therewith.
  11
  12   (E.g., Ex. 633.) This senten~eis a grammatical labyrinth, whichmisspells the names-ofboth
  13   entities, and expressly grants many rights that Defendantshave never used or ever considered
  14   using. For example, the sentence specifically covers "photographs,pictures or portraits,"
  15   reproductions"in black and white," and "printed material." It does not, however, mention
  16   GirlsDoPorn.com,nor the words "internet," "online," or "website." It is thus designedto obscure
  17   what will actually be done with the videos and to encouragecontinued reliance on Defendants'
  18   repeated representations, promises, and testimonials from hired "references."
  19          Paragraph 3 contains another sentence that Defendantsrely upon to supporttheir claim that
  20 the models consented to online distribution:
  21
                      You and your subsidiaries, successors, licenseesand assignees may
  22                  copyright, use and reuse, publish distribute, edit,excerpt, exhibit and
                      otherwise exploit my name real or fictitious or any other name
  23                  provided and created by Clockwork ProductionsInc on behalf of
                      BLL Media Inc, likeness, performance, voice,pictures, and
  24                  statements, including those of me nude or semi-nude (collectively,
                      my "Appearance"), for any and all uses, in whole or in part, in any
  25                  and all media and manners, for the Program or any other program,
                      throughout the world in perpetuity, without limitations,including in
  26                  connection with the advertising, exploitation and publicizing of the
                      Program or any other program.
  27   (Ex. 633.) Defendants point to the phrase" ... in any and all media ... throughout the world in
  28 perpetuity... " to show that Plaintiffs should have known wherethe video would be published. But
                                                       -27•
                                            STATEMENTOF DECISION


                                                                                        EXH. 1 - 027
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   I   rather than conveying useful information to the model, this sentence merely obscures the true nature
   2   and character of where the video will be distributed.
   3           Finally, Defendants argue that the text of the Model/TalentRelease precludes the claims
   4   now before the Court, based upon the following:

   5                  I hereby release and discharge you and your successors, licensees and
                      assignees, from any and all claims, demands, or causes of action that I
   6                  may have, whefoer for libel, violation of my right of privacy or
                      publicity, or any other matter arising out ofor in any manner connected
   7                  with use of my Appearance or the exercise of the rights granted herein.
   8   (Ex. 633.) The models testified that, even at the time of trial (years later and after consulting with
   9   attorneys), they found these statements confusing and incomprehensible. Moreover, as set forth
  10   below, this type of exculpatory waiver is illegal and void in light of Defendants' fraud.
  11          Many models also signed a second document called "Model/Talent Release and
  12 Independent Contractor Agreement" (hereinafter "IC Agreement"). Tjiere are several iterations of
  13   this document in the record,26 but most Plaintiffs signed the version that, on the first page, contains
  14   "Recitals" that state:
  15
                      WHEREAS, BMI has undertaken the design and development of an
  16                  adult-oriented content; and
                      WHEREAS, videos, photographs, and any other media that includes
  17                  nude and semi-nude images of Models, may comprise a significant
                      portion of the content; and
  18                  WHEREAS, Model, voluntarily, is willing to create exclusive video
                      and/or photographic content (both· adult-oriented and otherwise,
  19
                      collectively "Adult Content") for BMI under a "work made for hire"
  20                  arrangement as that term is defined by the United States Copyright
                      laws; and
  21                  WHEREAS, Model understands that BMI shall own all world-wide
                      intellectual property rights, copyright, trademark, services mark,
  22                  patents, in and to, all of the videos/photos taken of the Model, and any
  23                  and all other content created for BMI for any other BM! purposes;

  24           26
                 Anotherversionof the IC AgreementcontainsRecitalsthat comecloserto effectivedisclosure.of
  25   Defendants'websiteand intentionto post the videosonline:"WHEREAS,BMI has undertakenthe design
       and developmentof a website("website");and WHEREAS,videos,photographs,and any othermediathat
  26   includesimagesof Modelswill comprisea significationportionofthe websitecontent... " This versionof
       the IC Agreementwas signedby only one Plaintiff,JaneDoe 16,whotestifiedthat she was so intoxicated
  27   priorto, during,and after the shootthat she doesnot recall signingthe documentsor any of the
       representationsmadeto her aboutthe documents.
  28
                                                         -28-
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                      NOW, THEREFORE,in consideration of the foregoing and the mutual
   I
                      promises contained herein, and for other good and valuable
   2                  consideration, the receipt and adequacy of which is hereby
                      acknowledged, it is hereby agreed as follows:
   3

   4   (Ex. 25.) The IC Agreement goes on to list twenty-one numberedand detailed terms, some

   5   containing several subparts, covering eight pages in all. It is not until the bottom of the second

   6   page, in Paragraph
                        .. ,
                             7 entitled "Model Representationsand Warrantees"th3:t.thedocument

   7   references the internet, .stating,"Model represents and warrantsthat she has not modeled for any

   8   other online Website and agrees hereafter not to model for any other online Websiteor other form

   9   of adult publication. Model acknowledgesthat BMI shall have the exclusiverights to Model's

  10   likeness for online purposes or for any other purposes." Defendantsargue that models can deduce

  11   from these two sentences that BMI runs a website and plans to use her video "for online

  12 purposes." But Defendants have repeatedly professed otherwiseand bury this "disclosure"in a
  13 lengthy legalistic document that models are not permitted to read and digest. The import of the
  14   section is a restriction on the model's outside activities, not a representationregardingDefendants'

  15 · use of the videos. The Court accordingly finds that the IC Agreementalso fails to adequately
  16   disclose Defendants' website and pre-designed intention to publish the videos online.

  17                                         b. DefendantsFilm WomenReading a VerbalScript

  18          Immediately before filming, Defendantshand women a sheet of paper (the "Script") and

  19   instruct them to read it for the camera. Women rarely have a moment to skim the Script before the

  20 camera is rolling and they are told to read. This Script says:
  21                I {real name} am doing this scene for BLL Media of my own free will and I am of

  22          sound mind and body. I am not under the influence of drugs or any mind altering

  23          substances.

  24                  I know the pictures and footage filmed today on ___        [date] will be used in the

  25          scene name __       [first name]

  26                  After this scene is filmed I know I have released all rights whatsoeverto the footage.

  27                  Anything contained in the footage may be used however BLL Media chooses.

  28
                                                        -29-
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   1                  All other model agreements are stated in the model release, I willinglysignedto do
   2          this scene.
   3   (Ex. 754.) Some women read without comprehending,thinklittle ofit and do not ask any questions
   4   (such as Jane Does 1, 2, 4- 8, 12, 15, 19,20, and 21). Somewomen do ask questions,at which
   5   point Defendants simply continue to misrepresent,giving a flippant explanationsuch as "so that we
   6   kno~ that [you're] sober" (08/27/19 Trial Tr. 68:13 -14); foi>"testingthe sound and the levels on
   7   the earner.a"(08/21/19 Trial Tr. 89:2); for "giving [us] permission·tofilm [you]," (09/30/19Trial
   8   Tr. 25:3); or even "to cover [our] butts" (10/16/19 Trial Tr. 65:24).
   9          Some women are confused by the Script because they are saying that they are "not under the
  10 influence of alcohol or any other mind-alteringsubstance,"but they have just consumedalcohol
  11 and/or marijuana provided to them by Defendants and in Defendants'presence prior to reading.
  12 These women conclude, quite understandably,that the Scriptis oflittle import. (See Jane Doe !S's.
  13 testimony: "everybody... in the room knew that I wasn't [of sound mind] becausewe had just
  14   smoked," 08/21/19 Trial Tr. 88:21-22.)
  15          Most Plaintiffs testified that the Script did not raise any red flags. For those who testified
  16 that they did find the Script puzzling or.concerning,they alsotestified that Defendants' explanation
  17 and continued assurances assuaged their doubts and put their minds at ease. (E.g., Jane Doe I 0
  18 testified she had no questions about the script because Defendantstold her it was "the same thing I
  19 was signing in the documents." 10/08/19Trial Tr. 68:28.)
  20          The Court finds that by misrepresentingthe purpose and meaning of the Script,Defendants
  21   continued to conceal material facts about the video's intendedonline destination,includingthe
  22   name of the website(s) on which it would appear.
  23                                         c. Defendants Conduct a Staged Interview

  24          Prior to beginning the sexual portion of the video, Defendantsplace the wonien on the bed
  25   and conduct an interview to "personalize"her for the audience.Defendants do not tell womenabout
  26   the interview before they travel to San Diego. The interviewconsists of Defendantsaskingthe
  27   women personal questions about their sexual histories and preferences.Defendantsinstructmodels
  28   to act "flirty and perky" and often give them scripted lines to repeat in responseto certain
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   1   questions, (Jane D.oe 18 Depo.144:21). Nearly every woman says she is "excited to shoot, but

   2   nervous" when asked how she is feeling (09/11/19 Trial Tr. 179:2). If Defendants do not like a

   3   woman's answer to a particular question, they stop filming, coach her on what to say (or not say)

   4   and re-shoot the scene. (E.g., Jane Doe 10 testified that Defendants instructed her on what to say,

   5   and they would stop and start the interview portion to make sure she got it right, 10/08/19 Trial Tr.

   6   70:28-71:7.)                                                                                              ,
                                                                                                                     .   -
                                                                                                                     ,.--·


   7           Some women are uncomfortable answering mithfully so they make up answers that they

   8   think Defendants will like or they just use the answers Defendants suggest. (E.g., Jane Does 1, 2, 8,

   9   9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19,20,22.)0therwomenjustgoaheadandanswerhighly

  10   personal questions because they believe that no one in the United States will ever see the video.

  11   (E.g., Jane Does 3, 5.) Several Plaintiffs testified that they would not have agreed to the interview

  12   or answered many of the questions if they had known that Defendants planned to post it on the

  13   internet.

  14           At trial, Defendants used these interviews as evidence to rebut some Plaintiffs' claims that

  15   they were frightened or wanted to leave, but could not do so. However, video of a woman acting

  16   outwardly "happy and flirty" in a staged interview is not persuasive evidence of the woman's actual

  17   state of mind. Defendants manipulated the interviews by coaching women on what to say and how

  18   to act an<;!by carefully editing the video afterwards. Women needed to comply if they were to be

  19   paid.

  20           It is not disputed that some Plaintiffs were fully taken in by Defendants' ruse, were not

  21   frightened, and felt quite comfortable with the experience as a whole. Video of these women

  22   cheerfully answering questions she believes no one will ever see does not necessarily undermine

  23   her fraud claim and in fact, shows how thoroughly she believed Defendants.

  24                              3. Defendants Use Coercive Tactics if Necessary

  25           After the interview, the sexual portion of the video begins. Based on a stipulation among the

  26   Parties, the Court will not address this portion of the shoot except to note that it typically takes

  27   much longer than the advertised thirty minutes, often several times as long. Moreover, the woman'.s

  28   entire body, including her face, is fully visible to the viewer throughout, while the male actor's face
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   I   is never in the frame. Andre Garcia was the male actor in all of Plaintiffs' videos. Defendants

   2   presented no evidence they informed any Plaintiff only her face (and not Garcia's) would be in the

   3   frame.

   4            Further, the Court does consider the testimony of several Plaintiffs that, at some point

   5   during the shoot, they asked to stop, but Defendants would not permit them to leave until they had

   6   the footage they wanted. This factjs important because Defendants argued repeatedly that Plaintiffs

   7   "chose" to be in San Diego, "chose" te sign the documents, and "chose" to go through with the

   8   shoot.

   9            Defendants' argument ignores the obvious implicit power dynamic invariably present in the

  IO   room: The women are alone in a hotel room with two men they barely know who, although friendly

  11   at first, become aggressive and agitated ifthe women express hesitation or a desire to leave. Several

  12   Plaintiffs testified that they had second thoughts prior to or during the shoot but felt they were not

  13   in a position to try to leave.

  14            Plaintiffs were also acutely aware of the risks ofleaving the shoot. First, Defendants held

  15   and controlled Plaintiffs' plane tickets home and most Plaintiffs could not afford to purchase a

  16   ticket home or pay for a hotel room. Second, aware that Defendants had nude pictures and, in some

  17   cases, pornographic video of them, Plaintiffs did not want to do anything to rock the boat for fear

  18   that Defendants might retaliate. Furthermore, many women did not want anyone to know what they

  19   were doing and therefore had not told anyone and did not want to call anyone for help.

  20            In fact, ten Plaintiffs reported thatthey asked or tried to leave at some point before or during

  21   the shoot, but Defendants insisted that they complete the shoot because the Defendants had already

  22   spent the time and money to get the woman there and to get set up. When Jane Doe 16 asked not to

  23   go through with the video shoot, Defendants threatened her to pay the cost of her plane ticket and

  24   hotel room-a     cost that she could not afford. (09/24/19 Trial Tr. 24:9 - 18.) This testimony shows

  25   what happens when a woman tries to withdraw her consent. The Court's finds that, once in the hotel

  26   room, Plaintiffs lacked had any feasible means of egress until Defendants declared that the shoot was

  27   completed and released them.

  28
                                                          -32-
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   I                              4. Defendants Encourage Women to do a Solo Video

   2          After the shoot involving sexual intercourse with Garcia, Defendants ask women to film a

   3   "solo" video (i.e., using a sex toy). Defendants tell women that the solo video will be distributed in

   4   the same limited manner as the first video. Continuing to believe Defendants' representations, many

   5   Plaintiffs proceed to film a solo video.

   6          All Plaintiffs ,who shot more than one video with Defendants did so before their first video

   7   was published online. Plaintiffs had no way to discover that Defendants had lied lo them before

   8   their videos appeared online. That some women shot more than one video does not mean that they

   9   were not defrauded. To the contrary, it is consistent with their testimony that they were deceived

  IO into filming the videos.
  11                     iii. DefendantsWidely Distribute the Videos for Financial Gain Regardless
  12                          of the Consequencesto the Models
  13          Defendants have never sold their pornographic videos on DVD format. (10/3/19 Trial. Tr.

  14   150:5 - IO; I 0/2/19 Trial Tr. I 09:6 - 17 [Wolfe admitting that, as far as he knows, all

  15   pornographic videos Pratt and his companies have produced have only been distributed on the

  16   internet].) Contrary to their many representations, Defendants published Plaintiffs' videos on the

  17   internet. On top of this, Defendants used an aggressive marketing strategy to encourage as many

  18   people as possible to view the videos. Defendants publish the boy-girl videos on GirlsDoPorn.com

  19   and the solo videos on GirlsDoToys.com. The full-length videos are published only in the

  20   "members' area" of Defendants' subscription websites; these can only be accessed by purchasing a

  21   subscription. However, Defendants also post still images from the shoot and short clips from the

  22   video on the website's publicly accessible homepage as an advertisement to entice people to

  23   purchase a subscription. Videos and images of each Plaintiff appeared on the publicly available

  24   homepage.

  25                              1. Defendants Post Clips of the Videos on Popular Free "Tube"

  26                                  Websites

  27          Once a video is posted on their subscription websites, Defendants embark on an aggressive

  28   advertising campaign to maximize the number of people who see or learn about the video, visit
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   I   their website, and purchase a subscription. This effort includesmaking clips of the videos available
   2   on popular free "tube" sites, affiliatemarketing, and ensuringthat people who personallyknow the
   3   female model learn about the vide0-'-piquing their curiosityand making it "go viral."
   4            In order to advertisefor their subscriptionsites, Defendantspost clips of their videos,
   5   including Plaintiffs' videos, on free "tube" sites, which arepopular and heavily trafficked. During
   6   the relevant
             _::,
                    time period, Defendantshad dedicated channelsorenumeroustube sites, including
   7   Pornhub.com,XVideos.com,and XnXX.com,among others. (See; e.g., Exs. 1582.7;1585.)The
   8   GirlsDoPornchannels on free tube sites contain mostly 5-to 7-minuteclips of videosfilmed by
   9   Defendants,along with advertisementsfor and links to Defendants'subscriptionwebsites. (See,
  10 e.g., Exs. 1582.7; 1585.) Pratt and Wolfe both testified that Pratt personallyposts all the videos to
  11 the GirlsDoPornchannels on the ttibe sites. (Pratt Depo. Vol.I, 209:IO- 23; I 0/2/19 Trial Tr.
  12   151:13 - 153:16.) Pratt also writes the captions posted on thetube sites. (Pratt Depo Vol. II, 427:19.
  13 -21;432:10-22.)
  14            Free tube sites are popular, and Defendants' channelson these sites receive an enormous
  15 amount of traffic. The GirlsDoPornchannel on Pornhub is a popular channelon Pornhub,with
  16 more than 700,000 subscribersand more than 600 million views.(Ex. 1576.1.)All or nearly all of
  17 the Plaintiffs' videos were, at some point, available for free on GDP's Pornhub channel.(See Ex.
  18   1576.) According to the view-coilnteron Pornhub, Plaintiffs'videos have been viewedanywhere
  I9   from a few hundred thousand times to thirty-five million times.27 (Ex. 1576.)Each Plaintiffs video
  20   was, at some point, availablefor free on public, non-subscriptionsites. (See Bxs. 1576, 1581,
  21   1582.)
  22                                2. Defendants Intentionally "Dox"(Publicly "Out'')TheirModels or
  23                                    Permit and Encourage Internet "Trolls"to Do So
  24            Each Plaintiff has proven that after her video(s) wereplaced online,they spread throughout
  25   her social circles, includingfriends, family, co-workers,employers,teachers;and classmates.As a
  26   result, most Plaintiffs experiencedmerciless harassment.The Court finds that Defendantsknew at
  27
                27 Pratt admitted that he believes the number of views listed on Pomhub's videos accuratelyreflects
  28
       the actual number of times a video has .beenviewed. (Pratt Depo. Vol. II, 427:13 -429:22.)
                                                            -34-
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   I   the time they recruited each and every Plaintiff that this resultwas inevitable.The Court further
   2   finds that Defendants deliberatelyprofited from the videosbeing leaked to Plaintiffs' personal
   3   circles and communities. At best, Defendantsknowinglystoodby while this happened,in order to
   4   increasewebsite traffic and correspondingprofits, while falselyassuringmodelsthat this nightmare
   5   scenariocould never occur. At worst, Defendants encouragedand facilitatedthis outingprocessand
   6   even participated directly.
   7          The spread of Plaintiffs' videos throughouttheir socialcircles does not happen by chance;it
   8   is the foreordainedoutcome of a deliberate campaign by online"trolls" to identifyand humiliate
   9   women who appear in pornographicvideos. Stemming froma perversefascinationwith (and
  IO perhaps distain for) women who appear in pornography, anonymousinternetusers ("trolls")
  II   congregateon online forums such as PornWikiLeaks.com(Ex. 1735 [full list by episodenumber]),
  12   NameThatPorn.com(Ex. 1702 ["The List"]), and Schan.net(Ex. 480), to identifythes7womenby
  13   name and glean personal informationabout them. The trolls share the informationthey find-
  14   includinga model's name, biographicalinformation,links to her socialmedia accounts,and other
  15   contact information-on the forum,28 and then the harassmentbegins.Armed with the woman's
  16 social media and contact information,some trolls spend their time sendinglinks to her video to
  17   people connectedto her on social media. Other trolls contactthe models personallyto attack, bully,
  18   and shamethem, or to comment on their videos and propositionthem.
  19          Defendants admit they have been aware of such listsfor years. (Pratt Depo. Vol. II, 350:21 -
  20   351: 18; 10/2/2019 Trial Tr. 131:10-132:17). In fact, Defendantshave somethingof a cult following

  21   on these forums.Numerous websites and forums exist for thesole purposeof outingand <loxingGDP
  22   models. (See, e.g., Ex. 178 [Instagramaccount called "GirlsDoPornRealN
                                                                            ame"]; Pratt Depo. Vol. II
  23   351:25 - 352.2 [Pratt discussing "rea!IDs, maybe Girls Do Porn or just somethingdot blog spot"].)

  24   At one time, PornWikiLeakshosted a forum called, "Girlsdoporn.comGDP Girls Do Porn Exposed
  25   real names and personal family info." (Ex. 1658.)Pratt knew about this forum and the information
  26
  27          28
               Thisprocessis called"doxxing,"a slangtermthat means''to publiclyidentifyor publishprivate
  28   informationabout(someone)especiallyas a formof punishmentorrevenge."(Dax definition,MERRIAM-
       WEBSTER.COM,https://www.merriam-webster.com/dictionary/dox.)
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   I   about GDP models that was posted there. (Pratt Depo. Vol. II 354:22- 356:IO [Pratt acknowledged
   2   seeing "their real names, social medias, pictures of the videos,"knew the name of the forum, and the
   3   subtitle claiming the information came from him].) Defendantsactually owned the PornWikiLeaks
   4   forum at the time Plaintiffs' information was posted there.
   5          The Court notes that Plaintiffs need not show that Defendantspersonallyleakedthe names
   6   or participated in the harassment, although there is evidencethat they did. It is enoughthat ;.,
   7   Defendants knew that Plaintiffs' names would be leaked, that the videos would be sent to many·of
   8   the people.theyknew, and that they would be harassed. The Court has little doubt of Defendants'
   9   actual knowledge of these eventualities.Dozens of prior modelscomplainedto Defendantsabout
  IO their names being leaked in connection with the videos andabout being harassed as a result-the
  11   earliest in the record is dated July!, 2013. (Ex. 208.168 [emailfrom Jane Doe 4 to
  12 jordan@girlsdoporn.comcomplaining about harassment andbeing lied to about distribution].)Pratt
  13 was certainly aware of PornWikiLeaksin particular in February2015 when he purchaseda domain
  14   called PornWikiLeaks.org.(Ex. 1744)
  15          Despite this knowledge, Defendantsnever informedprospective models of the <loxinglists
  16   and complaints of harassment. (10/2/19 Trial Tr. 132:15-134:10 [Wolfetestifyingthat he knew
  17   about the lists and found them concerning but never told a model about them].) In fact, Defendants'
  18 business model depended on convincing models that these consequences-well-known to
  19 Defendants-were not within the realm of possibility. Defendantstherefore continuedto include
  20   the same misrepresentationin their initial recruitmentemail-- None of your personal information
  21   will be given out in the video or afterwards,no names etc. are used in the video."-as late as May
  22   22, 2019. (Ex. 5400.2 [Garcia's email to Jane Doe A].)
  23          Defendants immediately benefitted from doxxing of their models. Publicationand
  24   disseminationof the models' names and personal informationincreased views and traffic to
  25   Defendants' tube channels, increased name ID for their brand,and boosted subscriptionsales.
  26          The PornWikiLeaks forum specificallydedicated to identifyingthe women who appear on
  27   GDP at one point contained a prominent banner that read, " ... real names and personal family info
  28   Right from the owner of Girlsdopom.com ... he Exposes realnames and personal family info of
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   I   the closet whores.he films." (Ex. 1658.4 [screenshot from July 29, 2015].) This banner, published

   2   on a site owned by Defendants, provides the most straightforward and plausible explanation of how

   3   GDP models' information was routinely made available. At minimum, Defendants knowingly

   4   permitted the banner to remain, encouraging members of the forum to continue their activities and

   5   attribute them to Defendants. Defendants offer no alternative explanation.

   6           GDP model nai:nes were released in a manner that strongly sug~ests tll,atPratt was involved.

   7   internet archival history records show that on numerous occasions, multiple models were "outed"

   8   on the forum on the same day, with posts including names, pictures, social media accounts, email

   9   addresses, and other personal information. 29 (See, e.g., Ex.1658.4, .7, .12, .15, .26, .29, .32, .35

  10   [eight models outed on July 27, 2015]; Ex. 1658.46, .49, .62, .65, .69, .72, .75, .78, .82, .223, .225

  11   [eleven models outed on Sept. 17, 2015]; Ex. 1658.88, .91, .94, .97, .100, .103, .182, .185, .188,

  12   .190, .193, .196, .198, .202 [fourteen models outed on Sept. 18, 2015].) The coordinated mass

  13   releases indicate that Defendants themselves were controlling the flow of leaked information; again,

  14   Defendants offer no alternative explanation.

  15           Defendants recognized the traffic and notoriety their websites received on the

  16   Porn WikiLeaks forum and sought to maximize the benefit they received from it. Records from

  17   GoDaddy show that the domain name Porn WikiLeaks.com was transferred into Pratt's account as

  18   ofNovember 12, 2015. (Exs. 1744.551 - 552, 1744.978.) Defendants claim that Pratt purchased

  19   Porn WikiLeaks so that he could take down the names of GDP models posted there. However, the

  20   internet archival data for Porn WikiLeaks belies this purported explanation. After the transfer, the

  21   GDP doxxing pages were actively maintained for nearly sevenmonths, until eight days after this

  22   lawsuit was filed. (Ex. 1577.157; Ex. 1658.280-287.)

  23           All of this evidence points to the conclusion that Pratt owned and controlled Porn WikiLeaks

  24   for at least seven months during which time he could have removed the GDP forum but chose not

  25   to. Instead, he continued to enjoy the financial benefit that PornWikiLeaks provided to his

  26

  27
               29 The Court notes that this was the infonnation that Defendantscollected from candidateswhen they
  28
       responded to the initial Craigslistmodeling ads.
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   1   pornography business and only sought to clean up the website after Plaintiffs filed their lawsuit.

   2   Defendants failed to offer a credible alternative explanation.

   3           One particular piece of evidence confinns the likelihood, if not a reasonable certainty, that

   4 . Pratt himself posted infonnation about GDP models on PornWikiLeaks. The name and episode

   5   number of M.F., a third-party model who testified by deposition, were posted on the forum on July

   6   31, 2015,_along with similar infonnation regarding several other GDP models. (Ex. 1658.18.) That

   7   post also included one semi-nude and three nude pictures ofM.F. (Ex. 1658.18-23.) M.F. testified

   8   that she took those pictures in her college donn room at Pratt's request, and then sent them to Pratt

   9   and to no one else. No one else but Pratt could have had access to these photos because she deleted

  10   them within one week. (Deposition ofM.F. taken on April 1, 2019 at 13:7 - 25; 14:20- 15:8.)

  11           Defendants' ownership and control of Porn WikiLeaks is not an isolated incident but part of

  12   a pattern that shows that Defendants' business practices include exploiting models' real names for

  13   private gain. After first testifying that GirlsDoPorn has never used models: real names to market its

  14   website, Wolfe admitted that he owned multiple domain names containing a prior model's name ..

  15   (10/3/19 Trial Tr. 150:23 - 153:18; see also Ex. 1744.557 [showing Pratt owned a domain name

  16   containing the same model's name].) 30

  17           In sum, the Court finds that Defendants not only disseminated Plaintiffs' videos online but

  18   went a step further to widely publish Plaintiffs' identities as it suited their interests.

  19                               3. Defendants Ignore Models' Complaints or Threaten Legal Action

  20           When models eventually learn that their videos are published online and widely available to

  21   anyone in the United States, they often complain to Defendants. Of the twenty-two Plaintiffs,

  22   twelve presented documentary evidence that they attempted to contact Defendants after finding

  23   their videos online. (Ex. 208.167 [JD4], Ex. 1729 [JD6], Ex. 473,474 [JD! 1].) Several Plaintiffs

  24   testified that they attempted to contact Defendants but did not have a written record.

  25           When Defendants received these complaints and requests, they responded in a number of

  26   ways. Several Plaintiffs testified that their complaints were ignored and their phone numbers

  27
               30
  28            There is evidencethat a GoDaddyaccountassociatedwithPratt registereda domainname
       containingJane Doe l's real name on September13, 2016. (Ex. 1744.1262 -1272.)
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   1    blocked. (e.g. Jane Does 1 (Trial Tr. 09/11/19 at 211 :24 -212:22) and 9 (Trial Tr. 09/30/19 at

   2    34:15-22).)   According to testimony, Pratt, Wolfe, and Garcia actually instructed their employees

   3    to block models' phone numbers as soon as the shoot was done. (Wright Depo. 24:22, 24:25 - 25:5;

   4    Trial Tr. 09/20/19 at 122:2- 25.)

   5            Reference model Kailyn Wright testified that Defendants told her that if any of the models

   §    contacted her to complain, she should block the model's phone number and not respond. (Wright

   7.   Depo. 24:22 - 25:05.) Garcia is recorded telling McKay to "add them [prospective models] online

   8    for a little bit and then un-follow or block after they shoot." (McKay Depo. 75:11 - 17.)

   9           If Defendants did respond to a complaint personally, they often did so in a threatening
  10    manner. (Ex. 253 [Jane Doe 5]; Ex, 886 [Jane Doe 19]; and Ex. 924 [Jane Doe 20].) For example,

  11    when Taylor Rodgers learned her videos were online, she called and texted both Pratt and Garcia,

  12    accusing them of lying to her. (Rodgers Depo. 43:7-18.)      Pratt responded by text, saying, "you

  13    don't know what we are capable of, we have yout social security number." He threatened to report

  14    her to the IRS and take other unspecified actions. (Id at 44:1- 15.) As Rodgers' video continued to

  15    spread, her name became attached to it and people in her town obtained her phone number. Rogers

  16    then contacted Pratt again. (Id. at 4 7 :8 - 25.) This time, he confirmed that her name should not be

  17    attached to the video and said he would try to get it removed. This never happened. (Id at 48:2 -

  18    11.)

  19            In some instances, Defendants appeared to be willing to help the women solve the problem
  20    of public disclosure but never actually took any action. (Ex. 923 [JD20], Ex. 789 [JD16], Ex.

  21    5405.54-62 [JDA].) In other cases, Defendants referred complaints to Panakos Law, which sent the

  22    women cease and desist letters threatening legal action. (Ex. 49 [JD!], 837 [JD 17], Ex. 1740.15-

  23    16.)

  24           Defendants also threaten legal action if a prior model attempts to teU her story as a warning

  25    to others. For example, Jane Doe 17 posted advertisements in the "gigs" section on Craigslist that

  26    unmasked Defendants as GirlsDoPorn and warned women not to respond. (Ex. 834.) Panakos Law

  27    quickly removed the posts and dispatched a cease and desist letter to Jane Doe 17 that contained

  28    semi-nude pictures of Jane Doe 17. (Trial Tr. 09/03/19 at 79:13 - 25, referring to Ex. 837.)
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   1           Whenever a model contacts a website to attempt to remove a video, Defendants respond by

   2   sending the signed documents and asserting that the model is making a false claim. (E.g., Doe 8

   3   Depo. 42:7 - 43:25.) However, when models request a copy of the documents they signed at the

   4   shoot, Defendants ignore the request or refuse to honor it. (Exs. 43, 58 [JD!], Ex. 253 [JD5]; Ex.

   5   758 [JDI5].)

   6                                 4. Defendo,.ntsProfit Handsomelyfrom their FraudulentScheme ,
   7          Pratt estimated that, shortly before this lawsuit was filed, GirlsDoPorn generated $2.5

   8   million per year, and GirlsDoToys generated approximately $18,000 per year. 31 He also estimated

   9   that he has approximately 200 unpublished videos on hand and that each video has a fair market

  IO   value of between $30,000 and $40,000. (Pratt Depo. Vol. III, 56: 10- 16, 62:1 - 10.) The rights to

  11   trademarks and domain names also have intrinsic values.

  12          The Court finds that Domi was not forthcoming in producing financial information during

  13   discovery, so the revenue and value ofDomi cannot be estimated. However, Pratt admits that he

  14   received a salary of approximately $4,000 per week, or $19,000 to $20,000 per month, from

  15   Domi. 32 A portion of Defendants' revenue came from their own affiliate site, Forum.DoPorn.com,

  16   which Pratt estimated brought in $2,500 per week. 33

  17          The Parties stipulated that Defendants received a total of$I,025,831.50 in profits from the

  18   use of the twenty-two Plaintiffs' videos. (11/4/2019 Trial Tr. 40:15-19.)           Thus, it is undisputed that

  19   Defendants derived $46,628.70 from the use of each Plaintiff's video(s).

  20          Plaintiffs' financial expert Robert Taylor offered opinions on two matters. First, he was

  21   asked to project the economic benefit of Pratt's library of unpublished videos. He testified that he

  22   estimated the "present value of the economic benefit that will inure to Mr. Pratt from what I have

  23   been informed is a library of in exc_essof 200 previously unuploaded or unviewed videos" to be

  24   $4,672,194. (11/4/19 Trial Tr. 45:7 - 14.)

  25
              31 (Pratt Depo. Vol. II, 399:22-400:6.)As of May 2019, Pratt estimatedthat he received
  26
       approximately$150,000 per month from subscriptionsales processedby CCBill. (Pratt Depo. Vol. Ill,
  27   76:25-77:17.)
              32
                   (Pratt Depo. Vol. I, 254:20-255:5;Pratt Depo. Vol. III, 101:2-101-7.)
  28          33 (Pratt Depo. Vol. III, 122:24-125:9;127:5-127:9.)

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   I            Second, Taylor was asked to estimate the net worth of Pratt's entire non-Domi enterprise.

   2   Taylor testified that this net worth analysis was based on incomplete and outdated evidence. Taylor

   3   testified that he would have preferred to receive "much more current data" to use in his analysis to

   4   permit the "most accurate assessment." (11/4/19 Trial Tr. 50:24- 51:25.) In his opinion,

   5   performing the analysis with the data he had "wouldn't be as accurate or precise as if [he] had the

   6   information as of current,," (Id. at 52:1 - 9.) But he gave the most accurate estimate he could based

   7   on the information Defendants provided.

   8           To do so, Taylor started with the projected income above and added the net tangible assets

   9   ofBLL Media, Inc, and Merro Media, which he extracted from the respective balance sheets for

  10   each entity as of December 31, 2018. (Id at 49:19 - 17.) BLL Media's net assets were worth

  11   $1,009,593. (Ex. 5317; Ex. 1677.1247 - 1248 [Total Equity].) 34 Merro Media's net assets were

  12   worth $204,805. (Ex. 5317; Ex. 1677.1273 - 1274 [Total Equity].) Taylor also added the value of

  13   other assets, including Pratt's home in Rancho Santa Fe and Pratt's Lamborghini. (Id at 48:18 -

  14   49:10.) According to Pratt's bankruptcy schedule, his home netted $507,545 and his car netted

  15   $93,082. (Ex. 5317.) The sum of these amounts is $6,487,219.

  16           Based on the evidence, the Court accepts Taylor's analysis and fmds that Defendants' non-

  17   Domi pornography enterprise is worth an estimated $6,487,219.

  18                                 5. Defendants' Conduct After Plaintiffs' Brought this Lawsuit

  19                                         a. Defendants Retaliated Against Plaintiffe

  20           Shortly after Jane Doe I retained counsel in an effort to obtain a copy of the documents she

  21   signed and get her videos removed from the internet, the Court finds Defendants leveled significant

  22   harassment against her. Jane Doe 1's GDP sex video was suddenly and immediately sent to dozens

  23   of students, professors, and administrators at her law school. (Exs. 60, 63, 90- 92, 97.)

  24

  25

  26           34
                  Taylor explained that, "The net tangible assets are the amounts that are reported on the balance
  27   sheet at the end of 2018. The present value of the projected income is projectingfuture income from an
       existing library of videos, and it's just taking that future income and detennining the present value of it. They
  28   are two separate time periods. One currently exists on a balance sheet, or at least it's reported on a balance
       sheet, and the other one is future income. They are separate."(11/4/19 Trial Tr. 50:8- 17.)
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   1             While Defendants deny they had anything to do with this harassment, the record indicates

   2    that it is more likely than not that they were behind the harassment. Shortly after Jane Doe 1

   3    contacted Defendants, an article appeared on a popular gossip website, which focused on the fact

   4    that she was a law student and maliciously impugned her character and intelligence. (Ex. 77.) This

   5    article contains one telltale detail suggesting that Defendants are behind it-the unfounded

   6    accusation that Jane Doe 1 "escorts in Vegas over the summer." (Id_)Jane Doe 1 testified that this

   7    is something. Garcia asked her to say during the interview prior to heF video but she refused and

   8    said she was a hotel receptionist. (Trial Tr. 09/11/19 at 191:16- 192:11). She said that no one had

   9    ever accused her of such a thing before and that she believed the comment in the article could only

  10    have come from Garcia or Wolfe. (Trial Tr. 09/11/19 at 236:1-11.)

  11             The Court finds that Pratt, disguised as "Taylor Ann Fairchild," personally took action to

  12    spread Jane Doe l's video to important people in her life, including her employer (Ex. 99), her

  13    college soccer coach (Ex. 115), and her sister (Ex. 97). 35 Tb.esame Ann Fairchild account also

  ,14   contacted Jane Doe 21 'smother revealing the video. (Ex. 963.)

  15                                          b. Defendants Attempted to Tamper with Witnesses

  16             Two witnesses have testified that Defendants or someone on their behalf have offered them

  17    money to either refuse to speak with Plaintiffs' counsel or to engage with Plaintiffs' counsel to

  18    learn information for Defendants. After the lawsuit was filed, Defendants, through employee Kevin

  19    Gibson, offered to pay reference woman Alicia McKay $10,000 in exchange for any information

  20    she could provide about or from the Plaintiffs' attorneys. (McKay Depo. 90: 19 - 91 :22; 96:23 -

  21    97:10.

  22             Reference woman Amberlyn Clark also testified that Garcia offered her approximately

  23    $1,000 to "compensate [her] for [her] troubles of having to deal with this" and to "not talk to

  24    anyone who had been contacting [her]." (8/20/19 Trial Tr. 167:22- 169:6.)

  25

  26

  27             35 Plaintiffs' cyber expert Charles DeBarber testified that emails sent from the Fairchildaccount

  28    were sent from the same computer as emails sent by Mike@Bll-Media.com,which is undisputedlyPratt's
        email account. (Trial Tr. 09/25/19 at 229:3-24;Ex. 1777- 1779,1781 - 1782.)
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                                                                                               EXH. 1 - 042
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   1                                      c. DefendantsAttemptedto Harass and IntimidatePlaintiffe'
   2                                          Counsel
   3           Defendants have also taken highly unethical actionsagainst Plaintiffs' counsel either in
   4   hopes of intimidating them or simply to punish them. Plaintiffsoffered numerous articlesthat have
   5   been published online that contain outrageous accusationsabout Plaintiffs' counsel.(Ex. 1704.)The
   6   testimony of Witness Jamia McDonald strongly suggestedPratt was responsible. (10/29/19Trial
   7   Tr-.49:24- 50: 17 [discussing Ex. 1722.1].) Some ofthese false articles were posted on two
   8   websites that Pratt owned and controlled at one point, suggestingthat he had a hand in publishing
   9   them or at least had the ability to remove them. (Ex. 1704 [adultfyi.com]and Ex. 1744.978
  10   [PomWikiLeaks.com].)
  11          Ms. McDonald also testified that she was hired by Gibsonto call both Plaintiffs' attorneys
  12   as many times a day as possible, at all hours, in order to pesterthem and subsumetheir time. (Trial
  13   Tr. 10/29/19at 47: 16 - 27). She received $300 per week for doing so. (Id at 48:2 - 16).
  14                                      d Defendants Do Not ImproveTheir BusinessPracticesin
  I5                                          Response to this Lawsuitbut Instead,Adjust their SchemeSo
  16                                          They Can to Continueto Recruit New Models
  17          In the face of a lawsuit by twenty-two previous modelsand despite referencewomen and
  18   former employees coming forward to testify, Defendants have done nothing to change their
  19   business practices to solve any of the problems raised by the Plaintiffs. Wolfe testifiedthat
  20   GirlsDoPorn.comis still not disclosed anywhere in their documents.(Trial Tr. 10/02/19at 94:10-
  21   95:15, 96:9.)
  22          The testimony of Jane Doe A made clear that Garciais still using the same recruiting
  23   practices that are at the core of this lawsuit. (Trial Tr. 10/31/19at 36:15 - 37:14; 41:5 - 14.)As of ·
  24   May 2, 2019, Garcia was still sending the same initial stockemail. (Ex. 5400). Defendantscreated a
  25   new modeling website, CaliforniaModeling.com,that lookssimilar to BeginModeling.com(Ex.
  26   5409), which may not be as useful as a recruiting tool becauseit has been discussedby name in this

  27   lawsuit.
  28
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                                iv. Individual Plaintiff Factual Findillgs

         2           Having considered the testimony and credibility of each witness, as well as the evidence, the
         3   Court finds the following facts:

         4                          Jane Doe 1

         5           In July 2015, Jane Doe 1, clerking part-time at a law firm in Nevada, after completingher
         6   first year of law school, was in need ofa,dditional money to cover her expenses, so she appliedfer
..,
         7   modeling jobs on Craigslist. (9/11/19 Trial Tr. 147:25 - 148:21.) After responding to Defendants;
         8   ad, she received Jonathan's stock email. Jane Doe 1 exchangedemails and texts with Jonathan
         9   before speaking to him on the phone. (See Ex. 5; Ex. 9.1 [JaneDoe 1 asked by text, "where does
        10   the footage end up?" Jonathan responded, " ... I rather me explain everythingto you over the
        11 phone. It's more professional and easier."].)

        12          Over the phone, Jonathan told Jane Doe 1 that the video "was just.for this one guy in
        13   Australia on one DVD that couldn't be copied. He wouldn't know my name, I wouldn't know his.
        14   It was just all going to be confidential. There was going to be, like, documents that representedthis,
        15   that no one else could see it, it would never be online, and my name would never be attachedto it."
        16   (9/11/19 Trial Tr. 157:5 - 10.) Jonathan asked her to send him"nude photos for approvalby the

        17   owner," which he assured her would be kept "completely-confidential,"so she complied. (Id. at
        18 . 163:4- 18.)

        19          Jane Doe 1 believed Jonathan because she specificallytold him she was in law school and
        20   he said he shared her concerns about confidentiality, saying "I can't have my friends or family
        21   knowing anything either." (Id. at 157:23 - 25; 210:8 - 16.) He told her "he had shot models before
        22   for this collector, and they had never had any issues, and no one ever found out about it." (Id. at
        23   158:1- 5.)

        24          Jane Doe I also spoke with reference model Kailyn Wright via FaceTime prior to traveling
        25   to San Diego. Wright's reassurances had a "massive impact" on her decision to do the shoot. (Id. at
        26   168:8 -10.)   Upon arriving in San Diego, Jane Doe 1 continuedseek and receive assurancesabout
        27   confidentiality and distribution from both Jonathan (whom she identified as Garcia) and Ben
        28   (whom she identified as Wolfe), the videographer. (Id. at 170:17 - 173:8.)
                                                               -44-
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   1            In the hotel room, Jonathan encouragedJane Doe I to consumealcohol to calm her nerves,
   2    and she "felt the effects of the alcohol"36 by the time she washanded the documentsto sign. (Id at
   3    174:5- 10.) Ben also distracted her by filming her and askingher questionswhile she attemptedto
   4    review and sign the documents.37 (Id at 183:18 - 22.) She asked for time to read the documentsbut
   5    was told there was no time. (Id at 180:17- 181:24 [whenshe asked questions,Jonathan"asked me
   6    to cooperate and not be so 4ifficult"].) She asked for a copy of the documentsand.wastold she
   7    would receive one later, but she never did. (Id at 182:3 - 9.)
   8            She read the script without asking questions becauseshe believed she knew how the video
   9    would be used. (Id at 190:13-191:7 ["I knew I wasn't of sound mind and body, that I had been
  10 drinking, but they knew that as well because Jonathan was drinkingwith me."].) .
 · 11           Jane Doe 1 was convinced by Jonathan's continualneed to seek the approval of"the owner"
  12 by text or phone prior to and during the shoot, by Ben's Australianaccent, and by both Jonathan
  13 and Ben's repeated assurances. (Id at 172:20- 173:8, 174:11- 179:3.) Believing the ruse, Jane
  14 Doe 1 shot three videos with Defendantsand even agreed to act as a referencebefore she learned
  15 that Defendants released her video online in October 2015. (Id at 200:13 -201 :24)
  16            Jane Doe 1 learned her videos were online in October2015 when she received a call from
  17 her boyfriend, followed by a link. (Id at 210:20 - 211: 14.) She immediatelycalled Jonathan,then
  18 Ben, multiple times but neither answered,so she texted sayingit was an emergencybut never
  19 received a response. (Ex. 9 .28, 9.32 - 33.) A few days later,when she tried to call again and found
  20    the number had been disconnected,she realized that they werepart of the scheme.(9/11/19Trial
  21    Tr. 212:11 -22.) Jane Doe 1 also texted reference model KailynWright,who quickly confirmed
  22    her suspicions. (Ex. 44.1.)
  23
                36
  24                In describing the effects she felt, Jane Doe 1 stated, "I struggledchangingbetweenoutfits. When
        the collector/ownerwas picking out my outfit, I stumbled. When [ got up from the desk, at one point I just
  25    got really light-headed and a bit dizzy. There was another point where,when I used the restroom,I wiped
        and I missed throwing it into the toilet." (Sept. 11, 2019 Trial Tr. 188:18-24.) Filling out the documentswas
  26    "a little bit difficult" because she felt "intoxicatedat that point." (Id. at 183:16-21.)
                37
  27              Jonathan and Ben instructedJane Doe 1 on how to answerthe questions.She mostly respondedas
        they requested, with one exception:they asked her to say she was an escort in Las Vegas. She refused
  28    because "it was illegal, and there were a million other things we could come up with for creatingthe story."
        (9/11/19 Trial Tr. 191:12-193:2.)
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   I           She sent an email to an address she found on the GirlsDoPomwebsite (Ex. 47), but this time
   2   she received a response--a cease and desist letter from PanakosLaw threateningto seek a
   3   restraining order. (Ex. 49.) At this point, Jane Doe I retainedMr. O'Brien, who contactedMr.
   4   Sadock on October 28, 2015 requesting copies ofthe agreementsat issue, (Ex. 43.1-2.), which
   5   were not produced at that time.

   6           Withi;!}days, students, professors, and deans at her law school,.beganreceiving calls and
   7   emails referencing or containing links to her video. (Exs. 60 [11/12/1:5];63; 1653.97; 1653.250
   8   [11/18/15]; 1653.249 [11/22/15]; 90, 91, 93 [all 12/12/15].)Approximately60 emails of this type
   9   were sent to herlaw school. (Ex. 1653.303- 307; 9/11/19 Trial Tr. 221 :14-22.) When Jane Doe I
  IO received a threatening phone call, she began to fear for her safety and so reached out to her dean for
  11   assistance and filed a police report. (Ex. 1653.120; 9/11/19Trial Tr. 228:2- 15.)
  12          On November 20, 2015, Jane Doe I received a message from someone forwardingher an
  13 article about her from TheDirty.com, a popular gossip website,which was also forwardedto her
  14   law school. (Ex. 77.2-14; 1653.250.) This article, viciouslyattacked Jane Doe I and, importantly,
  15   contained an accusation that she "escorts in Vegas over the summer." (Ex. 77.2.) This detail led
  16   Jane Doe I to believe that the article came from either Garciaor Wolfe, who were the only two
  17   people in the room when Garcia encouraged her to say on the video that she was an escort in Vegas.
  18   (9/ll/19Trial Tr. 236:1-11.)
  19          In or around the end of December 2015, the Court finds that Pratt, disguisedas "Ann
  20   Fairchild," began reaching out to important people in Jane Doe l's life and informingthem about
  21   the video.38 He sent an email disclosing the video to the law firm where she was working (Ex. 99)
  22   and to her college soccer coach (Ex. 115), as well as a Facebookmessage to her sister. (Ex. 97.)

  23
  24          38
                  Plaintiffs'cybersecurityexpertCharlesDeBarberconcludedthat the probabilitythatthe Ann
       Fairchildaccountwas operatedby anyoneotherthan MichaelPrattwas "waypast lotteryodds."(9/26/19
  25   TrialTr. 74:13 - 75:6.) He testifiedthat aftersending"honeypots"(emailsthat containa mechanismthat
       createsan auto-responsewhenopened)to mike@BLL-media.com       and to the AnnFairchildaccountand
  26   receivingresponsesto both includingIP addressand VPN information,"therewasno otherreasonable
  27   conclusionbut the samepersonbehindthat BLLMedia[account]was the sameas AnnFairchild."(Id at
       60:2 - 61 :23.) Giventhatthe two "pings"had"the sameIP addressfor that VPN andthe sameuser-agent
  28   string[whichroughlyidentifiesthe type of device]withinsix minutes,"therewasno otherreasonable
       conclusion.(Id at 60:4- 7; 62: 2-13.)
                                                          -46-
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   I   Jane Doe I believes that the communications disclosing the video to her law school, employer,

   2   former coach, and sister came from Defendants or someone acting on their behalf as a form of

   3   retaliation for her decision to retain an attorney and take action.

   4          On November 10, 2015, Jane Doe I learned aboutPornWikiLeaks from Kailyn Wright. (Ex.

   5   44.7 - 9.)39 She visited the forum but did not see any infonnation about herself until November 26,

   6   2015-well    after the first emails were sent to her law school and after the article in The Dirty
       ~                                                          "

   7 .appeared. (Ex. 112.1.) Within days, pictures and links to her social media, law school website,

   8   modeling profile on Mode!Mayhem.com, the article on TheDirty, her college soccer team website,

   9   and her current employer were posted on the forum. (Ex. 112.1 -9.)

  10          The release of the video had and continues to have a significant impact on Jane Doe I,

  11   perhaps more so because of her chosen career path. As a result of the messages to her law school,

  12   Jane Doe I, who was previously very active in law school, stopped participating in school events
                                        .                                                           .
  13   and activities, and began to hate school. (9/12/19 Trial Tr. 14:3 - 7, 20:4-17.)    She struggled to

  14   focus in class; she had to have a friend walk her to class because she frequently threw up on the

  15   way to class due to the anxiety of being seen in public. (Id at 70:21 - 71 :4.) Although she

  16   completed law school and passed the bar exam, Jane Doe 1no longer wishes to be an attorney

  17   because of the impact the video has had on her reputation. (Id. at 73:1-9.)    Jane Doe I testified that

  18   she used to want to be a mother, but now she feels that she cannot because she would not want to

  19   put a child through what she is going through. (9/12/19 Trial Tr: 76:7 -15.)

  20           Jane Doe I experienced fear and paranoia after receiving a threatening phone call in which a

  21   male voice called her a disgrace and stated her address and where she walked her dog. (Id. at 69: 11

  22   - 19 [at the time she happened to live in the same apartment building as at least one of the

  23   defendants].) She has severe anxiety and depression for which she has been prescribed multiple

  24   medications. (Id. at 67:5-10;   9/17/19 Trial Tr. 118:16-25.) She has twice attempted suicide: first,

  25   by taking a bottle of pills within a month or two after the video appeared online, and second, in

  26
               39 Jane Doe 1 used PornWikiLeaksto contact other modelsfilmed by Defendantsas researchfor her
  27   own case. She told them her story, informedthem she was filinga lawsuit, and let them know that they could
       likelyjoin if they wanted. If these women responded, she referredthem to her attorneys.(9/12/19Trial Tr.
  28
       38: JO- 39:25; 40: 1 - 3 [nobodyencouraged her to recruit plaintiffsfor the lawsuit].)
                                                          -47-
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   I   2018, when she attempted to load her boyfriend's pistol, but it dischargedaccidentallyand lodged a
   2   bullet into the floor. (9/12/19 Trial Tr. 76:16-77:15.)
   3          The Court finds Jane Doe I to be credible.
   4                          Jane Doe 2

   5          After responding to a Craigslist ad for modeling in early 2015, Jane Doe 2 received
   6   Jonathan's stock emaii.40 Jane Doe 2 tespfied that when she spoke on the phone with Jonathan, ''I-
   7   asked him numerous times if anyone I know would know, if it was private, and he reassuredme •
   8   many times that I had nothing to worry about." (9/25/19 TrialTr. 56:22-24.) Jonathantold Jane
   9   Doe 2 the video would be distributed on DVDs overseas; he never mentioned on!ine distributionor
  10   GirlsDoPom.com. (Id at 57:2- 12.) She was told the video was for a "private buyer." (Id at
  11   110:15 - 18.) Jonathan asked her for nude photographs, so she took and sent some pictures without
  12   showing her face. (Id at 24:14- 16.)
  13          Jane Doe 2 received contact information for three referencemodels. (Id at 59:1 - 6.) She
  14   spoke to one of the references who assured her "I didn't haveto worry about it in terms ofmy
  15   concern of where the videos would go and who would see it and my privacy." (Id at 58:8-11.)
  16   She did not contact the other two references, but was reassuredby the fact that he had provided so
  17   many. (Id at 59:8.)
  18          In person, when Jane Doe 2 asked both Jonathan (whomshe identified as Garcia) and Isaac
  19   (whom she identified as Wolfe), the videographer, about distributionof the video, "[t]hey said not
  20   to worry about it and that we already talked about it." (Id. at 67: 15- 25; 118:3 -24.) Prior to the
  21   shoot and prior to receiving the paperwork, Jane Doe 2 inhaledGarcia's second-handmarijuana
  22   smoke. (Id at 64:13 - 17.) However, she believes she was not intoxicated.(Id at 119:16- 21.)
  23          When Garcia presented her with the documents to sign, Jane Doe 2 attempted to read them
  24   but "they were not very clear to fully read and understand."(Id. at 65: IO- 11.) She testified that
  25   she asked for time to read the Model/Talent Release, but "[t]hey rushed me and told me that we
  26   already went over it and to sign it." (Id at 124:11 -24; see also 123:2- 8.) Jane Doe 2 asked about

  27

  28           Jonathanstatesin an email:"Phonecallsare moreprofessional,
              40
                                                                       directand informative."(Sept. 25,
       2019TrialTr. 56:1-2).
                                                    -48-
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   1   the script when Isaac/Wolfe handed her the paper, but he simply instructed her to read it into the

   2   camera. (Id at 66:2 - 11.)

   3           Based on Defendants' representations, Jane Doe 2 filmed two videos, both of which

   4   Defendants later published online. (Id at 69:22 - 70: 1.) Garcia reached out asking her to do a third

   5   video but she did not respond. (Ex. 149.) Jane Doe 2 testified definitively that she would not have

   6   filmed the videos if she had !fnown that Defendants owned and operated a website ll!Nthat the

   7   video would be public. (9/25/19 Trial Tr. 96:24- 97:13.)

   8           When she learned that the video was online from her boyfriend at the time, Jane Doe 2 was

   9   "scared and anxious." (Id. at 69:22- 70:22.) Soon thereafter, she learned that everyone at herjob

  10   knew about the video and people were gossiping, so she stopped going to work without giving

  11   notice. (Id at 94:14-17.)   Many people from her high school who learned about the video called

  12   her derogatory names and she Jost friends as a result. (Id. at 93:24- 94:6; Ex. 138 [harassment from

  13   someone she believed to be a friend].) Her family found out about the video, and even they have

  14   lost friends as a result. (9/25/19 Trial Tr. 13 - 21.)

  15          Jane Doe 2 received harassment through social media, including "many unwanted pictures

  16   of random guys and their private areas." (Id at 87:14- 88:23; Exs. 147, 148, 150.) People have

  17   used the video to blackmail her, threatening to spread the video to her friends, family, and

  18   boyfriend if she did not do soll).ethingfor them. (9/25/19 Trial Tr. 87 :3 - 9.)

  19          Jane Doe 2 attempted to change her appearance because she was afraid of going out in

  20   public and being recognized. (Id at 95:22 - 96:4.) She testified that she isolated herself ("I went to

  21   work or school and would just come straight home, nothing else") and avoided all interactions. (Id

  22   at 94:21- 95:6.) She has experienced severe anxiety and panic attacks, which still occur.today. (Id

  23   at 95:2- 6.)

  24          The Court finds Jane Doe 2 to be credible.

  25                           Jane Doe 3

  26          Jane Doe 3 was 19 years old and attending college in San Diego when she received an email

  27   from Defendants in the fall of2013 saying they saw her profile on Explore Talent and asking her to

  28   fill out an application on BeginModeling.com. (10/1/19 Trial Tr. 10:20-11:2.) Thereafter, she
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    1   received the stock email from Jonathan. (Ex. 151.) She did not respond until March 2014 when she

   2    became behind on her rent and was in danger of eviction. (fd. at 13:10 - 17.) When Jane Doe 3 and

   3    Jonathan spoke on the phone, he told her "that it was going to be exclusively on DVD in South

   4    America, and that my name would never be associated with it. ... He assured me that it would not
   5    be on the Internet." (Id. at 15:9 - 23.)

   6            Jane Doe
                       ~,
                          3 exchanged text messages with the reference model,..~ho confirmed that the
                                                                                   ·,,



   7    video was "coJ:npletelyanonymous" and a comfortable experience. (Id. at 18:20-24.) She testified

   8    that this communication "helped solidify my decision;' and made Jonathan seem more trustworthy.

   9    (Id. at 18:25 -19:5.) Jane Doe 3 met Jonathan (whom she identified as Garcia) and Ben (whom she

  10    identified as Pratt) at an apartment on Market Street before they drove together to a hotel to shoot

  11    the video. (Id at 19:25 - 21 :7 [explaining that although she was scared at first, she became

  12    comfortable with Defendants while chatting in the car on the way to the hotel].)

  13            In the hotel room prior to the shoot, Jane Doe 3 asked Pratt about distribution twice,

  14    specifically whether it was still going to be distributed as a DVD in South America; he assured her

  15    that "it's definitely going to be" and told her not to worry about it. (Id at 21 :22- 28.) Jane Doe 3

  16    trusted Defendants because "they offered up a lot of infonnation. They reassured me on multiple

  17    occasions it wasn't going to be online." (Id. at 61 :11 - 17.)

  .18          When Ben gave Jane Doe 3 the documents to sign, h.etold her it "was basically just going

  19    over everything we agree upon" and told her she could pick a stage name. (Id. at 22:13 -16; 24:2-

  20    3 [writing "Marie" as a stage name].) While she was signing, Pratt distracted her by filming and

  21    interviewing her, asking personal questions. (Id at 22:23 - 23 :8.) She skimmed the document but

  22    found it confusing; she signed based on Defendants' repeated representations. (Id at 23 :24 - 24: 1.)

  23    She asked for a copy of the documents she signed, and Pratt said he would mail her a copy but

  24    never did. (Id at 24:19- 23.) Jane Doe 3 was never asked to read a script.

  25           During the interview on the bed, Pratt asked Jane Doe 3 about past sexual experiences and

  26    relationships. (Id at 25:3 - 4.) Believing no one she knew would ever see the video, she shared

  27    personal information about herself as well as other people th.atsh.e would not have shared if she had

  28
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   1   known the video was destined for the internet. (Id at 25: 1- 24.) Jane Doe 3 testified she would not

   2   have shot the video if she had known it would he online. (Id. at 77:26 -28.)

   3             Jane Doe 3 learned that her video was online in July 2014 when her manager pulled her

   4   aside while she was at work and told her that a video of her was "going around." (Id. at 27: 15 - 22.)

   5   She was humiliated and had what she would later learn was her first panic attack. (Id. at 27:24 -

   6   28:
        - 11.) She withdrew from the group of co-workers with whom she socialized frequently. (Id at
                                     '                               ~




   7   78:15-20.) Soon thereafter, her friends from school began to discover the video. (Id at 29:4-

   8   30:9.)

   9             A friend of a friend attempted to blackmail her into having sex with him by threatening to

  10   spread the video if she did not accept his advances. (Ex. 172; 10/1/19 Trial Tr. at 30: 12 - 33 :6 [she

  11   was so frightened by this that she locked her front door and her bedroom door].) Jane Doe 3 and her

  12   boyfriend at the time eventually broke up because of the video; "He would constantly bring it up

  13   and we were really never able to move on from that." (10/1/19 Trial Tr. 34:16-19.)

  14             She ultimately moved to Florida "for a fresh start" and because San Diego was "tainted" for

  15   her after the video came out. (Id at 35:2 - 8.)

  16             Jane Doe 3, her friends, family members (E.g., Ex.175, 5426 [harassment received by

  17   mother]; Ex. 5424 - 5425 [friends being harassed], and current boyfriend are all harassed on social

  18   media. (10/1/19 Trial Tr. 36:11 - 14; 40:15 -24; see, e.g., Exs. 162- 166, 170, 173, 174.) Now,

  19   more than five years later, she still receives comments and messages and she is still impacted

  20   emotionally by them. (10/1/19 Trial Tr. 36:15 - 18; 41 :21 - 24; 39:17 - 26 [most recently, people

  21   from her hometown learned about the video]; 50: 2 - 4; Ex. 5318.)

  22             Jane Doe 3 believes the release of the video has impacted her long-term mental health. She

  23   continues to experience acute anxiety that more people will learn about the video, along with

  24   elevated anxiety generally; she now has panic attacks, which she never had before the video was

  25   released. (10/1/19 Trial Tr. 57:10- 58:8.) She is concerned that her 13-year-old brother or his

  26   friends will discover the video; she is concerned the video will affect her ability to go to medical

  27   school, and she "can't even think about a family." (Id. at 59:4- 13.)

  28            · The Court finds Jane Doe 3 to be credible.
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                                              STATEMENTOF DECISION


                                                                                         EXH. 1 - 051
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   1                           Jane Doe 4
   2            Jane Doe 4 was a 20-year-old unemployed student living in North Carolina when she saw a

   3   Craigslist ad for modeling that directed her to "BubblegumCasting.com." (Aug. 28, 2019 Trial Tr.

   4   79: 1 - 18.) On the website, Jane Doe 4 saw and watched three videos depicting "just girls in

   5   regular tank tops. They seemed very happy." (Id. at 80:20- 81 :6.) Prior to flying to San Diego,

   6   Jane Doe 4 communicated with Garcia and l;'ratt by email, text, phone call, and Face Time. (Id at

   7   85:6-20.)Pratt    and Garcia told her "it was only going to be sent to a DVD store in Australia, my·

   8   name wouldn't be attached, no one would ever know .... They said it wouldn't go on the internet."

   9   (Id at 86:2 - 18.) Speaking with Garcia and Pratt over FaceTime made her feel more comfortable ..

  10   (Id at 85:19- 86:22 [she asked again about distribution and they reassured her].)

  11            Defendants offered Jane Doe 4 contact information for a reference model but she did not

  12   contact her because she "didn't want anyone else to know that I was doing it. ... Just the offer

  13   made me feel a little bit more comfortable." (Id. at 88:9-18.)

  14            When Jane Doe 4 asked about distribution again in the car after arriving in San Diego,

  15   Defendants continued to reassure her. (Id at 89:25 - 90:5 ["They told me the same thing they kept

  16   telling me, Australia and no one would ever know, don't worry."].) Upon arriving in the hotel

  17   room, Pratt gave Jane Doe 4 approximately 5 to 6 alcoholic beverages from the minibar, which she

  18   testified made her feel "dizzy, lightheaded, especially when I sat_down." (Id at 91: 15 - 92:12.)

  19            Defendants put a stack of money and a piece of paper on the desk for Jane Doe 4 to sign;

  20   she counted the money, which was $2,000, the amount she was promised. (Id. at 92:23 - 94:20.)

  21   When she asked why she needed to sign anything, "They told me just to prove that I was 18, just

  22   reiterated what they already told me about distribution." (Id at 93 :2- 12.) She attempted to read

  23   the documents, but she found it difficult in her intoxicated state. (Id at93:15 - 94:6.) She does not

  24   recall reading the script into the camera, and she appeared intoxicated in the video. (Id at 94:21 -

  25   95:2.)

  26            After the sexual portion concluded, Defendants left abruptly and, feeling upset, Jane Doe 4

  27   left the room. When she returned, most of the money they had given her was gone-there        was an

  28   envelope of money, which contained a few $20s and a stack of$1s, totaling $400. (100:21-
                                                         -52-
                                             STATEMENT OF DECISION


                                                                                         EXH. 1 - 052
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   1   101 :21.) Since Pratt was the only person with a key to the room to her knowledge,she believeshe

   2   took the money. (101:22-102:4.)
   3          Jane Doe 4 discovered the video had been releasedonline about two months after the shoot,
   4   in late June 2013, when her friend informedher that the videowas circulatingthroughher college
   5   campus and a neighboring campus. (103:7 - 104: 14; 111: 19- 112:7 [she ultimatelylearnedthat
   6   hundreds or maybe a thousan4,peopleat these schools knewabout the video].)Jane DuJ 4
   7   immediatelysent an email t0 GirlsDoPornbeggingthem to take it down, saying "I never authorized
   8   it to be put online. I was told it would be sent to a DVD in Australiaonly," and asking for her
   9   contract. (Ex. 208.168.) She describedthe harassment and her desperation;she threatenedlegal
  IO action, but she never received a response. (Id)
  11          Jane Doe 4 was forced to transferto a school in anotherstate to find a "fresh start." (112:8 -
  12   12.) Upon starting school in Florida, Jane Doe 4 joined a sorority,but she was kicked out three

  13   weeks later because someone found the video. (Id. at 114:4-22; Ex. 208.54 - 56.) The video
  14   spread quickly, and she soon received text and social mediamessagesabout it, especiallyon the
  15   school's message board. (Ex. 208.59 - 76, 208.169 .) One of her roommatesposted a tweet saying,
  16   "MY ROOMMATEIS A PORNSTAR" and played the video over the speakersin the house so that
  17   Jane Doe 4 would hear it. (8/28/19 Trial Tr. 114:23 - 117:13 [she felt betrayed becauseshe thought
  18   this was a friend].) Someonevandalizedher car by paintingmale genitaliaon the windows.(Ex.
  19   208.57 - 58.)

  20          Soon, people from her hometownin New Jersey discoveredthe video when someoneposted
  21   it on her high school's Facebook page. (Id at 112: 15 - 23.) Bothher immediateand extended
  22   family found out. When her mother and father found out, she felt as if she "completelyfailedthem
  23   as a daughter.... that was my worst nightmare."(Id at 113:1 - 16.) Althoughher parents have
  24   been very supportive,her extendedfamily has not been so forgiving-she no longerhas much of a
  25   relationshipwith her extended family and avoids family gatherings.(Id at 113:17-21;       135:9-

  26   16.)

  27          Jane Doe 4 has continued to be harassed on social media, via text, and even in person.
  28   "People who recognize me from the video, if they see me, people call me names. They take pictures
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                                                                                        EXH. 1 - 053
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   1   ofme." (Id at 134:2 - 15.) The video has impacted her romanticrelationships.The person she was
   2   dating at the time the video was released was harassed and ridiculed her as a result. Another
   3   boyfriend broke up with her specifically because he and his family learned about the video. (Id at
   4   138:14-23.)

   5          After the video was released in Florida, Jane Doe 4 was ridiculed for her body, so she
   6   started making b~rs.elfvomitto lose weight. (Id. at 136:15-23.) Jane Do<';4 testified that,
   7   emotionally, she is "not the same person at all anymore." Shehas experienceddebilitatinganxiety,
   8   depression, paranoia, fear, and anger as a result of the video. She has trouble focusing and trusting
   9   people. She has cried "thousands" of times over the video and has not had a full night's sleep since
  10   it was released. (Id. at 135:17 - 136:9.) She has sought medicaltreatmentfrom her primary doctor,
  11   a psychiatrist, and a therapist regarding her symptoms. (Id at 136:24- 137:6.)
  12          The Court finds Jane Doe 4 to be credible.
  13                          Jane Doe 5

  14          Jane Doe 5 was 17 years-old41 and living alone in Floridawhen she first communicatedwith
  15   Defendants about doing a pornographic video after respondingto a modeling ad on Craigslist.
  16   (9/18/19 Trial Tr. 8:19- 9:1.) In an email, Jane Doe 5 askedJonathan whether he could provide

  17   "any clips or anything from the company's work" and whetherthere was "any contracting·
  18   involved." (Id at 12:13 -13:5; Ex. 218.) Jonathan responded,"I can go over everythingwith
  19   precise detail. It's more direct and professional, is there a number I can reach you at?" (9/18/19
  20   Trial Tr. 12:22-13:2; Ex. 218.)
  21          When she spoke with him on the phone, Jonathan explainedthat "the video was for a private
  22   collector" located in Australia and no one else would ever see it. 9/18/19 Trial Tr. 13:12-22.) He
  23   further stated that "the video would be sent in a sealed envelopeand he [the collector]was legally
  24   contracted not to redistribute or produce the video we were making." (Id at 13:13 - 16.) Jonathan
  25   told her that her name and information would never be released, which made her feel confident.(Id

  26
  27          41 Defendantswereon noticeJane Doe 5 wasonly 17 yearsold whentheyrecruitedher andwhen

  28   they bookedher flightto SanDiego.(17:17-18:10 [notingDefendantshadto useherbirthdayto bookher
       flight.)
                                                      -54-
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                                                                                        EXH. 1 - 054
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   1   at 14:11 - 15.) Jonathan told her it would not be on the internet, and he never mentioned

   2   GirlsDoPom.com. (Id at 14:24- 15:2.)

   3           Jane Doe 5 spoke with a reference model named Hailey who assured her "that everything

   4   was safe, that they weren't scammers ... most importantly that it never got back to her, it never

   5   went online, and no one ever found out about it." (Id at 16:19- 17:6.)

   6           Although she was only 17 at the time, Defendants a~kedher to send nude pictures of herself.

   7   (Id at 16:5 - 14.) Defendants booked Jane Doe 5's flightso that she arrived in San Diego on her

   8   1S'hbirthday. (Id. at 19:2 - 11.)

   9           Once in San Diego, Garcia invited Jane Doe 5 out to a club with his friends to celebrate her

  10   birthday with dancing and drinking. (Id at 19:12-20.) 42 The following day, Pratt purchased a

  11   birthday cake to use in the video to emphasize her age. (Id at 20: 17 - 21 :5 ["He said the private

  12   collector really liked how young I was and wanted to make like a scene with it to show that I was

  13   just turning 18."].)

  14           In the hotel room, Pratt instructed Jane Doe 5 to read the script into the camera, explaining

  15   that "it was just something saying that I was sober and not under the influence of drugs or alcohol."

  16   (Id at 22:5 - 8.) Pratt also gave her documents to sign and began rushing her. Jane Doe 5 testified,

  17   "I told them I was sorry, I just wanted to make sure I knew what I was signing. And Michael told

  18   me it was - - what I just read pretty much, that it was just me saying I was sober and not under the

  19 . influence." (Id at 22:12-21.)     Garcia and Jane Doe 5 smoked marijuana together both the night

  20   before and after the shoot finished. (Id at 20:6; 25:6- 7.)

  21           Believing Defendants representations, Jane Doe 5 filmed two videos (the first with Garcia

  22   and Pratt as videographer, the second with Wolfe as videographer) and, before her videos were

  23   released online, was paid to act as a reference for 3 to 4 prospective models. (Id. at 26:3 - 20.) After

  24   filming with Defendants but before Defendants released her video online, Jane Doe 5 participated

  25   in an adult film produced by Reality Kings as a background actor; she took off her clothes but did

  26
               42 Jane Doe 5 believes that Garcia purchasedher alcoholicbeverages.He told her that "it was fine"
  27
       for her to drink but "to not drink too much becausethe private collectordidn't want me to be hungoveror
  28   have glazed-overeyes in the video. And that Michael was goingto be upset if he found out that we went
       out." (Id. at 19:21-20:3.)
                                                           -55-
                                              STATEMENTOF DECISION


                                                                                           EXH. 1 - 055
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   1   not engage in any sexual acts-because       she knew that video was going to be released online and

   2   she "didn't want that to be on the Internet." (Id. at 28:13 -29:17.) 43

   3           Jane Doe 5 was considering doing a third shoot when her boyfriend advised her to obtain a

   4   copy of the documents she signed. (Id. at 34:5- 35:17.) She asked Pratt via text for a copy of her

   5   documents, and, rather than complying, Pratt asked, "Whats the deal your trying to fuck us over or

   6   something?" [sic] and never sent her the docurp.ents. (Ex. 253.)

   7           Shortly thereafter, she learned her video was online on several free porn sites, and she was

   8   devastated to find that her name was listed in the comments and people she knew were

   9   commenting. (Ex. 243.) Jane Doe 5 saw her name and links to all of her social media published on

  10   PornWikiLeaks along with her episode number. (Ex. 241.) She started "getting bombarded with

  11   harassment." Angry and upset, she sent Pratt and Garcia a text sarcastically thanking them for

  12   putting her whole video on Pornhub and informing them that she was "being harassed by [her]

  13   entire hometown." (Ex. 238.)

  14           Jane Doe S's social media was flooded with comments from strangers and people she knew:

  15   "They were all just sending me nasty things, soliciting, trying to solicit sex from me, sending me

  16   links and pictures and videos. Someone made a Facebook page with pictures of me with ejaculate

  17   on my face as the profile picture and where they would have discussions about the video, share

  18   their collages that they were making." (9/18/19 Trial Tr. 43:25 - 44: 14; e.g., Ex. 251, 249, 246.)

  19           Her family learned about the video and refused to talk to her. (9/18/19 Trial Tr. 39:4- 8.)

  20   Her mother received a Facebook message from a woman who sent a screenshot of Jane Doe 5

  21   having intercourse with Garcia and commented in Spanish, "Your daughter is a slut." (Id at 45:21 -

  22   46:11; Ex. 268.) Her mother was "livid. At first she was saying the same mean things that people on

  23   the Internet were saying." (9/18/19 Trial Tr. 50:21 - 51: 13 [someone left a note on her mother's car

  24   at the church referencing the video].) Jane Doe S's younger sister (who was 12-14 years old at the

  25

  26

  27           43
                  Noting she was not the main focus of the video, Jane Doe 5 testified that she decidedto do the
  28   Reality Kings video even though she knew it would be publishedonline because she is "comfortablebeing
       topless." (Id at 30:19-25.)
                                                           -56-
                                              STATEMENT OF DECISION



                                                                                            EXH. 1 - 056
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   1   time) was approached about the video many times, harassed and solicited for sex on Facebook. (Id
   2   at 51.:21- 52:5.)

   3           Jane Doe 5 received harassing messages from an ex-boyfriendthreatening to send the video
   4   to her mother (Ex. 254) and to her father on Christmas day. (Ex. 250, 255.) Her father later received

   5   links to her video from multiple people. (9/18/19 Trial Tr. 50:5 -16.) Even though she changed her

   6   phone nwnber due to harassment_from the video, people have still found it and called to harass her

   7   as recently as two weeks before she testified at trial. (Id at 59:6- 18.)

   8           The release of the video has had a profound impact on her mental health. Prior to the

   9   release, she had never experienced anxiety or had a panic attack. Since the video, she experiences

  IO anxiety daily and has suffered more than ten panic attacks. She has become very depressed and
  11   isolated herself from her friends and family. She was prescribed a sedative because she struggles to
  12   sleep at night. (Id. at 59:19- 60:20.)

  13           Since the video's release, she has sought medical treatment nwnerous times, been on Zoloft,

  14   Celexa, beta blockers, and Trazodone, but had to stop taking antidepressants because they

  15   interfered with her work. People tell her she has developed a very unhealthy drinking habit.

  16   Overall, the video has done significant damage to her interpersonal relationships and professional
  17   life. (Id at60:22-61:12.)

  18          She has many concerns about the future-what will happen when she gets married, whether

  19   she should have children, whether it is possible for her to still have a successful career in academia.
  20   (Idat61:13-22.)

  21          The Court finds Jane Doe 5 to be credible.

  22                          JaneDoe6
  23          Jane Doe 6 was 18 years old, finishing her freshman year of college in Louisiana, working

  24   15 to 20 hours per week, and living paycheck-to-paycheck when she responded to Defendants'

  25   Craigslist ad for modeling in May 2016. (9/27/19 Trial Tr. 10:5 - 17.) When she first received

  26   Jonathan's stock email offering $5,000, she did not respond. (Id. at 18:9-15 [Ex. 276].) When

  27   Jonathan increased the offer twice to $7,000 (apparently for one shoot with the option of doing a

  28   second) and told her she could bring a friend, she responded. (Id. at 26:3 - 29:7 [Ex. 278, 284].)
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                                            STATEMENT OF DECISION



                                                                                         EXH. 1 - 057
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       1    The offer to let her bring a friend and to let her "talk to as many girls as possible" made her feel
       2    more comfortable. (Id. at 26:21 -29:18.)

       3            Over the phone, Jonathan explained that the video would only be sold on DVD in Australia,

    4       "it would never reach the Internet," and her "name would never be attached in any type of way."

    5       (Id at 31: 11 - 32:5.) When Jonathan sent her pictures, "it looked like everything he was promising

    6      me. I mean, they li.~dnice cars. The hotel rooms looked very nice. It looked very professional. The

    7      girls looked happy. They had their money in their hand, smiling. They leoked safe." (Id at 34:4-
    8       13 [Ex. 285].) ·

   9               Although Jane Doe 6 thought Jonathan seemed trustworthy, she had not made up her mind

   10      to do the video until she spoke with two reference models on the phone. (Id. at 38: 17 - 20.) The

  11       first, Amberlyn [Nored Clark], reassured Jane Doe 6 that Defendants were truthful and that they did

  12       in fact send the video on DVDs to Australia, that "she's shot with them before and she's never had

  13       a problem ....   And she said that no one ever found out about it." (Id. at 42:16-43:1.) The second

  14       reference also reassured her that the video "does not go on the Internet whatsoever." (Id at 43:3 -

  15       12.) Jane Doe 6 decided to do the video after speaking with the references "[b]ecause they seemed

  16       really genuine and [... ] they assured me that they have never had problems with it, and [ ... ] it felt

  17       really good hearing that from another woman that has filmed with them that they have never gotten

  18       harassment or it does not go on the Internet. So it was a lot ofreassurance." (Id. at 4 3: 13 - 23.)

  19               Upon arriving in San Diego, Jane Doe 6 continued to seek assurance. When Reva Yousif

  20       picked her up from the airport, Jane Doe 6 told her she was "really nervous about being there" and

  21       "having second thoughts." (Id. at 49:2 - 4.) Ms. Yousif was "reassuring me that everything is

  22       going to be okay; just make your money, like no one is ever going to know about it. And I kind of

  23       thought of her as a motherly figure, like she was very comforting and very sweet, and I really liked

  24       her." (Id. at 49:5-10.)

  25               On the day of the shoot, Garcia offered Jane Doe 6 marijuana, but she refused. (Id. at 57: 1 -

  26       8.) In the hotel room, cameraman Teddy Gyi and Garcia had Jane Doe 6 perform a "strip tease"

  27       before asking her to sign any documents or read the script; she did both wearing a robe, after

  28       getting fully naked on camera. (Id. at 60:4 - 15; 67:9 - 20.)
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                                                 STATEMENT OF DECISION


                                                                                               EXH. 1 - 058
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       1           Upon receiving the documents,Jane Doe 6 tried to read the documentsbut foundthem
     2      confusing; "Teddy was paraphrasingevery section ofit for me so that I could understand.... He
     3      said that this paragraphjust means that no names are goingto be used and everythingis kept
     4     confidential.This paragraph means that we have - - like this gives us the right to put it on DVD
     5     format to Australia." (Id at 62:15 - 25.) Jane Doe 6 believedTeddy becausehe was, at that point,
     6     the fifth person to assure her of the things she had been promi~ed.(Id at 63:7-13.) Whileshe
    7      filled out the documents, Teddy filmed her and asked her questions,which was distracting.(Id at
    8      63: 18 - 64:18.) Teddy also asked her to read a script into the camera,which was, he explained,to

    9      show that she was sober, no one had forced her to be there,and that it meant she was lettingthem
   10      distribute the video on DVD in Australia. (Id. at 68:7 -15; 70:5 - 24.)
   11              Based on the representationsof Defendantsand theiragents, Jane Doe 6 filmed one video.
   12      After filming, Garcia again reassuredher that no one would find out about the video when she
   13      continued expressingconcerns. (Id. at 73:13 -25 ["He was like, 'I've done hundreds,and no one
   14      knows who I am. Everything is okay. You will be fine."'].) Jane Doe 6 testifiedthat no one ever
   15      mentioned GirlsDoPom.comor indicated the video would be on!ine;she stated definitivelythat she
   16      would not have done the video if anyone had. (Id at 58:9-14.)
  · 17             Jane Doe 6 learned her video was online in early August2016 when someonefrom her high
   18      school texted her some pictures from her video. She was distraughtand immediatelystartedlooking
  19       for ways to remove it. (Id. at 87 :8 - 22.) She quickly discoveredher video on many free websites,
  20       including Pomhub, and sent emails to all of the websites she could find, beggingthem to take her
  21       video down. (Id. at 97:12 - 24 [e.g., Exs. 312, 313, 315, 316, 317].)
  22              She did not try to contact Jonathan after the video was releasedbecause she was afraid of
  23       him and did not trust him. (Id. at 144:23 - 145:4.) Instead, she contactedthe email addresslisted on
  24       GirlsDoPom.com,begging them to remove the video and offeringto purchasethe rights because
  25       she was lied to, and the video was ruining her life to the point of being suicidal.(Id at 156:6-
  26       158:18 [Ex. 1729].) The responses she received were vague, taunting,and nnhelpful.(Id)

  27              People from her high school, elementary,middle school,coworkers,and regularsat her
  28       work all found out about the video. (Id at 114:25 -115:3) Workingas a waitress,customersand
                                                            -59-
                                                STATEMENTOF DECISION


                                                                                             EXH. 1 - 059
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   1   coworkers both confronted her about the video and watched it in her presence; ultimately, she was

   2   forced to quit. (Id. at 117:12- 18:16, 118:23 - 120:7.) Jane Doe 6 did not return to college that fall

   3   because she was not mentally stable enough to do so, which she attributes entirely to the video's

   4   release online. (Id at 121:17 - 23.)44

   5           Jane Doe 6's mother learned about the video when her friend's husband showed her a clip

   6   of the video. (Id at 177:2 - 11.) Nearly one yeru:after the video was released, people from the town

   7   where she went to high school started finding out, and she received another wave of harassment.

   8   (Id at 134:13 -22 [e.g., Exs. 307,308,309, 314].) The video also affected her relationship with her

   9   boyfriend of sevensears. He still holds it over her head and brings it up in every argument, saying

  10   that nothing he did could be as bad as the video. (Id at 162:4-14.)

  11           The release of the video online has changed her life significantly. She feels like she has been

  12   in hiding-she    cannot connect with or trust people; she avoids public settings because if someone
                               .                                                         .
  13   recognizes her from the video, she immediately has a panic attack. (Id at 159:5 - 11.) She has

  14   engaged in self-harm and attempted suicide by overdosing on depression medication shortly after

  15   she discovered her video online. When the attempt failed, she became angry with herself. (Id at

  16   159:12-16.)     Once, she went to the hospital to try to get help such as prescription medication, but

  17 · the staff tried to admit her into a mental hospital instead. (Id. at 160:10 - 13.)

  18           She has sought medical treatment for her emotional distress. She was finally able to see a

  19   therapist when she got health insurance approximately a year ago. (Id at 159:25-160:8.) She has

  20   been prescribed four different medications for depression, one to help her sleep, another one for

  21   anxiety. (Id at 160:19- 24.) These measures have helped, but she continues to have suicidal

  22   thoughts to this day.

  23           The Court finds Jane Doe 6 to be credible.

  24                               JaneDoe7
  25           Jane Doe 7's case is unique in that, prior to arriving in San Diego for the shoot, her

  26   communications with Defendants occurred through her friend, Lindsay, rather than directly.

  27
               44 After filming, she learned about another girl at her collegewho had a similarexperience. She saw
  28
       the horrifictreatment she received,and decided she could not handlethat. (Id. at 120:14 - 121:16.)
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   1   (Deposition of Jane Doe 7, June 17, 2018 ("Doe 7 Depo. Vol. I") 26:1 - 10.) She never saw a

   2   Craigslist ad or an email from Defendants; instead, Lindsay spoke to Defendants and convinced
   3   Jane Doe 7 to accompany her from Texas to San Diego for what she was told would be "nude

   4   modeling to make money," based on representations Defendants made to Lindsay. (Id at 69:2 - 8.)

   5   Jane Doe 7 also "didn't find out it was actually, like, filming pornography till I got there." (Id at
   6   69:21 - 24.)

   7               Jane Doe 7 testified that Lindsay "said verbatim what [Defendants] told her. It was going to

   8   be Australia only and not in the United States and not online." (Id at 70:16- 25.) Lindsay told Jane

   9   Doe 7 that this was the information "Matt" gave her. (Id at 71:21 - 72:2.) Jane Doe7 testified that

  IO she and Lindsay took approximately one week to decide whether or not to do the shoot and that
  11   Lindsay "was in contact with him [Matt] every day" during that time and that he "made it sound

  12   very reassuring." (Id at 72:12- 73:3 ["I asked her to ask them repeatedly, and she said they kept
               '                                                          '
  13   assuring her that nothing bad was going to happen, and it was only going to be in Australia."].)

  14               Soon after Lindsay and Jane Doe 7 arrived in San Diego, Defendants began making
  15   representations-for      the first time, directly to Jane Doe 7-regarding a DVD being released in

  16   Australia. (Id. at 84: 18 - 85:2.) She remembers specifically telling Defendants, "If anything was

  17   released in the United States or online or anything was accessible to, like, my family or friends, that

  18   it would completely ruin my life." (Id at 85:16-20.) When Jane Doe 7 expressed her concerns

  19   about anonymity to Wolfe and Garcia on multiple occasions, they both verbally assured her, "You

  20   have nothing to worry about. It's not going to be online. It's not going to be in the US." (Id at 86:8

  21   -19.)

  22               Upon arriving in the hotel room and learning that the shoot involved pornography, Jane Doe

  23   7 became scared and, although no one threatened her, felt she was unable to leave. (Id at 83:3 -21;

  24   see also 75:10 - 76: 13 ["of course, I was freaking out, but I didn't really have a choice."].)

  25               When Wolfe gave Jane Doe 7 documents to sign, Defendants did not give her a chance to

  26   read them and rushed her to sign, saying, "This is what we've already talked about. You already

  27   know what's going to happen." (Id at 80:8 - 81 :2 ["they were rushing me because Lindsay was

  28   next, and they had to get two people in in one day."].) Jane Doe 7 requested time to review them,
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   1   but Wolfe said no. (Deposition of Jane Doe 7, August 8, 2018 ["Doe 7 Depo. Vol. II."] 315:6-13.)

   2   She asked Wolfe one final time to confirm the video would only be sold in Australia, to which he

   3   responded, "Yes, yes, yes. Just sign, sign, sign." (Doe 7 Depo. Vol. I, 89:4- 13.) When she read

   4   the script into the camera, she was not concerned because she considered it in the context of the

   5   representations already made to her. (Doe 7 Depo. Vol. II, 320:13 - 25.)

   6           Jane Doe. 7 testified that if she had known the video would be published online, she would

   7   not have gone th,ough with it but "would have taken off running." (Id. at.327:9-14.)

   8           During the shoot, Jane Doe 7 began bleeding and experiencing pain. She testified, that she

   9   went in the bathroom, locked the door, and "I told them I didn't want to do it anymore," but they

  10   knocked on the door and told her, "We already paid you $2,000. You have to come out here and do

  11   it. The bleeding will stop as soon as you start intercourse again." (Doe 7 Depo. Vol. I, 154:1-9.)

  12   She eventually finished the video.

  13           Jane Doe 7 learned that her video was posted online from a friend who confronted her about

  14   it. (Id. at 27:13 -16.) 45 The same day, she called Wolfe and asked him about distribution, but he

  15   hung up on her. (Id. at 26: 12 - 20; Doe 7 Depo. Vol. II, 253: 19 - 254:3.) She googled Bubblegum

  16   Casting, found an email address, and sent an email asking that the video be removed because she

  17   did not know it would be online. (Ex. 332.)

  18           Everyone at her job found out about the video, which she knows "[b ]ecause they make fun

  19   of me every single day I go to work." (Doe 7 Depo. Vol. I, 33 :20 - 34: 13.) She has been bullied by

  20   "too many people to count." (Id. at 137:11 -13.) She continues to be harassed and bullied at work.

  21   (Doe 7 Depo. Vol. II, 213:14-24.)

  22           The video has impacted her personal relationships. Her boyfriend at the time came home

  23   from work crying one night, saying "I found out something about your past, and it's disgusting."

  24   (Doe 7 Depo. Vol. I, 35: 1 - 10.) She attributes their breakup to the video being published online:

  25   "He never really got over [the video], over the fact that people knew about that and that people

  26   were talking about it." (Id. at 36:6- 37:4.)

  27
               45
  28           Jane Doe 7 cannot bear to search for her video online but has been told by friends that it is on
       many websites. (Vol. II, 257:24 -258:2; 260:18 -19.)
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   I            While Jane Doe 7 acknowledges that she has a history of anxiety, she testified that it has

   2   gotten "progressively worse throughout 2015 to 2018." (Id at 59:9- 18.) In the last three to four

   3   years, she has been "[a]fraid to leave my house; afraid that people are talking about me constantly;

   4   no one wanting to be with me, date me; afraid of not getting a job." (Id, at 61:23 -62:7.)

   5           In December 2017, she stopped going to college because her anxiety and depression, which
   6   she attributes to the video, made it too difficult. (Id at 47:9- 20,) Even leaving her house, driving,

   7   and going to work are very difficult. (Doe 7 Depo. Vol. II,184:16-21.)       She has always wanted to

   8   go to graduate school but can't imagine that happening now. (Doe 7 Depo. Vol. I, 124:4 - 11.)

   9          Jane Doe 7 testified that she has tried to change her appearance as much as possible,

  IO   including her hair, her teeth, her lips, and her tattoos, to avoid people recognizing her. (Id at 67: 19

  11 -68:12.)
  12          The Court finds Jane Doe 7 to be credible.

  13                           Jane Doe 8

  14          Jane Doe 8 was attending graduate school in San Diego when she found Defendants' ad on

  15   Craigslist looking for a job to supplement her student loans and the money she earned babysitting.

  16   (Deposition of Jane Doe 8, June 11, 2018 ["Doe 8 Depo."] at 22:19-23:6.)        Despite receiving a

  17   scholarship, she needed more money to cover basic living expenses such as rent and food. (Id.

  18   65:24 - 66:20.) In April 2016, Jane Doe 8 responded to the ad for modeling by email.

  19          When Jonathan sent his stock email offering $4,500 for two adult shoots (Ex. 338), Jane

  20   Doe 8 did not respond because she had no interest in making an adult video. (Doe 8 Depo. 68 :24 -

  21   69:9.) Jonathan increased the offer twice, but she still.did not respond. (Ex. 340.) By July 2016,

  22   Jane Doe S's financial situation had become "desperate," so she finally responded. (Id at 73:1- 5;

  23   105:6-9.) When she and Jonathan (whom she believed to be Garcia) spoke on the phone for 45

  24   minutes to I hour, he explained "the videos would not be online in the United States, they would

  25   only be on DVDs overseas." (Id. at 74:25 - 76:22 ["He told me that they were putting together a

  26   [ ... ] collection of videos that would take years to be put together, so by the time mine came out it

  27   would be years later."].) He said she would be "all done up so [she] wouldn't be recognizable" and

  28   that "the references would be able to confirm any worries and fears that [she] might have, that they
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       I    never had a problem with anything going viral, nothing beingreleased in the United States." (Id. at
   2 76:25-77:10.)
   3               This distribution plan sounded reasonable because "my understandingwas that the videos
   4       would bein Australia and New Zealand and I thought that Australia had very strict censor laws
   5       around their Internet so T assumed that's why they needed the DVDs, rather thanjust being able to
   6       access the plethora of online." (Id. at 83:2- 25.) Jane Doe 8 confirmedmultiple times that the video
   7       would not be released online, which was "extremely important"to her. (Id at 77:13-25.) 46
   8               After seeing the pictures of prior models and the set, she felt "that they were being truthful
   9       to what they said" and "felt safe after seeing this." (Id at 151:24 - 152:19; Ex. 342.) Jonathan
  10 texted her information for two to three references, but she "felt that if they were providingthe
  11       references and providing me all of this informationthat I didn't have any reason to not believe what
  12       they were telling me." (Doe 8 Depo. 79:09- 21.)
  13               Based on Jonathan's assurances, Jane Doe 8 agreedto film a video for $1,500. (Id at 81:16
  14 - 25.) On the day of the shoot, she met Riva in the lobby of an apartment building.They did not
  15       talk in detail, but Riva "reassured [her] that they were nice guys." (Id at 87:1 - 13.) Jane Doe 8
  16       declined the marijuana Garcia and the videographer offeredher, but she did drink some wine that
  17       she brought with her. (Id. at 88:15 - 89:7.) By the time the shoot began, she had finishedthe bottle
  18       of wine and felt "tipsy." (Id. at 91:22-92:5.)
  19              After changing locations, Garcia paid Jane Doe 8 in cash and presented the contracts,which
  20       she signed without reviewing them because:
  21
                            I didn't feel like I had time to and, as that was being handed to me I
  22                        was reassured that everything in it was everythingthat we had talked
                            about via phone so I didn't feel the need to read what they had
  23                        already promised to me, because they made it seem like what was in
                            here was what we had talked about.
  24
  25       (Id at 113:10-19.) "And they were very late to both shoots,so it was kind of under the premise of,

  26       you know, we're running behind, let's get going, just sign this and we can get started." (Id at
  27
                  46
  28                   Jane Doe 8 rented pornographicDVDs from a sex store a few times during college.(Id. at 145:9-
           10.)
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   1   114:12-15.) When Garcia presented her with the documents,saying "this is everythingwe talked
   2   about on the phone, ... nothing to be worried about, it's just protocol,"Jane Doe 8 "clarifiedthat
   3   that meant nothing goes online." (Id. at 131:20 - 25.)
   4          Even after carefully reading the Model/TalentReleaseat the deposition,Jane Doe 8 stated,
   5   "nothing in here is striking me as going against what they had said, you know, even when it says we
   6   can use it as we so please, or [... ] saying we can use it howeverthey feel fit I figuredthat meant
   7   what we had discussed, being tjie video -- or the DVDs overseas."(Id at 115:15 - 21.) She
   8   explained,"had it said this video will appear online on theirwebsitethen yes, but there is nothing
   9   like that that I'm seeing in this contract,per my understandingof it." (Id. at 116:16 - 20; 118:4- 19
  10   ["it's a very long run-on sentence,so I don't a hundred percentknow what some of the wordsin it
  11   mean either," such as perpetuity, successors,licensees, andassignees].)
  12          Reading the verbal script, Jane Doe 8 believed she was still operatingunder the same
  13   agreementthat they had reassured her repeatedly about. (Id at i'35:8- 136:5.) She asked Garciaif
  14   she should still read the portion about alcohol if she had beendrinking,and they said yes. (Id. at
  15   136:11-13.) During the interview,Garcia instructedher to "act excited,flirty, and fun"; she had to
  16   stop and reshoot several answers he did not like. (Id. at 138:17 - 18; 140:7-142:20.)
  17          Jane Doe 8 returned for a second shoot as nothing occurredat the first shoot gave her
  18   concerns.(Id. at 159:3 -15.) She brought alcohol and, as Defendantsarrived two hours late, had six
  19   to seven drinks while waiting for them. (Id. at 160:11-161:24; 47 162:24-163:1 [estimatingher
  20   intoxicationlevel was "an eight out often"].) Again, Garciaofferedher marijuana,and she
  21   declined. (Id. at 165:23 - 166:10.) Garcia representedthat the documentswere as the sameas last
  22   time and rushed her to sign them. (Id at 168:1- 19.) The videographer(whom she identifiedas
  23   Gyi) asked her to "pretend to sign a documenton camera."(Id. at 132:4- 11.) In the video,her
  24   eyes are half open and she shows signs of inebriation.
  25          When Defendants first released her video online, JaneDoe 8 "contemplatedending[her]
  26   life multiple times but then [she] thought that [she] couldn't even do that because the headlines
  27

  28          47 She may have taken a Percocet earlier that day due to an athletic related injury. (Id. at 162:2 -3.)
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   I   would probably have something to do with the videos." (Id at 206:18-25 [describingherself as
   2   "very depressed"].) The week after the video was released, she called and texted a suicide hotline;
   3   three years later, she still suffers from suicidal ideation. (Id at 208:10-18.)
   4          Jane Doe 8 has received limited harassment because as soon as she started receiving
   5   messages mentioning the video from high school and college acquaintances,she "immediately
   6   blocked 90 percent of Qi.er]phone contacts and deactivated [her] social media."_(Id at 48:7 - 49:3;
   7   50:3 - 12 [explaining why the harassment stopped quickly].)48 Neither her parents nor her current
   8   employer know about the video, but she experiences severe anxiety that they will. (Id at 230:IO-
   9   13.)

  10          In an effort to remove the video from two websites (GirlsDoPom.comand "a Tinypost
  11   website"), Jane Doe 8 sent DMCA take-down requests and listed as the reason "[t]hat it was not
  12   supposed to be online, that it was against what I believed to be what was happening.... I believed
  13   that when I created the video it was never to be seen online, and that's not what happened." (Id at
  14   42:7 -43:18.) The DMCA eventually replied that "the ownersof the website wouldn't take the
  15   video down because [she] didn't have rights to it." (Id at43:19-25.)
  16          In addition to depression that she experiences multipletimes per week, Jane Doe 8 has
  17   isolated herself and stopped being social. (Id at 229:3 - 19.)She describes how her emotional
  18   distress from the video has manifested:
  19
                      I live in fear just because of this, I would say about every day of my
  20                  family finding out, of my employer finding out, of [... ] friends that
                      don't know yet finding out in my social circle being even further
  21                  diminished, I've lost friends that I've had for years, you know, every
                      time my parents' phone rings and [... ] they sound confused on the
  22                  phone I think that it must be something related to this, or if they send
                      me a text that I need to call them, that's where my thoughts go first,
  23
                      anytime my boss calls me into her office I think oh God, someone
  24                  must have known, even at work sometimes if parents [in her therapy
                      practice] are looking at me a little differently I think oh they must
  25                  know.
  26   (Id at 207:1-15.)

  27
  28          48 Garcia has attemptedto connect with Jane Doe 8 on Instagramtwice. (Ex. 360.)

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    1           Jane Doe 8 commented that she believed Defendants,in part, based on her "beliefthat no
   2    one wouldhave a company that was [de]fraudingpeople and if they did that they -- they would
   3    have been caught." (Id at 208:4- 9.)
   4            The Court finds Jane Doe 8 to be credible.
   5                              Jane Doe 9

   6            When Jane Doe 9 responded to Defendants' Craigslistad in February2014, she "was
   7    strugglingfinancially and didn't feel like [she] had many options."(10/30/19 Trial Tr. 8:13 - 19
   8    [father had just had a double lung transplant, so she did not want to ask her parents for help].) In
   9    response,Jane Doe 9 received an email from BubblegumCasting.comoffering$2,500 to shoot a 25-
  10    minute adult video. (Ex.371.)This early iteration of the stock email stated,"NO names or personal
  11    informationis used in our videos or given out to any third partiesperiod" and containeda link to
  12    BubblegumCasting.com"for references from previous modelswho have workedwith us." (Id.)
  13    When she visited the website, she saw videos of models wearingBubblegumCastingshirts "talking
  14    about how comfortablethey were." (10/30/19 Trial Tr. 14:9 -17.)
  15           Jane Doe 9 responded asking "where this would go once it's finished,in terms of a site, and
  16    if other sites could borrow or use the film for their sites? I wouldreally want it to be as confidential
  17    as possible." (Ex. 371) She testified at trial that she asked this questionto ascertainwhetherit was
  18    going to be online, and stated that, if so, she would no longerbe interested.(10/30/19 Trial Tr.
  19    11:13-18.)

  20           Once on the phone with "Matt" (whom she identifiedas Pratt), she "told him that [she]was
  21    trying to become a teacher, so [she] needed it to be confidential."(Id at 15:21-25.) Matt said it
  22    would be "discreet and professional" and the video "wouldbe distributedon DVD overseasifl
  23    chose to take that option." (Id. at 15:28.- 16:6.) She told Matt, "that wouldbe the only way that I
  24    would be comfortabledoing it. And that I would never want my name to be attachedto it.... He
  25    said that was completelyunderstandable,most of the girls requestthe same thing, and that with it
  26    going overseasI have little to no risk of that ever happening."(Id at 16:8-15; 17:16-19 [DVDs
  27    distributedspecificallyto Australia].)After a few follow-upcalls for reassurance,JaneDoe 9
  28    agreed to do the shoot.
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   1           At the airport en route to San Diego, Jane Doe 9 felt nervous and called Matt for

   2   reassurance. He offered to connect her with reference models, but she opted against it because she

   3   did not think it would be helpful. (Id. at 139:27 - 140:3 ["I don't feel like they were going to give

   4   me someone to call and they were going to have negative things to say about the experience."].)

   5   Ultimately, she agreed to film because she believed Matt wastelling her the truth, that

  .~   "[d]istribution was going to be overseas to Australia, and my name was never going to be attached

   7   to it. I was certain ofthat or else I would not have flown here." (Id. at 17:10- 19.)

   8           Pratt picked Jane Doe 9 up from the airport, and they drove to pick up Garcia and then

   9   continued on to a hotel. As she prepared for the shoot, Pratt set up; he "took a chair that he didn't

  10   want in the scene and pushed it against the door of the hotel room." (Id. at 20:6 - 10 [noting she felt

  11   somewhat trapped]. )49

  12           Once she had finished her hair and makeup, Matt hurried her to sign the model release

  13   agreement, explaining there was no need to read the document because "it was just giving them

  14   permission to film me, and that it was just a summary of the things we had talked about." (Id. at

  15   24:18-25:16.) When she skimmed the document, it was "very dense," but she did not see anything

  16   that caused her concern, so, trusting Matt, she signed it. (Id at 26:8 - 27:21 ["I had no reason to

  17   believe that five minutes before I'm going to do this that the game would be changed on me."].)

  18   When she asked what to write for her "stage name," Matt said she should just write her real name

  19   "because it was not going to be necessary to have a stage name. [The video] wasn't going to be

  20   released so there was no reason for [her] to create one." (Id at 28:3 - 8.)

  21           Next, Matt handed her the script, asked her to read it into the camera, quickly explaining

  22   that she was just giving them permission to film her, and pressed "play." (Id. at 28:12-29:9

  23   [noting she had no time to process the meaning of what she read].) As soon as she finished the

  24   script, Matt coached her through the interview, then they began filming. (Id. at 29: 19 - 30:22.)

  25

  26

  27           49 As she got ready, she began feeling overwhelmedandasked to step outside,but Matt refused,

  28   saying it would be too difficult to move the furniture in front of the door. His refusal made her more
       uncomfortable.(Id. at 21:5 - 24.)
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    1           After the shoot, Matt took Jane Doe 9 back to his apartment for the solo shoot. Once there,

   2    she was asked to repeat the same process of signing documents and reading the script, which she

   3    did. (Id. &t31:21 - 33:3 [noting that nothing had happened to cause her concern].)

   4            Jane Doe 9 then returned home to Texas, and approximately one month later, learned the

   5    video was online when a high school acquaintance sent her a link to the video. (Id at 33:4- 22.)

   6    She immediately felt "[h]umiliated. B~trayed. Deceived. Like [her] life was being ruined in that

   7    moment." (Id at 34:6 - 9.) She clicked on the link and saw, not only was her video online, but her

   8    name was already associated with it. (Id. at 34:11-14.) She immediately called the phone number

   9    she had for Matt, but it went straight to voicemail. She continued calling until her number was

  10    blocked. (Id at 34:15-25.) Jane Doe 9 then went to the Bubblegum Casting website looking for
  11    contact information but found none. (Id. at35:1-4.)

  12            She endured severe harassment in the months that followed: people called her and left

  13    messages or contacted her on social media calling her offensive names. (Id at 35:26- 36:2.)

  14    Someone sent a link to her video to people in her hometown (a small town in Washington), and her
  15    parents soon found out about it. (Id at 36:3 - 15.)

  16            When Jane Doe 9 found a post on PornWikiLeaks containing her picture and quotes about
  17    her teaching philosophy from her professional Linkedln page, she felt "humiliated" and

  18    "exploited." (Id at 36:17 - 23; 37:18 - 27; Ex. 382.2.) She also found posts on multiple websites
  19    identifying her by name. (Bxs. 386.1; 387.1.)

  20            Shortly thereafter, Jane Doe 9 was dismissed from her teaching job because the faculty and

  21    students at her school had found an article about her on TheDirty.com. (Id. at 39:20-28, 40:9-

  22    22.) When the principal at the school where she worked sent her a copy of the article, which

  23    contained her picture and name, the name of her school, and a caption stating she had "no business

  24    working with school children unless she wants to teach them about the fine art of having sex on

  25    camera," she felt "like the problem was only worsening instead ofresolving." (Ex. 392; Doe 9

  26    Depo. 41: 12 - 42: 1.) Upon learning this article was the first search result on Google, she

  27    "immediately panicked" and knew that she would have to seek legal counsel to resolve this growing

  28    problem. (Id. at 42:19-43:12.)
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       1            Jane Doe 9 also learned that the principals and human resources personnel at her school

   2        received anonymous emails about the video, saying she should not be working with students. (Id at

   3        43:15-19;    see, e.g., Ex. 393.) Jane Doe 9 also received threatening emails through her publicly

   4        accessible school email about the video, signaling "that they knew what was going on with the

   5        school district." (Doe 9 Depo. 44:16 -28.) Her text messages with the principal at the school show

   6        her distressed and desper.ate state of mind. (Exs. 3 88; 3 90.)                        .. -.,._

   7                In the aftei:math of losing her job, Jane Doe 9 she began experiencing anxiety and panic

   8       attacks so severe that she had to be hospitalized for "anxiety and panic disorder" and prescribed

   9       Lorazepam. (Doe 9 Depo. 49: 1- 20.) 50 She hired an attorney who was able to negotiate a

  IO       resolution in which she would receive pay through the end of her contract. (Id at 49:23 - 50:7.)

  1I               Jane Doe 9 moved to a new city because of the video and found another job in her chosen

  12       field in the new city the following year. (Id. at 50: 10 - 51 :8.) The faculty and staff at her new

  13       school have not yet learned about the video but she is "fearful every day" that they will. (Id at

  14       51 :11 - 52:7 ["I'm afraid oflosing my job every day. I'm fearfulthat, you know, if! get called

  15       down to the office and I don't know what for, lam fearful that the exact same thing is going to

  16       happen to me all over again."].)

  17               Immediately after finding the video on GirlsDoPorn, Jane Doe 9 quickly sought ways to

  18       remove the video, using the Google Removal Tool with no luck. (Id at 35:10 - 23.) She also sought

  19       "help from reputation websites, where they delete or suppress your information through a Google

  20       tool," but none of these efforts have yielded much success. (Id at 52:8 -27.)

  21               The Court finds Jane Doe 9 to be credible.

  22                                Jane Doe 10

  23               In July 2015, Jane Doe 10, a San Diego resident at that time, met Defendants through her
                                                                                                     '
  24       friend Kaitlyn McLain who, having shot two videos, told her "[t]hat no one would ever see it. No

  25

  26

  27                soJane Doe 9 experiencedsome depressionafter filmingbut before release of the video. It got
           worse after the release. (Id. at I 02:11 - 14; 132:17 - 19.) Althoughsome portion of her more recent anxiety
  28       attacks appear to stem from issues with her mother, the video releaseis partly to blame. (Id. at I 04:14- 18;
           133:3-134:1; 136:1-15.)
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   I   one has seen hers. She had done one a month or two previous to the [second] one [... ] and that it
   2   was easy money. It was fast. And no one would ever see it." (I 0/7/19 Trial Tr. 113:12- 24.)
   3          Based on those assurances and trusting her friend, Jane Doe IOagreed to talk to "Jonathan."
   4   (Id.) After exchanging a few texts, Jonathan called her to explainthat she could shoot one video for
   5   $5,000 and that the video would go on DVD to Australia. (Id. at 125:21- 27.) She asked whether

   6   anyone woqld ever see the video in the United States, and Jonathanreplied, "No, that it was going
   7   to be on a DVD that couldn't be replicated. It was for a buyer living in Australia,a single guy." (Id
   8   at 126:3 -10.)
   9          She was willing to send Jonathan nude pictures becausehe told her that he "needed to show
  10   the buyer pictures ofme to ... see if the guy was interested."(127:2-12 [she trusted Jonathan
  11   because her "good friend had already done two shoots, and she had had no problems, and I trust
  12   her."].) Jane Doe 10 testified that if McLain had told her video was published on the internet,she
  13   would not have even spoken to Jonathan; but, based on McLain's and Jonathan's assurances,she
  14   agreed to do the shoot. (Id. at 128:9 - 12.) Once the buyer had approvedher pictures, they set up a

  15   shoot. (Exs. 412,415, 416.) 51
  16          Jane Doe 10 had previously done exotic dancing and "cannning," which she describedas "a
  17   face-to-faceinteraction with another person [via] a live feed, and someonechooses to talk to you,
  18   and basically you choose whether or not you're clothed. Youhave control over the whole thing."
  19   (10/7/19 Trial Tr. 128:26-129:9.) Importantly, she testified that she had never interactedwith

  20   someone in the United States on the cam site; "[yJou can block certain IP addresses with the
  21   companythat I worked with. So I blocked United States and England as well." (Id at 129:10- 16;
  22   130: 10 - 11 [she did camrning for about one month].) Jane Doe 10 worked as an exotic dancer

  23   several years prior to shooting the video. She testified that, to her knowledge,no one in her life was
  24   aware that she had stripped or done carnming. (Id at 130: 12 - 131:26 [first time she disclosed·

  25   either fact to anyone was in deposition].)

  26

  27
              51 One of Jonathan'semailsstated$4,000insteadof $5,000,so JaneDoe 10clarifiedwithhimand
  28
       confirmedthat shewouldreceive$5,000.He assuredher that shewould.(139:8- 17 [discussingEx.412].)
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    1           On the day of the shoot, Jane Doe 10 met Defendants at a hotel downtown. (Id. at 141:9 -

    2   16.) She met the male talent who was introduced to her as Dre (Garcia), and Riva did her makeup

    3   while Wolfe set up the camera equipment and lights. She asked numerous times to make sure the

    4   video would not be available in the United States and "the three people that were there told me and

    5   confirmed with me that no one would ever see it. It was going to Australia." (Id. at 126:14- 21 [not

    6 _ yet realizing that Garcia and Jonathan were the same.person, she believed she confirmed what

    7   McLain told her with four different people].) All three reassured her.

    8           Jane Doe IO was nervous, so while Riva was doing her makeup, Riva comforted her saying,

    9   '"Oh, don't worry honey. He's going to love it. You're going to do great,'" which Jane Doe 10 took

   IO to be a reference to the private collector in Australia. (Id at 154:3 - 13.) She also expressed to
  11    Wolfe her concern about someone she knows seeing the video, but he reassured her that would not

  12    happen (Id. at 154:16-4       [she trusted Wolfe more because"his accent seemed to tie that the video

  13 was going to Australia."].) Garcia offered her marijuana; she does not recall whether she accepted.
  14    (Id. at 155:8-18.)

  15            Despite promising to pay $5,000, on the day of the shoot, after sending pictures to "the

  16    private buyer," Defendants said he would only pay $2,500 because she "looked old" and had

  17    bruises on her body. (Id. at 157:1-17.)

  18            When Defendants gave her documents to sign, Wolfe and Garcia told her "it was just a

  19    contract between me and the buyer, just confidentiality stuff." (Id at 159: 16 - 25.) Defendants

  20    filmed and interviewed Jane Doe 10 while she filled out the documents. Defendants instructed her

  21    to "talk to the private collector," lie about her age, and disclose information about her sexual

  22    history, which she found distracting. (Id at 158:4- 21 [noting she would not have answered the

  23    questions if she had known the video would be online].) After signing, Jane Doe 10 was instructed

  24    to read a script into the camera; she was told "it was just the same thing I had signed, just reading

  25    aloud." (Id. at 160:11-25.)

  26

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   1             Thereafter, the sexual portion of the shoot commenced. 52 She asked to leave several times

   2     because the shoot had dragged on for many hours. She asked to leave so that she could get some

   3     food with a plan to leave and not return. (Id. at 183:6-9.)Although        no one overtly tried to

   4     intimidate her, they would notlet her leave. (Id. at 181:27-182:15.)

   5             After the shoot, Jane Doe 10 learned that Garcia and Jonathan are the same person when she

   6    received a text from Jonathan's number J;hatwas obviously written by Garcia. (Id. at 137:23 -

   7     138:7; Ex. 414.1, 414.5.)

   8             Jane Doe 10 learned her video was online when Jane Doe 1 contacted her as part of her

   9.   investigation of this case. (10/7/19 Trial Tr. 163:9-13.)      She "was kind ofin a state of panic" and

  10    when she began searching the internet, she went on Face book and found her video posted on her

  11    mother's page. (Id. at 163:15 -22 [she quickly flagged it and had the video removed].) To her

  12    knowledge, her father is not aware of the video, though she worries he will find out. She is not sure

  13    whether her mother knows but she cannot bring herself to talk to her about it, especially because

  14    her mother is "very religious." (Id. at 163:20-164:11.)

  15            Jane Doe !O's name, Facebook account, and a picture of her with her mother were all posted

  16    on PornWikiLeaks. (Ex. 431.) Links to her video spread across her social media, and she received

  17    many messages that she found harassing. (E.g., Exs. 445 [message from a stranger using her name

  18    to create a sexual pun; shows attempt to call her]; Ex. 446, Ex. 448.) Someone used a screenshot

  19    from Jane Doe !O's video to make an inappropriate meme, which Jane Doe 10 saw spread around

  20    numerous websites. (Ex. 442.1; 10/7/19 Trial Tr. 176: I - 12.) She testified that being "contacted by

  21    strangers constantly" and being the target of inappropriate comments impacts her emotional state.

  22    (10/7/19Trial Tr.177:18-23.)

  23

  24
                52
                    Shortly after she arrived at the hotel, Jane Doe 10 noticedthat she had begun menstruating,so she
  25    asked to reschedule the shoot. Garcia said there was no need, that they had dealt with this before and would
        just use a sponge. When she resisted, Garcia said they had alreadyspent the money on the shoot and would
  26
        lose money if they cancelled now. (Id at 141:25 - 142:16.) Describingthe shoot, she recalled,"severaltimes
  27    in the middle of the shoot that while we were having sex, blood would start coming out. And they would
        have to stop like mid-shoot, like mid-filmingto clean up." (Id at 143:14-21.) She also testifiedthat she
  28    recently watched the video footage produced by Defendantsand saw no scenes where blood is visiblethat
        she believes they filmed. (Id at 143:24- 144:3.)
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       I            The video's release online has impacted her romantic relationships. Jane Doe IOtestified

   2       that two boyfriends had ."talked down to [her]" or "[held] it over [herJ head." (Id. at 180:17 -

   3        181 :2.) One previous boyfriend "tried to get [her] to sleep with him by threatening to release [her]

   4       video to more people if[she] didn't sleep with him." (Id at 181:3- 8.)

   5               Jane Doe 10 is still being harassed today. She now works as a:manager overseeing several

   6       employees. She was recently contacted by a previous employee who sent her a scre~nshot of the

   7       video and commented on it. (Id at 195:12-20.)

   8               The Court finds Jane Doe IOto be credible.

   9                               Jane Doe 11

  10               In March 2016, Jane Doe 11 was finishing her last year of college in Tennessee when she

  11       responded by email to a Craigslist ad for modeling, hoping to earn spending money. (9/10/19 Trial

  12       Tr. 117:3 - 14.) She received a response from Mike@ModelingWork.com, offering $5,000 for a

  13       shoot lasting 30 minutes of"regular sex" and promised "nothing weird, kinky [sic] or strange

  14       happening." (Ex. 453.) The email advertised, "We have several channels of distribution depending

  15       on the level of anonymity you wish to attain." (Ex. 453.1.) Jane Doe 11 noted that the email said,

  16       "None of your personal information is released cir included in any part of the video or after to keep

  17       your identity as private as possible." (Ex. 453.2.) While she was"[ d]efinitely not" interested in a

  18       career in pornography, based on the promise of anonymity, Jane Doe 11 was interested in learning

  19       more. (9/10/19 Trial Tr. 120:6-121:4.)

  20               Jane Doe 11 next spoke on the phone with "Mike," a man with an Australian accent whom

  21       she later identified as Pratt. (Id at 121:13 - 25.) In addition to explaining the logistics, Pratt told her

  22       "it would be not online. It would be distributed DVD in Australia. And that there were reference

  23       models that I could speak to, that he could provide me with." (Id at 123:13 - 17.) She asked

  24       questions to ensure she would remain anonymous and the video would not be online anywhere;

  25       Pratt assured her of both. (Id at 123:18-25.) He called and texted nearly every day until she

  26       agreed to do the shoot. (Id. at 122:21 -23.)

  27              Pratt requested that she send nude pictures, and as he assured her he would keep them

  28       confidential, she obliged. (Id. at 124:11-18.) Still unsure, Jane Doe 11 obtained the names and
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    1   contact information for two reference women, who she contactedvia text to ask about their
    2 experiences shooting with Pratt. (Id at 125:2-126:3.) The first referencetold Jane Doe 11:
   3
                          [S]he's done it before, I had nothing to worry about, it wouldn't be
   4                      online. They treat you so well, they treat you like a princess. If you
                          want a Starbucks, you can get a Starbucks. She said it's never - -
   5                      she's not had any issues. No one she knowshas ever found out.[ ... ]
                          She just kept on telling me it's only a DVD in Australia. She has not
   6                 · ,, had any issues. She then went on to even giveme herfostagram. I
   7                      looked her up. She seemed like a normal girl,1;othingunusual to me.

   8    (Id at 128:17 - 129:4.) The second reference again confinned that the video would not go online,

   9    that she had not had any issues; she offered to Facetime and talk, but Jane Doe 11 declinedbecause
   10   she did not want the reference to see her face. (Id. at 129:15- 24.) She testified that texting with the
  11    reference woman and getting to see her social media was impactfulbecause she was 'just looking
  12 normal and like she is still continuing to live her life after doinga video." (Id. at 130:3- 9.) Based
  13    on these assurances, she flew to San Diego to shoot a video.
  14           Upon arriving in San Diego, Jane Doe 11 was picked up from the airport by Pratt and
  15    "Teddy" Gyi, the videographer. Pratt and Teddy both reassuredher that it would not go online, she
  16    had nothing to worry about, and it would be quick and easy. (Id at 131:1 - 132:12.) In the hotel
  17 room, Teddy offered Jane Doe 11 alcohol, which she declined.(Id at 132:24 - 133:2.)
  18           While Riva did her hair and makeup, Garcia (not the model she chose) arrived. He drank all
  19    of the alcohol in the minibar, took some pills, which he told her were Viagra and Molly and smoked
  20    marijuana. (Id at 133:19.) Riva reassured Jane Doe 11 that she had done makeup for many girls
  21    who all had good experiences and that she did not need to worry. (Id at 134:24- 135:5.)Garcia
  22 also confirmed the video would not be online. (Id. at 135:20-23.)
  23           When Garcia handed her documents to sign, he emphasizedthey were in a hurry because
  24    her makeup took so long, then flipped through the pages quickly,pointing out different parts,

  25    saying '"This is where it says not online.... Here's were not forcing you to do this. Your free will.

  26    Everything that I have told you is just in this document."' (Id. at 136:7- 16.) By this time, Jane

  27    Doe 11 estimated that she had been reassured about the scopeof distributionmore than thirty times.

  28
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    I   (Id at 137:7- 9.) She trusted what he told her about the documentsand becausehe was "berating"
   2    her to hurry, she signed them quickly withoutreading. (Id at 137:10- 138:1.)
   3            Defendants paid Jane Doe 11 $5,000 and handed her a piece of paper to read to the camera,
   4    explaining, '" Again, this is just to show we don't have a gun pointed at your head that we're
   5    forcing you to have sex on camera."' (Id at 138:6-19.) Trustingthem, she did as they asked. For
   6 . !he interview,they instructed her to act flirty and happy"andasked sexual questions.Because she
   7    believed that no one she knew would see it, she.answeredthem. (Id at 139:1- 12.)
   8            On May 1, 2016, in the middle of final exams, Jane Doe 11 learned her video was online
   9    when a friend texted her a screen shot of the video. (Id. at 173:9- 174:2.)Panicking,she quickly
  10 tried to justify what she had done, explainingto her friend,"They said it would only be in
  11 Australia" and "I only did it for money." (Ex. 471.6- 471.7.)She was so distraughtthat her friends
  12 were concernedthat she may attempt to harm herself, so they stayed with her throughthe night and
  13 took her to the school counseling service the next day. (9/10/19Trial Tr. at 175:3- 18 [recalls
  14 feeling and expressing that she "didn't want to be alive"]; 178:4- 25.)
  15           The video spread like wildfire. In fact, Jane Doe ! I learned from the student council
  16 presidentthat "everyone was watching it in the library, so much so that the Internet essentially
  17 crashed and the school had to shut it down." (Id at 179:10- 16.)The student councilpresidentalso
  18    informedher that "the administrationactually had to watchthe video. They all congregatedin a
  19 room to watch it to I guess make surer didn't say the universityname in the video." (Id at 180:10-
  20    13.)
  21           The following morning, Jane Doe 11 took action to get the video removed from the internet.
  22    She started by sending Pratt an email stating, "This is not spambut a life or death situation.Please
  23    contact me[.... ] Please. I beg of you[.]" (Ex. 473.) When he did not respond, she sent anotheremail
  24    that evening:
  25
                        Please. I beg of you. I need the video down.My whole school found
  26                    it, and the quicker it's down the easier it will be and my parents will
                        be Jess likely to pursue legal action to get it taken down. This may
  27                    even be in the media and be completelyterriblefor me. My future is
                        already ruined and I see no reason to live. Pleasehelp me. Help me
  28
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                       survive. I will wire you back the money, plus more. Help me. I beg of
   l
                       you.
   2
   3   (Ex. 474.) When she still received no response,Jane Doe 11contactedan attorneywho sent a detailed

   4   demand letter to Pratt two days later. (Ex. 476.)

   5           Ultimately, the Defendants offered to take the video down for $15,000,but she decidednot

   6   to accept the offer because the video had spread to so many other websites that paying to remove it.

   7   from only one would not accomplish much. (9/11/19 Trial Tr. 8: 1 - 11.) Further, she did not trust

   8   Defendants to adhere to the agreement. (Id at 8:12 - 20.) After declining, Jane Doe 11 tried hiring

   9   another service to help her remove online content, which onlyworked for a day before everything

  10   she paid to remove had returned. (Id at 9:21-10:4.)

  11           Jane Doe 11 testified that she was devastated to seeher video on many websites,including

  12   most notably, Pomhub.com, which described her in derogatory,vulgar language and displayedthat

  13   the video had more than 9 million views. (Exs. 496; 1576.2.)Soon, she learned that her name and

  14   personal information had been connected to her video and posted on numerous forums, along with

  15   links to her Facebook profile. (E.g., Exs. 489; 480.) These anonymoususers also posted her

  16   brother's, sister's, and church's Facebook profiles, saying '"Let's all harass them. Let's send it to

  17   her family, send it to her pastor. Let's ruin her life. She shouldkill herself. What a slut."' Such

  18   comments made her question her desire to live. (9/11/19 Trial Tr. 20: 13 - 21:12 [describingthe

  19   basis for her belief that someone did send the video to her pastor].)

  20           When she returned to school for summer classes, another student sent her nude pictures of

  21   himself and attempted to break into her dorm room, which frightenedher enough to call campus

  22 police. (Id at 25: 16 - 25.) After deactivatingher social media for a stretch of time in order to avoid
  23   harassment, she eventually reactivated her accounts. Even using the most stringentprivacy settings,

  24   she still received what she estimates to be one hundred harassingmessages. (E.g., Ex. 482.)53

  25           The release of the video also impacted Jane Doe 11's personal relationships.Althoughher

  26   family has been very supportive, her boyfriend at the time wasnot. Shortly after the video was

  27   released, she drove to meet him at his apartment.When she arrived, he was sitting on his couch

  28           53 Jane Doe 11 has a social media presence and participatesin beauty pageants.
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   1   with a glass of water and a 9-millimeter handgun. (9/11/19Trial Tr. 27:15 -21.) When she walked
   2   into the room, he became hysterical, pointed the gun at her and then at himself, threateningto kill
   3   himself and saying it would be her fault. (Id at 27:23 - 28:7.)
   4           Jane Doe 11 testified that the video being released online has had a huge impact on her
   5   emotionally: " .. .I'm sitting here four years later, and it still kills me inside. I have gone through
   6   major depression. I wanted t9 kill myself. I have isolated myself.I was afraid to sho..v:
                                                                                               my face
   7   anywhere. It's consl.lllledmy brain." (Id. at 29:19-24.)
   8          The Court finds Jane Doe 11 to be credible.
   9                           Jane Doe 12
  10          In January 2015, when Jane Doe 12 had just turned20 years old, was a college student,and
  11   living in Florida, she found an advertisement on Craigslistfor modeling, which lead her to
  12   Defendants. (8/22/19 Trial Tr. 14:24 - 15:5.) The advertisementdid not mentionpornography.
  13   (Id.) She was on Craigslist looking for jobs because she neededmoney for school and living

  14   expenses; she was struggling a lot financially, and her family could not help her. (Id. at 14:17 - 23,
  15   15:6 - 8, 101:9- 14.) She had approximately $50 in her bank account. (Id. 15:9- 13.)
  16          After responding to the Craigslist advertisement,Jane Doe 12 received a cannedemail reply
  17   from Jonathan, who she identified at trial as defendant Garcia. (Id 14:12 - 16; Trial Ex. 5301.)
  18   The email stated to her that Defendants were "an establishedSouthern Californiacompany,"stated
  19   "[n]one of [her] personal information [would] be given out in the video or afterwards,"and offered
  20   her $6,000 total ($5,000 for a male/female adult video and $1,000 for a solo video). (Trial Tr.
  21   17:18-18:22; Trial Ex. 504.) The email stated Defendantshad shot over 200 models, and that
  22   Jane Doe 12 could speak with any of them. (Id.)
  23          Jane Doe 12 had some reservations, and wanted to know more about the job, including
  24   where it would go, and who would see it. (Id 20:20-21:3.) She emailed defendantGarciafor
  25   more details and said she wished to speak with Defendants' prior models. (Id 21:4- 6.) Garcia
  26   emailed back that he would explain it all on the phone, and would put Jane Doe 12 in contact with
  27   prior models. (Id 21 :20 -25.) He also sent her photos of what he said were prior models,with
  28   money and looking happy. (Id. 27:7 -16; Trial Ex. 510.)
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   1            When Jane Doe 12 and Garcia spoke over the phone,he told her that the video was going to
   2   be a DVD in Australia, and not sold in the United States. (Id. 28:8- 15.) Garcia also referredher
   3   to Taylor Rogers, who told Jane Doe 12 the video went onDVD, she had shot with Defendants,and
   4   nobody will ever find out. (Id. 24:4- 15.) Garcia's and Rodgers'statementssignificantly
   5   influencedher decision to do the video shoots. (Id. 24: 16- 21, 29:8 - 11 [Rodgers "made me feel
   6   like they were Jelling me -- what they were telling me was true, kincj of put my doubts at ease,
   7   made.me feel comfortable with the entire situation.")
   8            Jane Doe 12 eventuallyflew to San Diego and Garciaand Wolfepicked her up at the
   9   airport. (Id. 32: 16 - 33: 12.) Garcia and Wolfe both repeatedthe representationsthat her video
  10   wouldbeaDVDinAustralia.          (Id. 33:13-23.)

  11            At the first video shoot, the "solo scene," Wolfe spokewith Jane Doe 12 about the
  12   documents. "He just kind of said that this was -- these werejust kind of a formality. They are
  13   everythingwe had discussedbefore about my pay and that it was going to be a DVD andjust kind
  14   of not super important." (Id. 37:9-19.)     While she tried, she did not read the documents. "He kind
  15   of distractedme, asking me like kind of small talk and randomquestions. He was kind of rushing
  16   me a little bit because he kept on saying they were behind. And it was late at night." (Id. 37 :21 -
  17   38:4.)

  18            Wolfe also handed her the verbal script, told her to read it into the camera,not tellingher
  19   what it was for - and Jan~ Doe 12 did not think it was a contract. (Id. 38:10- 17.) Jane Doe 12
  20   then filmed the "solo video" for Wolfe. (Id. 38:23 - 24.)
  21            At the second video shoot, Defendant did not pay JaneDoe 12 the $5,000 as promised-
  22   "They would only be able to pay me 4,000 for the video becauseI had cellulite on my legs." (Id.
  23   39:15 -40:11.) She also did notread the documents,testifying,"Becausethey did the samething
  24   they did the first time. Isaac and Jonathan asked me questionsduring it, kind of small talk. Kind of
  25   distractedme. Again kind of rushing me because I was supposedto get a flight later that day. (Id.
  26   40:12-19.) Garcia and Wolfe representedthe documents"werethe same documentsas before,just
  27   going over pay and everythingthat we had discussedaboutwhat the DVD wouldbe." (Id. 41:6-
  28   10.) Again, Defendantshanded her the verbal script, told her to read it into the camera,not telling
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                                                                                         EXH. 1 - 079
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    I   her what it was for - and Jane Doe 12 did notthink it was a contract. (Id. 41 : 13 - 21.) Jane Doe 12

   2    then filmed the video with Garcia as the actor. (Id. 42:21 - 43:2.) Garcia also said the videos would

   3    not be on the internet. (Id. 32:2 - 9, 40:20 - 41 :2.)

   4           Later, Jane Doe 12 learned her video was published online, which surprised her. "I started

   5    freaking out. I wondered how this guy that I knew had seen this video or had found this video. I

   6    just kind of panicked at that point and just kind of freaked.out. All the blood drained from my

   7    face." (Id at 46:8 - 13.) Jane Doe 12 found her. video on approximately 20 free pornography sites,

   8    including www.Pornhub.com, which also referenced her real name. (Id at 47: 1 - 48:25.) This

   9    made her feel "really helpless" and she wanted "to go to a deserted island where no one could find

  10    [her]." (Id. at49:12-17.)

  11           While she tried to flag the videos to get them offline, she did not contact Defendants,

  12    because "they had a Jot of [her] personal information, so [she]was a little afraid of what they could

 · 13 possibly do with that." (Id at 48:19-24.)
  14           Once Jane Doe 12's video was published, a "fan page" on a website, Tumblr was created.

  15    (Id. at 51:24- 52:5.) The last time she checked www.Pornhub.com, the website reflected her video

  16    had around 30 million views, which made her afraid to go outside, feeling everyone had seen her in

  17    "a very private manner that [she] never wanted people ... to see." (Id at 62:14- 63:3.) Jane Doe 12

  18    also saw information about herself, such as her name and links to her social media, on the website

  19    www.pornwikileaks.com, which upset her. (Id. at 63:4- 64:1.)

  20           As to why she believed Garcia and Wolfe, she testified "Because they had told me over and

  21    over again that it was going to be a DVD. They told me that I could talk to any references. I

  22    believed Taylor and what she said to me because I didn't think another gidwould lie to another girl

  23    about something like that. And they constantly assured me." (Id. 64:6-14.)

  24           She "would have liked to have known what GirlsDoPorn was ... would have liked to have

  25    known what their true intention and where (her] video was going." (Id. 93:18 - 93:5.) She wished

  26    she would have known "where they would be posting it. And [she] would have liked to have

  27    known that [her] anonymity was not guaranteed. There are people out there that sole purpose is to

  28    find out the names of people in porn videos." (Id.)
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   1           Jane Doe 12 was also harassed on social media, text messagesand phone calls, receiving
   2 messages and friend requests from hundreds of strangers (whichcontinuesto this day), with
   3   relation to her video with Defendants. (Id. 64:25 -65:20; 67:16- 68:8; 72:22-25; 80:14-25; Ex.
   4   537, 538.) Harassment included statements to her, "Very ugly," "Any GDP still," and "Are you the
   5   Girl from GirlsDoPorn?" (Id 69:12 - 17, 74:2 - 5.) As to distress from this, she said, "Just again it
   6   makes me kind of want to disappear and kin\! of change my name and move to a different country.
   7   Just makes me not want to be around people and just kind of a reminder of how betrayed I felt."
   8   (Id. 68:10-15.)   She "felt [her] privacy was invaded and just completelykind of thrown out the
   9   window on something that [she] never thought would be all over the Internet for everyoneto see
  10   and people [she] know to see." (Id 74:19 - 23.) She even received messages for sexual
  11   propositions. (Id. 75:3 - 8.) She was afraid to go outside, and afraid of new people. (Id. 77:4-
  12   10.)
  13           Strangers also messaged Jane Doe 12's mother online,which terrified Jane Doe 12. (Id.
  14   83:14-19; Ex. 593.) Strangers also messaged Jane Doe 12's boyfriends. (Id. 86:24- 87:2; Ex.
  15   577.)
  16           Jane Doe 12 stopped going to school, has cried hundredsof times, and moved to a town
  17   where she did not know anyone. (Id. 87:8 - 88:11.) Her familyrelationshipswere damaged, as
  18 were her hometown and college relationships. (Id 89:4-23; 90:11 - 22.) She lost weight, lost
  19   sleep, and had nightmares about the video. (Id 90:23 - 91:16.) She is concerned about her career
  20   and future relationships with significant others, has alreadylost some due to the video, and she is

  21   concernedthe video will impact her ability to have a familyof her own someday. (Id. 91:17 -

  22 92:17, 93:18-94:6.)
  23           As to her emotional state, she testified:
  24                  A. [ ... J I kind of became very depressed. I had suicidal thoughts at
  25                  points of just either swerving out on the road into a tree or a ditch or
                      something. Even at one point Googled, like, what over-the-counter
  26                  medications that I could take and what were the effects, and I tried to
                      overdose.
  27                  Q. Why were you thinking about killing yourself?
                      A. Because my name and everything -- my life got flipped, turned
  28
                      upside down, and my name had been completelydraggedthrough the
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                                                                                        EXH. 1 - 081
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                      mud, and I didn't feel like I could recover from anythinglike that. I
   1
                      didn't know how to recover because everybodyin my life that's been
   2                  important to me has changed their opinion aboutme pretty much and
                      how they feel about me.
   3
   4   (Id 89:12- 90:5.)

   5           The Court finds Jane Doe 12 to be credible.
   6                          Jane Doe 13
   7          In September.2015, Jane Doe 13 was 20 years old enteringher final year of college in
   8   Florida when she began looking for jobs on Craigslist to help pay for college after her family
   9   business fell apart. (9/09/19 Trial Tr. 27:9 - 28:4). In her initial email to Defendants,she wrote,
  IO " ... my only request is full discretion" because she wanted to have control over where her face or
  11   name would be published and how it would be published in an attempt to protect herself. (Id. at
  12   29:15 ~ 23; Ex. 607.) She received Jonathan's stock email offering$6,000 for two shoots and
  13   guaranteeingher name and personal information would not be used. (Ex. 612). She ignored the
  14   email, as well as Jonathan's two follow-up emails, becauseshe was not interested in on-screen
  15   nudity in an adult video. (Id. at 30:17 - 25; Exs. 617; 618.)
  16          Having applied to a separate Craigslist ad, Jane Doe 13 later received an email from "Mark"
  17   at ModelingGigs.com,to which she responded about one month later when "time was... running out
  18   a little" and her need for money grew. (9/09/19 Trial Tr. 36:19 - 37:2; Ex. 619 [againemphasizing,
  19   "I would like to make sure discretion is the main priority."].) She spoke with Mark on the phone,
  20   who spoke with an accent "not fully Australian or fully American"and representedthat the video
  21   would be published on DVDs exclusivelyin Australia and that it would never be published
  22   anywhere else (Id. at 38:12-18, 39:1 - 6.) Jane Doe 13 was not comfortablewith flying across the
  23   country but said she would reconsider if they were to film in Florida or New York. (Id. at 39:7-

  24   21).
  25          Jane Doe 13 eventually came into contact with Jonathan, who she later realized had a
  26   connectionwith Mark. (Trial Tr. 09/09/19 at 40:18 - 41 :4).In the process of deciding whetherto do
  27   the shoot, Jane Doe 13 had frequent communicationwith Jonathan,including a FaceTimecall in
  28   which she saw that Jonathan was in fact a "real person" and another model prepping for her shoot.
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                                                                                         EXH. 1 - 082
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       I    She testified that they made it seem fun and relaxed, and that there was nothing to worry about. (Id.

   2        at 42: 16 - 43: I). Prior to the shoot, Jane Doe 13 received text messages from references Cat

   3        Wilkens (Id. at 43:4-19;    Ex. 627) and Kailyn Wright (Ex. 628). She testified that Ms. Wright's

   4       text messages made her feel like she was her friend and that the shoot was both professional and

   5       that there was nothing to worry about. (Id. at 44:6- 14). Jane Doe 13 ultimately agreed to film a

   6       video, which was filmed in New York City at the Grand Hyatt Hotel. (Id. at 41: 19 - 25).

   7              .Jane Doe 13 met with videographer Gyi and Garcia at the hotel; both made her feel

   8       comfortable. (Trial Tr. 09/09/19 at 46:2-15). However, Garcia became angry at Jane Doe 13 upon

   9       realizing she had shown up to the shoot in full makeup, saying that she was wasting their time

  10       because they would have to redo her makeup. (Id. at 47:5 -12). After her makeup was redone, Jane

  11       Doe 13 started to have a gut feeling that something was wrcmg.(Id. at 47: 16 - 22).

  12               Shortly thereafter, Jane Doe 13 went to the bathroom and got her period. Thinking this was

  13       her way out, she walked out of the bathroom and told Garcia she got her period unexpectedly and

  14       that she could reschedule. (Id. at 47:25 -48:10). Again, Garcia became angry and hostile,

  15       complaining that they flew out to New York for this shoot. Garcia then pulled Jane Doe 13 into the

  16       bathroom and, without her consent, inserte.da sponge into her vagina to block the menstrual

  17       bleeding and said, "That's it. We're good to go." It was at th.ispoint that Jane Doe 13 didn't think

  18       she had the option to leave. (Id. at 48: 11 - 19).

  19               Defendants then asked Jane Doe 13 to undress so they could take nude photos of her to send

  20       to the boss per their "protocol." She ultimately found out that she was not adequate enough looking

  21       for the boss and that she would not be paid the amount she was promised because she had cellulite

  22       and breast reduction scars. (Trial Tr. 09/09/19 at 48:20 - 49:11). She was promised $5,000 but was
  23       paid $3,500. (Id. at 49: 12 - 16). ·

  24              After being paid, the Defendants presented Jane Doe 13 with documents that she was rushed

  25       to sign. (Id. at 49:17 -21). Defendants made it seem like the documents were all for production,

  26       and that it was just something needed to get the shoot going. (Id. at 49:21 -24). Jane Doe 13 tried

  27       to skim the documents and, in doing so, read the names "BLL Media" and "Clockwork

  28       Productions," She asked Garcia what these two companies were, to which he responded, "that's just
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   1   the production company." (Id. at 50:1-11). Jane Doe 13 did a Google searchfor "BLL Media" and
   2   found a generic modeling site with nothing that stood out to her-no pornographicvideos. (Id. at
   3   50: 12 - 23). Once Garcia saw that she was Googlingsomething,he rushed her further,saying,"this

   4   is just the basic agreements, everythingwe spoke about" andreinforcedthe prior representationsof
   5   the video never going online and that it would be on DVDin Australia.(Id. at 50:24 - 51: 19).
   6   Gin;fiawas holding the documents,flipping through them iL'!'ld
                                                                  telling her whereto sign and initial.
   7   (Id. at 52:4- 19).
   8          After signing the documents, Gyi handed her the scriptand told her "just read this. It's for
   9   the camera."Upon reviewing and reading the document,JaneDoe 13 questionedthe portion of the
  10   paper that said she was giving her rights to them. Teddy toldher that this wouldbe just for the
  11   camera,just for the production. (Trial Tr. 09/09/19 at 53 :4- 54:7). She didn't think much of it at
  12   the time because Garcia and Gyi continued to appease any doubtsshe had during~heshoot. (Id. at
  13   54:8 - 11). Jane Doe 13 read the script with those assurancesin mind and then filmed an interview

  14   she was coached through before filming the sexual portion of the video. (Id. at 54:12- 56:7).
  15          Despite her horrible experienceat the shoot, Jane Doe 13 left the hotel thinkingthat the
  16   distributionterms she agreed to with Defendantswere still intact,not believingthat they would
  17   exploit her. (Trial TL 09/09/19 at 57:2 - 15)
  18          On or around January 10, 2016, Jane Doe 13 found out her video was on the internet.One of
  19   her best friends initially confrontedher, and she fell into suchshock that she had to be carried into
  20   her apartment. (Trial Tr. 09/09/19 at 59:7 - 15). At the timeshe found out, she was in front of her
  21   school's entire fraternity and sorority community.(Id. at 59:16 -21). In her apartment,her friends
  22   had to stay and watch her because she was repeatedly saying"I'm going to kill myself." (Id. at 60:2
  23   - 6). Jane Doe 13 testified that, after the video was publishedonline, everyoneat her school and in

  24   her hometownknew-everyone was talking about it and messagingher about it. (Id. at 62: 1 - 5).
  25   Eventually,Jane Doe 13 felt like she owed her sorority an explanationand went before 150 girls in
  26   a room, broke down, and told her story. (Id. at 63:3 - 23).
  27          After her video went public, Jane Doe 13 had to removeherself from all socialmedia
  28   because she was getting an influx of harassment and messagesto such an extent that she couldnot
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                                                                                        EXH. 1 - 084
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             I    handle it anymore. (Trial Tr. 09/09/19 at 66:21 - 67: I). Shedid not attendthe first week of classes
             2    after the video was released because she was still comingto terms with its release.She was scared
             3    and embarrassed,feeling like she could not go anywherewithoutridicule. (Trial Tr. 09/09/19 at
         4        67:21 - 68:8).

         5               Defendants' rekase of the video had far-reachingeffects.Jane Doe 13 receiveda large

"   -    6       amount of harassing messages from strangersqn social media.(Exs. 659,661,665) She testified
         7       that messages such as these were like a stab to the heart that bringsher back to the initialtra"UIIla
                                                                                                                    of
         8       the video shoot with Defendants.(Trial Tr. 09/09/19 at 71 :22- 72:8). Jane Doe 13 testifiedto
         9       seeing her real name and correspondingGDP episodenumberon PornWikiLeaks.com,whichmade
        10       her feel livid and exposed to a massive invasion of privacyon a public forum whereusers were
        11 determinedto rip her and others apart. (Id. at 91 :5 - 92:6); Ex. 663). As a direct result of the video,
        12       Jane Doe 13 was kicked out of her sorority and off her cheer!eadingteam. (Id. at 94:2 - 5).
        13               The day after she found out her video was on!ine,JaneDoe 13 reached out to GirlsDoPom,
        14       begging for the video's removal. (Ex. 646 [stressingthat shewas "on the verge of committing
        15 . suicide because of this awful person who thought it was okayto lie to and exploita young girl like

        16       this."].) No one at the company respondedto her email. (TrialTr. 09/09/19 at 69:6 - 7). She even
        17       tried to contact all the phone numbers for the people involvedwith her shoot, includingJonathan,
        18       Garcia, and Gyi. No one answeredexcept for Gyi, who onlyrespondedto her pleas for help by
        19       saying that he was not at liberty to disclose any information.(Trial Tr. 09/09/19 at 69:15 -70:7).
        20               Jane Doe 13 took further action to remove her videofrom the internet without any
        21       assistancewhatsoever from Defendants.She testified that, when she found a link to her video,she
        22       would send it to the "DMCA Defender,"whom she contactedto help her take it down from
        23       wherever it appeared online. (Trial Tr. 09/09/19 at 75:3- 8; 76:3 -22.; Ex. 678.)
        24              She fears losing respect in her industry and being treateddifferentlyor even being fired
        25       because of the video. (Trial Tr. 09/09/19 at 86:16-87:1). Sb.etestifiedthat the video releaseis akin
        26       to having a nightmare every night where if she gets a call or text, she thinks it has to do with
        27       someone else finding out about the video. (Trial Tr. 09/09/19 at 87:2 - 5). The video has impacted
        28
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       1    her dating life, even seeing her boyfriend get harassed by people approaching him to disparage Jane
   2        Doe 13. (Trial Tr. 09/09/19 at 88:9-17).

   3               Due to the video's release, Jane Doe 13 sought professional help by seeing a psychiatrist.

   4        She was having trouble getting out of bed, focusing, and sleeping. She was prescribed Vyvanse.
   5       (Trial Tr. 09/09/19 at 84: 17 - 11).

   6               The Court finds Jane Doe. 13 to be credible.

   7                             . Jane Doe 14

   8               Jane Doe 14 was 18-years old and living in Calgary when she saw a Craigslist ad for

   9       modeling in California that directed her to "BeginModeling.com." (I 0/15/19 Trial Tr. 16:21 -

  10       17:12.) After submitting the application in July 2014, she received the stock email from Jonathan.

  11       (Id at 17:23 - 25; Ex.684.4 [''None of your personal information will be given out in the video or
  12       afterwards, no names etc are used in the video."].) Jane Doe 14 spoke on the phone with Jonathan

  13 more than once. (Id at 19:14-20:23.) While on the phone, Jonathan told her that "it was going to
  14       be on DVDs and going to be sent overseas and said only, like, men on fishing boats were going to
  15       be able to watch it." (Id at 20:9-11.)

  16              After the phone conversation,Jane Doe 14 was still unwilling to do the gig. She wanted

  17       more information, so Jonathan sent her an email with the contact information for a reference model.

  18       (Id at 20:12-15.)   Jane Doe 14 exchanged text messages with the reference model, who shared her

  19       positive experience and confimied that her video never got published on the internet, 'just over

  20       DVD and, like, sent overseas or to Australia." (10/15/19 Trial Tr. 22: 18 - 27; Ex. 686.)

  21              Jonathan also sent Jane Doe 14 photos of different women surrounded by professional

  22       equipment, holding money and smiling, and posing next to computers that had the

  23       "BeginModeling.com" webpage displayed in the background. (Ex. 692.) The photos in the email

  24       made Jane Doe 14 "trust him more". (10/15/19 Trial Tr, 24:27- 25:6.).

  25              Jonathan (whom she identified as Garcia) and Mike (whom she identified as Pratt) picked

  26       up Jane Doe 14 from the airport and drove her to the hotel. (Id at 25:18-27.) The next day, they

  27       picked her up and drove her to their apartment. Prior to the shoot, Garcia gave Jane Doe 14 a drink

  28       that had vodka because she was nervous and shy and he said the drink "would, like, loosen [her]
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       1    up." (Id. at 27:18 - 28:9.) Jane Doe 14 did not remember being given any documentation prior to

    2      the shooting of the first solo, for which Pratt was the videographer (Id. at 28:10-14.) Then, Pratt

    3      made her another drink and she shot a second solo with Wolfe. (Id. at 28:20- 28:26.)

    4              Prior to flying to San Diego, Jane Doe 14 had not been told about a second solo shoot nor

    5      had she agreed to do one. (Id. at 28:27 -29:1.) She had agreed to do photos, one solo scene and the

    6      boy/girl scene for.$,5,000. (Id. at 25:12-17.)   In total, before filming the boy/girl scene, Jane Doe

    7       14 estimates she had between four and seven drinks over a period of 10 to 12 hours. (10/16/19 Trial

    8      Tr. 11:11 - 14.) Jane Doe 14 felt like she needed to accept all the drinks because she was

  ·9       "extremely nervous and uncomfortable in the environment." (Id. at 104:8 - 10.)

   10              When Garcia and Pratt gave Jane Doe 14 the documents to sign, they started asking her

  11 _questions as she was trying to fill them out. (10/15/19 Trial Tr. 31 :2 - 6.) She was not able to read

  12       the paperwork because she kept being distracted with awkward questions (such as favorite sex

  13       positions); because she had been drinking; and because they had already told her many times what

  14       she would be signing. (Id. at 31 :7 - 15.) They told her that she was "[j]ust giving them, like, the

  15       right to make the DVDs and the overseas and, you know, basically that." (Id. at 31 :22 - 27.) After

  16       signing, Jonathan told Jane Doe 14 that she needed to read a script into the camera and that "it was

  17       basically just to cover their butts" since she had been drinking. (Id. at 32:2 - 9.)

  18               During the interview, Jane Doe 14 had to refilm portions several times because Pratt did not

  19       like her answers. Each time, Pratt would get angry and shout, this would make her uncomfortable

  20       and fearful of what he could do. (Id. at 34:25 - 35:8.)

  21               Even though Jane Doe 14's first scene was shot in the morning, the final shoot was not over

  22       until 2:00 a.m. (Id. at 36:6- 8.) While filming the sexual portions of the video, Jane Doe 14 asked

  23       to stop because she was in a lot of pain, but this made Pratt angry, so he was screaming and yelling.

  24       (Id. at 36:9 - 12; 37:8 - 13.) At one point, she started crying and asked to leave, but Pratt told her _
  25       that she was not leaving until they finished filming. (Id. at 37:26 - 38:3.)

  26              About one year after filming, Jane Doe 14 learned that her video was online from a friend

  27       who told her that people were sending the video around in her hometown. (Id. at 39:8- 40:4.) She

  28       was living in a new city at the time, but she had intended to move back to her hometown where all
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   I   her friends lived. (Id at 42:12-17.) Since the video was released, she has not been back to her

   2   hometown for fear of being harassed. (Id. at 40:13-18.) Jane Doe 14 has family in her hometown

   3   that she has not been able to visit because she is afraid of going back to a place where everyone

   4   knows about the video and where she can be harassed. (Id at 42:21 -43:2.)

   5          Jane Doe 14's friend told her that everyone she wentto school with had the video and that

   6   scre(;nshots had been posted on Instagram. (Id at 40:24 - 41:lJ After finding out, Jane Doe 14

   7   cried and thought she was going to pass out, but she tried to hide her feelings for fear of her

   8   boyfriend finding out. (Id. at 41 :8 - 20.) She immediately deleted her social media accounts and

   9   changed her phone number for fear of harassment and of people contacting her. (Id at 43:21 -44:7;

  10   44:17-27.) Jane Doe 14 found her name and episode number along with comments on

  II   "WikiLeaks;" this made her feel "pretty devastated." (Id. at 51: 16 - 21.)

  12          She hired DMCA Defender to assist her in the process of getting the videos removed. (Id at

  13   43 :3 - 17.) Panakos Law filed a federal lawsuit against Jane Doe 14 for trying to have her video

  14   removed. (Id. at 45:19-22.)

  15          The release of the video has impacted Jane Doe 14's relationship with her family, friends,

  16   and ex-boyfriend. (Id at 45:23 -46:2.) She is no longer close with her mother as she feels she has

  17   disappointed her. (Id at 46:3 - 15.) Jane Doe 14's mother found out about the video through a

  18   Facebook message. (Id at 46: 17 -22.) Jane Doe 14's large group of friends from her hometown

  19   decreased to only one because most of them have assumed the worst after the release of the video.

  20   (Id at 48:5 -16.) She feels humiliated and she wishes she could tell her side of the story. (Id. at
  21   49:3 - 8.) Jane Doe 14's relationship with her ex-boyfriend suffered as a result of the release of the

  22   video. He struggled to understand, and she is constantly worried that his family will find out. (Id. at

  23   47:8 - 15; 47:26- 48:4.) She has fears that her coworkers might find out. (Id at 50:13 - 20.)

  24          Since the release of the video Jane Doe 14 has suffered from debilitating anxiety. (Id at

  25   49:9- 13.) She is uncomfortable in social settings, and testified that when people stare at her, she is

  26   always wondering if it's because they saw the video. (Id at49:15 -18.) Approximately once a

  27

  28
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       1    month she has horrific night terrors. 54 (Id. at 50:9- 12.) While she has always been a relatively

   2        quiet person, she had not struggled with anxiety or night terrors prior to the release of the video. (Id.

   3        at 49:9 - 11; 50:3 - 5.) She has not sought out a therapist because she does not know how to talk
   4        about what happened to her. (Id. at 52:3 - 7.)

   5                Jane Doe 14 wishes she would have known that her video would be posted online, and her

   6       name would be released prior to flying to San Djego. (Id. at 52:8-12.) Jane Doe I4joined this

   7       lawsuit to get the rights to her video.and "to ensure this doesn't keep happening to other women."
   8       (Id. at 52:25 - 28.)

   9                The Court finds Jane Doe 14 to be credible.

  10                                Jane Doe 15

  11               As an 18-year old who had just begun college, Jane Doe 15 perused Craigslist ads for jobs

  12       and found a modeling ad that took her to beginmodeling.com. (08/20/19 Trial Tr. 188:9-190:4.) In

  13       February of 2016, after applying, she received the stock "established Southern California company"

  14       email from Jonathan N. (Ex. 719.1.) Jane Doe 15 did not respond to the email, and two days later

  15       Jonathan followed up with three offers - one for a boy-girl shoot, another for a solo, and a third for

  16       clothed modeling. (08/21/19 Trial Tr. 16:2-18. Ex. 720.) Jane Doe 15 responded to this second

  17       email because of the offer to do clothed modeling for $300. (08/21/19 Trial Tr. 18:19- 20.)

  18               After a few back-and-forth emails, Jonathan had a phone call with Jane Doe 15 in which he

  19       insisted on shooting a boy-girl adult scene. He stated that he would fly her to San Diego and pay for

  20       her hotel to film her having sex; he offered her $5,000 for 30 minutes of sex. He repeatedly stated

  21       that the video would end up on DVD in Australia, the UK, and "a few other really remote

  22       countries." (08/21/19 Trial Tr. 20:1 -13.) He also underscored how pirating DVDs was illegal, and

  23       that he could help take the video down if it went online. (8/26/19 Trial Tr. 181:19 - 25.) Although

  24       she was only interested in doing clothed modeling, Jane Doe 15 figured $5,000 was a lot of money.
  25

  26

  27               54
                     Jane Doe 14 describes night terrors as follows: "[b]asicallyI feel like I'm awake but I'm asleep and
  28       I feel someone,like, trying to grab onto me and then I force myself awake, but it happens over and over and
           over again."(! 0/15/19 Trial Tr. 49:23 - 26.)
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   1   At the time she was worried about putting more financial pressure on her mother, who had three

   2   kids in college. (08/21/19 Trial Tr. 21: 17 - 24.)

   3           What drew Jane Doe 15 to the offer was Jonathan's representation of distribution. He

   4   purported that he had shot "200-plus women," some of whom were "Instagram models and sorority

   5   girls," none of whom had "been found out." (Id. 21 :1 - 3; 10- 12.) Jane Doe 15 emphasized the

   6   point of distribution in email (Ex. 725) and over the phone(08/21/19 Trial Tr. 25:5 - 10). fane Doe

   7   15 was still hesitant aeout going through with the shoot asshe did not want her face and name "out

   8   there." (Ex. 725.) However, before her phone call covering details with Jonathan ended, he had

   9   already sent her contact information for reference models, b.erflight information, and her hotel

  10   reservation. (08/21/19 Trial Tr. 25: 19 - 24.) By this time, Jane Doe 15 still was not set on filming a

  11   pornographic video. (Id. 27:11-18.)

  12          To ease her concerns about safety, Jane Doe 15 texted the reference model Kailyn Wright.

  13   Kailyn corroborated Jonathan's representation that the video ended up on DVD to "wealthier

  14   countries." (Ex. 745.4) She also purported that nothing would go online. (Ibid.) Jane Doe 15 "really

  15   valued her opinion" since these representations came from "another girl who had done it."

  16   (08/21/19 Trial Tr. 50:21 -22.) She went on to text Jonathan that Kailyn "smoothed all [her]

  17   worries." (Ex. 744.) As she boarded the plane, Jane Doe 15believed she was to film 30 minutes of

  18   sex for DVD in Australia and the UK for $5,000. (08/21/19Trial Tr. 69:9-14.)

  19          The cameraman Teddy Gyi picked Jane Doe 15 up from the airport in San Diego. As they

  20   drove to the hotel, Jane Doe 15 asked Teddy about distribution. He reaffirmed Jonathan's claim that

  21   the adult video would not be on the internet and that it would only go on DVD in Australia. He

  22   added that "Internet porn is cheap" and that there was more value in a physical DVD. (Id. 73:8-

  23   16.) They arrived at the hotel, Riva Yousif walked into the room to do her makeup, and then

  24   Jonathan (whom Jane Doe 15 identified as Andre Garcia) entered the room. (Id. 79:4- 18.)

  25          Shortly after walking in, Jonathan shared his marijuana with Jane Doe 15. (Id. 80: 15 - 22.)

  26   Then, while high, Jane Doe 15 was presented with paperwork. Jonathan and Teddy engendered a

  27   sense of urgency; Teddy flipped through a contract, telling her "this is what we talked about, this is

  28   no internet there ... it's going on DVD in Australia ... no names." (Id. 83:19- 84:10.) Jane Doe 15
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   1   tried reading the contract, but she could not understand it. Moreover, she was still high as she

   2   reviewed the paperwork, and Teddy rushed her through signing various pages. (Id. 84: 11 - 85:8.

   3   08/26/19 Trial Tr. 180: 13 - 21.) When she returned home, Jane Doe 15 texted Jonathan asking for a

   4   copy of the contract, but he ignored her request. (08/21/19 Trial Tr. 105:10 - 13.)

   5           After presenting the contracts, Jonathan counted out $3,000 and paid Jane Doe 15. This

   6   amount was $2,000 less than what was promised, but Jane Doe 15 felt she wa~ not in a position to

   7   challen~ the men in the room. (Id. 85: 17 - 86:2.) Jonathan disclosed later through text that she was

   8   paid less because she was "pale and bruised." (Id. 87:6 - 7.)

   9           Defendants then presented Jane Doe 15 with a short script to read into the camera. Jonathan

  10   claimed that the script was "to get levels on the sound" and test the camera. (Id. 87: 17 - 23 .) Jane

  11   Doe 15 believed the script had no legal significance because it had her state she was of sound mind

  12   and body, but everyone in the room knew she had smoked marijuana with Jonathan. (Id. 88: 18 -

  13   22.)

  14           Next, Jane Doe 15 underwent coaching for an interview about her life and previous sexual

  15   encounters. Jonathan and Teddy instructed her to describe her time there as "an awesome

  16   experience" and to "sexualize it." (Id. 90:7 -17; 93:2- 6.) Jane Doe 15 answered the intimate

  17   questions truthfully because she presumed her answers would only be heard on DVD in Australia.

  18   (Id. 93:7 -14.) Jane Doe 15 testified that she would not have answered the questions truthfully had
  19   she known her video would be published online. (Id. 93:15-18.)

  20          Jane Doe 15 discovered her video on!ine in April of2016 when a high school acquaintance

  21   of hers sent her the link to her video from ImagePost.com. (08/22/19 Trial Tr. 7:1-15.)     She was in

  22   class at the time when she opened the link. Later in the day, her friend explained that people at the

  23   school were disseminating the video and identifying her. (Id. 16:8-18.) Her significant other tried

  24   offering support but he was upset about the publication. Her mother .and two sisters also discovered

  25   the video. Jane Doe 15 testified that the release of the video damaged her family's trust in her. (Id.

  26   23:18-20.)

  27          A day after finding the video, she sent her first email to mike@bll-media.com complaining

  28   about the misrepresentations of distribution and of what occurred during the shoot. (Ex. 763.) Jane
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       1    Doe 15 tried calling Jonathan's number multiple times, but the calls eventually stopped going

       2    through. (08/22/19 Tr. Transcript 37:7 - 16.)

       3            As a result of having her likeness on the internet, Jane Doe 15 endured harassment through

   4        social media and texts from strangers that caused emotional distress. She was kicked off her

   5        cheerleading team because of the video. (08/21/19 Trial Tr. 70:18.) Her answers during the

   6        intervie\¥ portion of filming have been the subject of strangers' J1arassingtexts. (Id. 95 :6- 12.) She

  .7       turned to drinking alcohol in order to sleep, which added friction to her relationship with the person

   8       she was seeing. (08/22/19 Trial Tr. 190:7 - 16.) She testified that she felt depressed. (08/26/19 Trial

   9       Tr. 202:25.) She was prescribed sertraline and hydroxyzine, and she still takes both today. (Id.

  10       152:5- 8.) Jane Doe 15 worried about how she could be a mother now with the video out.

  11       (08/22/19 Trial Tr. 16:19-23.)        Had she known about distribution and the aftermath of the video,

  12       Jane Doe 15 testified that she would not have done it. (08/21/19 Trial Tr. 70:8-19.)

  13               The Court finds Jane Doe 15 to be credible.

  14                               Jane Doe 16

  15               Jane Doe 16 was 19-years old, living with her parents, and paying for college expenses and

  16       rent when she responded to a modeling Craigslist ad in July 2014. (09/24/19 Trial Tr. 8:7 - 22.) She

  17       then exchanged emails with "Mark," who insisted on a phone call to give her more details. Mark

  18       represented that the adult video would be distributed on DVD only in New Zealand. He also told

  19       Jane Doe 16 that she could bring a friend for support, which was "a deal breaker" for her. (Id. at

  20       16:2 - 24.) She and Mark had subsequent calls wherein Mark reaffirmed many times over that the

  21       DVD will be sold on a small island country. She questioned the DVD format since it seemed

  22       outdated, but Mark claimed that he knew the niche overseas market. He also explained how DVDs

  23       were "secured and protected" and "unable to be copied." Mark told Jane Doe 16 that he could pay

  24       her $3,000 for a boy-girl shoot and $2,000 for a solo photoshoot. (Id. at 17:2- 13; 18:18 - 19:22;
                                            I
  25       20:6 - 14.)

  26              Mark put Jane Doe 16 in contact with a reference model who texted her about her

  27       experience filming. The model stated that she had a great experience and that she had "plans to

  28       work with Mark again." She corroborated Mark's representations of distribution and purported that
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       1    Jane Doe 16's "name would be protected." Hearing these claims from another woman encouraged
    2       Jane Doe 16 to go through with the plan as it sounded safe. (Id. at 18:2- 12.)

   3                  Jane Doe 16 and her friend, Courtney, flew to San Diego on August!, 2014. Mark (whom

   4        she identified as Michael Pratt) and Andre Garcia picked them up. They dropped them off at their

   5       hotel, and the next day they reconvened to film. Mark and Cliff, the hair and makeup artist, arrived

   6       to set up. Jane Doe 16 began feeling nervous, so she asked Mark if she could only do the photo

   7       shoot. Mark rebuffed her request, telling her that if she refused to do the video, she would ha\Leto

   8       reimburse him for the hotels and flights. Jane Doe 16 proceeded with the video. (Id. at 22:2 - 5;
   9       23:23-24:18.)

  10                 To calm Jane Doe 16's nerves, Mark offered her rum and coke drinks. She did not eat much

  11 · that day, so after her second or third drink she "was definitely intoxicated." (Id. at 25:4- 13.) As

  12       Defendants were preparing to film, Jane Doe 16 asked again about distribution. Mark reassured her

  13       that the DVD would only be in New Zealand, and her name would not be attached. These

  14       representations were reiterated multiple times. (Id. at 25:14- 18; 145:17 - 24.)

  15                 Next, Mark and Garcia paid Jane Doe 16 $3,000 and had her sign paperwork. Jane Doe 16

  16       was very intoxicated as she filled out the documents. Defendants claimed the documents were but a

  17       formality. They rushed her through it because they "were running out of daytime for the shoot."

  18       Due to her alcohol consumption, Jane Doe 16 did not recall the substance of the documents; nor

  19       could she recollect signing the documents or reading a script into the camera. She did remember

  20       how Mark and Garcia instructed her to act bubbly and excited for an interview. (Id. at 25:24-
  21       27:16.)

  22                 After filming the boy-girl video, Jane Doe 16 and her friend, Courtney, were transported to

  23       Mark's apartment. There, Mark paid her $1,200 - despite indicating that he would pay her $2,000

  24       for the photo shoot earlier - and gave her more alcohol. Jane Doe 16 took enough shots to black

  25       out. She went through with the photo shoot, falling over as she posed. (Id. at 28:1 -29:17.)

  26                 The day after the video and photoshoot, Jane Doe 16 and her friend, Courtney, flew home.

  27       The two women noticed that Mark and Garcia blocked their numbers. (Id. at 29:24 - 30:3.) Jane

  28       Doe 16 and her boyfriend grew suspicious of the ordeal, prompting her to email Mark and ask for
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   1    infonnation. She did not receive a response. However, she did receive a phone call that played an

   2    audio clip of her interview with Mark. (Id. at 30:16- 31 :4.)

   3            In March of 2015, Jane Doe 16 found her video online when her boyfriend infonned her that

   4    his friend found her adult film on a website. News of the video spread quickly. Her college

   5    classmates found the video and disseminated it. (Ex. 789.)An acquaintance from Jane Doe 16's

   6    high school created a website that displayed only her video. She moved to her college town a.s

   7    opposed to moving bac.k in with her parents because people at her church discovered the adult film.

   8    She received lewd harassment and solicitations for sex from strangers through Facebook and

   9    Instagram. (Ex. 791.) Moreover, Jane Doe 16 discovered her personal information on

  10    PomWikiLeaks. Consequently, her father and three sisters faced harassment, with messages

  11    emphasizing how Jane Doe 16 was a "porn star." (09/24/19 Trial Tr. 32:20-33:2;            39:1 - 7; 45:21 -

  12    46:23; 47:8 - 1 !.)

  13            With coworkers, college peers, and strangers laughing ather about the video, Jane Doe 16

  14    dropped out of college. She joined the military which helped for a time, but after being discharged

  15    for an injury, she plummeted again. Jane Doe 16 "slipped back into being anxious, depressed, and

  16    dependent on alcohol." (Id. at 37:6- 38:25.)

  17.           One night, after having an anxiety attack, Jane Doe 16.drank and picked up a DUI. After the

  18    citation, she began receiving treatment for her alcoholism and mental health. She underwent

  19    inpatient treatment twice, first for a.month and again for three months. (Id. at 39:9 - 20.) Jane Doe

  20    16 was prescribed K.lonopin, but on one occasion she consumed an entire bottle in an effort of

  21    "intentional overdose." (Id. at 41: I - 42: 1.) Her sister took her to a hospital, and after leaving she

  22    underwent four months of outpatient treatment.

  23            Today, five years after filming the video, Jane Doe 16 continues to have many concerns

  24    about the video. She worries that the video will remain online. She hopes to work in a school,

  25    though she fears she will never be able to now that her name is attached to this video. She worries

  26    about how her son will navigate school with classmates and their parents discovering her video. She

  27    testified that she "need[ s] the rights to this video so [she] can move on with [her] life." (Id. at 51 :6 -

  28    21.)
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   1           The Court finds Jane Doe 16 to be credible.

   2                          Jane Doe 17

   3           Jane Doe 17 was 19-years old in July 2015 when she first came into contact with the

   4   Defendants in this matter. She was looking for modeling jobs on Craigslist to have more money in

   5   her pocket for college, which led her to Defendants' ad. (Trial Tr. 08/29/19 at 183:2 - 21).

   6   Defendants' ad led her to another website, BeginModeling.com, which showed clothed female

   7   models. (Trial Tr. 08/29/19 at 185:11 - 14; 186:2 - 6). Shortly thereafter, Jane Doe 17 received a

   8   form response email from Jonathan at jobs@beginmodeling.com. (Ex. 810). Jane Doe 17 responded

   9   by saying that she would want to do clothed modeling, since that was what she was used to and

  IO what she was looking to do on Craigslist. (Id. at 188:9 - 17). She followed up shortly thereafter to
  11   express her willingness to do lingerie as another option, but Jonathan made it clear to her that

  12   wasn't a priority for him because he was "in the business of making money." (Ex. 811).

  13          A month later, in response to a separate submission by Jane Doe 17 on Craigslist, Jonathan

  14   reached out one more time with an offer of $4,000 for film or $1,000 for photo, according to what

  15   Jane Doe 17 thought at the time. She understood the $1,000 photo offer to be, if anything, tasteful

  16   nudity. It never crossed her mind that this was pornography, nor was it ever mentioned. (Ex. 816;

  17   Trial Tr. 08/29/19 at 194: 12-195:8.)

  18          After the email exchanges, Jane Doe 17 spoke with someone named Stephen on the phone,

  19   someone she testified to having a thick Australian accent. (Trial Tr. 08/29/19 at 195:9 - 13; 195:24

  20   - 196:1). At trial, she identified Defendant Wolfe as "Stephen." (Id. at 182:15 - 19). Stephen told

  21   her over the phone that she would be taking photos the whole time. Stephen told her he had worked

  22   with multiple NFL cheerleaders, Instagram models, and other people like that. This made Jane Doe

  23   17 excited for this opportunity. (Id. at 196:19-197:3). At or around the time she spoke to Stephen,

  24   Jane Doe 17 received another email from Jonathan with photos of models attached. (Ex. 818.) After

  25   seeing Exhibit 818, she still believed that the job was for a photo shoot because she saw images of

  26 . happy, smiling girls that were fully clothed-nothing indicated to her that this was pornography.

  27   (Trial Tr. 08/29/19 at 198:2- 7).

  28
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    1          Besides Stephen, Jane Doe 17 also spoke to a referencenamed Kailyn. Kailyntold her that
   2    the people she worked with were really nice, and that theymade her feel comfortable.She did not
   3    have any discussions about distributionwith Kailyn becauseshe didn't think she had to, since she
   4    believed it was just a modeling shoot that was fully clothedor tasteful nudity. (Trial Tr. 08/29/19 at
   5    200:2 - 24). Nothing about the conversationwith Kailyn ledJane Doe 17 to believethat the job

   6    would be for pornography. (Id. at 201 :7 - 9.)
   .7          Jane Doe 17 met Stephenon the day of the shoot outsideof the Omni Hotel ln San Diego.
   8    (Trial Tr. 08/29/19 at 201 :10-13.) At the shoot, male modelAndre Garcia offeredher marijuana,
   9    which she initially refused because she didn't want her eyesto be bloodshot for the picturesshe
  10    wouid be taking. (Id. at 203: 11 - 19.) At some point, Stephenleft the room and returned around
  11    noon. It was at this time that he casually mentioned shootingpornographyby sayingwhat sexual
  12    positions would be done. (Id. at 204: 12 - 22.) Jane Doe 17 reacted immediatelyby sayingno.
  13    Stephen and Garcia immediatelyexplained where this newlyrevealedpornographyvideo would be
  14    going-they represented that the videos would be distributedon DVD overseasin Australia.(Id. at
  15    204:25 -205:10.) At no time did anyone in the room mentionany of their websites.(Id. at 205:18-

  16    20.) Jane Doe 17 still said no to these new terms, and Stephenbecame very agitatedand said that

  17    she was wasting their time and money. (Id. at 205: 11 - 17.)
  18           Stephenand Garcia ultimately convincedJane Doe 17 tofilm the video. She did so only
  19    because she felt scared of what would happen if she tried to leave. She.fearedhaving the nude
  20    photos the Defendantshad her send prior to the shoot disseminatedin retaliation.(TrialTr.
  21    08/29/19 at 205:21 - 206:3). The Defendants offered Jane Doe 17 another $4,000 for filmingthe

  22    video on top of the photo shoot she thought she was supposedto do. She receivedthat payment.(Id.
  23    at 206:2 - 8.) Before being convincedto do the video, Jane Doe 17 was given one cranberryvodka,
  24    despite being underage at the time. (Id. at 206:9 - 18).
  25           After convincingher to film the video, StephenprovidedJane Doe 17 a stack of papers.He
  26    claimed it was a contract and he rushed her through it. Stephenpointed at everyparagraphand
  27    summarizedwhat each of them said; he specificallysaid that the film wouldbe overseasin a DVD
  28    store in Australia. (Trial Tr. 08/29/19 at 206:21 -207:7). As she was filling out the documents,
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   1 Defendantswere asking her questions, which she testifiedas being distractingand not allowingher
   2   to read the document (Id. at 215:16-216:9.) Shortly thereafter,she acceptedGarcia's offer of
   3   marijuana because she wanted to numb herself. (Id. at 209:1- 10.)
   4           After the contracts, Stephen gave a verbal script to Jane Doe 17 to read into the camera
   5   which, in part, made her say she was not under the influenceof any mind-alteringsubstance.She
   6   did not believe this to be true, since she had just smoked.anddrank a cranberryvodka in
   7   Defendants' presence. She read the statementinto the camerabecausethey told her to; she thought
   8   it was somethingthey needed for their database. She was not concernedabout readingher name as
   9   part of the script because she didn't think that they would put that part of the video anywhere.(Trial
  10   Tr. 08/29/19 at 209:21 - 211 :18.) Jane Doe 17 then participatedin a coached interviewwith the
  11 Defendantsprior to the sexual portion of the video. (Id. at 212:12-20; 214:19 - 215:3.) She would

  12 never have answered the questionsin the interviewhad sheknown the video would be published
  13 online due to their sensitive nature. (Id. at 216:22- 217:9.) During the actual filmingprocess,Jane
  14   Doe 17 asked to leave the room but was instead told to get air on the balcony. She cried multiple
  15   times during the filming and was simply told to go to the bathroomand fix her makeup.(Id. at
  16   222:12-21.)

  17          Jane Doe 17 first learned her video was released onlinein Octoberof 2016. (Trial Tr.
  18   08/29/19 at 217:24- 218:2.) She was alerted on Instagramto a page that was GirlsDoPornthat
  19   featured a clothed photo of herself on a bed. Eventuallythis led Jane Doe 17 to realizeher video
  20   was on the GirlsDoPorn.comwebsite with a "Coming Soon"banner on it. (Id. at 218:3-19.) Jane
  21   Doe 17 testified to this being the worst thing ever because she had to anticipateher video being·
  22   released online-it took around six days from the time she foundout about the video for it to be
  23   officiallyreleased. (Id. at 219:6 - 19.) In those six interveningdays, Jane Doe 17 filed a police
  24   report because she wanted to see if there was a way she couldtake the video down before it came
  25   out. (Id. at 219:20 - 24.) Nothing came of the police report,to her knowledge.(Id. at 227:4- 6.)
  26          Jane Doe 17 endured emotional distress and sufferedextensiveharassment from peopleboth
  27   known and unknown as a result of the video's release. She went home to Californiafrom Tucson
  28   after finding out about her video. She told her mom everythingabout her experiencewith
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   1   Defendants; she was really embarrassed. (Trial Tr. 08/29/19 at.220:15 -24.) Despite returning to

   2   Tucson for classes, she was extremely scared to actually walk to class in fear of being recognized.

   3   She didn't really even go to class and started failing as a result of the publication of the video. (Id.

   4   at 222:22 - 223:5; 224:23 - 25.) Jane Doe 17 even testified that her ex-boyfriend's fraternity played

   5   her video during their chapter meeting. She frequently had people approach her at parties to show

   6   her the video. She was dubbed the "porno girl." (Id. at 223:24- 224:9.) She ultimately left her·

   7   university because of the harassment she was getting and corresponding failing grades. (Id. at 223 :6

   8   - 15.)Jane Do~ 17 also experienced harassment on social !Iledia where she was threatened with

   9   having the video exposed to members of her family. (Trial Tr. 09/03/19 at 34:15-35:1; Ex. 840.)

  10   Strangers posted her video and episode number on her motlier' s Yelp business page, something that

  11   shocked her as her mother and her business had nothing to do with the video. (Trial Tr. 09/03/19 at

  12   36:23 - 37:9; Ex. 844.)

  13          Jane Doe 17 sought out treatment as a result of the emotional distress she suffered because

  14   of the video. She saw two therapists and one psychiatrist. She attended several sessions with these

  15   specialists. (Trial Tr. 08/29/19 at 225:21 -226:5.) She began taking a supplement called GABA to

  16   address sleep problems caused by anxiousness, which she did not have prior to the video's release.

  17   (Id. at 226:8 - 19.)

  18          In an attempt to stop other girls from falling for the same lie she fell into, Jane Doe 17

  19   began posting on Craigslist to explain that the Defendants' photo shoots will actually end up being_

  20   pornography shoots. (Trial Tr. 08/29/19 at 227:16-228:16.) In response to her postings on

  21   Craigslist, Defendants-through     their counsel, Aaron Sadock-sent Jane Doe 17 a cease and desist

  22   letter that included her nude photos threatening her with a lawsuit if she continued making the

  23   posts. The letter was addressed to her parents' house. (Id, at229:2- 22; Ex. 837.)

  24   The Court finds Jane Doe 17 to be credible.

  25          The Court finds Jane Doe 17 to be credible.

  26                          Jane Doe 18

  27          Jane Doe 18 needed money for college when she found Defendants' ad on Craigslist.

  28   (Deposition of Jane Doe 18, March 22, 2019 ["Jane Doe 18 Depo."] at 246:13 - 16.) She was
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       looking for part-time fitness modeling or clothed modelingjobs. (Doe 18 Depo. 90:9 - 12.)In
   2   December 2015, Jane Doe 18 responded to an ad that mentioned"18- to 22-year-oldgirls photo
   3   shoot." (Id. at 188:15 -20; 91:10- 11.) This was the first time that she became aware of the
   4   existence ofwww.modelinggigs.com (Id. at 90:18 -21.) Shewas 21 years old when she responded
   5   to the ad by email. (Id. at 189:23- 25.)

   6           After submitting clothed photos, headshots and her contact information,Jane Doe 18
   7   received an email from mark@modelinggigs.com(Id. at 91:22-9~:13.) After the initial email, Jane
   8   Doe 18 and the Defendants exchanged a few emails regardingthe clothedphoto shoot. (Id. at 94:5 -
   9   7.) The emails also mentioned the option of doing an adultvideo, howeverit was not the only

 10 .option.(Id. at 94:15 - 95:2; 96:13 - 17.) In the days that Jane Doe 18 communicatedvia email with
 11 the Defendants, she went to modelinggigs.comto learn more about the website, and "[t]herewere
 12 no nude or pornographic images on it. It was all clothed models."(Id. at 93:8-10.) She kept
 13 communicatingwith the Defendantsbecause she "believedclothed photo modelingwas also an
 14 option." (Id. at 97:7 - JO.)

 15            Following the first few emails, Jane Doe 18 had a phonecall with a man with an accent. (Id.
 16 at 98:19-22.) He told Jane Doe 18 that she could either do clothed modelingor a pornographic
 17 video, but that she would make more money if she did the pornographicvideo. (Id. at 98:22- 99:1.)
 18 If she decided to do the video, she would be "promised anonymity.They [the videos] would only be
 19 distributed in Australia and South America via DVD. No one would ever find out that [she]had
 20    done it. Amongst other things." (Id. at 99:I - 4.) Defendantsinsisted on providing Jane Doe 18 with
 21    details regarding the pornographicvideo in case she wouldwarm up to the idea. (Id. at 99:10-12.)
 22    Jane Doe 18 told the Defendants that she had no desire to do a pornographicvideo, and she
 23    discussed it at length over the phone. (Id. at 95: 16 - 19; 99:5- 8.)
 24           Also over the phone, Jane Doe 18 asked Defendantsabout the type of clothing,they told her
 25    that "they do a lot of male and female clothed photo shootsfor multiple clothing companies."(Id. at
 26    I 00:23 - I 01:4.) Jane Doe 18 had asked the Defendants for examples of past photo shoots, and they

· 27   told her to refer to their website. (Id. at 102:16- 19.) Whileon the phone call, Defendantsgave
 28    Jane Doe 18 the contact informationfor one of their references.(Id. at 102:13-15.)
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  1            Jane Doe 18 reached out to the reference, Kat, viaFaceTime and text messages.(Id. at
  2    115:13 - 15.) She asked the reference whether "it was safe, if they were shady." (Id at 115:17 -

  3    18.) The reference woman told Jane Doe 18:

  4                 "If I wanted to do a photo shoot it would be wholesome,fun, easy; but I

  5                 should really consid<Jrdoing the pornographybecauseit was really fun, she
  6               ...enjoyed it, they're easy to work with, no one would r.ver know, I would
  7                 make more money, and I should get out-ofmy comfortzone."
  8    (Id at 116: I - 6.) As she had previously told the Defendants,Jane Doe 18 told the referencethat

  9    doing a pornography video made her uncomfortable. (Id at 116:8 - 9.)
 10            In the email exchange after the phone call, Defendantsasked Jane Doe 18 to provide them
 11    with nude photos because they wanted to see her body dimensions.(Id at 106:24-107:2.) She was
 12    a bit apprehensiveat first, but Defendants reassured her that "it would be completelyanonymous,
 13    no one would ever see them; it was simply to get [her] look."(Id at 107:10-15; 108:3 - 7.) She
 14    had spoken with the Defendants multiple times, so she felt comfortablewith their reassurances.(Id
 15    at 109:5- 6.)
· 16           The compensationregarding the photo shoot was discussedon a phone call. Jane Doe 18
 I7    was told that she would be paid "roughly one to two thousanddollars." (Id. at 106:17 - 20.) Prior to
 18    flying to San Diego, Jane Doe 18 was still under the impressionthat she would be paid one to two
 19    thousand dollars if she did the photoshoot, and $4,500 if she agreedto do a pornographyvideo. (Id.
 20    at 116:23 - 117:1.) Prior to flying to San Diego, Jane Doe 18 had continuallytold Defendantsthat
 21    she would not do the pornographicvideo option. (Id. at 117:2 - 6.) Jane Doe 18 flew to San Diego
 22    thinking that she would do a photo shoot that would last "between30 minutes and an hour and a
 23    half." (Id. at 102:8-12.)
 24            Once in San Diego, Jane Doe 18 was picked up at the airport in a black Escalade,"an Asian
 25    man was driving. He introducedhimself as Teddy." (Id. at 118:10- 12.) Both, on the car ride and at
 26    Garcia's apartment (Garcia introducedhimself as Dre), Teddyand Garciakept using the phrase
 27    "photo shoot" (Id at 120:9-14.) Jane Doe 18 kept asking Teddy,Garcia, and the makeupartist
 28    questions such as: "[w]here are we going? What time? Howlong is it going to take? Lots of
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  I   different things. And they kept brushing off [her] questions,not replying. (Id at 122:8 - 11.) Before
  2 going to the location where Defendants would do the photo shoot, they told Jane Doe 18 that they
  3   needed to take a nude picture to make sure that her measurementswere right. (Id at 123:14 - 18.)
  4   Jane Doe 18 was very uncomfortable with this request, "Mark was yelling on the phone", but
  5   Garcia reassured her that the picture would not go anywhereand that her face would not be on it.
  6   (Id. at 123:18 -124:1.) Eventually Jane Doe 18 tookthe nudepicture because they had reassured

  7   her, she was uncomfortable, and she fillt outnumbered.(Id at 124:18 - 125: 1.)
  8           On the way to the hotel, "Garcia stopped in an alleywayto pick up marihuanafrom
  9   someone." (Id. at 127:24-25.) While in the car, Teddy reassuredJane Doe 18 that they were "just
 10   going to go do the photo shoot." (Id at 128:18-24.) Defendantstold Jane Doe 18 that they usually
 11   filmed in a house on the beach, but that it was currently beingremodeled, so they had to do it at the
 12   hotel. (Id. at 129:2-6.)   Once at the hotel room, Garcia told Jane Doe 18 to change, she asked for
 13   the clothing, but he said to wear anything, that they were just going to film an interview.(Id at
 14   130: 17 - 22.)

 15           After changing in the bathroom, Jane Doe 18 came out and she saw Teddy and Garcia
 16   standing next to the desk and on it they had laid out some paperwork.(Id at 132:10- 16.) Jane Doe
 17   18 had to sign the documents without reviewing them because:

 18                    Garcia is standing right here. He is the one holdingthe paper,
                       flipping, telling me, Sign here, sign here, initialhere, sign here.
 19
                       Doesn't let me read anything. I said, Okay, what is this? Can I read it?
 20                    And he goes, It's everything we've already talked about. It's just the
                       release for images. It's just saying we have the right to use your image
 21                    exactly how we said we would. And I said, Wait. What? My image? I
                       was confused. And I don't particularly enjoy signing things that I
 22                    haven't read. I don't do that. So I asked them immediately,Can you e-
 23                    mail me a copy of this for my records? And Garciasaid, Yeah, yeah,
                       yeah, of course. And he goes, Do you want me to get the money first?
 24                    And I was like, What?

 25
      (Id. at 132: 15 - 133:5.) Jane Doe 18 never got a copy of the documents.(Id. at 133:10- 11.) She
 26
      asked the Defendants if she could read the documents before signing them, but they again pressured
 27
      her, yelled and rushed her. (Id at 134:21 - 135:1.) Garcia kept telling her that the documentswere
 28
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  1   everything that they had talked about, "you know everythingthat's in here already." (Id. at 135:2-
  2   4.) She had talked with the Defendants many times, so shetrusted their assurancesof what was in

  3   the documents. (Id. at 135:4 - 6.) At one point, she tried to grab the documentsin order to read
  4   them, but Garcia pulled it away from her hands. (Id. at 137:14- 22.) At that moment, she did not
  5   feel that she could leave the room because Defendants were standing over her; they had taken her
  6   phone and they had unplugged the phon~ in the hotel room. (Id. at 137:8- 13.)
  7           After the documents were signed, Teddy and Garcia started explainingthe video to Jane
  8   Doe 18. They told her the same informationregarding confidentialityand distributionthat they had
  9   told her on the phone prior to flying to San Diego. (Id. at 139: 13 - 19.) She felt completelytrapped
 10   after she understood that they wanted her to do the pornographicvideo. (Id. at 141:9- 13.) At this
 11   point Jane Doe 18 was terrified, she did not know if she was going to be murdered or human
 12   trafficked. (Id. at 141:15 - 19.) After wanting to leave and being blocked by Garcia, she was "kind
 13   of just waiting to be told what to do, trying to survive and get out ofit." (Id. at 143:19-22.)
 14           Reading the verbal script, Jane Doe 18 was told to "[j]ust say this into the camerareally
 15   quick." (Id. at 145:17.) Defendants told her that she neededto read somethinginto the camera,"so
 16   that they could get the settings and everythingright and make sure that [herJ voice was right." (Id.
 17   at 149:23 -150:1.) As soon as Jane Doe 18 finished readingthe script, Defendants started giving
 18   her drinks and marijuana. (Id. at 145:17 -20.) Jane Doe 18 had never smoked marijuanaprior to
 19   that moment; she was given between two and four shots of vodka; and according to the Defendants
 20   the alcohol and the drugs were intended to help her not be nervous. (Id. at 145:21 -146:3; 145:19-
 21   20.) She did not want to smoke, but Garcia insisted that it would calm her down. (Id. at 152:3 - 4.)

 22   Jane Doe 18 testified that that was probably "one of the highesttimes [she had] ever been in [herJ
 23   life." (Id. at 146:18-19.)
 24           Following the verbal script, Jane Doe 18 was coachedto.be "flirty and perky, energetic,
 25   smiley. They told [her] specific things to say"; if they did not like her answer "they would restart
 26   and tell [her] to say something slutty, or, No, we don't like that; say this." (Id. at 144:21 -145:1.)
 27           Garcia forced Jane Doe 18 to engage in intercourse.(Id. at 171:10 -17.) At one point she
 28   was bleeding vaginally, and she felt pain due to the angle in which Garcia was pulling her arms, she
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  1   asked for him to stop and she tried to run out of the hotel room. (Id at 178:19 - 179:1.) Both Garcia

  2   and Teddy blocked the door, then Garcia physically "shoved [her] back into the room towards the

  3   bed." (Id at 179:11 - 20.)

 4            Jane Doe 18 did not feel comfortable calling the police since the Defendants had threatened

  5   her to release online what they had filmed so far. (Id. at 182:10- 12.) The next day Mark called her

  6   and told her that he had cancelled her flight home and that she needed to do a solo shoot. (Id. at

 7    185:6-9.) Defendants had initially told Jane Doe 18 that if she decided to do the pornographic

  8   video, she would be paid $4,500, yet she was only paid $3,500. (Id at 156:7 ~ 14.) She was told

 9    that she would get the rest of the money the next day when she did a solo. Jane Doe 18 had never

 10   been told about a solo nor had she agreed to do one. (Id at 156:14-19.)

 11           Jane Doe 18 discovered that her video was online in February 2016, "[a] boy from high

 12   school sent [her] the link". (Id at 160:10- 16.) After the online release of her video, she was not

 13   able to get ahold of the Defendants, "they had deleted all of the numbers or changed the numbers."

 14   (Id. at 245:21 - 24.) A few friends from Jane Doe !S's time at college found out about the video.

 15   (Id at 48:2 - 11.) Upon finding out that it was online, she told her family and friends. (Id. at 161:15

 16   -21.)

17            After the online release of the video, Jane Doe 18 has missed work multiple times, she has

18    had to withdraw from school more than once, and consequently sustained a financial loss of about

19    $30,000. (Id. at 283: 1 - 6.) She is afraid of having to use her name. As a result she does not apply

20    for jobs like she used to. (Id at 283:7 -12.) She has deleted social media or changed the privacy

21    settings, so that the accounts are extremely private. (Id. at 288:3 - 7.)

22            Jane Doe 18 has sought medical treatment after discovering that her video was released

23 ·online. (Id. at 274: 16 - 18.) She has been treated for "low blood pressure and migraines as a result

24    of anxiety as a result of the video." (Id. at 280: 11 - 12.) After the online release, she was prescribed

25    antidepressants, sleep medication, and Adderall. (Id. at 281:10- 19.) Later she reached out to a

26    different health care provider for counseling. (Id. at 281 :20- 21.) Jane Doe 18 has been inpatient in

27    a mental facility and has had to acquire an emotional support dog. (Id. at 287:21 - 23.)

28
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      I            Jane Doe 18 visited the emergency room on different occasions for alcohol poisoning and

  2        suicidal ideations. (Id. at 281 :5 - 8.) She has also been admitted at a hospital ER and kept inpatient
  3        for over 24 hours because of suicidal ideations. (Id. at 280:16-19.)

  4               Some of the symptoms that Jane Doe 18 has experienced as a direct result of shooting the

  5       pornographic video include throwing up when overly upset, depression, sadness, hyperventilating,

  6       panic attacks, bre.aking out in urticaria, and hives. (Id. at 42:16 - 43:5; 48:20-22.)

  7.              To think about her experience with the Defendants gives Jane Doe 18 post-traumatic stress

  8       and major depression. She said that "[t]he only reason that [she] joined this trial was to make sure
  9       that these guys can't do this to any more girls." (Id. at 286:5 - 9.)

 10               The Court finds Jane Doe 18 to be credible.
 11                               Jane Doe 19

 12               In November 2016 (after this lawsuit had commenced and Defendants appeared), when Jane

 13       Doe 19 was 21 years old, was betweenjobs, and living in Washington, she found an advertisement

 14       on Craigslist for modeling, which lead her to Defendants. (9/9/19 Trial Tr. 212:6 - 213:22.) The

 15       advertisement did not mention pornography. (Id.) She was on Craigslist looking for jobs because
 16       she had bills to pay, including her car payment. (Id.)

 17               After responding to the Craigslist advertisement, "Mike" replied to Jane Doe 19 with a

 18       canned email. (Ex. 875.) The email stated to Jane Doe 19 "Photoshoots and other opportunities... "

 19       "We have several channels of distribution depending on the level of anonymity you wish to

 20       attain ... " and "none of your personal information isreleased ... to keep your identity private.... "
 21       (Id.)

 22               Eventually, "Mike" called Jane Doe 19. She testified, "and when we were on the phone, he

 23       said that he had a private collector in Australia, and everything was confidential and discreet. And

 24       it was a 30-minute shoot. He just said "shoot." And that it was only to the level that I was

 25       comfortable with." (9/9/19 Trial Tr. 214: 13 - 22.) At this point, she did not know the video

 26       involved sex. (Id. 215:4 - 5.)

 27               The private collector in Australia was important to Jane Doe 19. "It was important to [her]

 28       that this was going to be confidential and that it wasn't going to be online." (Id. 215:6-12.)     Mike
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  1   did not mention GirlsDoPorn or internet distribution. (Id. 215:13 - 16.) Mike gave her reference

  2   models to speak with. Jane Doe 19 texted them. They appeased her questions and concerns, and

  3   saiditwasapleasantexperience.        (Id 215:17-216:2.)

  4           Jane Doe 19 "would have liked to know that there was a website that they post this on and

  5   repost this on for free people to see, that was girlsdoporn.com. If I knew that that was like actually

  6   what they were doing, if I knew there was already a lawsuit-out for them, and they had done this to

  7   multiple other women .... " (9/10/19 Trial Tr. 27:11 - 20.)

  8           She would have liked to know that other women had already sued the defendants for fraud,

  9   and she would not have flown to California or signed any documents, if she had known. (Id

 10   27:21 :28:6.) She believed Defendants because Michael Pratt was "very reassuring that this was just

 11   for a private collector on a DVD to Australia. And Andre [Garcia] confirmed that story. Riva

 12   [Yousif! confirmed that story. Teddy [Gyi] confirmed that story." (Id 28:7 - 13.) "So when you

 13 hear something over and over and over again, you believe them." (Id.)
 14          "Mike" bought airfare to fly Jane Doe 19 from Seattle to San Diego. She believed the job

 15   was "some sort of like professional studio and that it was just going to be a photo shoot, and it

 16   could include nude and up to with someone else, but I did not think that it was going to be sex."
 17   (9/9/19Trial Tr. 216:10-23.)

 18          The shoot was to occur the night Jane Doe 19 flew into San Diego, but it was postponed to

 19   the next day. (Id. 218:10-219:25.)     The next morning, three men and Riva Yousif showed up at

 20   Jane Doe 19's hotel room, which scared her. (Id. 220:1-10.)      Garcia arrived with documents,

 21   which Jane Doe 19 signed, after the men told her the shoot was for a "DVD, a private collector on a

 22   DVD over to Australia, and everything was going to be confidential. (Id. 220:17 - 221:8.) This

 23   reassured Jane Doe 19's concerns and she was rushed signing given her departure flight from San

 24   Diego. (Id) Theodore Gyi also handed her the verbal script, told her to read it into the camera,

 25   which she did not think was a contract. (Id. 222:17-223:1.)

 26          Defendants then paid her $3,000, not the $4,000 Mike had offered, with Garcia reasoning,

 27   "her body was a 10, but face a 7." (Id. 222:2-10.)    After paying her another $40 for parking,

 28
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     1    Defendants for the first time told Jane Doe the shoot was sex,and with Garcia. (Id. at 223:9-
     2 224:1.) Jane Doe 19 then filmed the video with Garcia as the actor. (Id. at 225:8 - 9.)
     3           After returning to Washington,Jane Doe 19 eventuallylearned her video was on the internet
     4    when she received a "blocked email and text messages with a link to [her] video saying,"I found
     5    you." (9/10/19 Trial Tr. 12:6 - 13.) The message had linkto her video on www.PornHub.com.
  6       (Id. 12:14- 15.) A man she was dating received a message,"I found your girl." (Id 12:21-
  7       13:11; Ex. 888.) Her friends and their boyfriends also discoveredthe video. (Id t4:5 - 18; Ex.
  8       889.) Jane Doe 19 then found her video on approximately10 websites, some with an episode
  9      number, which she and her friend tried to report to take down. (Id. 15:21- 16:8.) Jane Doe 19 also
 10      reached out to "Mike," testifying:
 11                      I called Mike because I was very upset. I feltbetrayed that what they
 12                      had told me wasn't true. And when I called liim, he told me that he
                         didn't know who I was and hung up. And I.triedcalling again and
 13                      again, and he -- he just stopped answering. And then when I texted
                        him that I was upset and I would get a lawyer,he told me that I was a
 14                     joke and they have everything on video.
 15      (Id 16:9-18; Ex. 886 [Mike Pratt writing "LOL" and "your [sic] a joke.)
 16             As a result of the video release, Jane Doe 19's video spread by word of mouth in the Seattle
 17      area, and she had to break up with her boyfriend, who wouldblackmail her with it, and pass it
 18      around to acquaintances and friends at bars and parties. (Id.20:2 -15.) Jane Doe 19 came across
 19      approximately 100 people who had learned of the video, and she eventually had to delete social
20       media. (Id 20: 16 - 21.) She was harassed on social mediawith random messages, including
21       propositions for sex from strangers. (Id. 22:24 - 23:5.)
22 The video release affected her emotionally:·
23
                        Q. And how did the release of the video on the Internet affect you
24                      emotionally before you moved to Vegas?
                        A. Well, at one point, I drove my car to a cliff, and there was no
25                      barrier, you can drive, and I sat there and sat in my car contemplating
                        for a couple of hours listening to music and wonderingif maybe the
26                      best way to make it all stop was just to not be here.
27                      Q. What were you thinking of doing on the top of the cliff?
                        A. Driving my car off.
28
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  1   (Id. 24:3 - 13, 26:20- 21 ["I have cried in my car when I was going to leave this world."].)
  2             Eventually, Jane Doe 19 had to move from the Seattlearea to Las Vegas. "I had to move
  3   away from that state. It was where I grew up, and I had a lot of friends, and my family lives there,
  4   and I had -- my life was ruined, and it was too much to handle, so I thought maybe going to a new
  5   state would help me at leasttry and give myself a fresh start." (Id. 23:19- 24:2.) She now has
  6   an emotional support dog, a psychiatrist diagnosed her with anxiety and depression,she has taken
  7   medication,.goneto therapy, lost sleep and weight, and criedthousands of times. (Id. 24:16-
  8   26:24.)

  9             Jane Doe 19 is concerned about the future:
 10
                       [T]his will haunt me for the rest of my life. That if I have kids, this is
 11                    what they are going to think of me. That if! start a new job, this is --
                       they will know about it and confront me. That if I did reactivate,like,
 12                    my Facebook or something, I would receivecountless messages,
                       whether they were supportive·ornot, it still is horrific to read about
 13                    and be a part of.
 14   (Id 26:25-27:10.)
 15          The Court finds Jane Doe 19 to be credible.
 16                           JaneDoe20
 17          In October 2015, 21-year old Jane Doe 20 was a fulltimestudent in Florida working two
 18 jobs to pay all of her expenses by herself. She was living paycheckto paycheck and sought extra
 19   money when she sent an application to ModelingWork.com.(09/16/19Trial Tr. 7:15-8:26; 10:19
 20   - 23.) Jane Doe20 then received an email from mike@modelingwork.comthat detailedan offer to
 21   shoot 30 minutes of sex. The email purported that there were "several channels of distribution
 22 depending on the level of anonymity" desired. (Ex. 904.1 -2.)
 23          Following a short back-and-forthin email, Jane Doe 20 had a phone call with Mike who
 24   explained the video would only be on DVD in Australia. He claimed that the video would not
 25   appear in the US or on the internet, and he assured her that she could speak to referencemodels
 26   upon request. Mike also mentioned that Jane Doe 20 wouldbe paid $5,000 for the job. Jane Doe 20
 27   testified that he "was very convincing" overthe phone. (09/16/19Trial Tr. 15:1 -16; 16:4-15.)
 28   Jane Doe 20 had subsequent calls with Mike wherein he showedher his office, employees,and a
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  1   male actor named Josh. Seeing what looked to be a normal and professional office made Jane Doe

  2   20 feel more comfortable. (Id. at 16:16-17:15.)

  3             Another aspect of recruitment that drew Jane Doe 20 in was contacting a reference model.

  4   She texted and spoke with Cat Wilkens, who reaffirmed that her videos were not online nor in the

  5   US. Jane Doe 20 also followed Cat on Instagram, which further cemented the idea that Defendants

  6   ran a legitimate operation that protected the privacy of nonnal young women. (Id. at 17:27 - 19:4.)

  7             Jane Doe 20 did not make the original flight Mike booked for her because she "ended up

  8   getting cold feet." (Id. at 19:21.) Mike, however, remained persistent, continued comforting her,

  9   and ultimately convinced her to get on a plane to San Diego. Mike (whom Jane Doe 20 identified as

 10   Michael Pratt) picked Jane Doe 20 up from the airport and drove her to the hotel where she would

 11   stay for the night. During the car ride, Mike reassured her that the video would not appear online.

 12   (Id. at20:14-27.)

 13             The next morning, Mike, Andre Garcia, and a second male actor Josh arrived at the hotel.

 14   Jane Doe 20 noticed that they seemed irritated and in a hurry. They took her to another hotel where

 15   the shoot would take place. Jane Doe 20 asked Garcia about distribution, and he verified what Mike

 16   had claimed about being overseas. (Id. at 27:5 - 10.) She went to take a shower, and Josh joined her

 17   without asking; she felt uncomfortable, but she proceeded because she did not know how adult

 18   shoots went. After the shower, the videographer and makeup artist entered the room. (Id. at 22:2 -

 19   23:22.)

 20             Garcia disclosed to Jane Doe 20 that they would reduce her pay to $2,500 because Mike did

 21   not expect her to have a large tattoo on her back. Jane Doe 20 was shocked by the explanation as

 22   her application photos displayed her tattoo clearly. (Ex. 899.) He then surprised her by asserting

 23   that she had to shoot with two male actors. Jane Doe 20 felt uncomfortable yet powerless. She

 24   "didn't want to get on anybody's nerves," so she went with what the men directed. (09/16/19 Trial

25    Tr.at24:15-26:3.)

 26             Next, Garcia handed Jane Doe 20 documents to sign. He rushed her through signing the

 27   paperwork, representing it as 'just for tax purposes and stuff [they] had already talked about." (Id.

 28   at 26:18 - 19.) Jane Doe 20 did not have time to read the document. Garcia then gave her a script to
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  I   read into the camera. He purported that this script was to show she "wasn't being held against [her]

  2   will." (Id. at28:7.) After filling out the documents, Jane Doe 20 sat on the bed for an interview

  3   wherein she was coached to act flirty and answer personal sexual questions. She was uncomfortable

  4   with both the interview and the sexual filming, the latter of which took at least double the time

  5   initially stated. (Id. at 29:2 - 22.)

  6       ... Early in 2016, Jane Doe 20 received Snapchat messag..esfrom friends with links to her video

  7   online. Her immediate response was to ignore the influx of messages. Soon thereafter, her family;

  8   co-workers, and strangers discovered the video. She lost many friends, some of whom sent hurtful

  9   messages. (Id. at 30:21 - 32:23.) For example, her now ex-boyfriend sent emails in which he

 IO claimed that the pornographic film defined Jane Doe 20. He focused on his own shame and disgust,
 11   emphasizing that she made "the most disgusting thing possible." (Ex. 921.)

 12           Jane Doe 20 endured emotional distress as a result of the harassment from friends and

 13   strangers. She suffered from extreme anxiety, panic attacks, depression, insomnia, and undereating.

 14   (09/16/19 Trial Tr. at 52:26- 53:3.) On one occasion, Jane Doe 20 underwent a panic attack that

 15   sent her to the ER, where physicians prescribed her Lorazepam. Jane Doe 20 continues to

 16   experience these symptoms. She now has additional worries concerning her nine-month old child;

 17   she worries about his growing up in her hometown where people continue to approach her about

 18   her video. She also has concerns about her career and how she can provide for him financially. (Id.

 19   at 53:6- 54:14.)

 20          Jane Doe 20 took some measures to try to remove the video before procuring legal

 21   representation. She sent a notice to a porn tube site disseminating her video. She stated that

 22   showing her likeness was a violation of privacy. (Ex. 922.) She also emailed Michael Pratt pleading

 23   with him to take it down, but he replied, "LOL good one." (Ex. 923.3)

 24          Jane Doe 20 testified that she wished she had been told where the video would end up, that

 25   they would short her on payment, and that they would have her film with two men. She joined the

 26   lawsuit so that her video could be removed and so that nobody else endures what she went through.

 27   (09/16/19 Trial Tr. 54:18-55:7.)

 28          The Court finds Jane Doe 20 to be credible.
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      I                            Jane Doe 21

     2             In May of 2015, Jane Doe 21 had just been fired from her job. She was 20 years old,

     3     transferring to a new school, living with her parents, and she had to pay for her college tuition.

  4        (Deposition of Jane Doe 21, May 4, 2019 ["Doe 21 Depo."] at 36:4-11;         50:9.) After applying to

  5        around 50 jobs through Crrugslist with no luck, she received the stock "legitimate adult gig" email

  6        from BeginModeling. (Id. at 36:12- 17; 42:1~~~20.)

  7                Jane Doe 21 spoke-with Jonathan on the phone, and she asked about safety,"STD testing,

  8       and distribution. Jonathan assured her he could provide the health bill, and he purported the video

  9       would not be published online. (Id. at 69:24 - 70:7.)

 IO               Jonathan then sent her reference model contact information. Jane Doe 21 felt more

 11       comfortable communicating with a woman about the experience. The reference model, Kailyn,

 12       texted her that it was a great experience, that Defendants w~uld provide "luxury accommodations,"

 13       and that the video would not be online. (Id. at 87:4 - 88:4.) Her conversation with the reference

 14       model was "the deciding factor in whether or not [the video shoot] was safe." (Id. at 59:10-15.)

 15               By the time she was boarding the plane, Jane Doe 21 was told she would fly from Newark,

 16       New Jersey to San Diego, California to film a sex video. (Id.94:25 - 95:3.) She was under the

 17       impression the video would be for a "small overseas audience on·DVD." She believed she would be

 18       paid $3,000 for 30 minutes of filming. (Id. at 71:15-72:22.)

 19               Jonathan (whom she identified as Andre Garcia) picked Jane Doe 21 up from the airport and

 20       checked her into a hotel. He walked her into the room, then told her his boss needed more pictures.

 21       He instructed Jane Doe 21 to strip, making her feel "scared and vulnerable," and later that night he

22        forced her to have sex with him. (Id. at 95:9-11;    97:15- 98:13.) The next day, after getting her

23        makeup and nails done at a shopping center, Jane Doe 21 returned to her hotel for the shoot. (Id. at
24        102:2-25.)

25                At the hotel, Jane Doe 21 met with the videographer, Matthew Wolfe, and Jonathan. Wolfe

26        set up for filming while she had her tattoo covered up. 55 Jane Doe 21 asked several times for STD
27
                  55
28                 Jane Doe 21 testified that Wolfe went by an alias, but she could not rememberwhat it was. (Doe
          21 Depo. at 103:23-104:4.)
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  1   test results, but her request was denied repeatedly. (Id. at 105:3- 106:3.) Next, Wolfe and Jonathan

  2   handed Jane Doe 21 documents and stood over her shoulder to rush her aggressively through

  3   paperwork. They told her to hurry because they were starting late. At the same time, Wolfe and

  4   Jonathan asked Jane Doe 21 for forms of identification. In this flurry, with two men she did not

  5   know between her and the door of the room, Jane Doe 21 had no time to read what she signed.

  6   Wolfe purported that the contrac! ,was to ensure she did not "run off and become a porn slli:rafter

  7   filming." (Id: at 107:20 - 108:22.) Given the constant reassurances by Wolfe and Jonathan, Jane

  8   Doe 21 believed the contracts entailed what their verbal agreement was. (Id. at 120:7 - 12.)

 9            Defendants also provided Jane Doe 21 with a script to read on camera. Jane Doe 21 was

 10   scared about being in the room, so she read through it quickly. Based on Defendants'

 11   representations in the room, she believed the paper was but a formality. Although the script read

 12   that she was to film voluntarily, Jane Doe 21 felt she was pressured into doing so. She claimed she

 13   had no escape, and she did as Matthew Wolfe told her. (Id. at 132:19 - 133:25.) Jane Doe 21

 14   proceeded to film, and she was paid $3,000. (Ex. 961.)

 15           When filming concluded, Jane Doe 21 smoked the marijuana Jonathan offered her to numb

 16   herself. She then cried herself to sleep. (Doe 21 Depo. 142:12- 18.) The next day, she was kicked

 17   out of the hotel onto the street. Unsure of where to go, she texted Jonathan asking what to do since

 18   she had no way home. Jonathan picked her up and brought her to his apartment, where Wolfe was.

 19   Jonathan then drove her to the airport, and she flew home. (Id. at 143:12-145:5.)

20           Upon returning home but before the video was released, Jane Doe 21 experienced

21    depression and she was withdrawn from others. (Id. at 148:2- 7.) In or around June of 2015, Jane

22    Doe 21 discovered her video online when multiple people messaged and called her about it. (Id. at

23    150:9- 12.) She was receiving messages across all platforms -Facebook, email, Twitter, text

24    messages. All of her friends found out, as did her siblings, family, and fiance. (Id at 152:8-153:8.)

25    Jane Doe 21 testified that she lost all but two friends. (Id. at 166:9 -11.) She felt she could not go

26    out in public out of fear that someone would recognize her from the video. Her classmates at her

27    new school also found her video, which in turn compelled Jane Doe 21 to miss classes so she would

28    not draw attention to herself. (Id. at 154:23 - 5; 157:8-24.)
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     I             Jane Doe 21 had not only her personal information and social media profiles posted around

     2    YouTube and PomWikiLeaks, but also her family's infonnation. Exhibit 966 catalogues various
     3    threads across multiple websites posting links and personal information of Jane Doe 21, her family

     4    members, and even her mother's company page. Michael Pratt's fake Facebook profile Ann

     5    Fairchild also contacted Jane Doe 21 'smother multiple times, though she never responded. (Ex.
 ·6       963.)

  7               Because of her emotional distress from the video's release, Jane Doe 21 required extensive

  8      medical treatment. She lost 20 pounds in the course of two months following the online publication,

  9      so shebegan seeing a nutritionist. (Doe 21 Depo. 160:7-18.) She also began seeing a doctor who

· IO diagnosed her with "plenty of psychological issues" and with anemia; furthermore, her "organs
 11      were on the verge of failure.," (Id. at 163:4-22.) Before the video's release, Jane Doe 21 had no

 12      eating problems. After the video, however, she struggled to get out of bed, and the doctor told her

 13      that her anemia was due to her poor diet. Jane Doe 21 continues to have an eating disorder today,

 14      four years after the video. (Id. at 162:23 - 163:22.) She also continues to see a therapist, who

 15      diagnosed her with complex PTSD and prescribed her sertraline, an antidepressant. (Id. at 169:22 -

 16      170:3; 172:13 - 18.) Jane Doe 21 testified that her relationship with her parents is still not the same
 17      and it never will be. (Id. at210:9-10.)

 18               The Court finds Jane Doe 21 to be credible.

 19                             Jane Doe 22
20                In January 2015, Jane Doe 22responded to a Craigslist advertisement for modeling with the

21       headline "Females Escape the Snow and Make SK". (10/22/19 Jane Doe 22 Depo. 132:1-5.) She

22       didn't know what the ad was going to entail, she was just focused on the $5000 payment. (Id. at

23       133:4-10; 133:13-17.) In conversations with defendants,Jane Doe 22 was told the video would

24       be on DVD, distributed only in Australia and New Zealand, not in the United States. (Id. at 152:15

25       - 20.) This information was very important to her because had Jane Doe 22 known the video would

26       be released online, she would not have done it. (Id. at 155:9- 12.)

27                Before coming to San Diego, Jane Doe 22 had communicated with defendants and they had

28       informed her it would be an adult shoot. At some point thereafter, she realized it was going to be a
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      I    pornographic video. (Id. at 144:2 - 20.) Jane Doe 22 recalls that she discussed her concerns with

     2     them over the phone and not in emails. Her emails were short and to the point. (Id. at 185 12- 24.)

     3             The number one reason Jane Doe 22 was willing to do a pornographic video was money.

     4     She needed money. This was the only reason she did the video. (Id. at 162:15 -20, 257:24-25.)

     5     Jane Doe 22 needed money because she was in college, had to pay for her apartment, didn't have a

  6        car, wa_(lunable to obtain a job without a car and could notrely-.on friends or family for money. (Id.
  7        at 162:15 - 8.)

  8               Jane Doe admittedly contacted defendants to do a s11bsequentvideo shoot because she had a

  9       lot of money stolen from her placing her in financial straits. Thus, she made a second trip to San

 IO Diego where she shot another video. (Id. at 183: 11 - 184:2.)

 11               Jane Doe 22's concerns about distribution of the pornographic video were addressed by

 12       defendants telling her the video would only be released on DVD in Australia and New Zealand, so

 13       that ruled out other forms of distribution in other places. (Id. at 147:24- 148:4, 153:3 - 7.) After

 14       speaking with the defendants, she committed to doing the video because of what they told her. (Id.

 15       at 169:7-11.)      Defendants told Jane Doe 22 that the video was not going to be distributed in the

 16       United States and that it would only be distributed in Australia and New Zealand on DVD. Based

 17       upon that she felt her friends and family would not be going to Australia to buy pornography. (Id. at

 18       152: 11 - 20.) Had Jane Doe 22 known the video would be released online she would not have done

 19       the pornographic shoot, (Id. at 154:9-12;      155:25- 156:3.)

 20               The Defendants gave Jane Doe 22 information about references that she should contact and

21        photos of other girls who appeared safe and smiling. (Id. at 152:4 - 7.) Before coming to San

22        Diego, Jane Doe 22 called the references she had been provided by defendants. In the calls she was

23        told not to worry about STDs because protection was being used. She was also told by the

24        references that they had never seen anything online of themselves. They also reinforced the belief

25        that the DVD would only be distributed in New Zealand and Australia. (Id. at 160: 11 - 161:6.) At

26        no time before shooting the video did Jane Doe 22 have any inkling that it would be released on the

27        internet. (Id. at 154:12- 15.)

28
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      1           Prior to shooting the video, defendants gave Jane Doe 22 documents that she signed. They
     2     didn't say review it. They said sign this. She did not review them thoroughly. She read a little bit

     J     but didn't get far because they were rushing along. (Id. 189: 1 - 20.) Jane Doe 22 recalls she was

  4 · not given time to read the documents and was told that they were going to outline it for her, so she

  5        should just fill out the bottom now. (Id. 201:8-17.) Jane Doe 22 did not ask defendants to show

  6       her in any of the contracts that she signed where it said the videos would only be distributed on

  7       DVD in Australia or New e.ealand, because they had programmed it in her head that they had a plan

  8       for them. She trusted that they wouldn't tell her not to readjust to hurry up and sign it. (Id. at 217:4

  9       - 16.) She specifically recalls she did not ask about distribution before signing the documents in the

 IO       hotel room because she had already been told multiple times that the video would only be

 11       distributed in New Zealand or Australia on a DVD. (Id. at 213:13 - 20.) Jane Doe 22 was relying

 12       on the defendants to relate truthful information to her about distribution. (Id. at 214:13 -16; 214:19
 13       -23; 214:25 -215:7.)

 14              Jane Doe 22 was not concerned about the words in the script that she read on camera

 15       because she trusted that the defendants were going to do what they said they would do with the

 16       footage. She just knew that they were going to put it on DVD in Australia. The fact the statement

 17       didn't say "BLL will only use this footage for DVD in Australia" didn't raise a red flag because she

 18       already had that in mind from what the defendants had told her. (Id. at 244:24 - 245: 14; 245: 15 -
 19       16; 245:20 - 246:4; 246:6- 22; 247:2- 6; 248:7 - 14; 249:12 -250:23.)

 20              Jane Doe 22 recalls learning that her video was online in August 2015. She can't recall

21        exactly how she learned about it but remembers receiving harassing messages thereafter. (Id. at

22 · 284:2- 12.) She has been approached by people from her high school about having done a

23        pornographic video and her ex-boyfriend would blackmail her by threatening to send the link to the

24        video to everybody that they knew. (Id. at 193:19- 22; 194:19- 195:2.)She no longer has any of

25        the messages she received because she deleted them out of shame and didn't want anyone to be able

26        to see the message and find out something about them. (Id. at 26:20-26:5, 26:8, 26:11 - 19.)
27

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  1           Jane Doe 22 recalls communicationsvia a Facebookpost with someonenamedAnn
  2   Fairchild in which she was informed about Girls Do Porn andthat there was a lawsuit.(Id. at 25:2 -
  3   4; 25:13 -26:1.)

  4           Prior to 2015, Jane Doe had been treated by her familydoctorfor anxiety.He prescribed
  5   Lexapro for her. (Id. at 114:5 - 10; 115:9- 14.) She only took Lexaprofor a matter of months and
  6   was not actively treating at the time.of the video shoot. (Id. at 115:17 -25.) At somepoint •
  7   following shooting of the video, Jane Doe 22 sought treatmentfor anxiety and depression.She
  8   cannot recall the name of the psychologist.(Id. at 116:4 -16.) The reasons she saw a psychologist
  9   stem from the emotional distress she experiencedin shootingthe video. She's lost relationships,has
 10   a son whose father is unknown, feels hopeless about her futurebecausepeople that she cares about
 11   have called her vile names, such as "whore" and "slut," tellingher that she will neverbe anything··
 12   more than that. She feels this was very damagingto her self-esteemcausingher to go into
 13   depression and have anxiety attacks. She thinks she would still be in school,maybe not be a single
 14   parent and would be on a whole different path in life. She wouldn't be on the careerpath that she's
 15   currently on. In sum and substance,she feels the pornographicvideo shoots have ruinedher life.
 16   (Id. at 116:4-16; 309:3 -310:2.)

 17           Jane Doe 22 attended college but dropped out beforelearning her videos wereposted online.
 18   (Id. at 61:8-18.)

 19           Currently, Jane Doe 22 is employed and has workedas an entertainersince September2017.
20    (Id. at 97:8-18,    102:10-18.) Before that, she worked as a customerservicerepresentative.Her
21    duties involved order entry, taking phone calls and parts knowledge.She ceased workingthere in
22    roughly September2016. (Id. at 104:20 - 23; 105:7 - 21; 106:1- 6.) Jane Doe 22 quit this job
23 . because she was in a ba.dplace. She was distressed with peopleknowing about the videos.(Id. at
24    106:7 - 15.)

25           The Court finds Jane Doe 22 to be credible.
26                         v. Defendants Use Shell Entities to Obfuscate their Corporate

27                            Relationships and Hide Assets

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     I            Defendants have constructed a complicated network of entities, transferred assets overseas,

  2       and kept scant corporate records. None of the Defendants could really explain the corporate

  3       structure; both Pratt and Wolfe pied ignorance on basic subjects that most small business owners or

  4       managers would know. Plaintiffs offered sufficient evidence to show that the various Defendant

  5      businesses and additional related entities operate together as essentially one unit.
  6                                   1. Defendants Use Six Entities to Operate GirlsDoPorn.com
  7               When Pratt first launched GirlsDoPorn.com, he did so through two entities: Clockwork

  8      Productions, Inc. and Bubblegum Films, Inc. These two original entities were later replaced by the

  9      BLL Media, Inc. enterprise. Wolfe was produced as the PMQ witness for all topics relating to the

 IO      entities that run GirlsDoPorn, yet he lacked basic information and no one else was produced to
 11      explain the corporate structure.

 12              Clockwork Productions, Inc. was incorporated by K.evinHolloway on November 29, 2006
 13      in Nevada. (Ex. 1660.28-32.) Plaintiffs assert that Holloway started Clockwork Productions on

 14      Pratt's behalf due to Pratt's immigration status at the time; 56 Defendants have not offered an

 15      alternative explanation. Clockwork Production's corporate filings list Holloway as president,

 16      secretary, treasurer, and director as of February 19, 2007. (Ex. 1660.28-32.) As of June 15, 2009,

 17      Pratt is listed as president, secretary, and director, yet Pratt claims to have no recollection of

 18      holding those positions. (Ex. 1660.5; Pratt Depo. Vol. I, 295:20 -296:19.) Wiederhold was also

 19      listed as a director of Clockwork Productions as of that date. (Ex. 1660.8.) Holloway later replaced

 20      Pratt as the president, secretary, treasurer, and director of Clockwork Productions in 2014. (Pratt

 21      Depo. Vol. I, 303:19-304:16.)

22               Although Clockwork Productions was supposedly dissolved in 2013 (10/17/19 Trial Tr.

23       164:10- 20), Defendants continued to list Clockwork Productions as the contracting party on

24

25

26
                 56
                   (Wiederhold Depo. 335:15-23      ["[Q.] Why were you signing anything for Clockwork
27       Productions in your mind?

28              [A.] At the time Michael asked me to sign it so he could start a processing account. He wasn't an
         American at the time and I was and he needed an American to create an account."].)
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  I   several Plaintiffs' Model/Talent Releases. (See, e.g., Exs. 34; 297.) Defendants were unable to

  2   explain.57 (Pratt Depo. Vol. II, 436:15-441 :5; 10/3/19 Trial Tr. 112:21 -113:3.)

  3           Bubblegum Films, Inc. was incorporated in Vanuatu on December 11, 2006. (Ex. 1377;
  4   Pratt Depo. Vol. I, 243:12-19.) The ownership of Bubblegum Films is uncertain. Pratt's verified

  5   discovery responses state unequivocally that he was the "sole owner" of Bubblegum Films. (Ex.

  6   1377,)58     C




  7           Bubblegum Films held the rights to the videos filmed for GirlsDoPorn and GirlsDoToys

  8   before those rights were transferred to Oh Well Media and Sidle Media, respectively, on November

  9   6, 2016. (Exs. 3282; 3283.) Pratt conceded that he was the sole director of Bubblegum Films when

 10   all of its assets (the entire library of videos filmed for GDP and GDT) were assigned to other
 11   entities. (Pratt Depo. Vol. I 267:25 -268:6.) 59

 12           BLL Media, Inc., incorporated in California in 2013, currently produces the videos that
 13   appear on GirlsDoPorn.com. Pratt wholly owns BLL Media, Inc. indirectly through BLL Media

 14   Holdings, LLC. BLL Media, Inc. is managed by Pratt, employs all of the individuals who run the

 15   business, and holds most of the assets used in running GirlsDoPom.com. "Clockwork Productions,

 16   Inc., and the services it provided were replaced and picked up by BLL Media, Inc., after it was

 17   incorporated." (10/3/19 Trial Tr. 114:10 - 17.)

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 21              Whenasked about ClockworkProductions'relationshipwith BLL Media,Inc. and why
      ClockworkProductionsappearson these documents,Pratt said he "wouldjust be guessing."(PrattDepo.
 22   Vol. II, 436:15- 441:5.) When askedthe same questionat trial, Wolfeclaimedthat "there are a coupleof
      contractsthat were - - had errorson the_m,but they were since fixedor transferred,or therewas a transfer
 23   agreementfor them as well." (10/3/19Trial Tr. 112:21- 113:3.)                            ·
              58 Pratt questionedwhetherthis was accurateand attemptedto explainby saying"our company
 24
      structurewas completelymessedup, and we were in the processof fixing everything.So maybeI was,but
 25   I'm - I don't think it was supposedto be set up likethat as far as l know."(PrattDepo.Vol. I, 242:17-
      243:IO.) Pratt claimedthat he has "no idea" who ownsBubblegu1n        Films,yet he believedBubblegumFilms
 26   ownedthe domainGirlsDoPorn.combefore Oh WellMediagainedownership.(Id.,see also 269:17-271:3.)
              59In a DMCAtake-downrequestsubmittedto MindGeekon April 25, 2016,"JordanPowers,"
 27
      identifyinghimselfas the "CEO of BUBBLEGUMFILMS/ GIRLSDOPORN.COM,"          claimsthat
 28   BubblegumFilms "own[s]the exclusivecopyrights"of the contenton GirlsDoPorn.com.
                                                                                    (Ex. 7006
      [signatureline on page 2 directsMindGeekto "DMCA@MOMPOV.COM"].)
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  1             BLL Media Holdings, LLC was formed in Nevada on February 5, 2013 and is wholly

  2   owned by Pratt. (Ex. 1168.) This entity apparently exists solelyto hold BLL Media, Inc. and other
  3   assets.

  4             Defendants created three new entities to operate GirlsDoPom.com.The Court finds, that the
  5   purpose of creating these entities was to obfuscate Defendants' corporatestatus and relationships
  6   and to evade accountability for Defendants' wrongdoing.
  7             The three entities are as follows:
  8             (1) UHD Productions LLC is a Wyoming entity Defendantsformed as the "new company

  9   for production." (10/3/19 Trial Tr. 115:27-116:6.) Yet UHDProductionshas never had any
 10 employees. (Id at 117:8 -10.) Both Wolfe and Pratt claimto be unaware of who owns UHD
 11 Productions. (Id at 116:23- 26; Pratt Depo. Vol. I, 50:4 -10.)
 12             UHD Productions purports to be the contractingparty on numerousPlaintiffs' documents.
 13   (JD 8 [Ex. 349] and JD 19 [Ex. 882].) Accordingto Wolfe,Defendantsbegan listing UHD
 14 Productions on their model contractsbecause "when the lawsuithit, that prevented us from
 15 completing those things. But it was - - UHD was the productionarm of the company.'·,(10/2/19
 16 Trial Tr. 109:20 - 110:1.) The UHD Productions,LLC namewould not have been recognized.
 17 When asked whether UHD Productionsoperated out of the samephysical office as BLL Media,
 18 Wolfe equivocated.60
19              (2) EG Publications is a corporationthat, accordingto Pratt, "just does our payroll,payroll

20    for the company." (Pratt Depo. Vol. I, 41:2-12.) Accordingto Wolfe, EG Publications"was
21    supposedto be kind of like an admin company," providing servicesfor BLL Media, Inc. (10/3/19
22    Trial Tr. 114:19 - 115:2.) Yet EG Publicationsdoes not have any employees.(Id. at 117:5 - 7.)
23    Despite being the PMQ for the issue, Wolfe claims he does not know who owns this entity and has
24    no knowledge of the corporate structure.(Id. at 115:3 - 25, 117:I - 4.)
25
26
                60
               Wolfe responded, "I don't know technicallywhere it wouldhave operatedout of, but someof
27
      these companieswere set up when we were trying to fix things and errors like this, and then the lawsuit
28    happened, and we didn't get time to finish all that, so it never reallycame to be." (I 0/3/19 Trial Tr. 116:7-
      20.)
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       1           Wolfe testified that EG Publications holds bank accountswhere the moneyprocessedfrom
       2    GirlsDoPom.comsubscriptionsales is deposited. (10/2/19Trial Tr. 80:12-21.) The only evidence
       3   in the record indicates that EG Publications is wholly ownedby BLL MediaHoldings,LLC. (See
       4   Pratt Depo. Vol. III at 84:12-23 [discussingthe assets he listed in his bankruptcyfiling].)
       5           (3) Oh Well Media Limited, a Vanuatu entity formedon September4, 2015, is the final

•.     6   piece of the puzzle. (Ex. 1673.116-11.7[minutesof first meetingreferencingdate of incorporation].)
       7   The ownershipof this entity was disputed at trial. As of September4, 2015, corporatedocuments
       8   show Pratt is the sole shareholderof Oh Well Media. (Ex. 1673.116-117[minutesof first meeting
       9   showing resolutionto transfer all shares of the companyto Pratt].) Plaintiffsoffered a share
      10   certificate and a Register of Members showing Pratt as sole shareholder. (Ex. 1673.118-120.)Pratt
      11   disputes that he owns Oh Well Media and claims that KevinHollowayis the true owner.61 (Pratt
      12   Depo. Vol. I, 270:5-271:24.)

      13           Defendantstransferredownership of all valuable assetsrelatedto GirlsDoPomfrom
      14   Bubblegum Films and BLL Media, Inc. (two entities that Prattowns) to Oh Well Media(an entity
      15   supposedly owned by Holloway).On November 6, 2015, an "Assignmentof Assets" is signed
      16 purporting to transfer ownershipof the rights of the videosDefendantsproducedfor GDP,and the
      17   domain name GirlsDoPom.comfrom BubblegumFilms to Oh Well Media Ltd. (Ex. 3283.1-7.)
      18           BLL Media, Inc. also transferredvideo rights to OhWell Media. Defendantsproducedone
      19 Assignment of Assets dated October 1, 2014. (Ex. 3320.1-5.) This transferis dubiouson its face.
      20   First, Oh Well Media did not exist at that time and would not be formed for nearly a year. Second,
      21   this assignmentpurports to transfer the rights to at least fivevideos that were shot in 2015. (Ex.
      22   3320.4.)

      23          The more fundamentalproblem is that the record containsno evidencethat consideration
      24   was paid to the assignors,which means that Pratt has purportedlytransferredhis life's work from
      25
                  61
      26            Prattclaimsthathe doesnot ownOh WellMedia,buthe also usesthe entityinterchangeablywith
           himselfandwithhis companies,BLLMedia,Inc.andBLLMediaHoldings,LLC.(PrattDepo.Vol.I,
      27   60:21-61:25,57:3-10[specifyingthat whenhe.saystheyproducecontentfor"ourselves,"he meansfor Oh
           WellMedia].)He is unsurewhetherBLLMediaor Oh WellMediaownsthe GirlsDoPom.com       domain.(Id.
      28   at 60:21-61:4.)He is unsurewhetherhe is recruitingmodelson behalfof bothBLLMediaandOhWell
           Media(Id. at 64:2-14.)
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      1    an entity he owned to an entity that he did not own without receiving anything in return. Pratt

     2     contends that he received a written licensing agreement, but failed to produce it at trial. (Pratt Depo.
     3     Vol. III, 99:5 -12.)

  4                Pratt claims that he believes Kevin Holloway owns Oh Well Media. 62 (Id at 62:7-13.) He

     5     testified that he has never had contact with anyone at Oh Well Media because Wolfe handles those

  6        communications, but th11tifhe did, it would be with Kevin Holloway. (Id at 57:!l - 58:7.) Pratt

  7        stated that Oh Well Media operates out of Vanuatu but that he produces all the content for that

  8        entity. (Id at 64: 18 - 65:15.) He claims that no one from Oh Well Media contacts him requesting

  9        he produce content: "We just take it upon ourselves. We know what we're doing." (Id at 65:22 -

 10        66:2.) Pratt·states that a contract exists between Oh Well Media and BLL Media giving ownership

 11       of the videos to Oh Well Media and that he signed on behalf of BLL Media but does not know who

 12       signed on behalf of Oh Well Media. (Id at 66:4- 24 ["guessing" that Holloway would be the

 13       signatory].)

 14                Pratt testified that he does not know either why Bubblegum Films transferred the rights to

 15       all of the videos to Oh Well Media and Sidle Media or what assets Bubblegum Films received in

 16       return for assigning the video rights. (Pratt Depo. Vol. III, 133:25 -136:9.)

 17                                     2. Defendants Use Five Entities to Operate GirlsDoToys.ciJm

 18               MIM Media, Inc. is a California company owned by Pratt and Wolfe 50/50 set up for the

 19       purpose of operating the website GirlsDoToys.com. (10/2/19 Trial Tr. 202:9-204:4;              Pratt Depo.

 20       Vol. I, 39:9-40:10      [testifying he and Wolfe have a joint partnership called MlM Media, Inc. or

 21       MlM Media, LLC, but does not know which].)

 22

 23
                  62
 24                   Pratt testified that he was meant to run the website, recruitthe models, shoot the videos, and
          market the website and Holloway was meant to receive the rightsto the videos and a percentageof the
25        profits. (Id. at 271:19-276:25.)When asked why it took from 2006to 2015 to formalize his agreementwith
          Holloway, Pratt stated, "I mean everything was a mess, corporatestructure-wise,that's why I hired Matt to
26        -"(Id.at 276:24-277:9.)Pratt could give no further explanationas to what he meant by "the corporate
          structure was a mess," claiming ignorance and deflecting such questionsby deferringto Wolfe. (Id at ·
27        277:10-278:25["I'm not too sure. Matt deals with all that kind of stuff. [... ] You are just asking the wrong
          person. I have no clue about any of this stuff."].)
28
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  I           Merro Media, Inc. is I 00% owned by Merro Media Holdings, LLC (Ex. 1123.) Wolfe is
  2    Sole Director, Chairperson, Chief Executive Officer and President,Chief Financial Officer, and
  3    Secretary. [Ex. 1111].) Wolfe claims to provide consultingservicesto BLL Media, Inc. through
  4   Merro Media, Inc. yet he is unaware of any written agreementsbetweenthose entities regarding
  5   those services. (10/3/19 Trial Tr. 127:4-10.)

  6           Me:ro Media Holdings, LLC, which is solely ownedby W9lfe, is a holding companythat
  7   owns Merro Media, Inc. (Ex. 1058; 10/3/2019 Trial Tr. 33:4-34:1, 106:9-107:1.)
  8           Haysi Holdings,Limited is a New Zealand entity throughwhich Wolfe provides "technical"
  9   services to BLL Media. (See 10/2/2019 Trial Tr. 24:3-26:19.)
 IO           Sidle Media Limited is a Vanuatu entity which owns the domain name GirlsDoToys.com
 11   and holds the rights to the videos Defendants produced forGirlsDoToys. Wolfe claims he does not
 12   own Sidle Media and does not know who does. (10/7/19 Trial Tr. 38:6- 7; 10/3/19 Trial Tr. 106:3
 13 - 18.) Pratt claims he does not own Sidle Media. (Pratt Depo. Vol. III, 75:12- 16.)
 14           According to the share certificates in evidence, SidleMedia is owned by Oh Well Media
 15   and Torque Asset Management in equal parts. (Ex. 1673.125- 126.) And, as already explained,
 16   Pratt owns Oh Well Media. Wolfe owns Torque Asset Management.(Ex. 1673.136.)
 17           Bubblegum Films appears to have transferred rights in GOT videos to Sidle Media on
 18   November 6, 2015. (Ex. 3283.) BLL Media also transferredassets to Sidle Media. (Ex. 3320.6- 10
 19   [Assignment of Assets dated Oct. 20, 2015].)
 20          There is no evidence that any consideration was provided in these transactions,nor any
 21   evidence showing a legitimate reason for the transfer.63 While Wolfe agreed that he and Pratt
 22   indirectly own the entity that holds the rights to the girlsdotoys.comdomain, MIM Media, that
 23
             63
                 Pratttestifiedthat he doesnot knowwhatBubblegumFilmsreceivedin exchangefor transferring
 24   the rightsto thesevideosto SidleMedia,if anything.(PrattDepo.Vol. I, 265:18-266:4.) Defendantshave
      producedno evidencethat any considerationwas givento anyonein thistransaction.Pratttestifiedhe has
 25   "no idea"why BubblegumFihnstransferredthe rightsof the videosproducedfor GirlsDoToysto Sidle
      Media.(PrattDepo.Vol. I, 256:14-257:4.) Furthermore,this transactionappearsto be effectuatedby "C.
 26
      Pane"who signedthe assignmentagreementas a directorof BubblegumFihns,however,Pratttestifiedhe
27    had neverheardof Mr. Paneand had no ideawho he was, (Id. at260:8-13,261:22-262:4; 28:15-25
      [testifyinghe has heardof CharlesPaneas part of this lawsuitbutnevermethim or talkedto himandin no
28    othercontext].)Pratt attemptedto explain,saying"it was eithera mistakeor it was overlooked[.]"(Id. at
      263:17-22.) Wolfehas heardof CharlesPanebut neverspokentohim.
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      1    Pratt owns Bubblegum Films, and that Pratt apparently transferred the rights of the domain to Sidle

  2        Media, Wolfe did not receive anything for allowing that domain to be transferred because "[i]t was

  3        never my domain ....   It was always intended to be Sidle Media's." (10/7/19 37:5 -24.) Again,

  4 · Wolfe cites "problems, issues, miscommunications, all that kind of stuff." (Id. at 38:1 - 3.) Wolfe

  5        claims MIM Media has a license agreement with Sidle Media to.market GDT videos, but again, no

  6_ such agreement has been produced in trial. (10/3/I9·Irial Tr. 105:27-106:10.)

  7               In light of this evidem:e, the Court finds that Pratt and Wolfe, though a series of shell
  8       companies, wholly own and control this entity.

  9               Torque Asset Management Limited is yet another entity for which Defendants deny

 10       ownership and knowledge. Wolfe claims he does not own Torque Asset Management. (10/3/19

 11       Trial. Tr. 104:16-105:4.)   Yet Wolfe's name appears on share certificates of Torque Asset
 12       Management as the sole shareholder. (Ex. 1673.136.)

 13                                   3. Defendants Created Domi Publications, LLC to Claim that

 14                                      MomPOV.com is Separate from the Other Websites

 15              Domi Publications, LLC, co-owned by Pratt and Wiederhold, was formed in February

 16       2015. (Pratt Depo. Vol. I, 42:22 -43:6.) Domi runs the website MomPOV.com. (Id. at 43:15 - 21.)

 17       Pratt owned 50% interest in Domi until the middle of trial. (Pratt Depo. Vol. 1, 254:20-24.)

 18                                          a. Defendants Operate MomPOVcom Using the Same Business

 19                                              Practices as the Other Websites

20               The evidence at trial demonstrates that Defendants used similar business practices to operate

21        all three websites. Recruiting for all three websites starts with advertisements for modeling being

22        posted on Craigslist and filming the videos takes place in hotel rooms. (Ex. 1511.52-53.)

23               According to the testimony of Myrna Jeffrey, Domi uses similar business practices to recruit

24        women to appear on .MomPOV. Ms. Jeffrey testified that she responded to a Craigslist ad for

25        modeling that did not mention pornography. (11/719 Trial Tr. 94:5- 8; 96:14-15.)        Ms. Jeffrey

26        testified that she received an email from "James Chamberlain" (Wiederhold's alias [Id.at 97:4 -

27        1OJ)that revealed the job was for an adult video and stated, "You won't find a more professional

.28       and legit person/company." (Id. at 98:5; Ex. 5418.) Over the phone, Wiederhold told Ms. Jeffrey
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      1    that the video would only be released in foreign countries, not the United States." (11/7/19 Trial Tr.

  2        100:24 - 101:2; 103:7 - 8.) As in the recruiting process for GirlsDoPom and GirlsDoToys,

  3        Wiederhold never mentioned the website MomPOV.com (Id. at 103:25-104:1) and told Ms. Jeffrey

  4       thatthevideowouldnotbereleasedonline.         (Id. at 103:11-13.)

  5·              As in the shoots for GirlsDoPom, Wiederhold rushed Ms. Jeffrey to sign documents

  6       quickly, at the last minute,just prior to ~tarting the shoot. (Id. at 102:23 - 24.) Wiederhold     · ,.

  7       represented to Ms. Jeffrey that she would receive $1,500 for doing a single video, but after the

  8       video was finished, he informed her that she was expected to do a second video to earn the $1,500.

  9       (Id. at 101:17-102:5; 104:25-105:14; 105:4-19; 106:5-13; 107:6-108:10.) Finally, when Ms.
 10       Jeffrey discovered the video was online, she contacted Wiederhold, begging him to remove it. (Id.

 11       at 112:4-15.) Like Pratt, Wolfe, and Garcia, his response was, "Sorry, there's nothing I can do" and
 12       hung up on her. (Id. at 112:24-113:2.)

 13.              The Court concludes that MomPOV' s business and recruiting practices are indicative of a

 14       common modus operandi between MomPOV and Girls Do Porn. The Court finds that they involve

 15       common ownership and personnel and constitute a single business enterprise.

 16                                          b. Dami Publications,LLC and BLL Media, Inc. were
 17                                              Commingled Until VeryRecently
 18              Many of the assets used.in the operation of Defendants' three pornographic websites are

 19       commingled or were commingled during the relevant time period. Though Domi has attempted to

 20       separate out the assets related to the operations ofMomPOV.com (which was launched in 2011 and

 21       existed under the Bubblegum Films/BLL Media umbrella for several years) in an effort to claim

 22       that it is entirely separate from GirlsDoPom and GirlsDoToys, most of this effort came long after

 23       Domi was formed on February 20, 2015. (Ex. 5003.1-4.) It is not until 2018 that most of the assets

 24       related to MomPOV were actually severed from those of the rest of the enterprise.

 25              The MOMPOV.COM trademark was originally registered by BLL Media Holdings, LLC on

 26       July 29, 2014. (Ex. 5001.9.) It was not until January 27, 2018 (1.5 years after this lawsuit began)

 27       that the trademark was transferred to Domi Publications. (Ex. 5001.3.)

 28
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  1           According to the GoDaddy records in evidence, the MomPOV.comdomainwas first held
  2   by Wiederhold's personal account starting April 13, 2010.64 (Ex. 1744.1-2.) Recordsshow the
  3   domain in Pratt's BLL Media account in January 2013. (SeeEx. 1744.98.)On April 25, 2017,
  4   Weiderhold created a new account in his own name but using "domipub!ications"as the username.
  5   (Ex. 1744.541.)On February 7, 2018, the domain was finallytransferred from Pratt's accountinto
  6   the account Wiederhold cr,eatedfor "domipublications.com."(Ex. 1744.547;1744.-693.)
  7          The only account that the record shows was segregatedin a timely manner after Domi was
  8   formed is the CCBill account for credit card payment processing.The payments for subscriptionsto
  9   MomPOV were processed through the same CCBill accountuntil March 31, 2015 when
 10   Wiederhold created a separate account for Domi. (Ex. 5004,2;WiederholdDepo. 57:6-58:15,
 11   110:7-112.9 [previously, MomPOV and GirlsDoPom eachhad a sub-accountin the CCBillaccount
 12   owned by Pratt].)
 13          Ms. Moser testified that at the BLL Media offices, creditcards for differentcompanieswere
 14   "strewn around" and that she recalls holding a debit card for Domi Publicationsat one time. (Id. at
 15   18:3 -19:9.)
 16          Defendants have joint defense agreement and have asserteda common interest privilege.
 17   (10/3/19 Trial Tr. 31:24-28.) And, all Defendants were jointly represented by the same law firm
 18   in this lawsuit until October 19, 2016, with managing agents of each entity presumablyconsenting
 19   to the joint representations. (ROA No. 52.)
 20          Most of the entities list the same address on documentation,which is not a place of
 21   operation but just a P.O. Box. (See, e.g., PrattDepo. Vol. 1,41:22-42:13 [EG Publicationslists
 22   113 West G Street, Suite 123, San Diego, California as its address. But Pratt explains,"[t]hat's just
 23   our P.O. Box. I mean it is probably the mailing address, but we didn't operate out of there." Instead,·
 24   the entity "probably" operated out of 1620 Fifth Avenue, Suite675, San Diego, California].

 25
 26
             64The accountalso holdsor heldmanydomainsclearlyrelatedto GirlsDoPorn,suchas
 27
      REALGIRLSDOPORN.COM,        GIRLSDOPORNPICS.COM,    GDPBLOG.COM,
 28   GIRLSDOPORNFREE.COM,        and GDPGIFS.COM (bothbeforeandafterDomiPublicationscame into
      existence).(Ex. 1744.1-15.)
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  1           As late as 2017, both GirlsDoPom and MomPOV listed the same CustodianofRecords-
  2   BUBBLEGUMFILMS INC in Vanuatu-on their websites in compliance with 18 U.S.C. § 2257.
  3   (Ex. 365.2 [GirisDoPom.com]; Ex. 1573 [MomPOV.com].).
  4           Until Wiederhold moved to Las Vegas in 2014, MornPOVwas run out of the same offices
  5   as GirlsDoPom. Approximately 100 ofMomPOV.com's videos were shot in San Diego.
  6   (Wiederhold_Depo.368:21 -369:15.)

  7           Based on this evidence, the Court determines that MomPOVand Domi were substantially
  8   intertwined with Defendants' various GDP entities as part of a commonpornography enterprise.
  9                                      c. Dami Publications,LLC is a Continuationof the Entity that
 10                                           Previously OperatedMomPOV.com
 11          The issue of who "owned" MornPOV at any given time was contested at trial. The position
 12 taken by Defendants at trial was essentially that, prior to the formation of Domi, MomPOVwas
 13   owned by an informal "joint partnership" between Pratt and Wiederholdthat was never reduced to
 14 writing or formalized in any way. (Wiederhold Depo. 41: 1-20; Wolfe Depo. as PMQ ofBLL
 15   Media, Inc., Vol. II, 311:17-312:20.)
 16          However, much of the other evidence discussed aboveindicates that MomPOV was, for all
 17   intents and purposes, owned and controlled by Pratt's BLL Media/BubblegumFilms/Clockwork
 18 Productions enterprise. (see Wolfe Depo. Vol. II, 311: 17 - 312:21 [Wolfe, as PMQ for BLL Media,
 19 Inc. (and all other entities aside from Domi) testifying that "MomPOVmay have been under BLL
 20   Media"].)
 21           The Court need not decide precisely who owned MomPOVprior to the formationofDomi
 22   Publications because the Court finds that all Defendants, includingDomi Publications,are alter
 23   egos of each other and otherwisejointly and severally liablefor all harms suffered by Plaintiffs.
 24   Even if the transfer of assets from the purported joint venturewas categorized as a sale of assets,
 25   the evidence indicates that Domi was a mere continuation of the existing enterprise to produce
 26   videos for and to market and sell subscriptions to MomPOV.com.The joint venture did not receive
 27   any consideration for the transfers of its assets. Notably, many of these transfers did not occur until

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  I    three years after Domi was incorporated and well after this lawsuit was filed. This includes the
  2    transfer of the MomPOV trademark and domain name to Domi Publications.in2018.

  3            Whether Pratt's ownership stake in MomPOV prior to Domi was as an individual or as one
  4    half of a "joint partnership" is ofno moment because Pratt has always been at the center of the joint
  5    venture and undisputedly was entitled to 50% of the profits generated by MomPOV at aUtimes.

  6-           Douglas Wiederhold is not a defendant in this ~e.          The Court finds that Wiederhold's
  7    conduct as an employee of Defendant Bubblegum Films, ClockworkProductions, Inc.; and

  8    Defendant BLL Media (from 2007 to 2015) and his conduct as 50% owner and primary manager of
  9    Defendant Domi Publications (from 2015 to the present) is evidence of alter ego among all
 10    Defendants.

 II                                           d   Defendants Use Affiliate Marketing to Cross Advertise for the

 12                                               Benefit of All of Pratt's Websites

 13            Defendants employ "affiliate marketing" services offeredby CCBill, Defendants' credit

 14    card payment processor, to advertise for and increase web-trafficto their subscription websites. By
 15    participating in CCBill' s affiliate program, Defendants pay a commission to third parties each time
 16    an internet user purchases a subscription on one of Defendants' websites after following a link from

 17    that third party's affiliate site.65 When CCBill processes a subscriptionfee that originated from an
 18    affiliate site, CCBill sends half of the.fee to the affiliate site and half to Defendants' account.66 It is

 19    undisputed that affiliate advertising increases traffic to Defendants' websites and the number of
 20    subscriptions sold.67

 21
 22

 23
 24
 25            65
                    (I 0/2/19 Trial Tr. 187-189 [Wolfedescribing"the affiliatemarketingmodel"].)
               66
 26                 (PrattDepo.Vol. I, 78:12-79:2; Vol.II, 397:12-24; Vol.III, 130:9-132:8.)
               67
 27               When askedabout why Domihad not attemptedto removea linkthat said "MomPOV"on an
       affiliatesite, Wiederholdstated,"I'll take all the linksI can get. [] Q: You'll take all the linksyou canget
 28    why?A. It's traffic.Q. Okay and how doesthat benefitDomiPublications?A. Moretraffic,moresales."
       (WiederholdDepo.261:6-12.)
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       I           Typically, affiliate websites contain pictures or video clips of Defendants' content,
       2   including images and videos of the Plaintiffs.68 Defendantspermit affiliatesites to partiallydisplay
       3   their content provided they include links to Defendants' websites.69 Simplyput, Defendantspay
       4   hundreds of thousands of dollars in commissionseach year to affiliatesites for advertisingand
       5   directinginternet traffic to Defendants' websites in order to increasesubscriptionsales.70

•.     6           While Wolfe, Wiederhold,and Wmters71 all testifiedthat they "couldn't control"their
       7   affiliates,the Court is not persuaded.72 Defendantscan removean affiliatefrom its affiliate
       8
                   68
                     (10/2/19 Trial Tr. 189:14-18 ["Q. Okay. But the purpose of the affiliate marketingmodel is that
       9   users can go see three to five-minute clips of videos that then act as advertisementfor the subscriptionsite?
           [Wolfe]. As a summary, I believe so, yeah."].)
      10           69
                       (See 10/7/19 Trial Tr. 101:2-24; 10/2/19 Trial Tr. 197:1-7("Q. GirlsDoPomallows third parties to
      11   publish clips of their videos so long as the clips direct traffic to girlsdopom.com?[... ] [Wolfe]:As -- as an
           affiliate, yeah."].)
      12           70
                       (I 0/3/19 Trial Tr. 17:7-19:25[Wolfe testifying that BLL Media Inc. paid approximately$477,000
           in affiliate referral fees in 2016]; Ex. 1210.12.)BLL Media Inc.'s profit and loss statementfor 2013 shows
      13
           the company paid $253,073.38 for "Affiliate Referral Fee[s]" and an additional$110,659.73for
           "Advertising and Promotion." (Ex. 1210.2.)The statement for 2014 shows $363,228.79for "Affiliate
      14
           Referral Fee(s]" and $215,173.48 paid for "Advertising and Promotion." (Ex. 1210.6.) In 2015, BLL
      15   Media, Inc. paid $455,548.62 in "Affiliate Referral Fee[s]" and $95,456.64for "Advertisingand
           Promotion." (Ex. 1210.9.) In 2016, BLL Media, Inc. paid $477,159.11in Affiliate Referral Fees and
      16   $75,181.09 for Advertising and Promotion. (Ex. 1210.12.)
                  Pratt estimated that 300-500 affiliates had signed up to promoteGirlsDoPorn.comover the years.
      17 · (PrattDepo. Vol. I, 77:13-17.)
                   71
      18              Defendants' expert, Lawrence Walters, Esq., testified that "pay sites have no ability generallyto
           know even who their affiliates are or what particular websites are being used to promote the pay sites[.]"
      19   (Walters Depa. 84: 1-4.) This statement, however, is contrary to the testimony of Wiederholdand Wolfe.
           (See infra notes 72-79.) The statement is also undermined by Walters' further testimonythat pay sites "have
      20   no incentive to identify the promotionaltools that are being used by affiliates;that they are focused on
           revenue generation and on traffic. And in the absence of somethinglike a Complaintor some indicia of fraud
      21   or something unusual with the revenue that's being sent to the pay site, that there would - - based on industry
           standards - - be no reason for pay sites to monitor or control or even know about the activities of the third-
      22
           party affiliates." (Walters Depo. 83:21-84:13.) While the Court does not doubt that members of the industry
      23   typically make little to no effort to exercise any control over affiliates,the evidencedoes not support a
           finding that a pay site is unableto do so.
      24           72
                      (See Wiederhold Depa. 346:15-17 ("There's like a separate affiliatereport and then spectrum
           updates, sales, check amounts."]; 348:6-12 ["Q: On the separate affiliatereport that we are discussing,does
      25   it provide the amount of money that CCBill has paid out to those separate affiliates?A: I believe so."];
           356:14-15 ["As pertaining to traffic incomingto MomPOV.com,that! am able to look up the analytics."];
      26   227:25-228:2 ["There's internal analytics, we can see the stats or sales generatedby outside parties and
           [CCBill] pay them and they pay us what's left over."].) Defendantsreceived regular reports from CCBill
      27
           showing revenues generated by subscriptions.(Pratt Depa. Vol. I, 85:4-22.) CCBill tracks the URL that
      28   links the subscriber to GirlsDoPom.comfor each subscriptionsold, so one could, for example, determine
           how many purchases stemmed from any particular video on Pornhub.(Pratt Depa. Vol. II, 424:2-25:22.)
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                                                                                                   EXH. 1 - 127
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  1 program through CCBill, thereby eliminating any incentivefor the affiliateto continueadvertising
  2   for Defendants.73 Defendantshave de-affiliatedfrom suchwebsites in the past.74 Defendantscan
  3   and have used DMCA takedown requests to stop third partywebsitesfrom using their content.75
  4   Finally, Defendants can enforce their ownershiprights againstan affiliateby suing for trademarkor
  5   copyright infringementfor use of material owned by Defendants. The fact is, Defendantschoose
  6   not to exercise control over their affiliates because the affiliatesare providinga valullbleserviceby
  7   ditecting web traffic to Defendants' websites.76
  8           ·Some of the affiliate sites displaying Plaintiffs' imageslink to GirlsDoPorn.com,somelink
  9   to.MomPOV.com,and some cross-advertiseby linking to both websites.(See Exs. 1525 [Girls-Do-
 10   Porn.corn]; 1746 [Imagepost.com].) One site, Girls-Do-Porn.com,was a dedicatedaffiliatesite for ·
 11   GirlsDoPorn.comin that it exclusively shows images of GirlsDoPornmodels,includingall of the
 12   Plaintiffs with the exception of Jane Does 4 and 8. (Ex. 1525.) Both Pratt and Wolfewere aware of
 13   this affiliate site. (Pratt Depo. Vol. [Dec. 6, 2018] 212:14-18; 10/7/19 Trial Tr. 87:23 -25; 102:22
 14   -103:6.) 77 Girls-Do-Porn.comcontained links to GirlsDoPornas well as other pornographic

 15   websites, including a link that says "MomPOV" (Ex. 1525), which links to MomPOV.net-a
 16   dedicated affiliate site for MomPOV.comcontainingcontentfrom, advertisementsfor, and links to
 17

 18           73
                  (10/2/19 Trial Tr. 191:19-25 ["Q. If one of these registered affiliates used GirlsDoPom content on
 19   its affiliate website and then directed traffic to some other porn site, would BLL Media send a DMCA
      request, telling them to stop using the content that BLL Media has the right to? [Wolfe].I believe so, and
20    we'd probably delete your affiliate account too."]; 196:23-197:4["Q. But BLL Media had the ability to close
      those accounts? [Wolfe]: By either BLL Media or CCBILL, correct."].)
21            74
                    "Q. To your knowledge, as the PMQ ofBLL Media and its DMCA processes, has BLL Media,
      Inc., ever had a complaint that it sent to a third-party affiliate websitefor the way it was using its content?
22
      [ ... ] [A]: I believe ihere has been, but I can't recall of anything specific.But I believe so. There's definitely
23    been affiliate accounts closed, but I don't recall the reason." (10/3/19Trial Tr. 195:26-196:13.)
              75
                Wolfe testified, "If somebody - - if anybody took our content and put a link to a differentwebsite
24    on our content, then yes, we would DMCA them." (10/7/19 Trial Tr. 101:27-102:8.)
              76
25                "Q. And in discussing this person's use ofMomPov.net, you and Mike determinedthat it was
      beneficial to Domi Publications so you would allow him to continueto do it? [ ... ] A. It was [... ] sending us
26    traffic, so as long as it was helping us ... it was something we were willing to let go for the time being.[ ... ]
      Q. Because it generated subscribers for Domi Publications?A. Yes." (Wiederhold Depo. 237:14-238:2.)
27            77
                Regarding girls-do-porn.com,Wolfe testified, "I believethere's a small ad on the ... on the right-
28    hand side of the web page using content that comes from MomPov.com,and I believe if you click that ad, it
      goes to MomPov.net, as far as I remember." (10/7/19 Trial Tr. 107:27-108:3.)
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  1   MomPOV.com,along with a link to GirlsDoPom.com. (Ex. 1532.) Wiederholdtestifiedthat he was
  2   aware ofMomPOV.net and even considered taking action against it but decided not to do so
  3   because it directed traffic to MomPOV.comand thereforeprovided a net benefit.78
  4           At trial, no documentationrelated to Defendants' AffiliateProgram with CCBill was
  5   produced,79 so there was no evidence to show how much of Defendants' revenue is derived from a
  6   particular Affiliate. Pratt testified that the affiliate Forum.DoPomgenerated approximately$5,000
  7   in sales per week and received $2,500 per week in affiliatefees. (Pratt Depo. Vol. III, 127:5 - 9.)
  8                                4. Defendants' Managers and EmployeesProvide Servicesfor All
  9                                    Three Websitesand Transactionsare Not Arms-Length
 10           The entities in Defendants' pornography enterpriseshare common employees.
 11           Pratt supervises and manages every aspect of the production,publication, and advertisingof
 12   videos for GirlsDoPom.com since the website launched in 2007. (Pratt Depo. Vol. II, 51:4 - 52:19.)
 13   Pratt has also co-managed all operations related to GirlsDoToys.com.(10/2/19 Trial Tr. 202:9-
 14   203:18.) Pratt was involved in the operation ofMomPOV when it first launched in 2010 and Pratt

 15   paid all production costs for MomPOV until 2014. (WiederholdDepo. 51 :2-14.) Now, although
 16   Pratt draws a salary from Domi, he provides no services to Domi. (Pratt Depo. Vol. I, 254:3-'-
 17   255:5; Vol. III, 35:18-36:6.)

 18           Wolfe began providing services to Pratt in 2011. (10/2/19 Trial Tr. 9:6- 9.) He provides
 19   BLL Media, Inc. with "consulting services" through MerroMedia and "marketing" services
 20   through Hayst Holdings. (10/2/19 Trial Tr. 25:13 -26:2.) He handles various aspects of business
 21   operations and payroll for Defendants. (Pratt Depo. Vol. I, 52:20- 53:4, 234:13 -235:15.) Wolfe
 22

 23           78
                 When asked about MomPOV.net, Weiderhold stated," ... the first time I found out about it I
 24   wasn't too happy and I did consult Mike about it." Mike's take was," As long as they're sending us traffic,
      it's a win-win." (Wiederhold Depo. 234: 1-9.)
 25           79 Wiederhold testified that he could easily find out how many affiliate sites were promoting

      MomPOV.com at a given time and what percentage of the revenue came from a particular affiliate (or
 26   affiliates in general) but has not done so. (Wiederhold Depo. 305:14-306:3["Q. Does CCBill have a portal
      that you can access to see how many transactions that it's done for your - your website? A. Yes. Q. It has a
 27
      running ledger of all the transactions? A. Yes. Q. Does it also provide a breakdown of when an affiliate
 28   payment is being made with regard to a transaction that's made? [objection]A. I believe all the analytics
      outlines pret1ymuch all of the transactions and where they go and whothey came from."].)
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  1   co-managed the operations of GirlsDoToys.com. (10/2/19Trial Tr. 202:9 - 203: 18.) Wolfe was
  2   produced.as the PMQ for BLL Media's operations. (10/2/19Trial Tr. 88:1- 7.)
  3            The record indicates that Wolfe has provided numerousservices for Domi Publicationsor
  4   MomPOV.com. (Wolfe Depo. Vol. II, 150:I - 151:20 [Wolfe testifyingthat he helped troubleshoot
  5   issues with the MomPOV.com website].) Wiederhold testifiedthat Wolfe provided administrative
  6   s~rvices,including handling billing issues, for MomPOV,com"off and on from the beginning"and
  7   that Domi has never paid him for any of those services. Wiederholdtestified "if it's Michael's
  8   responsibility and he didn't want to do it, he would just haveMatt do it." WiederholdDepo. 46:17-
  9   48:14.
 10            Garcia is the male performer and casting director for GirlsDoPom.(Pratt Depo. Vol. II,

 11   54:1-3.) Garcia's casting services also provide GirlsDoToyswith female models to shoot.
 12            Wiederhold worked with Pratt to produce videos for GirlsDoPom.comsince the site

 13   launched until early 2012. (WiederholdDepo. 106:9-22.)He was an employee on BLL Media,
 14   Inc.'s payroll until July 2015. (Ex. 1677.446.) Wiederholdwas listed as a "Director" for
 15   ClockworkProductions, Inc. (Ex. 1660.8)and signed a CCBillcontract on behalf of that entity.
 16   (Ex. 1511.441.)Wiederhold and Pratt began producing contentfor MomPOVin 2010, they built
 17 the website together, and then the website launched in 2011. Wiederholdruns the majority of the
 18   day-to-day operations for MomPOV.
 19            Moser worked for BLL Media as an administrativeassistantstarting in March 2015.

 20   (9/20/19 Trial Tr. 61: 14 - 19.) She organized contracts, receipts,and expenses, and performed
 21   QuickBooksand payroll. (Id at 62:24- 63:4.) She testified that she recalls doing some work for
 22   Domi Publications for which she was not separatelypaid. (9/23/19Trial Tr. 175:16 - 176:5[she
 23   sent Wiederhold a bill but never followed up because "Matt said to let it go."].) Ms. Moser also
 24   testified that when Wolfe created for her a diagram of all Defendants'relevant entities, he included
 25   Domi Publications. (9/20/19 Trial Tr. 103:16 - 24.)
 26            Gyi worked for BLL Media from November 2015 throughApril or May 2017 as a camera

 27   operator shooting videos for GirlsDoPom and GirlsDoToys.(8/29/19 Trial Tr. 73:10-22.) He
 28   recalls creating a highlight reel for MomPOV.comand uploadingit to the various tube sites. (Id. at
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  1   108:18-109:6.) He used equipment owned by BLL Mediato perform this task and waspaid by
  2   BLL Media for the time he spent. (Id at 109:25- 110:4.)
  3           Alex Martinezperforms DMCA takedown servicesfor GirlsDoPomand MomPOV.
  4   (Depositionof Alex Martinez, April 17, 2018, at 187-191.)Martineztestified"it wasn't anything
  5   different. It was Mom POV and Girlsdopom, I wouldjust submit them the same. I wasn't doing
  6   anything different." (Id. at 190:1-3.) Pratt instructed him to perform DMCAtakedownservicesfor,.
  7   Mom POV. (Id. at 190:21-191:1.)He confirmedthat he waspaid exclusivelyby BLL Mediaand
  8   had never heard ofDomi Publications. (Id. at 190:15-20.)Martineztestifiedthat he used the same
  9   form prepared by BLL Media to submit take-downrequests for both GirlsDoPomand for
 10   MomPOV.com.(Id at 191:9-18.)
 11           The BLL Media ledger shows payments made to Domi employeesafter Domi was formed.
 12   For example, BLL Media paid Ryan Somavia and Doug Wiederhold"Wages" as late as July 2,
 13 2015. (Ex. 1677.446.)BLL Media paid MomPOVmodels as well, specificallyTara Bums who
 14 testified at trial. (Ex. 1677.13,.219, .314, .503, .508, .558, .561 [paymentsto Tara Bums as late as
 15   May 11, 2015]; Ex. 1677.14[paymentto Nicole Doucette2013].)
 16           In addition to the services that the entities provide eachother free of charge,the record
 17   contains several examplesof transactionslacking consideration.In instanceswhere there was a
 18   services agreement among two or more entities, the individualsbehindthe entitieswere often on
 19   both sides of the transaction.For example, as Wolfe testified,when BLL Media, Inc. provided
 20   DMCA takedown services for Domi Publications,ifBLL Mediawas chargingDomi pursuantto a
 21   contract, then Pratt and Wiederholdwould have been the onesto negotiatethe terms.
 22           On June 2, 2015, BLL Media, Inc. assigned filming equipmentto D01ni,includingtwo
 23   cameras, two lenses, one hard drive, and four lights. (Ex. 1511.424.)There is no evidenceof
 24   considerati.onfor this assignment.Wiederholddid not recallwhether anythingwas paid and did not
 25   recall negotiating a price.
 26          Pratt testified that he performed no servicesfor Domi Publicationsat all, but he received
 27   $19,000 to $20,000per month in salary from that company.(Pratt Depo. Vol. III, 35:18 -20; 101:2
 28
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  1 - 4.) Finally, Pratt transferred his 50% interest in Dorni afterthe trial began, and there is no
  2   evidence in the record to establish that considerationwas given. (10/3/19 Trial Tr. 26:24- 27:9.)
  3           What this all means can be distilled as follows: Defendantsran a web of interrelatedentities
  4   without observing corporate separation or formalities and with Pratt and a handful of individuals
  5   under him running the show as a common enterprise. Assets and employees were interchangeable
  6   and shuffledbetween the entitles without consideration.

  7                                 5. The Record Shows Pratt's l/ltent to Use the Entitiesto Escape
  8                                    Liability and Protect his Assets
  9           Defendants have provided no valid business-relatedexplanationfor their transfers of
 10   valuable assets to entities in located in Vanuatu in the face of evidence suggestingthat the assets
 11   were transferred in order to place them beyond the reach of any creditors.The Court is not
 12   persuaded by Defendants' claim that these transfers were effectuatedto fix "mistakes"in th~
 13   "corporate structure" and that "this is how it was supposedto be all along."
 14           Wolfe conceded that he wired funds from BLL Mediato Vanuatu using his companyHays!
 15   Holdings. (I 0/2/19 Trial Tr. 66:6 - 67:16.) These paymentswere made to MelanesianBusiness
 16   Executive Corporate Services (MBECS) (10/2/19 Trial Tr. 39:17-41 :2), yet Wolfe claims he does
 17   not know anyone who works there and does not know whetherhe emailed with anyone. (10/2/19
 I8   Trial Tr. 41:3 - 42: 11.)80
 19           Wolfe claims these payments are pursuant to the licenseagreementbetween BLL Media and
 20   Oh Well Media-the license agreement was not produced at trial. (I 0/2/19 Trial Tr. 64:3 - 66:15.)
 21   Plaintiffs, on the other hand, assert that these payments were made to MelanesianBusiness
22    Corporate Services to keep the Vanuatu entities open. (10/3/19Trial Tr. 96:24 - 97:3; 104:16- 19.)
23            That Defendants' web of offshore entities was created to escape liability is bolsteredby a
24    laundry list of other actions. Pratt sold his house and his car to ensure, in his words, "the models
25
26
27            80
               The recordcontainscommunicationsbetweenWolfe,Holloway,Probin,and severalindividuals
28    apparentlyworkingfor MBECS.(10/2/19Trial Tr. 67:17 - 71:17.)Someof theseemailswereapparently
      sentfrom KevinHolloway'semailbut were signed"Cheers,Lindsay."(Id. at 60:9- 2 I.)
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  1 won't get a dime." (09/23/19 Trial Tr. at 60.:15- 19 [Moseralso testified that Pratt askedher to
  2   destroy documents for the same purpose].)
  3           Pratt filed bankruptcy in January 2019. {09/23/19Trial Tr. at 65:13 -18) Pratt admittedin
  4   his third deposition that his bankruptcy schedules stated-under penalty of perjury-that all of his
  5   companieshad a net worth of zero. (Pratt Depo. Vol. III, 83:24 - 84:23 [BLL Media, Inc., EG
  6   Publications, anc!_
                        MIM Media have no reasonable value]; 108:10- 109:W [Domihas a value of
  7   $0].) Pratt voluntarily dismissed the bankruptcy approximatelyone month after filing.
  8           Through counsel, Pratt was served with a notice to appear.Yet when Plaintiffssoughtto call
  9   him to testify, Pratt's counsel announcedthat he had left the country around the beginningof trial
 10 but counsel did not know his whereabouts. Wolfe testifiedthat Pratt was "on holiday" but also did
 11 not know his location. (10/01/19 Trial Tr. at 209:19 - 211:16.)In light of Pratt's failureto appear,
 12 this Court issued an arrest warrant, but he never appeared.
 13           According to Wolfe's testimony and Defendants' counsel,Pratt, presumablyafter he left the
 14   country, transferred his interest in Domi Publications.At trial,Defendantsproducedneither an
 15 agreementevidencing this transfer nor evidence of considerationPratt received.
 16 III.      LEGAL AUTHORITIES AND FINDINGS

 17           A. Defendants are Liable for Fraud or Deceit

 18           California law permits a person injured by fraud to seek damages:"One who willfully_
 19 .deceivesanother with intent to induce him to alter his positionto his injury or risk, is liable for any
 20   damage which he thereby suffers." (Civ. Code § 1709.) The California Civil Code identifiesfour
 21   species of fraud or deceit that can form the basis of a cause of action:
 22
                     1. The suggestion, as a fact, of that which is not true, by one who
 23                  does not believe it to be true;
                     2. The assertion, as a fact, of that which is not true, by one who has
 24                  no reasonable ground for believing it to be true;
                     3. The suppressionof a fact, by one who is boundto discloseit, or
 25                  who gives informationof other facts which are likely to mislead for
 26                  want of communicationof that fact; or,
                     4. A promise, made without any intention of performingit.
 27
 28
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  1   (Civ. Code § 1710.) Plaintiffs assert four causes of actionthat sound in fraud or deceit: Intentional
  2   Misrepresentation(First Cause of Action); Fraudulent Concealment(SecondCause of Action);
  3   False Promise (Third Cause of Action};and Negligent Misrepresentation(Fourth Causeof Action).
  4   The Court finds Defendants are liable on each of these claims.
  5                               i. DefendantsMisrepresentedMaterialFacts
  6           An action for deceit can be based upon "[t]he sugge,:;tion,
                                                                       as a fact, of that which is not true,
  7   by one who does not believe it to be true; or [t]he assertion,as a fact, of that which is not true, by
  8   one who has no reasonable ground for believingit to be true[.]"(Civ. Code§ 1710, subd. (1), (2).)
  9          "The fact represented or suppressed,allegedly constitutingfraud, is deemedmaterialif it
 10 relates to a matter of substance and directly affects the purposeof the party deceivedin entering
 11   into the contract." (Thomas v. Hawkins (1950) 96 Cal.App.2d377.) "What the parties deem
 12 material will be accepted by the courts as such." (Ashburnv. Miller (1958) 161 Cal.App.2d71, 79
 13 . citing Rest. of Torts,§ 538, p. 86; Prosser on Torts (2d Ed.),p. 555.) "A misrepresentationis
 14 judged to be material if a reasonableman would attach importanceto its existenceor nonexistence
 15 in determininghis choice of action in the transactionin question."(Engalla v. PermanenteMed
 16   Grp., Inc. (1997) 15 Cal. 4th 951, 977.)
 17          Here, as set forth above, there is ample evidencethat Defendantsand their agents
 18 deliberatelymisrepresentedmaterial facts to each Plaintiff,namely:(a) that her video wouldnot be
 19 posted on the internet or made availablein the United States;(b) that it would only be sold on DVD
20    in limited overseas venues (such as direct sale to a private collectorin Australia);(c) that her name
21    and personal information would be protected;and (d) that Defendantshad never had an issue with
22    models' videos or identities coming to light-it simply had neverhappened.
23           Defendants clearly knew that these representationswere false. Defendantswere also plainly
24    aware that the misrepresentedfacts were material: most prospectivemodels, includingthe Plaintiffs
25    here, specificallyexpressed their concernsabout distribution.In fact, Defendants' entire
26    recruitmentmodel and efforts, from the initial advertisementthrough filming and post-production,
27    were designedto assuage these concernsthrough false informationand deception.Accordingly,the
28    Court concludesthat Defendants' conductwas intentional.
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  I                                   ii. Defendants Concealed Material Facts
  2              "The suppression of a fact, by one who is bound to disclose it, or Whogives infonnation of
  3   other facts which are likely to mislead for want of communicationof that fact" constitutesactual
  4   fraud. (Civ. Code§ 1710, subd. (3); 5 Wilkin, Cal. Procedure(4th ed. 1997)Pleading,§ 678.) The
  5   trial record establishes that Defendants did not disclose the following facts to Plaintiffs:
  6
                 (I) that Defendants own the subscriptfonwebsites GirlsDoPom.comand GirlsDoToys.com,
  7              which hai.:emore than 15,000 subscribers,and that the videos are posted on these sites;
                 (2) that Defendants have always only published videos online (never on a DVD);
 8               (3) that Defendants use affiliate marketing and other advertisingstrategiesto maximize
                 public exposure and viewership of their videos and increase traffic to their websites;
 9               (4) that Defendants routinely publish 5-to 7-minuteclips of their videos on popular free
                 websites such as Pornhub.com, YouPom.com, and ](Video.com;
 10
                 (5) that numerous websites host forums on which anonymoususers identify women who
 11              film pornographic videos, and then find and post their names, personal infonnation,
                 pictures, and social medial links;
 12              (6) that many women who have filmed a video withDefendants have been identifiedon
                 these websites and that there are multiple running lists of Defendants' models' names linked
 13              to the episode numbers of their videos;
 14              (7) that many women who filmed with Defendantslater complainedabout being harassed
                 after their videos were released online, including their videos being sent directlyto their
 15              family and friends;
                 (8) that Defendants routinely decline to take any actionto protect the names and personal
 16              information of their models, have no intention of doingso, and indeed directlyprofit from
                 disseminating the models' identities to their relations,friends, and to the public;
 17
                 (9) that the agreed-upon amount of pay for filming a video was subject to change at
 18              Defendants' sole discretion upon a model's arrival in San Diego, and may be reducedby
                 hundreds or thousands of dollars; and
 19              (! 0) that Plaintiffs' faces would be clearly visible during the video, but that the male actor's
                 face would never appear in the video.
20
                 An affirmative duty to disclose may arise under several circumstances. Such duty can arise
21
      "when the defendant had exclusive knowledge of material factsnot known to the plaintiff [and]
22
      when the defendant actively conceals a material fact from the plaintiff.... " (LiMandriv.
23
      Judkins (1997) 52 Cal.App.4th 326, 336 [quotingHeliotis v. Schuman (1986) 181 Cal.App.3d646,
24                                                                                .
                81
      65 !].)        "[A] disparity in knowledge may impose an affinnative duty of disclosure"on the party
25
26               81
                Section 551(2) of the Restatement(Second)of Torts,provides:"(2) One party to a business
27    transactionis under a duty to exercisereasonablecare to discloseto the other beforethe transactionis
      consummated  ... (e) facts basicto the transaction,if he knowsthat the other is aboutto enter into it undera
28    mistakeas to them,and that the other,becauseof the relationshipbetweenthem,the customsof the tradeor
      otherobjectivecircumstances,wouldreasonablyexpecta disclosureof thosefacts."
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  1 with superior knowledge. (Butcher v. Truck Ins. Exch. (2000)77 Cal. App. 4th 1442, 1464-65.)82
  2   Moreover,a party which undertakesto disclose or provideinfonnation cannot do so in a selective,
  3   self-servingmanner: It must disclose enough infonnation so that its representationsare accurateand
  4   not misleading.
  5           Defendants' affinnative duty to disclose these facts arises due to Defendants' far superior
  6   and exclusiveknowledge of th~,,adultentertainmentindustryand their own business strategiesand
  7   practices. Defendants knew that Plaintiffs were young (Defendantsrecruit and only consider
  8   women between ages 18 and 22) and had no experiencein the adult entertainmentindustry(it is
  9   Defendants' practice to only hire women who have never appearedin a pornographicvideo before).
 10 At the time they were recruited by Defendants,Plaintiffs couldnot have known which websites
 11 Defendantsown and operate because Defendants maintaineda businesspolicy and practiceof never
 12 disclosingthat information. Plaintiffs could not have knownthat Defendantsintendedto pub!ish
 13 and aggressivelymarket the video on dozens of websites in an effort to maximizeviewership
 14 becauseDefendants told Plaintiffs an entirely different storyand hired referencewomento confinn
 15 the cover story. Plaintiffs all testified that, prior to filming,they had never heard of PornWikiLeaks
 16 .and had no idea that such websites existed and targeted womenwho filmed videos with Defendants.
. 17 Defendants were aware of these websites and knew exactly what occurred on them. Defendants
 18 were aware of their superior knowledgewith respect to the Plaintiffsand deliberatelyexploitedthat
 19 disparity to the Plaintiffs' detriment.
20           ·An affirmative duty to disclose also arises "when the defendant makes partial
21    representationsbut also suppresses some material facts." (LiMandri,52 Cal.App.4that p. 336.)
22    "One who is asked for or volunteers informationmust be truthful,and the telling of a half-truth
23    calculatedto deceive is fraud." (Cicone v. URS Corp. (1996) 183 Cal.App.3dat 194,201; see also
24    Paper Savers, Inc. v. Nacsa (1996) 51 Cal.App.4th 1090, 1104[collectingcases] ["the extent of an
25    insurance agent's duty depends on the nature of the interactionbetween the agent and the insured
26
             82 Defendants'argumentthatthe parties'statusas partiestoa commercialtransactionprecludesa duty
27
      to discloselacksmerit.It is just this type of transactionthat can createsucha duty:"a dutyto disclosemay
28    arisefromthe relationshipbetweensellerandbuyer,employerandprospectiveemployee... or partiesentering
      intoany kindof contractualagreement."(LiMandri,52 Cal.App.4that 337 [citationsomitted].)
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  1   and the representations the agent made regarding coverage when discussing the policy."]; Fanucci

  2   v. Allstate Ins. Co. (N.D. Cal. 2009) 638 F. Supp. 2d 1125, 1143 [reasonable reliance may be found
  3   where the insured specifically told insurance agent that he wanted an umbrella policy and the agent

  4   advised the insured on which policy to buy, holding himself out as having special knowledge [this

  5   is despite the insured being an attorney and despite the policy being relatively clear].)

  6          The CourtJinds that Defendants owed an affirmative duty based on.their own actions and

  7   representations in their interactions with Plaintiffs. By volunteering detailed information about their

  8   distribution process and channels and the availability of the video, Defendants assumed an

  9   obligation to tell the truth. Defendants could not conceal material information that would

 IO undermine these representations and expose them as false andmisleading. In answering Plaintiffs'
 11   questions about distribution and who would be able to see the video, they had to respond truthfully.

 12          As each Plaintiff stated in her trial testimony, the facts that Defendants ~oncealed were

 13   material and would have changed her decision if she had known the truth. Defendants knew that

 14   these facts would be important to Plaintiffs because of their business model and scheme to solicit

 15   first-time models who would never "do porn" again; most prospective recruits, including the

 16   Plaintiffs here, posed the same basic set of questions and concerns relating to whether the videos

 17   could be discovered. In addition, most women asked these very questions, or, alternatively,

.18   Defendants had received enough complaints from prior models to know that information about

 19   distribution, marketing, model identification, and harassment were critical to the women targeted by

20    their scheme. Defendants intentionally withheld and actively concealed such information in order

21    to obtain Plaintiffs consent to film a pornographic video. The Court therefore fmds that Defendants

22    are liable for fraudulent concealment.

23                              iii. DefendantsMade False Promises

 24          "'Promissory fraud' is a subspecies of an action for fraud and deceit. A promise to do

25    something necessarily implies the intention to perform; hence, where a promise is made without

26    such intention, there is an implied misrepresentation of fact that may be actionable fraud." (Lazar v.

27    Superior Court (1996) 12 Cal. 4th 631, 638 [citing UnionFlowerMarket,Ltd v. Southern

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  I   California Flower Market, Inc. (1938) IO Cal.2d 671,676, 76 P.2d 503; Civ.Code, § 1710, subd.

  2   (4); 5 Witkin, Summary of Cal.Law,§ 685, pp. 786-87].)

  3           Detrimental reliance on a false promise is shown when the misrepresentations were made at

  4   a time when the promisor "had no coercive power over" the promisee and the promisee "was free to

  5   decline the offered position." (Lazar, 12 Cal. 4th at p. 642 ["Rykoffused misrepresentations to

  6   ind~£e Lazar to change employment, a result Rykoff presun:mblycould not have achieved truthfully
  7   (because Lazar had required assurances the Rykoffposition would be secure and would involve
  8   significant increases in pay)."].)

  9          Defendants made at least three types of false promises here.

 IO          First, Defendants falsely promised Plaintiffs that Defendants would not put their videos

 11   online despite having every intention to do so. Indeed, Wolfe testified that Defendants' only

 12   method of distributing pornographic videos was online and that ~efendants had never distributed

 13   the videos anywhere other than the internet, by DVD or otherwise. Wolfe also testified that

 14   Defendants publish clips of each video on free websites and use internet affiliate marketing to

 15   spread the video to as many people as possible. Each Plaintiff testified that she would not have

 16   made the video if she had known that the Defendants intended to publish the video online and

 17   intended to heavily market the video to maximize the number of viewers.

 18          Second, Defendants promised they would protect Plaintiffs' identities, personal information,

 19   and privacy. In fact, Defendants had no intention to do so and did just the opposite. Instead,

20    Defendants were aware of and profited handsomely from the internet forums in which anonymous

21    users post the name, personal information, and social media links of every single model whose

22    video was published on GirlsDoPorn.com. The evidence at trial showed that Pratt owned

23    PornWikiLeaks.com from November 2015 until August 2016 and that the lists of GDP model

24    names posted on the site were actively maintained during this time.

25           Defendants further knew that people frequently posted models' names in the comments to

26    the videos published on Defendants' Pornhub channel but Defendants did not take any action to

27    delete those comments. The fact that the documents Defendants give to women to sign ostensibly

28    provide the right to "exploit my name real or fictitious" further demonstrates that Defendants have
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  I   no intention to honor their promises to protect women's privacy. Defendants (but not Plaintiffs)

  2   knew full well that there is substantial money to be made in leaking models' real names and

  3   identities. The evidence supports a conclusion that Defendants directly participated in doing so in

  4   order to increase website traffic, or at a minimum, knowingly and deliberately disregarded their

  5   promises to ensure privacy and anonymity because such leaks enhanced profitability. Plaintiffs

  6   testified that if they had known their real name~;.would have appeared on internet forums, they                .-.
                                                                                                                     ---
  7   would not have filmed the videos.

  8           Third, Defendants promised to pay each Plaintiff a particular amount in order to entice her

  9   to film a video. Several Plaintiffs did not reply to Defendants' first email and only responded after

 10   Defendants increased their offers. The women expected to be paid what they have been promised;

 11   Defendants do not inform them that their pay may be subject to change.

 12           In reality, Defendants have no intention of honoring their promises regarding pay.

 13   Defendants' practice-undisclosed      to their models-is    to grade each woman's appearance after she

 14   arrives in the hotel room and state an excuse (a supposed physical flaw) to underpay her. This is not

 15   only humiliating but routinely results in women being paid less than the minimum amount they

 16   were willing to accept in order to agree to fly to San Diego and film the video.

 17           Defendants, in essence, pledge whatever sum they thinkthey need to in order to lure a recruit

 18   to San Diego. In most cases, they already know that they will not actually pay the full amount. for

 19   example, Defendants offered Jane Doe 6 a total of $7,000 for one shoot but paid her much less. The

 20   evidence shows that Defendants never paid any model more than $6,000 for a single shoot, making

 21   it unlikely that they ever meant to do so for Jane Doe 6.83 Defendants' promises to pay specific fixed

 22   sums to models, including Plaintiffs, were false.

 23           Each of these promises was made to induce Plaintiffs to agree to participate in a

 24   pornographic video and to overcome any objections they might have. Each of the promises were

 25
              83 Similarly, Jane Doe A, a third-partymodel, testified thatshe was promised$10,000to do two shoots-
 26   -$6,000 for a boy-girl video and $4,000 for a solo video with sex toys. Jane Doe A testified that she would
      not have agreed to come to San Diego for less than $10,000. Yet, at the time they were recruiting her,
 27
      Defendantshad already shut down the website on which solo videoswere published(GDT)and were no longer
 28   filming such videos. Defendantsthereforepaid her only $6,000-for the boy-girlvideo. The extra $4,000was
      needed to induce Jane Doe A to agree, but was not paid-nor was it ever meant to be.
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  1   made at a time when the Plaintiff was free to decline the offer-prior to her arrival in San Diegoto
  2   shoot the video. Each Plaintiff testified that she would not have filmedthe video if Defendantshad
  3   not made these false promises. The Court finds that Defendantsare liable for the damagesthese
  4   false promises caused to each Plaintiff.
  5                             iv. PlaintiffsReasonablyRelied on Defendants'Misrepresentations,
  6                                 No11.-Disclosures,
                                                    and FalsePromises
  7          In determining whether Plaintiffs' reliance on Defendants'variousrepresentationswas
  8   reasonable,the Court must take into considerationtheir intelligence,knowledge,education,and
  9   experience. (Broberg v. The Guardian Life Ins. Co. of Am. (2009) 171 Cal. App. 4th 912, 921-22.)
 10 For example: "Exceptionallygullible or ignorant people havebeen permittedto recoverfrom
 11 defendantswho took advantage of them in circumstanceswherepersons of normal intelligence
 12   would not have been misled. [... ] 'No rogue should enjoy his ill-gottenplunder for the simple
 13   reason that his victim is by chance a fool.'" (Boeken v. Philip Morris, Inc. (2005) 127 Cal.App.4th
 14   1640, 1667 [citing Seeger v. Odell (1941) 18 Cal.2d 409, 414-15].) "What would constitutefraud
 15 in a given instance might not be fraudulentwhen exercisedtoward anotherperson. The test of the
 16 representationis its actual effect on the particular mind .... " (Blankenheimv. E. F Hutton & Co.
 17   (1990) 217 Cal.App.3d 1463, 1475.)
 18                 Generally, "[a] plaintiff will be denied recoveryonly if his conductis
 19                 manifestlyunreasonablein the light of his ownintelligenceor
                    information.It must appear that he put faith in representationsthat
 20                 were 'preposterous' or 'shown by facts withinhis observationto be
                    so patently and obviouslyfalse that he must have closedhis eyes to
 21                 avoid discovery of the truth.' [Citation.]Evenin case of a mere
                    negligent misrepresentation,a plaintiff is not barred unlesshis
 22
                    conduct, in the light of his own informationand intelligence,is
 23                 preposterousand irrational. [Citation.]"

 24   (OCM Principal Opportunities Fund, L.P. v. CIBC World Markets Corp. (2007) 157 Cal.App.4th

 25   835, 865; Public Employees' Retirement System v. Moody's Investors Service, Inc. (2014)226
 26   Cal.App.4th643, 673.)
 27          "Negligenceon the part of the plaintiff in failing to discoverthe falsity of a statementis no
 28   defense when the misrepresentationwas intentionalrather thannegligent. [Citations]As a general
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  1   rule negligenceof the plaintiff is no defense to an intentionaltort. [Citation]The fact that an
  2   investigationwould have revealed the falsity of the misrepresentationwill not alonebar his
  3   recovery... " (Seeger, 18 Cal.2d at 414-15 [emphasisadded].) As ProfessorWillistoneloquently
  4   stated many years ago:
  5                   [I]f a party has fraudulently misrepresenteda document's contentsor
  6                   induced the other party to refrain from readingthe document,,courts
                      will iillow a remedy, choosing not to permita positively fraudulent
  7                   party to prosper because of the stupidity or credulityof the defrauded
                      party, subject only to the rights of innocentthird parties. In short, the
  8                   law should not give any assistanceto a knave,a scoundrelor a con
                      artist who preys upon the less alert or more naive members of society.
  9
 10 (Williston on Contracts (4th ed. 2012) § 69:35, pp. 37-39.)
 11            Here, each Plaintiff testified that she asked for and receivednumerousassurancesthat the
 12 videos would not be available online and would only be soldin foreign countrie.s.Defendantsmade
 13   thes_erepresentationsrepeatedly, including on the phone beforeagreeingto do the shoot and in
 14 person on the day of the shoot-and Plaintiffs had no specificreason to questiontheir veracity.(See
 15   Orozco v. WPV San Jose, LLC (2019) 36 Cal. App. 5th 375,391 [findingthat plaintiffjustifiably
 16 relied on defendant's misrepresentationswhen plaintiff specificallyasked and was expressly
 17 assured numerous times, includingthe day of signing,that no competingbusinesseswere being
 18   consideredfor tenancy in the shopping center];Fanucci v. Allstate Ins. Co. (N.D. Cal. 2009) 638 F.
 19   Supp. 2d 1125, 1143 [a court could find reasonablereliancewhen the insured specificallytold
 20   insurance agent that he wanted an umbrella policy and the agentadvisedhim on whichpolicyto
 21   buy].)
 22            The Court concludesthat Plaintiffs' reliance was reasonableunder the circumstances.
 23            First, the Court considersPlaintiffs' characteristics.TheCourt finds that Plaintiffs-like GDP
 24   models in general-are typically young, undereducated,and inexperienced in life; they have no
 25   experienceor knowledgeof the porn industry.They are unableto seek advice or guidancefrom others
 26   because they do not want anyone else to know what they are doing. Defendantsspecificallysought
 27   out women with these characteristicsand exploitedthem.
 28
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  I            Second, the Court considers Defendants' conduct and the nature of their representations.

  2    Defendants developed a well-honed approach, over several years, designed to convey indicia of

  3    reliability and overcome models' objections and concerns. Defendants provide a consistent story

  4    ·reinforced by the use of"reference" models. Their misrepresentations are highly specific (e.g. DVDs

  5    are sold to collectors in Australia) and they are usually able to provide a plausible and satisfactory

  6    answer. to any question. Defendants falsely assure women that,.they have never had a problem with

  7    disclosure of models' videos or identities-a      matter particularly within Defendants' knowledge.

  8    Moreover, everything appears polished and professional, which enhances Defendants' credibility.

  9    All in all, Defendants do not come across as a questionable fly-by-night operation but an established,

 IO high-end enterprise that does everything in a classy way (luxury cars and hotels, sophisticated
 11    equipment) and has hundreds of references to back up their assertions. Unfortunately, what Plaintiffs

 12    understandably mistook for integrity was all crafted to create a false veneer and merely represented
                                                                           .                        '




 13    the trappings of the success of Defendants' longstanding fraud.

 14                               v. Defendants' Deceit was a SubstantialFactor in CausingPlaintiffs'
 15                                   Emotional Distress and the CourtAwards MonetaryDamages
 16           Based on the foregoing, the Court finds Defendants liable for fraud and awards damages

 17    accordingly. Fraud victims are entitled to compensatory damages, as well as the profits and ill-

 18    gotten gains that the defendants gained by their wrongful conduct. As Civil Code § 1709 makes

 19    clear, Defendants are liable for any damage their deceit has caused to Plaintiffs.

 20                                       I. Plaintiffs are Entitledto EmotionalDistress Damages

 21           "That general damages for mental pain and suffering are recoverable in a tort action of

22     deceit is established by the cases." (Sprague v. Frank J..SandersLincoln Mercury,Inc. (1981) 120

23     Cal. App. 3d 412, 417.) Here, the bulk of Plaintiffs' damages comes from the significant emotional

24     distress that they endured as a result of Defendants publishing their videos online. The Court has

25     considered each Plaintiffs individual experience, as established by their testimony at trial and any

26     documentary evidence presented.

27 ·          The Court took into account that each Plaintiff expresses herself differently and has learned

28     to cope with this experience in different ways. The Court weighed the physical manifestations of
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      1   emotional distress, whether they be tangible impacts on the Plaintiffs life (e.g., droppingout of
      2   school, changing career path, iajury to close personal relationships)or physical symptomsof
      3   emotional distress (e.g., depression, anxiety, isolation, sleeplessness,etc.).
      4          Defendants argue that most of Plaintiffs' emotionaldistress stems from their "regret" of
      5   filming the pornographic film as opposed to the particular channelof distribution.The Court
      6   disagrees. Although several Plaintiffs testified thr:t they experiencedemotional distress as a result
"·
      7   of the filming, each and every Plaintiff testified that her distressskyrocketea when the video was
      8   released online. The Court does not award damages for pain or distress caused by the filming of the
      9   video itself. The Court has considered such distress to the extentthat it impactedthe severityof
     10 emotional distress caused by the release of the video online.
     11          Defendants understandablyfocus on preexisting mentalhealth problems and other
     12 aggravating or contributing factors of Plaintiffs' distress. Plaintiffsneed only show that the fraud
     13 was a substantial factor of their emotional distress. (Mandervillev. PCG&S Grp., Inc. (2007) 146
     14 Cal. App. 4th 1486, 1498.) "A substantial factor in causingharm is a factor that a reasonableperson
     15 would consider to have contributedto the harm. It must be more than a remote or trivial factor. It
     16   does not have to be the only cause of the harm." (CACI 430.)The Court finds that Defendants'
     17 release of the video online was a substantial factor in causingeach of the emotional distress-related
     18 facts contained in the Court's findings for each Plaintiff.
     19          In accordance with the California Civil Jury InstructionNumber 3905A, the Court
 20       considered past and future mental suffering, loss of enjoymentoflife, inconvenience,grief, anxiety,
     21   humiliation, and emotional distress in deciding a reasonableamount based on the evidence. The

 22       Court finds that Plaintiffs are reasonably certain to continueJosuffer, at a minimum,the anxiety
 23       and embarrassment that each Plaintiff discussed in testimony.
 24                                          2. Plaintiffs are Entitled to Damagesand fll-Gotten Gainsfrom
 25                                              the Fraud

     26          "One who willfully deceives another with intent to inducehim to alter his position to his

 27       injury or risk, is liable for any damage which he thereby suffers." (Civ. Code § 1709.) For the

     28   breach of an obligation not arising from contract, the measure of damages, except where otherwise
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  1   expressly provided by this Code, is the amount which will compensate for all the detriment

  2   proximately caused thereby .... " (Civ. Code§ 3333.)

  3           California protects an individual's proprietary interest in his or her identity.

  4   (Motschenbacherv. R.J. Reynolds Tobacco Co. (9th Cir. 1974)498 F.2d 821, 825-826 (applying
  5   Calif. law).) Likeness is a property right. (Lugosi v. UniversalPictures (1979) 25 Cal.3d 813, 818-

  6   819; citing Civ. Code§ 654 ["property" is the ownership of a thing to the exclusion of other~].)

  7        . Plaintiffs are entitled to receive the difference in value between what they gave to defendant

  8   and what they received. (AllianceMortgage Co. v. Rothwell(1995) 10 Cal.4th 1226, 1240.) And

  9   under section 3343, emotional distress damages may still be included, because the section expressly

 10   leaves open any other "legal or equitable remedies to which a [defrauded] person may be entitled."

 11   (Sprague at 417-418, citing Civ. Code 3343(b)(2); and Stout v. Turney22 Cal.3d 718, 729-730
 12   ["nothing in section 3343 requires plaintiff show "out-of-pocket" loss. The statute awards damage

 13   for "out-of-pocket" loss together with any additional damage,... If a plaintiff shows no traditional

 14   "out-of-pocket" loss, that component of the award is zero. If, however, he goes on to show

 15   consequential or additional damage, the amount which he so demonstrates is recoverable."].)

 16          The Parties stipulated that Defendants received a total of$1,025,831.50 in profits from the

 17   use of the twenty-two Plaintiffs' videos. Thus, it is undisputed that Defendants derived $46,628.70

 18   from the use of each Plaintiff's video(s).

 19          B. Defendants' Putative Contracts Do not Vitiate Plaintiffs' Reasonable Reliance: The

 20              Documents are Invalid and Unenforceable as they were Secured by Fraud and are

 21              Otherwise Tainted by Illegality

 22          As an integral part of Defendants' scheme, Defendants required each Plaintiff and model to

 23 . sign documents at the moment shootingwas about to begin. While Defendants rely on the documents

 24   to claim that Plaintiffs released all rights to the videos and consented to unlimited publication and

 25   use of the videos online, the documents are unenforceable for several reasons.

 26          First, on their four comers alone, the documents are not valid, enforceable contracts: they

 27   contain vague, incomprehensible language and are missing material terms. Second, the fraud,

 28   intimidation, and coercion that Defendants used to obtain Plaintiffs' signatures render the
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  1   documents legally invalid and ineffective.Third, both proceduraland substantiveunconscionability
  2   render the documents invalid. Finally, the documents are unenforceabledue to illegality. For all of
  3   these reasons, this Court finds that the signed documents were obtained without valid consent,and
  4   exercises its equitable powers to set the putative contractsasideto avoid an unjust result.
  5                              i. Despite Plaintiffs' Failure tu Fully Read the Documents,the
  6                                 Documents are UnenforceableDue to Defendm,its'Fraudulentand
  7                                  WrongfulCondur:t
  8          "The consent of the parties to a contract must be: 1.Free; 2. Mutual; and; 3. Communicated
  9   by each to the other." (Civ. Code§ 1565.) "An apparent consentis not real or free when obtained
 10 through: 1. Duress; 2. Menace; 3. Fraud; 4. Undue influence;or, 5. Mistake." (Civ. Code§ 1567.)
 11   Section 1572 of the Civil Code, which echoes Section 1710,defines "actual fraud" as:
 12
                     ... any of the following acts, committed by a party to the contract, or
 13                  with his connivance, with intent to deceive anotherparty thereto, or to
                     induce him to enter into the contract:
 14                  1. The suggestion, as a fact, of that which is not true, by one who does
                     not believe it to be true;
 15                  2. The positive assertion, in a manner not warrantedby the information
                     of the person making it, of that which is not true, though he believesit
 16
                     to be true;
 17                  3. The suppression of that which is true, by one having knowledge or
                     belief of the fact;
 18                  4. A promise made without any intention of performingit; or,
                     5. Any other act fitted to deceive.
 19
20    (Cal. Civ. Code§ 1572; see also Rest., Contracts,§ 471; Pearsonv. Norton (1964) 230 Cal.App.2d

21    1 r'Actual fraud involves conscious misrepresentation,or concealment,or non-disclosureof a

22    material fact which induces the innocent party to enter the contract."];Lazar v. Sup. Ct. (1996) 12

23    Cal.4th 631, 644 ["our Legislature more than a century ago codifiedthe common law cause of

24    action for promissory fraud in inducing a contract, along with actions for promissoryfraud and

25    fraud, generally."].) "A single fraudulent misrepresentationis sufficient to void executionof a

26    contract." (Ramos v. Pacheco (1944) 64 Cal.App.2d 304, 310.)84

27           84 It
                 is a "well-settledrulethat para!evidenceis admissibleto provefraudin the inducementeven
28    thoughthe contractrecitesthat all conditionsand representations
                                                                    are embodiedtherein."(Fergusonv. Koch
      (1928)204 Cal.342,347,268 P: 342;Mooneyv. Cyriacks(1921)185 Cal.70, 80-81 [contractprovision
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              Here, as explained in Section III.A., supra, Defendantsmisrepresentedand concealed
  2   material facts and made false promises regarding, among otherthings, where the video would be
  3   published, in order to induce Plaintiffs to travel to San Diegoand engage in sexual intercourseon
  4   camera. Once Plaintiffs arrived in San Diego, they were givenno option but to proceedwith what
  5   they had started.85 Defendants also misrepresented and concealedthe contents of the documents
  6   themsel:VfS
              ..., in order to induce Plaintiffs to sign them. Thus, the f,ourt finds Plaintiffs' apparent
           . __


  7   consent to the documents is not real or free because it was,with respect to each Plaintiff,obtained
  8   by actual fraud.

  9           Despite ample evidence of fraud, Defendants arguethat the Court should enforcethe
 IO documents' broad and perpetual release against Plaintiffs becausePlaintiffs signed the documents
 11   without taking the time to read them. But Defendants did notprovide Plaintiffs sufficienttime to
 12   review the documents, imploring that they were behind scheduleand filming needed to begin
 13 immediately. At the same time, to secure their signatures,Defendantsmisrepresentedthe nature and
 14   terms of the documents in a manner consistent with previousrepresentationsand assurances."The
 15   general rule in California is that even in the absence ofa fiduciaryrelationshipplaintiffs failure to
 16 read a contract is excusable where reliance is placed on the misrepresentationsof the other party."
 17   (Rosenthal v. Great W. Fin. Sec. Corp. (1996) 14 Cal. 4th 394 [citation omitted].)"[A] defendant

 18 who had misrepresented the facts should not generally be heard,in an action for 'equitablerelief,'
 19
20
21    which recites that all conditions and representations are embodied therein will not prevent plaintiff from
      introducing parol evidence that sale was induced by fraud]; Morrisv. HarborBoat BuildingCo. (1952) 112
22    Cal.App.2d 882, 888 ["it was never intended that the parol evidence rule should be used as a shield to
      preventthe proof of fraud ... even though the contract recites that all conditions and representations are
23    embodied therein"]; OakIndustries,Inc. v. FoxboroCo. (S.D.Cal.1984) 596 F.Supp. 601, 607 [under
      California law, extrinsic evidence is admissible to prove fraud in the inducement notwithstanding a contract
24    provision that no representations have been made other than those stated in the agreement].)
               85 AlthoughPlaintiffs' claimis based on fraud ratherthan duressor menace,it must be notedthat coercionand

25    intimidationwere factorsconsideredin findingconsentinvalidhere. SeveralPlaintiffstestifiedthat they attemptedto
      retracttheir consentsbefore commencementof or duringthe sexualportionof the videobut werecompelledby
26    Defendantsto proceed. SeveralPlaintiffschangedtheir mindsand attemptedto declineto do the videobeforethe shoot
      began.Each of these Plaintiffstestifiedthat Pratt,Garcia,or Wolfetoldthemthat Defendantshad alreadyspentthe
27    moneyto bring them to San Diegoand set up the shoot and that they werenot allowedto back out. JaneDoes4, 7, 13,
      14, 15, 18,and 19testifiedthat they askedto stop duringthe shoot,explainingthat they were in pain and/orthat the
28    shoot had lastedmuch longerthan represented,but none of themwas pennittedto stop. Each was requiredto continue
      to engagein sexual intercourseuntil Defendantsdecidedthat they had all of the footagethey wanted.
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   1    to assert the plaintiff's reliance on his misrepresentations was negligent, at least in the absence of

   2    facts making the plaintiff's conduct 'preposterous or irrational."' (Id at 422.)

   3            For instance, a release of claims, "regardless of how comprehensively worded," is not

   4    binding if the releaser's misapprehension "as to the nature or scope of the release" was caused by

   5    the other party's misconduct and "not due to his own neglect." (Casey v. Proctor (1963) 59 Cal.2d

.,5 6   97, 103, 28 CaLRptr. 307; see also Frusetta v. Hauben, (1990), 217 Cal.App.3d at p. 557, 266

   7    Cal.Rptr. 62 [release "may be rendered void on the grounds of fraud or misrepresentation regarding

   8    the nature of the claim covered by the release so long as the releasor's failure to learn the nature of

  9     the terms was not attributable to his own negligence."]; 86 Gardnerv. Rubin (1957) 149 Cal.App.2d

 10     368,372 [negotiable instrument not enforceable even by holder in due course where executed

 11     through fraud and "in the absence of negligence on the part of the maker "]; Ramirez v. Superior

 12     Court (1980) 103 Cal.App.3d 746, 756, n. 3 ["no agreement exists unless the parties signing the
 13     document act voluntarily and are aware of the nature of the document and have turned their

 14     attention to its provisions or reasonably should have turned their attention to its provisions"].) 87

 15              Although it is true that Plaintiffs did not fully read the documents before signing them, this

 16     was due not to Plaintiffs' negligence but to Defendants' intentional misconduct. Further, Plaintiffs

 17     had no reasonable opportunity to learn that Defendants' misrepresentations were false.

 18                                           1. Plaintiffe' Failure to Read and Understandthe Documentsis
 19                                               Attributable to Defendants'Misconduct and Not to Any
20                                                CulpableNegligence on Plaintiffe' Part
21              The evidence at trial revealed a consistent pattern of Defendants presenting the documents

22      to the Plaintiffs only minutes before the start of the pornographic video shoot, having never

23      mentioned prior to that moment that there would be contracts to sign. When presenting the

24
                86 In Frusetta,the court found that an alleged representationby an insuranceadjusterthat a $250
25      check was only a partial payment when the adjusterknew that plaintiff's medical bills far exceededthat
        amount, if true, could be sufficient to void the "release of all claims"that the plaintiff signed withoutreading
26      because such an act would support a finding of bad faith, fraud or overreachingby the adjuster.
                 87 ''Under such circumstancesit is unnecessaryto effect a rescissionof the release, and no question
27
        of notice to rescind or of restoration of considerationreceived arises."(Casey, 59 Cal. 2d at p. I 03; see, e.g.,
28      Garcia v. CaliforniaTruckCo. (1920) 183 Cal. 767, 770; Wetzsteinv. Thomasson(1939) 34 Cal.App.2dat
        p. 560.)
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        1   docwnents,Defendantsbriefly describetheir content in a mannerechoingor consistentwith prior
        2   misrepresentations-sometimes broadly (9/9/19 Trial Tr. 50:24-51:19[''this is just the basic
        3   agreements,everythingwe spoke about"]; Jane Doe 18 Depo. 132:18-22[JaneDoe 18 testifying
        4   Garciatold her, "It's everythingwe've already talked about.It's just the releasefor images.It's just
        5   saying we have the right to use your image exactly how we said we would"].)or, in some cases,
        6   more specifically(See, e.g., 9/27/19}:rial Tr. 62:15-25 (''thisparagraphjust meansthat no nrunes
,5c

        7   are goingto be used and everythingis kept confidential.Thisparagraphmeans that we have - - like
        8   this gives us the right to put it on DVD format to Australia."];9/10/19Trial Tr. 136:7-16(''This is
        9   where it says not online .... Here's we're not forcing you to do this."];8/21/2019Trial Tr. 83:19-
       10   84:10 [''this is what we talked about, this is no internet there ... it's goingon DVD in Australia...
       11 no names."].) Plaintiffs testified that they felt they did not need to read the docwnentsbefore
       12 . signing because Defendantshad repeatedlyprovided explicitassurances-backed by plausible .
       13   details-of the term that was of substantialconcern to them:wherethe videowould be distributed
       14 and who would see it. Nothing surroundingthe presentationand executionof the putativecontracts
       15 was sufficientto unring the bell of these repeated misrepresentations;rather, Defendantssoughtto
       16 reinforcethem.
       17           Accordingto the CaliforniaSupremeCourt, "any actualconcealment"or "any affirmative
       18 misrepresentationregardingthe existenceor meaning" of the materialterm at issue strongly
       19   supportsa finding that a party's failure to read a contract in relianceon its adversary'sassurances
      20    that the party need not read the agreementwas reasonable. (Rosenthal,14 Cal.4th at p. 426.) In
       21   Rosenthal, unlike here, the plaintiffs did not claim any misrepresentationor concealmentrelatedto

       22   the term at issue-an arbitrationclause;nor did they claim any other sort of"misconduct"by the
       23   defendantsthat interferedwith their opportunityto read the docwnents. (Ibid.)88 In contrast,here,
       24   the term at issue is the scope of distributionof the video, and the trial record showsthat Defendants
       25   had made affirmativemisrepresentationsto Plaintiffsthat the videoswould only be sold on DVD
       26   through isolatedoverseaschannelsand never placed online.
       27
                    88 Moreover,as a generalmatter, strong legislativepreferenceexistsfor the enforcementof arbitrationclauses.
       28
            There is no similarpreferencefavoringthe putativecontractsat issue here.
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  1           In addition to misrepresenting the contents of the documents, Defendants did not give the

  2   Plaintiffs a fair opportunity to read the documents, telling them that the shoot was behind schedule

  3   and had to get going. When a Plaintiff asked for time to read the documents or inquired about their

  4   contents, Defendants became ill-tempered and told them that there was no time, that they already

  5   knew what the agreement was, and that they could review the documents after the shoot. A few

  6   Plaintiffs testified that D,efendants conducted the on-camera interview while thej completed the

  7   documents, distracting the women with personat questions, including everything from small talk to

  8   highly-sensitive inquiries about their sexual history and preferences.

  9           Several Plaintiffs had, at Defendants' suggestion, consumed alcohol and/or marijuana

 IO shortly before being presented with the documents to sign. These actions by Defendants constitute
 11   the type of "misconduct" contemplated in Casey v. Proctor,supra, which, this Court finds,

 12   deprived Plaintiffs of a reasonable opportunity to read the documents before signipg. (See also

 13 . Rosenthal, 14 Cal. 4th at p. 423, n. 12, [evidence that a party "actually took some action or said
 14   something to hurry or pressure" the signing party would support argument that failure to read

 15   contract before signing was reasonable].)

 16                                       2. Defendants' ObscurantDraftingMade It Impossiblefor
 17                                           Plaintiffe to Discoverthat Defendants' Oral Representations
 18                                           were False
 19          Finally, the contents of the documents themselves interfered significantly with Plaintiffs'

20    ability to "discover the real terms of the contract." The documents that Defendants provide for

21    models to sign are vague and confusing. An average person would not be able to understand the

22    nature and scope of the terms. Indeed, it is difficult for anyonebut a trained lawyer undertaking a

23    close reading to decipher the subject matter, parties, and intended terms of the so-called

24    agreements. (Cf. Rosenthal, 14 Cal. 4th at 426 [plaintiff could have easily learned of the existence

25    and meaning of arbitration agreement by simply reading the one-page agreement because the

26    arbitration clause was "in bold print in the center of the page's right column of text," "include[ed] a

27    brief explanation of the meaning of arbitration," and there was "immediately above the signature

28    line, a bold-print reminder that 'this agreement contains a predispute arbitration clause ... "].)
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  1            And, even if Plaintiffs could understand these terms, nothing in the documents is "patently

  2   at odds" with Defendants' oral representations. The documents do not disclose Defendants'

  3   intention to publish the videos online; nor do they provide the name of Defendants' popular

 4    subscription website or Defendants' plan to publish clips of the videos on highly trafficked free

  5   pornography websites. When a defendant's oral representations are not "patently at odds with the

 6    express prqvisions of the written contract," a plaintiff cannot nece~:'larilybe expected to discover

  7   the falsity of those statements. (Orozco, 36 Cal. App. 5th 375, 391; see also Dias v. Nationwide

  8   Lifelns. Co. (E.D. Cal. 2010) 700 F. Supp. 2d 1204, 1217 ["When the misrepresentations are not

 9    inconsistent with the terms of an insurance policy, reliance 011 the misrepresentations may still be

 10   'justifiable."'].)

 11            In Orozco, for example, the plaintiff specifically inquired as to whether competing

 12   businesses were being considered as tenants and was repeatedly assured-including on the day of

 13   signing the lease-that   they were not. The court accordingly held that the plaintiff "would not have

 14   discovered the misrepresentations by reading the lease." Even though the lease contained an

 15   integration clause as well as a general disclaimer disavowing any "representation or warranty as to

 16   current occupancy or future occupancy of any particular tenant," it "did not even mention" the

 17   competing hotdog vendor. (Orozco, 36 Cal. App. 5th at 392-93.) Similarly, here, the documents'

 18   generic, boilerplate terms do not supplant and undo Defendants' concrete and repeated promises.

 19   Defendants could not cover specific express misrepresentations-that the videos would never be

20    placed online and that the models' identities would be secured-with standard legalese.

21             Having reviewed the putative contracts at issue, the Court finds that the Defenda11tsdrafted

22    the documents with the specific intent of misleading Plaintiffs of their scheme and obscuring the

23    true nature of what they intended to do with the videos. It is not surprising that Defendants'

24    documents do not clearly inform the model ofDefenda11ts' heavy online presence; as every Plaintiff

25    testified, she never would have agreed to participate had she knoWil the truth. Defendants are fully

26    aware of this fact and rely on deception and coercion to obtain models' consent.

27            Duick v. Toyota Motor Sales, US.A., Inc. is another analogous case. Defenda11tsthere drew

28    plaintiff in by soliciting her to take an online personality test. This was all a ruse designed to gather
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  I    her personal information-which was then used to make her the target and butt of an elaborate
  2    prank as part of an advertising campaign for a particular Toyotavehicle model. The court found the
  3    terms and conditions of the personality evaluation, which Toyota claimed constitutedplaintiff's
  4    consent to participate in the prank, were void in their entirety:
  5
                      (1) defendants were the drafters and creatorsof the relevant Web
 .6
 ___
  c1
                      pages, including the full text of the te!',Ilsand conditions; (2) by
                      drafting and presenting the terms and conditionsas they did,
  7                   including the use of the phrase "PersonalityEvaluation," defendants
                      misrepresented and concealed (whether intentionallyor not) the true
  8                   nature of the conduct to which Duick was to be subjected;and (3)
  9                   Duick was not negligent in failing to understandthe true nature of the
                      conduct to which she was to be subjected, becauseno reasonable
 IO                   person in her position would have understoodit.

 11    (Duick v. Toyota Motor Sales, U.S.A.,Inc. (2011) 198 Cal. App. 4th 1316, 1322 ["We have read the
 12 terms and conditions in their entirety, and we conclud.ethat, as written, they could not have alerted
 13    a reasonable reader in Duick's position to the true nature ofwhat defendantsproposedto do to
 14 her ... [b]ecause of their vagueness and opacity (such as unexplainedreferences to an 'interactive
 15    experience' and a 'digital experience')[.]"].) As in Duick, Defendantsdrew Plaintiffs in under false
 16 pretenses. And, the documents they presented for Plaintiffsto sign are so vague and opaquethat
 17 they do not alert a reasonable reader in Plaintiffs' position to what Defendants actuallyproposedto
 18    do to them: here, to widely disseminatethe videos online and to market them through tactics
 19    including propagation of Plaintiffs' identities within their communities.Plaintiffs did not freely and
20     knowingly consent to this-it was their nightmare scenario-and could not have done so merelyby
21     reading the documents. As in Duick, the documents are unenforceable.
22                                        3. Plainti.ffeare entitled to the same relief under afraud in the
23                                           inducementtheory.
24            While distinct as legal concepts, there is no clear line in this case be~een fraud in the
25     inducement and fraud in the execution of a contract. Rather, Defendantsengaged in a single,
26     unbroken scheme and course of conduct in which they drew Plaintiffs in by fraudulent
27     misrepresentations and maintained that fraud through the executionof the documents-including
28     by mispresenting the nature and content of the agreement itself.Any difference between these legal
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  1   doctrines is, therefore, inconsequential as a practical matter. Viewed through either lens, Plaintiffs'

  2   purported consent is legally ineffective, and the putative contracts cannot therefore be enforced.

  3            To the extent that any Plaintiffs' contract is properly deemed voidable rather than void, the

  4   Court finds that filing this lawsuit seeking to invalidate the contracts for all purposes met the notice

  5   and restoration requirement for rescission. (Civ. Code§ 1691 ["When notice ofrescission has not

  6   otherwise been given or an offer to restere the benefits received under the contract has not

  7   otherwise been made, the service of a pleading in an action or proceeding that seeks relief based on

  8   rescission.shall be deemed to be suchnotice or offer or botli."].) 89 Furthennore, the Court exercises

  9   its equitable power to set aside and decline to enforce the contracts based on its finding that

 10   Plaintiffs' assent was procured by fraud. (E.g., Persson v. SmartInventions,Inc. (2005) 125 Cal.

 I1   App. 4th 1141, 1154 ["[T]here is no support for, and we reject out of hand, the notion that a court

 12   has no equitable power to set aside a provision ofa contract procured by fraud."].) Failing to do ,so

 13   would improperly reward the Defendants for their conduct. 90

 14

 15

 16           89
                  Civil Code § 1693 contemplates the scenario presented here and provides the following
      instructions:
 17                                 When relief based upon rescission is claimed in an action or
                           proceeding, such relief shall not be denied because of delay in giving notice
 18                        ofrescission unless such delay has been substantially prejudicial to the other
 19                        party.
                                    A party who has received benefits by reason of a contract that is
 20                        subject to rescission and who in an action or proceeding seeks relief based
                           upon rescission shall not be denied relief because of a delay in restoring or in
21                         tendering restoration of such benefits before judgment unless such delay has
                           been substantially prejudicial to the other party; but the court may make a
22                         tender of restoration a condition of its judgment.
               90 "If ... a party seeks relief based upon rescission and the court determines that the contract has not

23    been rescinded, the court may grant any party to the action any other relief to which he may be entitled under
      the circumstances .... " (Civ. Code§ 1692.) "Rescission and restoration are required only under equitable
24    principles and to prevent the taking of unfair advantage. Restoration is not required unless the ends of justice
      require it." (Persson,125 Cal. App. 4th at 1155 [citation omitted].) Here, the ends of justice make strict
25    adherence to such concepts inequitable and unnecessary. Plaintiffs do not receive any unfair advantage from
      retaining the relatively-modest sums they received to shoot the videos, and it would be unjust to require them
26    to tender back these monies. This would be in effect accepting and enforcing Defendants' version of the
      agreements-Le., that they have only paid the models in order to publish their videos online-procured by
27
      deceit. The Court cannot accept that Plaintiffs' services-provided under the agreed terms as they were led
28    to understand them-are worth nothing, and will not take a detour to determine their "true" value. They are
      certainly worth no less (and possibly considerably more) than what the parties agreed to.
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      I                             ii. The Documents Signed by Plaintiffs are Une,iforceable Due to
  2                                     Procedural and Substantive Unconscionability

  3              "If the court as a matter of law finds the contract or any clause of the contractto have been
  4       unconscionable at the time it was made the court may refuseto enforce the contract .... " (Civ.
  5       Code§ 1670.S(a).) "Courts have long had the authority to set aside unconscionableor illegal
  6       contractualprovisions, fot.exarnple,while enforcing the remainderofa contract.'' '(Persson,125
  7       Cal. App. 4th 1141, 1153.) Section 1670.5 "codified the principlethat a court can refuse to enforce
  8       an unconscionableprovision in a contract." (Id. at 1153-54.)
  9              "Unconscionabilityhas generally been recognized to include an absence of meaningful
 10       choice on the part of one of the parties together with contractterms which are unreasonably
 II       favorableto the other party." (Grand Prospect Partners v. Ross Dressfor Less, Inc. (2015) 232 Cal.
 12       App. 4th 1332, 1346 [quoting Williamsv. Walker-ThomasFurnitureCo. (D.C.Cir.)965) 121 U.S.
 13 App.D.C. 315].) Establishing unconscionabilityrequires showingboth a procedural and a
 14       substantive element, though these two elements are evaluatedon a sliding scale and thereforeneed
 15 not be present to the same degree. (Id. at 1346-47 [citingPinnacleMuseum TowerAssn. v.
 16 Pinnacle Market Development (US), LLC (2012) 55 Cal.4th223, 246].)
 17                                         I. The DocumentsAre ProcedurallyUnconscionable
 18              Procedural unconscionabilitycan be established by showingeither oppressionor surprise.
 19       (Id. at 1347.) Oppression generally involves a contract of adhesion-"a standardizedcontract,
20        which, imposed and drafted by the party of superior bargainingstrength, relegates to the
21        subscribingparty only the opportunity to adhere to the contractor reject it." (The McCaffeeyGrp.,
22 Inc. v. Superior Court (2014) 224 Cal. App. 4th 1330, 1349,169 Cal. Rptr. 3d 766, 781 [quoting
23                    v.
          Armendariz Foundation Health Psychcare Services, Inc. (2000)24 Cal.4th 83, 113-114, 99
24        Cal.Rptr.2d 745, 6 P.3d 669].) Oppression can be established"by the totality of the circumstances
                                             '
25        surroundingthe negotiation and formation of the contract. ... " (Grand Prospect Partners, L.P.,

26        supra, 232 Cal. App. 4th at p. 1348.)

27                       [Relevant circumstances]include, but are not limited to (I) the
28                       amount of time the party is given to consider the proposed contract;

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                        (2) the amount and type of pressure exertedon the party to sign the
  1
                        proposed contract; (3) the length of the proposedcontract and the
  2                     length and complexity of the challengedprovision;(4) the education
                        and experience of the party; and (5) whetherthe party's review of the
  3                     proposed contract was aided by an attorney.
  4

  5   (Ibid. [noting that pressure can come from "a strongerparty using high-pressuretactics, coercion or

  6   threats short of duress [, orJ surrounding circumstancessuchas marl<,:tconditionsand factors
                 '":•


  7   affecting timing."].)

  8          Surprise, on the other hand "typically involves a provision'hidden' within the prolixity of a

  9   printed form contract drafted by the party having superiorbargainingstrength." (The McCaffrey

 10   Grp., 224 Cal. App. 4th at p. 1349 [citation omitted].) If the challengedterm is not hidden, surprise

 11   can exist if the term "is otherwise beyond the reasonable expectationof the weakerparty." (Morris

 12   v. Redwood Empire Bancorp (2005) 128 Cal. App. 4th 1305,1321.)

 13          The evidence at trial revealed that Defendants' contractingpractices are tainted by

 14 procedural unconscionability. Defendants' documents, standardizedforms drafted by Defendants
 15   and/or their attorneys, were presented to Plaintiffs to sign immediatelywithout any opportunityfor

 16 negotiation. To say that Defendants occupied a position of superiorbargaining strength understates
 17 the reality of the circumstancesat the moment that Plaintiffswere made to sign the documents:a
 18 model is alone in a hotel room being cajoled and rushed to sign by two strange men who not only
 19 control the reservations for her flight home but also could easilyoverpowerher physically.That the
 20   agreement is not subject to negotiation is evidenced by those instances in which Defendants

 21   unilaterally decided to pay a Plaintiff less than what was initiallypromised to her in order to obtain

22 her agreement to travel to San Diego. While some Plaintiffs were too frightened or intimidatedto
23    speak out, those who did question this decision met with Defendants' absolute refusal to pay what

24    was promised. In examining Defendants' documents and the trial record, the Court finds all the

25. markers of an unconscionablecontract of adhesion.
26           Defendants' use of surprise independentlysupports the finding of procedural

27    unconscionability. Plaintiffs are young and have no experiencein the adult entertainmentindustry.
 28   (Cf. A & M Produce Co. v. FMC Corp. (1982) 135 Cal. App. 3d 473,489 [unfair surpriseand

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  1   procedural unconscionability more difficult for experienced businessmen to establish].) The

  2   Model/Talent Release uses a small font and dense legalese to obscure the important terms therein.

  3   Rather than clearly stating that the video will be published online, on Defendants' website and

  4   dozens of others, the Document contains a few vague, general clauses that purport to give

  5   Defendants unfettered rights over the video. After receiving numerous assurances and promises

  6 ·..that the video will not be published online and will ha.,;,ilonly a limited distribution on DVD in

  7   foreign countries, these oblique references are insufficient to overcome Plaintiffs' existing

  8   understanding-an     understanding borne of Defendants' own express representations. In this

  9   context, the Court finds that the documents are ambiguous and fail to meaningfully disclose

 IO   Defendants' ability and intention to publish the pornographic videos on their websites and popular

 II   free websites. This is particularly so because Defendants deliberately recruit and target women

 12   who are young and inexperienced, have not completed. a college (and, in some cases, high school)

 13   education, and are unacquainted with the pornography industry.

 14           Defendants point to a sentence in the IC Agreement to show that Plaintiffs should have

 15   realized that Defendants intended to publish the video on the internet. However, this sentence is

 16   buried in Paragraph 7 on the bottom of the second page in a section called "Model Representations

 17   and Warranties." (Cf. Morris, 128 Cal. App. 4th at p. 1321 [when the challenged contract provision

 18   is preceded by a clear heading in large type drawing a reader's attention and requiring the party's

 I9   initials may refute a claim of surprise].) In light of Defendants' many specific representations about

20    their distribution mechanisms, business model, and overall intentions, no reasonable person in

21    Plaintiffs' shoes would have located and discerned this term, let alone understood it to encompass

22    what Defendants actually intended to do with the video: put it on the internet and allow it to be

23    directed to models' friends and family. (See A & M Produce Co., 135 Cal. App. 3d at p. 490

24    [noting that "one suspects that the length, complexity and obtuseness of most form contracts may

25    be due at least in part to the seller's preference that the buyer will be dissuaded from reading that to

26    which he is supposedly agreeing."].) Here, Defendants bolstered the obscurant language of the

27    document by encouraging Plaintiffs to rely on specific, clear oral representations.

28            Accordingly, the Court finds that Defendants' documents are procedurally unconscionable.
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           1                                     2. The Documents are Substantively Unconscionable

           2          "[T]he substantive element [of unconscionability]is concernedwith the fairnessof the
           3   agreement's actual terms and assesseswhether they are overlyharsh or one-sided." (Grand
           4   Prospect Partners, 232 Cal. App. 4th at p. 1347;24 Hour Fitness, Inc. v. Superior Court (1998)66
           5   Cal. App. 4th 1199, 1213 [Substantiveunconscionability"traditionallyinvolves contractterms that
           6   are so one-sided as to 'shock the conscience,' or that imposeharsh or oppressiveterms."].)
. ~}~·

           7          fa determiningwhether a provisionis substantivelyunconscionable;courts are permitted

           8   and even encouragedto look outside the four-cornersof the contract. For example,in deciding
           9   whether a price term is unconscionable,"courts look to the basis and justificationfor the price"-
          10 factors almost always outside the written agreement,including"the marketprice"; "the cost of the
          11 goods to the seller"; "the inconvenienceimposed on the seller";and "the true value of the product
          12   or service." (Perdue v. Crocker Nat'/ Bqnk(I985) 38 Cal. 3d 913, 926-27, 702 P.2d 503, 512.) ·
          13          Due to the high level of proceduralunconscionability,even a low level of substantive
          14 unconscionabilityis sufficientto render the putative contractsunenforceable. Here, the documents
          15 Plaintiffs signed are written entirely for the benefit of Defendantsand, under the relevant
          16 circumstances,are overly harsh and oppressive. Not a singleprovisionin the documentsinuresto
          17 Plaintiffs' benefit or places any limitation on Defendants.Instead,the documents-under the view
          18 advancedby Defendants-purport to permit Defendantsto do anythingthey wish with the videos
          19 and to "exploit'''models' actual names. Each Plaintiff testifiedthat privacy was her primaryconcern
          20   and that if she had understoodthe true meaning of the documents(and Defendants' true intentions),
          21   she never would have signed the documentsor agreed to do the video.
          22          A number of terms are particularlyunconscionable.For example,the agreementspurportto
          23   absolveDefendants of liability for how they use the videos in the future-even though Plaintiffsare
          24   unaware of Defendants' fraud and deceit and are unable to anticipateDefendants' undisclosed
          25   intentionsto use the videos in a manner directly counter to their expressrepresentations.Such

          26   exculpatoryclauses immunizingstronger parties for prospectiveunlawfulconduct-particularly of
          27   an intentionalnature-are illegal and void as contrary to publicpolicy (See, e.g., Cal. Civ. Code§

          28   1668 [prohibitingexculpatorycontractsthat exempt anyone from responsibilityfor fraud, willful
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  I   acts, or violations oflaw]; Three CrownApartments v. PNCBank (N.D. Cal. Oct. 26, 2012) No.

  2   C-12-03579, 2012 WL 5338054, at *6 ["[i]t is now settled ... that. .. 'a party [cannot] contract

  3   away liability for his fraudulent or intentional acts or for his negligent violations of statutory law ...

  4   Thus, the release ... does not prohibit Plaintiff's claims based on subsequent conduct that either

  5   intentionally or unintentionally violates state law."] [citations omitted].) 91

  6           The Court's evalgaJ•JJnof the documents' substance must include an acknowledgment of the

  7   highly sensitive subject matter at issue (pornographic videos depicting Plaintiffs engaging in sexual

  8   activity) and the privacy interests at stake for each of the Plaintiffs. The Court may also consider

  9   the relevant circumstances contributing to the fairness of the documents-that       Defendants held

 IO themselves out to be a company that produces pornographic videos to sell on DVDs in foreign
 11   countries and promised never to publish the videos online. In light of these facts, the Court finds

 12   that the one-sided, broad, blanket releases set forth in the documents are overly harsh and

 13   oppressive.

 14           Based on the strong evidence of procedural unconscionability and the inherent unfairness of

 15   the documents, the Court finds as a matter of law that the documents are unconscionable and

 16   declines to enforce them as a result.

 17                              iii. The Documenis Signed by Some Under-Age Plaintifft are Voidfor

 18                                   Illegality

 19          Defendants cannot enforce contracts against Jane Does 4, 5, 12, 14, 16, and 17, because

 20   each of these women was under the legal drinking age when Defendants furnished alcohol to her, in

 21   violation of California law, shortly prior to presenting her with legal documents to sign. (Bus. &

 22   Prof. Code§ 25658(a) [" ... every person who sells,.furnishes, gives, or causes to be sold,

 23   furnished, or given away any alcoholic beverage to any person under 21 years of age is guilty of a

 24 · misdemeanor."].) This Court cannot enforce a putative contract under which the weaker party's

 25   "consent" was procured through illegal means.

 26           91 An exculpatory clause releasing a party from liability for negligent (as opposed to willful or
 27   statutory) misconduct must be conspicuous, clear, unambiguous,and explicit. The subscribing party must
      express the specific intent of exculpatingthe potentialtortfeasorforthe particularconductat issue.(E.g.,Leon
 28   v. Family Fitness Center (No. 107), inc. (1998) 61 Cal. App.4th 1227)Defendants' documentsfail this test.

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  1                                iv. The Documents (and VerbalScript) are too Vagueand Indefiniteto
  2                                    ConstituteEnforceableContracts
  3             Even aside from fraud, unconscionability,and illegality,the putativeagreementssufferfrom
  4   intractable formation issues. They are too ill-formedto enablethe requiredmeetingof the minds
  5   needed to form a contract. Plaintiffs were placed on insufficientnotice of what they were
 6    purporting to_agree to.                                                  -,

  7                                        I.· The WittenAgreementsare Uncertain,Vague,and Indefinite
  8             Terms of a contract must be sufficientlydefinite in all particularsessentialto its
 9    enforcement. (Magna Development Co. v. Reed (1964) 228 Cal.App.2d230; Maganallezv. Hilltop
 10 Lending Corp. (N.D. Cal. 2007) 505 F. Supp.2d 594, 601-603.)As the FourthDistrict Court of
 11 Appeal, Presiding Justice Judith McConnell,has opined:
 12
                       In order for acceptanceof a proposal to result in the formationof a
 13                    contract, the proposal "must be sufficientlydefinite,or must call for
                       such definite terms in the acceptance,that the performanceptomised
 14                    is reasonably certain." [Citation.] A proposal"'cannot be accepted
                       so as to form a contract unless the terms of the contract are
 15                    reasonably certain. [if] ... The terms of a contractare reasonably
 16                    certain if they provide a basis for determiningthe existenceof a
                       breach and for giving an appropriateremedy."' [Citations.] If, by
 17                    contrast, a supposed "contract" does not providea basis for
                       determining what obligationsthe parties have agreedto, and hence
 18                    does not make possible a determinationof whetherthose agreed
                       obligationshave been breached,there is no contract.
 19
20    (Bowers v. Raymond J. Lucia Companies,Inc., (2012) 206 Cal.App.4th724, 734 [citations
21    omitted].) "Where a contract is so uncertain and indefinitethat the intention of the parties in
22 material particulars cannot be ascertained,the contractis void and unenforceable." (Amaralv.
23    Cintas Corp. No. 2 (2008) 163 Cal.App.4th 1157, 1192.) "Whethera contractis certain enoughto
24    be enforced is a question oflaw for the court." (Patel v. Liebermensch(2008) 45 Cal.4th344, 348
25    fn. 1.)
26              Here, in the I -page "Model Talent Release" document,the Court finds the followingterms
27    indefinite and not reasonablycertain: "Producer:ClockworkProductions,Inc [sic]on behalf of
28    BLL Media Inc.," "Appearance,""Program," and "Employer."(See, e.g., Jane Doe No. I
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   1   Agreement, iMf1-8, Trial Exhib. 36.)92 The names and capacities of contracting parties are material,

  2    especially in a case like the present, where Defendants own/operate a plethora of entities, foreign

  3    and domestic, which has changed over the years. The phrase "on behalf of'' is vague and the

  4    Defendants did not clarify this at trial. In fact, Defendant Wolfe testified he does not understand it.

  5             Further, there is no basis for determining either party's contractual performance: the

  6    PJaintiffs' required contractual performance (including iD.the"Appearance" and/or "Program") is

  7    undefined, as is the other party's performance---most notably, the material term of price paid to the

  8    model-is missing entirely from the agreement. This is consistent with the Court's findings that

  9    Defendants did not intend to honor their payment promises but arbitrarily made up what they

 10    wanted to pay on the spot.

 11            In the 8-page document, "Model/Talent Release and Independent Contractor Agreement",

 12    the Court finds the following terms-indefinite and not reasonably certain: "Adult Content," and

 13    "other online Website." (See, e.g., Jane Doe No. 1 Agreement, at Recitals, 111-10, Trial Exhib.

 14    25.)

 15            Moreover, as with the one-page version, there is no basis for determining either party's

 16    contractual performance. The Plaintiffs' required contractual performance (the "Adult Content") is

 17    undefined. Again, Defendants' performance---most notably, the material term of price paid to the

 18    model-is missing entirely from the agreement. (Id pg. 2, 8.)

 19            The Court has read the agreements in full and finds them all uncertain, vague, and

 20    indefinite. The agreements provide no basis for determining what obligations the parties have

 21    agreed to; accordingly, the Court finds the agreements are not enforceable as a matter of law.

 22                                           2. The Verbal Scripts are Uncertain, Vague, and Indefinite

 23            To the extent Defendants allege that the "verbal scripts" are independent, enforceable

· 24   contracts, they also suffer from critical flaws. These scripts do not reflect bilateral agreements-with

 25    promises, consideration, and obligations on each side. Rather, Defendants unilaterally required

 26

 27
 28            92       For brevity, the Court refers to Jane Doe No. l's documentsin this subsection,and does not address
       each and every Plaintiffs alleged agreementwith Defendants.
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  1   models to recite the scripts verbatim before filming began.Defendants did not read or ascribe to a
  2   counter-script or representation in which they agreed to anything.
  3           Examining the scripts on their face, they are plagued by similar problems as the written
  4   documents. In various material particulars, the intention of the parties cannot be ascertained, such
  5   that the Court can determine the parties' obligations and if and when they have been breached.
  6   Accordingly, the Court finds that the verbaL.scriptsdo not constituteenforceablecontracts. (Bower.r;
  7   206 Cal.App.4th at 734; Patel, 45 Cal.4th at 348 n. 1.)
  8          For these reasons, in addition to those set forth in theprior sections,the Court finds that the
  9   verbal release is not enforceable as.a matter of law. The Courthas already found, above,that
 10 recitation of the script is not a meaningful manifestation ofa model's assent to have her video
 11 posted online and disseminated throughout her community.
 12          C. Defendants are Liable for Misappropriation of Likeness

 13          The civil causes of action for misappropriationof likenessare derived from the "right to
 14 publicity," which can be defined as ''the legally protected interesta person has to controlthe
 15   commercial exploitation of his name, photograph or likeness";this interest finds its roots in an
 16   individual's right to privacy as well as his or her property rights. (Eastwoodv. Superior Court
 17   (1983) 149 Cal. App. 3d 409,419; see also Lugosi v. UniversalPictures (1979) 25 Cal. 3d 813,
 18   833-34.) In California, both common law and statute providea remedy for the unauthorized
 19   commercial exploitation of a person's identity.
 20          The elements of a common law cause of action for misappropriationare: "(!) the
 21   defendant's use of the plaintiff's identity; (2) the appropriationof plaintiffs name or likenessto
 22 defendant's advantage, commercially or otherwise; (3) lack of consent;and (4) resulting injury."
 23   (Eastwood, 149 Cal. App. 3d at 417 [citing Prosser, Law of Torts (4th ed. 1971) § 117,pp. 804--
 24   807; Witkin, Cal. Procedure (2d ed. 1971)Pleading,§ 606, p. 2244].)

 25          A statutory claim entails a similar showing. Civil Code § 3344(a) provides in relevantpart:

 26                  Any person who knowingly uses another's name, voice, signature,
 27                  photograph, or likeness, in any manner, on or in products,
                     merchandise, or goods, or for purposes of advertising.orselling, or
 28                  soliciting purchases of, products, merchandise,goods or services,
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                       without such person's prior consent, [... J shall be liable for any
   1
                       damages sustained by the person or persons injured as a result
  2                    thereof.

  3    See also Newcombe v. Adolf Coors Co. (9th Cir. 1998) 157F.3d 686, 692 [distillingthe statutory
  4    cause of action down to three elements: "(I) a 'knowing' use; (2) for purposes of advertising, and
  5    (3) a direct connection between the use and the commercialpurpose."J.)93
  6                                i. '".:Knowing
                                               Use of Likenessesin Productsorfor Advertliing
 .7            Section 3344 imposes liability for knowing·use of another's likeness, in any manner, either
  8    in products or for advertising purposes. The Court notes at the outset that three separate manners of
  9    "use" are present in this case. First, Plaintiffs' likenesses appearedin Defendants' products (i.e.,
 10 Plaintiffs' full-length pornographic videos), which were soldto subscribersfor a monthly fee.
 11            Second, Defendants posted photographs and sample video clips of Plaintiffs on the publicly-
 12    available homepage of Def~ndants' subscription websites and on the GirlsDoPornc];iannelon
 13    numerous free sites. The purpose and effect of this use was to advertise for Defendants' paid
 14    websites and entice viewers to purchase a subscription.
 15           Third, Defendants participated in an affiliate marketingprogram knowing that the affiliates
 16    websites used Plaintiffs' videos and images to drive internet traffic to Defendants' website in the
 17    same way as Defendants' own posts on tube sites did. Defendantspaid commissionsto the
 18    affiliates for·their marketing services, creating an incentive foraffiliates to continue posting
 19    Plaintiffs' images.
 20           The non-Domi Defendants do not dispute that they knowinglyand intentionally sold access
 21    to Plaintiffs' videos in the members-only section of their websitesor that they received subscription
 22 payments as a result. The non-Domi Defendants also do not dispute that Pratt posted Plaintiffs'
 23    images on the public-facing homepage to entice viewers to purchase a subscriptionto see the full-
 24    length videos. Defendants also admit that they posted Plaintiffs' images and video clips on the
 25
 26           93
                It is worthnotingthat "the statuteno longerrequiresthatthe unauthorized
                                                                                      use occurin a product
       advertisementor endorsementor othersuchsolicitationof purchase.Casesdecidedunderthe pre--1984
 27
       versionof section3344,such as Eastwood[], supra [], mustbe readwiththis changein mind." (KNB
 28    Enterprises,78 Cal. App.4th at p. 367 n. 5.)
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  I   GirlsDoPomchannels on nwnerous free "tube" sites to advertisefor and drive traffic to their
  2   websites. These uses clearly satisfy the requirementsof the commonlaw and the statute.
  3          In addition, Defendants' willing participationin an affiliatemarketingprogramalso
 4    constitutes a knowing use for the purposes of advertising.This finding appliesto Domi as well as
  5   the other Defendants. The Court disagreeswith Defendants'argwnentthat they cannotbe held
  6   liable for the c<:_.:gtent
                             on affiliate websites. The evidencemeetsthe applicableliabilitystandard.
  7          First, Defendants affirmativelychose to participatein CCBill's affiliateprogram.Second,
  8   affiliate advertising is not free. Defendants pay a large commissionfor affiliatesites to advertise
  9   their websites,typically using their content. Third, Defendantscan control or at least influence
 IO their affiliates.They can easily remove any affiliate from the CCBill programfor any reason at any
 11   time, eliminatingthe incentive for that affiliateto continueadvertisingfor Defendant. Defendants
 12   can also initiate DMCA takedown requests against any affiliatefor tht: use of their contentbut
 13   choose not to. By electing to take no action, Defendantsratifiedthe affiliates' use of Plaintiffs'
 14 likenesses and profited from doing so. It is well-settledthat one can be liable for harm caused by
 15 the tortious act of another if he:
 16
                     (a) orders or induces the conduct,ifhe knows or shouldknow of
 17                  circwnstancesthat would make the conducttortious if it were his
                     own, or (b) conducts an activity with the aid of the other and is
 18                  negligent in employing him, or (c) permits the other to act ... with
                     his instrumentalities,knowing or having reasonto know that the other
 19                  is acting or will act tortiously, or (d) controls,or has a duty to use
 20                  care to control,the conduct of the other, whois likely to do harm if
                     not controlled,and fails to exercisecare in the control ...
 21

 22   (Rest. 2d Torts§ 877 (1979).)
 23          The Court is not persuaded by Defendantsargwnentthat they have a lot of affiliates,and
 24   that it would be burdensometo monitor the content of each one. One cannot endeavor,
 25   successfully,to generate a far-reachingadvertisingcampaign-which involvethe use of Plaintiffs'
 26   likenesses in highly-sensitivepornographiccontent-and then bemoan the consequencesof the
 27   enterprise. The Court finds a recent SecondCircuit opinionpersuasiveon this point. That court
 28   held a defendantcompany liable for the wrongfulacts of its affiliatesbecausethe defendant
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  I   company knew about those acts but, instead of taking action to stop them, sat back and reaped the

  2   benefits. (Fed. Trade Comm'n v. LeadClickMedia, LLC (2d Cir. 2016) 838 FJd 158, 168 ["[W]e

  3   hold that under the FTC Act, a defendant may be held liable for engaging in deceptive practices or.

  4   acts if, with knowledge of the deception, it either directly participates in a deceptive scheme or has

  5   the authority to control the deceptive content at issue."]. )94

  6           In determining whether the "use" element is satisfie,dby participation in the affiliate
  7   program, the Court examines several factors: who created the content at issue, who posted the

  8   content at issue, whether Plaintiffs' images were used in the advertisement, and what was being

  9   promoted in the advertisement. (See Cross v. Facebook, Inc.(2017) 14 Cal. App. 5th 190, 209-10,

 IO review denied.)
 11           Here, the facts differ dramatically from those in Cross. First, Defendants themselves

 12   created the content containing Plaintiffs' images and knew its use on the internet was unauthorized.

 13   Second, in this case, the affiliate site is, itself, an advertisement for Defendants' websites; that is its

 14   purpose. Third, the advertisements at issue actually contain Plaintiffs' images and links to

 15   Defendants' websites, driving traffic and thus, subscription sales. Thus, the fact that a third party

 16   directly posted the content is not dispositive.

 17          In Cross, an internet provider such as Facebook did nothing more than operate a platform

 18   (i.e., provide a space for others to post content) and run advertisements next to the content; it had no

 19   knowledge that the use of the images within the third-party content was unauthorized. In the present

 20   case, on the other hand, Defendants-including       Domi-took affirmative measures to use Plaintiffs'

 21   images and videos, knowing that the use was unauthorized. Here, Plaintiffs' images were created

 22   by and under the supervision of Defendant Pratt (50% owner of Domi) and then posted on affiliate

 23   sites for the benefit of one or more of Pratt's companies. Because Pratt's knowledge ofGDP's

 24   deceptive business practices is imputed to Dorni, Dorni's solicitation of affiliates known to use

 25   GDP's content to advertise for MomPOV.com establishes Domi's use of Plaintiffs' likenesses.

 26
             94
 27            See also Falcon Foto v. DomainMgmt. Servs., (C.D. Cal.Nov. 29, 2010) No. CV 10-6469CAS
      JCX, 2010 WL 4916645, at *4 (denying motion to dismiss misappropriationclaim: "As clearlyalleged in
 28   the FAC, Defendant also uses Mr. Sizemore's name, image and personato advertise and entice potential
      customers to become members of Defendant's Domains and affiliatemarketing program.")
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  1                              ii. Lack of Consent
  2           The other elements of these claims are also met. Defendants distributed Plaintiffs videos

  3   and images online despite having first-hand knowledge that such distribution was unauthorized.

  4   The signed documents do not relieve Defendants of liability for misappropriation for the reasons

  5   stated above. (See Restatement (First) of Torts§ 892, comment (d) [consent is a valid defense to

  6   tort actions only when the consent is "unaffeq,ted by fraud"]; Lightbournev. PrintroomInc. (C.D.

  7   Cal. 2015.) 122 F. Supp. 3d 942,946 (signed writing permitting use oflikeness can be undermined

  8   by facts that "would somehow vitiate his express legal consent"].)

  9           Defendants knew that the Plaintiffs did not consent to their video being posted online on any

 IO website because Plaintiffs made it eminently clear that they would only agree to do the shoots if the
 11   videos were not going to be released online. Obviously, Defendants were aware of the lies they

 12   told these women and knew (or should have known) that such lies negated any apparent consent.

 13 Moreover, it is beyond peradventure that Defendants were aware that the twenty-two Plaintiffs in
 14   this action claimed that they did not consent when the women complained to them or, at the latest,

 15   when Plaintiffs filed this suit. But, Defendants kept Plaintiffs' videos on their own websites.

 16                             iii. Commercial Benefit
 17          "[The next] requisite element[] of a common law right to publicity claim is that defendant

 18   appropriated plaintiffs name 'to defendant's advantage, commercially or otherwise.' Similarly,

 19   Civil Code section 3344, subdivision (a).requires that the name be used 'for purposes of advertising

 20   or selling."' (Cross, 14 Cal. App. 5th at p. 210.) The affiliate marketing program clearly satisfies

 21   this element as well.

 22          By signing up for CCBill's Affiliate Program and paying the affiliates to post Plaintiffs'

 23   images .and video clips on third-party sites, Defendants received a conunercial benefit from affiliate

 24   advertising. (Newcombe, 157 F.3d at 693 ["[plaintiffs] likeness was certainly used to Coors' and

 25   Belding's commercial advantage as the drawing which resembled [the plaintiff! was a central figure

 26   in the advertisement and the purpose of the advertisement was to attract attention."].) Based on the

 27   evidence at trial (the testimony of Wolfe, Pratt, Wiederhold, and documents introduced by

 28
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   1   Plaintiffs), the Court finds that Defendants received a substantial commercial benefit from

  2    permitting affiliates to use Plaintiffs' likenesses.

  3                               iv. Damages
  4            "[U]nder section 3344(a), an injured party may recover either the amount of damages

   5   specified in the statute or actual damages, whichever is greater, as well as profits from the

  6    unauthorized use." (Orthopedi~)Jys., Jnc. v. Schlein (201 I) 202 Cal. App. 4th 529, 547;.~35 Cal.·

  .7   Rptr. 3d 200, 213.) "Injury to a plaintiffs right of publicity is not limited to present or future

  8    economic loss, but 'may induce humiliation, embarrassment, and mental distress.'" (Abdul-Jabbar

  9    v. Gen. Motors Corp. (9th Cir. 1996) 85 F.3d 407,416; CACI 1821.)

 IO           Here, Plaintiffs' evidence of damages is strong. The content at issue does not consist of run-

 !I    of-the-mill likenesses but hardcore pornographic videos and still images extracted from those videos.

 12    Plaintiffs have provided extensive testimony and evidence about how their lives have been affected

 13    and destroyed by the unauthorized publication and dissemination of this content via the internet. The

 14    Court finds Plaintiffs' accounts to be consistent, credible, and compelling-warranting        significant

 15    damages.

 16           Plaintiffs are also entitled to recover the profits Defendants' received from the unauthorized

 17    use. The parties stipulated that Plaintiffs' videos generated $1,025,831.50 in profits for Defendants.

 18    None of this revenue was generated by an authorized use of Plaintiffs' videos as Defendants only

 19    earned money from posting the videos on!ine.

 20           "Section 3344 provides for minimum damages of$750, even ifno actual damages are

 21    proven." (KNB Enterprises v. Matthews (2000) 78 Cal. App. 4th 362,367; Civ. Code§ 3344(a).)

 22    The misappropriation statute "can be read to presume that a person whose name, photograph, or

.23    likeness is used by another for commercial purposes without their consent is 'injured as a result

 24    thereof."' (Fraley v. Facebook, Inc. (N.D. Cal. 2011) 830 F. Supp. 2d 785, 806.) At least two

 25    courts have held, "after surveying California court decisions, that 'courts generally presume that the

· 26   fourth element of the applicable test has been established if there is sufficient evidence to prove the

 27    first three elements.'" (Id. at 806-07 [quoting Del Amo v. Baccash (C.D. Cal. Sept. 16, 2008) No.

 28    07-663-PSG, 2008 WL 4414514, at *6].)
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  1          Here, because it is difficult to establish the specific hann Plaintiffs endured as a result of

  2   defendants' use of their likenesses, the Court will presume injury as allowed by Section 3344 and

  3   impose the statutory penalty of $750 per Plaintiff.

 4           D.      Defendants Violated Business & Professions Code § 17200

 5           "Unfair competition" includes any "unlawful, unfair, or fraudulent business act or practice

 6    and [also includ~s,,•:.any] unfair, deceptive, untrue or misleading advertising!' (Bus. & Prof. Code §
  7   17200.)

 8           Whether conduct is a "business practice" within Section 17200 is a question of fact

 9    dependent on the circumstances of each case. The test is probably less exacting than that required

 10 by Evidence Code§ 1105 to prove a business custom or habit. (Marshall v. Brown (1983) 141
 11   Cal.App.3d 408, 416.) A "practice" may be found based on nothing more than "a pattern of

 12   behavior pursued as a business practice." (People v. Casa Blanca Convalescent Homes, Inc. (1984)

 13
                     .
      159 Cal.App.3d 509, 527.) Section 17200 even covers single acts of misconduct. (Klein v. Earth

 14   Elements, Inc. (1997) 59 Cal.App.4th 965, 969.)

 15          "Unlawful, unfair or fraudulent" act or practice is framed in the disjunctive. So,

 16   business conduct that is not "unlawful" or "fraudulent" may nonetheless be prohibited as

 17   "unfair." (Cel-Tech Communications, Inc. v. Los Angeles Cellular Telephone Co. (1999) 20

 18   Cal.4th 163, 180.) .

 19          A business practice is not immune from Section 17200 merely because it has become

20    customary or habitual either for the defendant or the defendant's industry. (Casa Blanca, 159

21    Cal.App.3d at 527.)

22           Section 17200 "was intentionally framed in its broad, sweeping language, precisely to

23    enable judicial tribunals to deal the innumerable new schemes which the fertility of man's invention

24    would contrive." (Cel-Tech, 20 Cal.4th at 180.) Unfair business practices may "run the gamut of

25    human ingenuity and chicanery," and courts construe Section 17000 accordingly. (Id.) The

26    overriding purpose and priority of Section 17200 is the protection of the unwary from being duped

27    by the unscrupulous. (Vasquez v. Superior Court (1971) 4 Cal.3d 800, 808.) Section 17200 and its

28
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  I   remedies are cumulative to the remedies of all other laws. (Wang v. Massey Chevrolet(2002) 97

  2   Cal.App.4th 856.)

  3          As set forth below, the Court finds Plaintiffs have met their burden on their Section 17200

  4   cause of action - as against all Defendants - and the Court orders the relief stated below.

  5                           i.      Defendants Violated Section l 7200's Prohibition on Unlawful

  6                                   Business Practices

  7           The violation of.virtually any law - civil, criminal, federal, state, municipal, statutory,

  8   regulatory or court made - is a violation of the "unlawful" prong of Section 17200. (Saundersv.

  9   Superior Court (1997) 27 Cal.App.4th 832, 838-839.)
 IO          Here, the Court's findings that Defendants are liable to Plaintiffs for fraud (including

 11   intentional misrepresentation, concealment, and false promise), for misappropriation of likeness

 12   (common law and Civ. Code § 3344), and fraudulent transfer support a further finding that

 13   Defendants violated Section 17200's prohibition on unlawful business practices. The Court finds

 14   that all Plaintiffs suffered an injury-in-fact caused by the Defendants' unlawful conduct.

 15                          ii.     Defendants Violated Section 17100's Prohibition on Unfair

 16                                  Business Practices

 17          California courts have applied at least three different tests for unfairness in consumer cases.

 18   (Drum v. San Fernando ValleyBar Assn. (2010) 182 Cal.App.4th 247, 256-257.)
 19          One test, as noted by the Fourth District, is whether the alleged business practice "is

20    immoral, unethical, oppressive, unscrupulous or substantially injurious to consumers and requires

21    the court to weigh the utility of the defendant's conduct against the gravity of the harm to the

22    alleged victim." (See Bardin v. DaimlerchryslerCorp. (2006) 136 Cal.App.4th 1255.)

23           Here, the Court's earlier findings that Defendants are liable to Plaintiffs for fraud (including

24    intentional misrepresentation, concealment, and false promise) and for misappropriation of likeness

25    (common law and Civ. Code§ 3344) support a further finding that Defendants violated Section

26    17200's prohibition on unfair business practices. The Court finds that all Plaintiffs suffered an

 27   injury-in-fact caused by the Defendants' conduct.

 28
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  1                           iii.   Defendants ViolatedSection 17200's Prohibitionon Fraudulent
  2                                  Business Practices
  3           A business practice is "fraudulent" within the meaning of Section 17200 if "members of the

  4   public are likely to be deceived." (Committee on Children'sTelevision v. GeneralFoods Corp.

  5   (1983) 35 Cal.3d 197, 211.)

  6           Under Section 17200, a business practircemay be "fraudulent'' without the plaintiff proving

  7   intent, as in common law fraud, requiring the proof of intent, scierlter, actual reliance, or damage.

  8   Actual deception is not required. All that is required is proof that "members of the public are likely

  9   to be deceived." (Schnall v. Hertz Corp. (2000) 78 Cal.App.4th 1144, 1167.)

 10          A "fraudulent" business practice can include a deceptive manner in which otherwise lawful

 11   contract terms are presented, advertised, or marketed. (See People v. Dollar Rent-A-CarSystems,

 12   Inc. (1989) 211 Cal.App.3d 119 [car rental company engaged in deceptive acts in the manner in
 13   which its sales force described the collision damage waiver to customers]; Podolskyv. First

 14   Healthcare Corp. (1996) 50 Cal.App.4th 632,649 [nursing home engaged in deceptive acts when it
 15   presented "third party guarantee" agreements to families of patients, misleading them into thinking

 16   their signatures were required as a condition to admitting their loved ones to the facility].)

 17          Here, the Court's earlier findings that Defendants are liable to Plaintiffs for fraud (including

 18   intentional misrepresentation, concealment, and false promise) and for misappropriation oflikeness

 19   (common law and Civ. Code § 3344), as well as the Court's finding all Plaintiffs suffered an injury-

 20   in-fact caused by the Defendants' conduct, support a further finding that Defendants violated

21    Section 17200's prohibition on fraudulent business practices.

22                           iv.     All Defendants are Liablefor the Section 17200 Violations
 23           Section 17200 authorizes direct liability on any "person" engaged in prohibited conduct,

24    which includes "natural persons, corporations, firms, partnerships, joint stock companies,

 25   associations and other organizations of persons." (Bus. & Prof. Code §§ 17201, 17203.)

 26          In addition to direct liability, vicarious liability principles apply to violations:

 27
              I.     Corporate officers may be subject to liability for the Section 17200 violations of
28                   their corporations, especially with knowledge and involvement in the subject

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                      scheme. (People v. Sarpas (2014) 225 Cal.App.4th1539, 1562 [officerswho
  1
                      indirectly receive the benefit of their corporation'sviolations can be liable];People
  2                   v. Orange County Charitable Servs. (1999)73 Cal.App.4th1054, 1074-1075[officer
                      liable for his deep involvement in the corporatescheme];People v. DollarRent-A-
  3                   Car Systems, Inc. (1989) 211 Cal.App.3d ll 9 [court upheld individualliability on a
                      majority shareholder/chiefexecutive officerwho approved and controlledthe
  4                   company's deceptive practices].)
  5
              2.      Corporate officers are personally liable for Section 17200 wrongs they commit,
                      authorize, and/or direct on behalf of the corporation. (Wyatt v. UnionMortgage Co.
  6                   (1979) 24 Cal.3d773, 785.)
              3.      Aiders and abettors are subject to Section 17200liability. (Peoplev. Witzerman
  'Z                  (1972) 29 Cal.App.3d 169 fall defendants "cooperatedwith each other" in the
                      advertising and sale of the particular offendingservice]; People v. BestlineProducts,
  8                   Inc. (1976) 61 Cal.App.3d 879,918 [one who"furnishes the means for [the]
 9                    accomplishment [of a fraud] is liable equallywith those who actuallymake the
                      misrepresentation"];American Philatelic Societyv. Claibourne(1935)3 Cal.2d 689,
 10                   696-697 [same].)
              4.      Co-conspirators are liable for Section 17200violations committedpursuantto the
 11                   conspiracy, no matter who actually performsthe wrongful acts. (Peoplev. Bestline
                      Products, Inc. (1976) 61 Cal.App.3d 879, 917-920;People v. Chapman(1962) 207
 12
                      Cal.App.2d 5~7 [conspiracy shown throughstatementsby co-conspirators];Wyatt,
 13                   24 Cal.3d at 784-785 [conspiracy shown circumstantiallyby examiningthe nature of
                      the acts and relationship of the parties].)
 14           5.      Successors are liable for the Section 17200violationsof predecessors. (Cortezv.
                      Purolator Products Air Filtration Co. (2000)23 Cal.4th 163.)
 15
 16           Here, the evidence at trial established that all defendantsparticipated in the fraud (including
 17    intentional misrepresentation, concealment, and false promise)and misappropriationof likeness
 18    (common law and Civ. Code§ 3344) of Plaintiffs - as corporateofficers, and agents. Accordingly,
 19 the Court finds Section 17200 liability as to all defendants.
20                            v.     The Court Orders DefendantsRestore to Plaintiffs all Images and
21                                   Videos, and Purported Rights/CopyrightsThereto and to Remove
22                                   any Such Images and VideosProduced by Themfrom the Internet
23            Section 17203 authorizes the Court to make: "such ordersor judgments ... as may be
24     necessary to prevent the use or employment by any person of any practice which constitutesunfair
25     competition, as defined in this chapter, or as may be necessaryto restore to any person ... any
 26    money or property ... which may have been acquired by meansof such unfair competition.
 27           "[A] court of equity may exercise the full range of its inherent powers in order to
 28    accomplish completejustice between the parties, restoring if necessary the status quo ante as nearly
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  1   as may be achieved." (Jayhill Corp., 9 Cal.3d at 286 [trial court has inherent power to order
  2   Defendants make restitution to those defrauded].) Restitution does not require "individualized

  3 · proof of deception, reliance, and injury if necessary to prevent the use or employment of an unfair

  4   practice." (West v. Superior Court (1992) 2 Cal.4th 1254.) Restitution may consist of "money or

  5   property that defendants took directly from plaintiff." (KoreaSupply Co. v. LockheedMartin Corp.
  6   (2003) 29 Cal.4th 1134, 1146-1147.)

  7           Here, based on the above findings, the Court orders restitution, irifra.
  8                           vi.     The CourtAwards Dec/armoryRelief in the Form of Voidingthe
  9                                   PurportedModel ReleaseAgreements
 10           The Court may award declaratory relief in a Section 17200 action. (AICCO,Inc. v.

 11   Insurance Co. of North America (2001) 90 Cal.App.4th 579, 590.)
 12           Here, based on the above findings, the Court issues declaratory relief, infra.
 13                           vii.    The Court Orders a Permanentand MandatoryInjunctionagainst
 14                                  Defendants
 15           Section 17204 permits injunctions by "any person acting for the interests ofitself ... or the

 16   general public." (Herr v. Nestle U.S.A.,Inc. (2003) 109 CaLApp.4th779, 789.) The Legislature

 17   "intended ... to permit courts to enjoin ongoing wrongful business conduct in whatever context

 18   such activity might occur." (Committee on Children's Television,Inc., 35 Cal.3d at 210.) In

 19   exercising this mandate, courts·can protect the public's rigbt to be protected from fraud and deceit

 20   and may enter injunctive relief on that basis alone. (Peopleex rel. Mosk v. National ResearchCo.

 21   of Calif (1962) 201 Cal.App.2d 765, 771.)
22            Mandatory injunctions are permissible under Section 17200 to make up for past misleading

23    statements and conduct. (Consumers Union of U.S., Inc. v. Alta-DenaCertifiedDairy (1992) 4

 24   Cal.App.4th 963, 972-974.) The mandatory injunction requiring an affirmative disclosure to cure

25    deceptive advertising practices is authorized under Section 17200. (Id. [court of appeal affirmed

26    trial court's order of injunction that required a dairy guilty of false advertising to place a warning on

 27   all of its advertisements and products for the next 10 years].)

28
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     I                 This is because "an injunction against future violations might have some deterrent effect, .

     2     [but] it is only a partial remedy since it does not correct the consequences of past conduct." (Id. at
     3    973.) An "order which commands a party only to go and sin no more simply allows every violator
     4    a free bite at the apple." (Id. [internal cites omitted].)

     5             The Ninth Circuit has similarly ordered mandatory injunctions requiring an insurer to

  6       rewrit~,its insurance policy to conform to law. ( Chabner v. Uni-ledof OmahaLife InsuranceCo.

  7       (9th Cir. 2000) 225 Fed.Jd 1042, 1053.) And, in Federal Trade Commission cas~s, courts have

  8       frequently approved of mandatory or corrective disclosures. (See, e.g., Grolier,Inc. v. FTC (9th
  9       Cir. 1983) 699 Fed.2d 983, 987.)

 10                Here, based on the above findings (including the testimony of Defendant Wolfe and Jane
 11       Doe A, which established Defendants were continuing this conduct even through the time of trial

 12       and that Defendants' scheme continued to target other members of the public both in.California and
 13      nationwide), the Court orders an injunction, infra.

 14               E. Defendants' are Liable for Fraudulent Transfer

 15               The Court finds that Defendants' transfers of video rights, funds, and other assets to Oh

 16      Well Media, Ltd. and Sidle Media, Ltd. ("the Vanuatu entities") were fraudulent and are therefore

 17      voidable under the Uniform Voidable Transactions Act (UVTA) (Civ. Code, § 3439, et seq.)

 18      Notably, these assets are the fruits of Defendants' fraudulent activity which is the subject of this
 19      action, including their tortious conduct towards Plaintiffs themselves.

20                The purpose of the UVTA "undoubtedly is to prevent debtors from placing property which
21       legitimately should be available for the satisfaction of demands of creditors beyond [creditors']

22       reach." (Tatung Co., Ltd. v. Shu Tze Hsu (C.D. Cal. 2016) 217 F. Supp. 3d 1138, 1186, citing

23       Borgfeldt v. Curry (1914) 25 Cal. App. 624.) Here, the Court voids Defendants' transfer of assets to
24       the Vanuatu entities to prevent them from placing anything of value beyond Plaintiffs'reach.

25                A transfer is voidable as to a creditor, whether the creditor's claim arose before or after the
26       transfer was made, 95 if the debtor made the transfer as follows:
27
                  95
                    Plaintiffs are creditors within the meaning Civil Code section3439.0l(c) even though their claimshavenot
28       yet been reduced to judgment. A "claim" is merely "a right to payment,whetheror not reducedto judgment, [... ] .
         contingent,[ ... ] matured, [... ]or disputed[.]"(Civ. Code § 3439.01, subd.(b).) "Certainly,for purposesof the Uniform
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  1
                      (I) With actual intent to hinder, delay, or defraud any creditor of the
  2                  debtor.
                     (2) Without receiving a reasonably equivalent value in exchange for
  3                  the transfer or obligation, and the debtor either:
                              (A) Was engaged or was about to engage in a business or a
  4                           transaction for which the remaining assets of the debtor were
  5                           unreasonably small in relation to the business or transaction.
                              (B) Intended to incur, or believed or reasonably should have
  6                           believed that the debtor wq_uldincur,debts beyond the debtor's
                              ability to pay as they became due.
  7   (Civ. Code, § 3439.04(a).) In determining actual intent, the Court niay consider:
                     (I) Whether the transfer or obligation was to an insider.
  8
                     (2) Whether the debtor retained possession or control of the property
  9                  transferred after the transfer.                            ·
                     (3) Whether the transfer or obligation was disclosedor concealed.
 10                  (4) Whether before the transfer was made or obligation was incurred,
                     the debtor had been sued or threatened with suit.
 11                  (5) Whether the transfer was of substantiallyall the debtor's assets.
                     (6) Whether the debtor absconded.
 12
                     (7) Whether the debtor remoyed or concealedassets.
 13                  (8) Whether the value of the considerationreceived by the debtor was
                     reasonably equivalent to the value of the asset transferred or the
 14                  amount of the obligation incurred.
                     (9) Whether the debtor was insolvent or becameinsolvent shortly after
 15                  the transfer was made or the obligation was incurred.
 16                  (10) Whether the transfer occurred shortly before or shortly after a
                     substantial debt was incurred.
 17                  (11) Whether the debtor transferred the essentialassets of the business
                     to a lienor that transferred the assets to an insider of the debtor.
 18
 19
      (Civ. Code,§ 3439.04, subd. (b).)
 20
               Here, Plaintiffs have proven that Defendants engaged in multiple transfers that meet these
 21
      criteria: the transfer of rights to the pornographic videos, the domain names, and revenue from
 22
      Bubblegum Films to Oh Well Media and Sidle Media (Exs. 3282 and 3283) and from BLL Media,
 23
      Inc. to Oh Well Media and Sidle Media. (Ex. 3320.)96
 24
 25

 26   FraudulentConveyanceAct, a tort claimantbeforejudgment is renderedis a 'creditor' within the meaningof Civil
      Code section 3439.01." (Oiye v. Fox (2012) 211 Cal.App.4th1036, 1057-58, citing Estate of Blanco(1978) 86
 27   Cal.App.3d826, 832.)"lt is well settled in this state that the relationshipof debtor and creditorarises in tort casesthe
      momentthe cause of action accrues."(Hansenv..Cramer(1952) 39 CaL2d321, 323.)
 28            96 Defendantsused model releasesnaming the producer and photographeras "ClockworkProductionson

      behalf of BubblegumFilms" and others that stated "ClockworkProductionson behalf ofBLL Media."
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                                                                                                       EXH. 1 - 172
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  1                        i. ·Defendants TransferredAssets to Vanuatuwith the Intent to Hinder,
  2                           Delay, or Defraud the Plaintiffs in this Action and WithoutReceiving
  3                           ReasonablyEquivalent Value
  4           Evidence of Defendants' intent to hinder, delay, or defraud the Plaintiff-creditors by

  5   transferring their assets to Vanuatu entities is persuasive.

  6           Regarding ownership ofth~,Vanuatu entities, the evidence indicates that, as discussd

  7. above, they are owned either by Pratt and Wolfe or by insiders and agents acting on Defendants'

  8   behalf and under their control: that Pratt himself owns or controls Oh Well Media and that Pratt and

  9   Wolfe co-own and control Sidle. Consequently, the transfers at issue are the functional equivalent

 10   of taking the assets out of one pocket and putting them in the other because the transfers do not

 11   divest Defendants of possession of the assets.

 12           While the transfers themselves were not concealed, many details and informati?n

 13   surrounding them are not in evidence. There is no explanation why these transactions occurred,

 14   who Charles Pane is and why he is signing as a director, or what Bubblegum Films and BLL Media

 15   received in return. One agreement was backdated. Pane did not appear. The purported licensing

 16   agreement never materialized. Defendants' position that the transfers were part of an effort to "fix

 17   mistakes in the corporate structure" and that Oh Well Media and Sidle Media (which did not exist

 18   prior to September 2015) were "meant to have the rights all along" is not convincing. What is

 19   persuasive to the Court is that these are not legitimate sales or transfers to true third parties but a

 20   way of moving and hiding assets to avoid creditors. There is a lack of information and documentary

 21   evidence of the transfers in this case.

 22           The Court finds these transfers were made while Defendants were under the threat of being

 23   sued for their fraudulent practices. The transfers occurred after Defendants had operated their

 24   scheme for eight years and received dozens of complaints from models claiming to be defrauded.

 25   Defendants were under the constant threat that one or more of these models would take legal action.

 26   As Defendants themselves maintained at trial, they saw the prospect of lawsuits coming. The Court

 27   finds that transferring their assets off-shore was one of the protective measures they took to ensure

 28   that any model who sued would have nothing to recover.
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  I            The record indicates that the assets conveyed in these transfers constituted a significant

  2   portion of Defendants' assets. Pratt admitted in his third deposition that, in January 2019, his

  3   bankruptcy schedules stated-under penalty of perjury-that all of his companies had a net worth

  4   of zero. This was because the value had been transferred to the Vanautu entities, leaving ostensibly

  5   empty shells in the United States. Consequently, the Court finds that the transfers at issue left

  6   Defendants with little. ' to their names .

  7           There is little in the record showing that Defendants received any consideration for eithe't of

  8   the transfers. Defendants asserted that they benefited in the form of a written licensing agreement,

  9   but such never materialized.

 IO           In addition, the Court considers Pratt's own statements about his plan to ensure that "the

 11   models won't get a dime" to be compelling evidence ofhisintent. 97 Pratt followed up by

 12   absconding before or during trial, ignoring a notice to appear and .an arrest warrant issued by this

 13   Court. These are strong indicia of his intent to escape liability and his intent regarding the transfers.

 14           At the time of the transfers, Defendants had deliberately defrauded many women as part of a

 15   longstanding scheme; they were faced with complaints of fraud·from dozens of models, who

 16   experienced devastating consequences and harm. It was merely a matter of time before the models

 17 began to take legal action. Defendants also were aware that the injuries and damages caused by·
 18   their distribution practices-including       dissemination of models' videos and identities in their

 19   communities-were        highly substantial on an individual level and massive in the aggregate.

 20           Defendants took deliberate steps to avert the eventuality of a large judgment against them.

 21   One measure was compelling women to sign the documents. But Defendants could not have

 22   reasonably believed that signatures obtained on documents were airtight in the face of allegations of

 23   fraud. Thus, in accordance with Pratt's determination that "the models won't get a dime,"

 24   Defendants funneled their assets to Vanautu where they believed models could not get them.

 25           Based on the foregoing, the Court finds that Defendants' transferred their assets to entities

 26   located on the island of Vanuatu, with the intent to hinder, delay or defraud the Plaintiffs. The

 27
 28           97  The Court also considersPratt's conveyanceof his interest inDomi Publications,LLC duringtrial in an
      effort to divest himself of all assets against which Plaintiffscould easilycollect
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     I    transfers were fraudulent transactions under Civil Code section 3439.04(a) and are therefore
     2    voidable by Plaintiffs.

     3             F, Defendants are Jointly and Severally Liable to Plaintiffs98

     4             The Court finds Defendants jointly and severally liable on the grounds Defendants are: (i) in
     5    a single business enterprise/alter egos and (ii) partners/joint venturers.
     6                     i.       Defendantsare Jointly and SeverallyLia_~leas a Single Business
     7                              Enterprise
  8               Under the alter ego doctrine, a court may disregard the corporate form and hold one

  9       corporation liable for the debts of an affiliated corporation. (Toho-TowaCo., Ltd v. MorganCreek

 10       Productions, Inc. (2013) 217 Cal.App.4th 1096, 1109, citing Las Palmas Associatesv. Las Palmas
 11       CenterAssociates (1991) 235 Cal.App.3d 1220, 1249.) If corporations are a "single business
 12       enterprise," the Court may pierce the corporate veil. (Toho-Towa,supra, 217 Cal.App.4th at 1107.)

 13       "[This] 'single-business-enterprise' theory is an equitable doctrine applied to reflect partnership-
 14      type liability principles .... " (Id. at 1108.)

 15               The "single business enterprise" doctrine depends on the facts and circumstances of each

 16      case, but some factors that tend to establish it are: (I) a common venture; (2) common ownership;

 17      (3) common addresses and locations; (4) common management and employees; (5) common legal

 18      counsel; (6) common assets and resources; and (7) no arms-length transactions. (Las Palmas

 19 Associates, supra, 235 Cal.App.3d at 1249-1250; Pan PacificSash & Door Co. v. Greendale

20       Park, Inc. (1958) 166 Cal.App.2d 652, 658 - 660; Toho-Towa,supra, 217 Cal.App.4th at 1108-09;
21       0 'Donnellv. Weintraub(1968) 260 Cal.App.2d 352, 358.)

22               Here, the substantial evidence presented at trial (as well as Defendants' failure to explain

23       such evidence) supports a finding of a single business enterprise during the relevant time period
24       among all defendants:

25                        (I) Common Venture

26               Based on the findings above, the Court finds a common venture among all Defendants.
27
                 98
                            The Court recognizesDomi Publications,LLC appealedtwo anti-SLAPPmotions and there is a stay
28       with respect to the Jane Doe Nos. 15-22complaintsagainst Domi Publications,LLC only. Therefore,these findings,as
         to Domi Publications,LLC only, are limitedto Jane Doe Nos. l-14's cmnplaint.
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  1                   (2) Common Ownership
  2           Based on the findings above, the Court finds common ownership among all Defendants.

  3                   (3) Common Addresses and Locations
  4           Based on the findings above, the Court finds common.addressesand locations among all
  5   Defendants.

  6                   (4) Common Management and Emoloyees
  7           Basi;d on the findings above, the Court finds common management and employees among
  8   all Defendants ..

  9                   (5) Common Legal Counsel
 10           The Court finds common legal counsel among the Defendants. Domi and all defendants
 11   have a joint defense agreement and have asserted a common interest privilege. [I 0/3/19 Trial Tr. at

 12   31:24-28).] Panakos Law, APLC (current counsel for Pratt, Wolfe, Garcia, BLL Media, Inc. BLL.
 13   Media Holdings, LLC, EG Publications, Inc., Merro Media Holdings, LLC, and Merro Media, Inc.)

 14   previously represented Dmni Publications, LLC in this action. Further, Panakos Law, APLC (BLL
 15   Media, Inc. and Pratt's counsel) incorporated Domi. (7/17/18 Wiederhold Depo. 278:4-9.)
 16                  (6) Common Assets
 17          Based on the findings above, the Court finds common assets among all Defendants.

 18                   (7) No Arm's Length Transactions
 19          Based on the findings above, the Court finds a lack of arm's length transactions among all

 20   Defendants.
 21                  (8) Failure to Find a Single Business Enterprise Would Result in an Injustice
 22          Finally, as single business enterprise is.a species of alter ego-type liability, the trial further

 23   elicited evidence supporting the second prong of alter ego (i.e., that failure to find the Defendants as

 24   one would result in injustice).
 25          Valorie Moser testified Pratt sold his Lamborghini and Rancho Santa Fe house to avoid
 26   collection in this lawsuit. Pratt said he was doing this, so "The models weren't going to get a

 27   dime." (9/29/19 Trial Transcript, pg. 10-11, 60.) Ms. Moser also testified as to Pratt's intentions for

 28
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  1    leaving the country [''to avoid paying the models in this case"] and filing bankruptcy ["as soon as I

  2    bankrupt the business, they are fucked"]. (Id. at 63, 65 .)

  3           In his bankruptcy petition, Pratt declared under oath that he is personally insolvent. Pratt

  4    also declared, under oath, that, with regard to his entities (including defendants BLL Media, Inc.,

  5    BLL Media Holdings, LLC, EG Publications, Inc., and Domi Publications, LLC), the "[a]ssets are

  6    exceeded by liabilities, thus not wortb anything. Company has no resaleable value."

  7           Wolfe confirmed defendants shut down their website, www.GirlsDoToys.com, during the

  8    litigation. (10/3/19 Trial Tr. 43.)

  9           Wolfe testified that Pratt left the country, through Tijuana, Mexico, right before or during

 10    trial. (10/1/19 Trial Tr., pg. 210-11.) As Pratt ignored Plaintiffs' Notice to Appear with

 .11   documents, the Court granted Plaintiffs' application for an arrest warrant.

 12           Pratt transferred his 50% interest in Domi, and there is no evidence in the record to establish

 13    that consideration was given. (10/3/19 Trial Tr. 26:24-27:9.)

 14                   ii.     Defendants are Jointly and Severally Liable as Partners and Joint

 15                            Venturers

 16           Partners and joint venturers are both liable for the torts committed by other partners/joint

 17 . venturers committed within the scope of the partnership/joint venture. (See, CACI 3711 and 3712.)

 18                   The distinction between joint ventures and partnerships is not sharply
 19                   drawn. A joint venture usually involves a single business transaction,
                      whereas a partnership may involve 'a continuing business for an
 20                   indefinite or fixed period of time.' Yet a joint venture may be oflonger
                      duration and greater complexity than a partnership. From a legal
 21                   standpoint, both relationships are virtually the same. Accordingly, the
                      courts freely apply partnership law to joint ventures when appropriate.
 22

 23    (Weiner v. Fleischman (1991) 54 Cal.3d 476, 482.) "The iricidentsof a joint venture are in all

 24    important respects the same as those of a partnership. One such incident of partnership is that all

 25    partners are jointly and severally liable for partnership obligations, irrespective of their individual

 26    partnership interests. Because joint and several liability arises from the partnership or joint venture,

 27    Civil Code section 1431.2 [Proposition 51] [providing for an assessment of comparative fault

 28
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  1   among tortfeasors for non-economic damages in certain types of cases] is not applicable." (Myrick
 2    v. Mastagni (2010) 185 Cal.App.4th1082, 1091.)
 3           A joint venture exists when there is "an agreementbetween the parties under which they
 4    have a community of interest, that is, a joint interest, in a commonbusiness undertaking,an
 5    understandingas to the sharing of profits and losses, and aright of joint control." (Simmonsv.
 6    Ware (2013) 213 Cal.A.!?p.4th1035, 1053.) "The law requireslittle formalityin-the creation ofa
 7    joint venture and the agreement is not invalid because it may be indefinitewith respect to its
 8    details." (Boyd v. Bevilacqua (1966) 247 Cal.App.2d 2}2, 28 5.)
 9           Here, the Court finds all Defendants, including individualsPratt, Wolfe, and Garcia, as well
 10   as entity Domi Publications, LLC, are jointly and severallyliable for each other's to{ts. The Court
 11   bases this finding on the single business enterprise findings,supra, as well as the following
 12   findings.
 13
             With regard to defendants Pratt and Wolfe:
 14          1.     Wolfe is Pratt's childhood friend. (10/1/19 Trial Trans, pg. 209:10-16; 10/2/19
                    Trial Trans, pg. 9-13.)
 15          2.     Wolfe came to the United States to assist Pratt with www.GirlsDoPom.com.
                    (10/2/19 Trial Trans, pg. 9:6-9.)
 16          3.     Wolfe operated www.GirlsDoToys.comthroughMlM Media, Inc. with Pratt.
                    (10/3/19 Trial Trans, pg. 105:3-6; 106:23-107:4.)
 17
             4.     Wolfe filmed approximately 100 videos for www.GirlsDoPom.com(10/1/19Trial
 18                 Trans. 197:2-7.)
             5.     Pratt filmed many videos for www.GirlsDoPorn.com.
 19          6.     Pratt misled Plaintiffs in recruiting for www.GirlsDoPom.com.
             7.     Pratt misled third parties in recruiting for www.GirlsDoPom.com.
20           8.     Wolfe, through his entities, Merro Media Inc./MerroMedia Holdings, LLC, runs
21                  operations at Pratt's direction at BLL Media,Inc. (10/1/19 Trial Trans., pg. 226:28 -
                    228:5.)
22           9.     Wolfe is the Person Most Qualified on All Issues, and helped produced discovery
                    documents, for Pratt's entity, BLL Media, Inc. (10/1/19 Trial Trans., at pg. 222:18-
23                  224:3; 225:26-229:18.)
             10.    Wolfe, through his entities, Merro Media Inc./MerroMedia Holdings, LLC,
24                  performs work for nobody other than BLL Media, Inc. (10/2/19 Trial Trans, pg. 92:
25                  5-26.)
             11.    Wolfe misrepresented facts - in the exact fashionas Pratt - to other Jane Doe
26                  Plaintiffs he filmed. (e.g., 9/11/19 Trial Trans.,pg. 172:20- 173:8 [told Jane Doe
                    No. 1 nothing to worry about regarding distributionand confidentiality];5/17/2018
27                  Jane Doe 7 Depo., 71:21-72:2 [told Jane Doe No. Ts friend videos not online].))
             12.    Wolfe hung up the phone on complainingmodels in the same fashion as Pratt.
28
                    (5/17/2018 Jane Doe 7 Depo., 26:11-16.)
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              13.     Wolfe knows the model agreements do not mention the Defendants' websites,
  1
                     www.GirlsDoPom.com or www.GirlsDoToys.com,and knows the contractswere
  2                  not changed after the lawsuit was filed. (10/2/19Trial Trans, pg. 94:10 - 96:9.)
             14.     Wolfe knows the videos will go on websites,including www.GirlsDoPom.comor
  3                  www.GirlsDoToys.com. (10/2/19 Trial Trans,pg. 117:7- 20; 229-6-7.)
             15.     Theodore Gyi testified that Wolfe instructedhim not to tell models about the videos
  4                  going online (8/29/19 Trial Trans, pg., 116:5-12,142:7-11.)
  5          16.     Pratt told Valorie Moser to recruit models by concealing www.GirlsDoPom.comand
                     by telling the prospects the videos would beprivate and only on DVD overseas.(Ex.
  6                   1695:54-55 [Moser's notes from her meetingwith Pratt in which he instructedher
                     what to say and not say to models when recruiting};9/19/2019 Trial Tr. 95:1-10.)
 7           17.     Riva Yousif testified that Wolfe hired her for BLL Media, Inc., she would invoice
                     Wolfe for BLL Media, Inc. work, Wolfe nevertold her which companyshe was
  8                  working for, Wolfe and Pratt never discussedwith her where the videos were
 9                   published, and she never heard ofwww.GirlsDoPom.comor
                     www.GirlsDoToys.combefore this lawsuit. (9/3/19 Trial Trans, pg. 109:17 - 19;
 10                  110:17-19; 112:12-16; 117:11-15; 118:3-18.)
             18.     Valorie Moser testified that, after this lawsuitwas filed, Wolfe kept the model
 11                  contracts under lock and key in his locked office,she testified Wolfe createda web
                     diagram of entities chart (including BLL, Merro,and Domi Publications),Wolfe told
 12
                     her to block complaining models, and Wolfetasked her with updating contractsto
 13                  say "Oh Well Media" after the lawsuit commenced. (9/20/19 Trial Trans, pg. 67:11-
                     24, 68:5-17, 103:16-24, 122:10-12; 199:8 -201:24.)
 14          19.     Wolfe considers himself to be an independentcontractor providing servicesthrough
                     Merro Media, Inc., testifying, "99 percent ofthe income that Merro Media had
 15                  generated was by invoicing BLL Media." (Oct.2, 2019 Trial Trans., pg. 92:5-26.)
 16   With regard to defendant Garcia:
             1.      Garcia has worked for Pratt and BLL Media,Inc. for many years.
 17          2.      Garcia misled every Plaintiff in the action, in the same fashion as Pratt and Wolfe.
             3.      Garcia misled third parties in the same fashionas Pratt and Wolfe.
 18          4.      Garcia hung up the phone on complainingmodels in the same fashion as Pratt and
                     Wolfe.
 19          5.      Models complainedto Moser about Garcia and she forwardedthe complaintsto
20                   Pratt.
      With regard to defendant Domi Publications,LLC:
21           1.      Domi' s owner, Doug Wiederhold,prior to beingin partnershipwith Prattfor
                     www.MomPOV.com,which later merged into a limited liability company,worked
22                   for www.GirlsDoPom.comas an actor and recruiter.
             2.      Wiederhold misled Ms. Jeffrey in the same fashion as Pratt and Wolfe.
23
             3.      Dorni's own witness, Ms. Bums, admitted Domiis not completelytruthful with
24                   prospective models.

25           G; Punitive Damages

26           The Court finds the evidence supports an award of punitive damages.

27                  i.      There is Clear and ConvincingEvidenceDefendantsActed with Malice,

28                          Oppressionor Fraud

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  I           "In an action for the breach of an obligation not arising from contract, where it is proven by

  2   clear and convincing evidence that the defendant has been guilty of oppression, fraud or malice, the

  3   plaintiff, in addition to the actual damages, may recover damages for the sake of example and by way

  4   of punishing the defendant." (Civ. Code§ 3294(a).) The public purpose of punitive damages is to

  5   punish wrongdoing and deter future misconduct by either the defendant or other potential

  6   wrongdoers. (Bardis v. Oates (2004) 119 Cal.App.4th I; Te:xtronFinancial Corp. v. National Union

  7   Fire Ins. Co.•of Pittsburgh (2004) 118 Cal.App.4th 1061.)
  8           "Malice" for punitive damages purposes means "conduct which is intended by the defendant

  9   to cause injury to the plaintiff or despicable conduct which is carried on by the defendant with a

 10   willful and conscious disregard of the rights or safety of others." (Civ. Code§ 3294 (c)(l).)

 11   "Oppression" for purposes of a punitives award means "despicable conduct that subjects a person to

 12   cruel and unjust hardship in conscious disregard of that person's rights." (Civ. Code§ 3294 (c)(2).)

 13   "Fraud" for purposes of a punitives award means "an intentional misrepresentation, deceit, or

 14 · concealment of a material fact known to the defendant with the intention on the part of the

 15   defendant of thereby depriving a person of property or legal rights or otherwise causing injury."

 16   (Civ. Code§ 3294(c)(3).)

 17          "Clear and convincing" evidence for punitive damages means a "high probability." (CACI

 18   201; Broadman v. Commissionon Judicial Performance(1998) 18 Cal.4th I 079, 1090.)

 19          Here at trial, clear and convincing evidence established defendants acted with the requisite

 20   oppression, fraud, and/or malice. Considering all of the facts found in this Proposed Statement of

 21   Decision, including Defendants' calculated steps and mechanism to defraud models, Defendants'

 22   failure to change their fraudulent conduct despite pleas from prior models (including suicidal

 23   threats), Defendants' posting (and/or allowing) model and family personal contact information,

 24   Defendants' harassing models (e.g., Jane Doe 1 at her law school), Defendant's attempting to

 25   pay/intimidate witnesses, and Defendants' paying third parties to harass Plaintiffs' counsel, the

 26   Court finds Defendants' actions meet each of the "malice, oppression or fraud" standards. (Civ.

 27   Code § 3294(c).)

 28
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  1            ii. In Determining the Amount of Punitive Damages, the Court Considered Defendants'

  2               Reprehensible Actions over Many Years, anti Defendants' Obfuscation Regarding

  3                Their Net Worth

  4            Under California law, the measure or amount of punitive damages is not subject to any "per

  5    se" standards. The trier of fact has broad discretion in assessing an appropriate amount and will be

  6    reversed only for an "excessive" award where it appears that discretion was exercised with "passion
                                                ~                                                    ,.


  7    or prejudice." (Schroeder v. Auto Driveaway Co. (1974) 11Cal.3d 908, 114 CR 622;Nealv. Farmers

  8 Ins. Exch. (1978) 21 Cal.3d 910; CACI Nos. 3942, 3949.)
  9·          "[T]he calculation of punitive damages does not involve strict adherence to a rigid formula

 10    but instead involves 'a fluid process of adding or subtracting depending on the nature of the acts

 11    and the effect on the parties and the worth of the defendants."' (Gagnonv. ContinentalCas. Co.

 12    (1989) 211 Cal.App.3d 1598, 1604; Rufo v. Simpson (2001) 86 Cal.App.4th 573, 623-624.) The

 13    more reprehensible the act, the greater the appropriate "punishment." (Id) Repeated misconduct is

 14    more reprehensible than an isolated instance of wrongdoing; thus, a recidivist may be punished

 15    more severely than a first-time offender. (Lopez v. WatchtowerBible & TractSoc. o/NY., Inc.

 16    (2016) 246 Cal.App.4th 566, 592.) This is especially true where defendant was motivated by

 17    monetary gain and in fact reaped substantial profits from the conduct in question. (Johnsonv. Ford

 18    Motor Co. (2005) 35 Cal.4th 1191, 1207.)
 19           Evidence of "net worth" is not essential to upholding a punitive damages award.

 20    Profitability of the misconduct of the defendant is also a sufficient basis for awarding punitive

 21    damages. (Cummings Med Corp. v. OccupationalMed Corp.(1992) 10 Cal.App.4th 1291, 1298.)

 22           Where defendant makes little effort to refute plaintiff's evidence regarding defendant's

 23    wealth and engages in conduct intentionally designed to conceal assets or give testimony that is

 24    evasive, nonresponsive or false, the trier of fact has wide latitude (per Evid.Code § 413) to draw

 25    inferences from the evidence unfavorable to defendant. (Countya/San Bernardinov. Walsh(2007)

 26    158 Cal.App.4th 533, 546-547; Green v. Laibco, LLC (2011) 192 Cal.App.4th 441, 449-454.)

 27           Here, the Court found the evidence at trial established the Defendants' actions, which were

 28    repeated over many years (and despite pleas and complaints to stop), were reprehensible.
                                                                                                              'r'
                                                        -181-
                                            STATEMENTOF DECISION


                                                                                         EXH. 1 - 181
Case 3:20-cv-02440-WQH-KSC             Document 8-3 Filed 12/22/20 PageID.261 Page
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  1           Pratt was served with a notice to appear at trial and to provide financialrecords through
  2   2019. Pratt failed to appear and the Court ordered an arrest warrant be issued. The Court also finds
  3   Pratt to be less than credible and forthcoming in respondingto some financialconditionquestions
  4   regarding him and his entities in his Civil Code Section 3295deposition.
  5          Expert Robert Taylor testified that the present value of the future cash flow ofBLL Media,
  6   Inc. from their inventory of200 videos was $4,672,194; further,the parties stipula!edthat the
  7   profits generated from use of the plaintim' names and likenessestotal $1,025,831.50. Due to
  8   Pratt's obfuscation, Mr. Taylor's testimony was based on incompletefinancial records provided to
  9   him from Pratt and BLL Media. Mr. Taylor did not have completefinancialrecords from the
 10   defendants for 2019, particularly because Pratt refused to appearat trial and produce the records.
 11   Accordingly, Mr. Taylor testified that he had concerns that his analysis was not as accurate as it
 12   could be because he did not have up-to-date records to reviewand analyze.
 13          The Court'finds for Plaintiffs on the alter ego theory as to all Defendants. As stated above,
 14   all Defendants operate as a single business enterprise and ajoint venture. Defendantsengaged in
 15   fraudulent transfers of their assets to the Vanuatu entities in order to concealthose assets. The
 16   Court finds that the Defendants have not been forthcomingin discoveryregarding their financial
 17   condition leaving little evidence before the Court about the value of the transferredassets or any
 18   other assets owned or controlled by the Defendants. The intent to obfuscateand avoid financial
 19   responsibility is manifested by Pratt's statement, "the models won't get a dime."
20           Based on all of the above, the Court awards punitive damages against all Defendants, infra.
21           H. Damages and Remedies

22           The Court awards damages and orders equitable relief as follows:
23               a. The CourtAwards Economicand Non-EconomicDamages

24           As the Court found liability on all remaining causes of action, supra, Plaintiffs are entitled
25    to recover economic and noneconomic damages arising out of Defendants' unauthorizeduse of
26    Plaintiffs' videos. The Parties stipulated that Defendantsreceived a total of $1,025,831.50in profits
27    from the use of the twenty-two Plaintiffs' videos. Thus, it is undisputed that Defendantsderived
28    $46,628.70 from the use of each Plaintiff's video(s).
                                                      -182-
                                           STATEMENTOF DECISION


                                                                                        EXH. 1 - 182
Case 3:20-cv-02440-WQH-KSC             Document 8-3 Filed 12/22/20              PageID.262        Page
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  I          Plaintiffs also have individualized emotional distressdamages from all claims. Having
  2   considered the particular facts relative to each Plaintiff, the Court finds and orders the following

  3   compensatory damages:
  4   Jane Doe 1:

  5          Economic Damages                       $        46,628.70

  6          Non-Economic Damages                   $      500,000.00

  7   Jane Doe 2:

  8          Economic Damages                       $        46,628.70

  9         . Non-Economic Damages                  $      400,000.00

 10 Jane Doe 3:
 11          Economic Damages                       $        46,628.70

 12          Non-Economic Damages                   $      400,000.00

 13   Jane Doe 4:
             Economic Damages                       $       46,628.70
 14
             Non-Economic Damages                   $      400,000.00
 15
      Jane Doe 5:
 16
             Economic Damages                       $       46,628.70
 17
             Non-Economic Damages                   $      250,000.00
 18
      Jane Doe 6:
 19
             Economic Damages                       $       46,628.70
 20
             Non-Economic Damages                   $      500,000.00
 21
      Jane Doe 7:
 22
             Economic Damages                       $       46,628.70
 23
             Non-Economic Damages                   $      250,000.00
 24
      Jane Doe 8:
 25
              Economic Damages                      $       46,628.70
 26
             Non-Economic Damages                   $      250,000.00
 27
 28
                                                        -183-
                                            STATEMENTOF DECISION


                                                                                        EXH. 1 - 183
Case 3:20-cv-02440-WQH-KSC     Document 8-3 Filed 12/22/20   PageID.263   Page
                                  185 of 189
  1   Jane Doe 9:
  2         Economic Damages            $       46,628.70
  3         Non-EconomicDamages         $      400,000.00

  4   Jane Doe 10:

  5         Economic Damages           $        46,628.70

  6         Non-EconomicDamages        $       250,000.00

  7   Jane Doe 11:

  8         Economic Damages           $        46,628.70

  9         Non-EconomicDamages        $       500,000.00

 10 Jane Doe 12:
           EconomicDamages             $        46,628.70
 11
            Non-EconomicDamages        $       500,000.00
 12
      Jane Doe 13:
 13
            Economic Damages           $        46,628.70
 14
            Non-EconomicDamages        $       400,000.00
 15
      Jane Doe 14:
 16
            Economic Damages           $        46,628.70
 17
            Non-EconomicDamages        $       500,000.00
 18
      Jane Doe 15:
 19
            Economic Damages           $        46,628.70
 20
            Non-EconomicDamages        $       500,000.00
 21
      Jane Doe 16:
 22
            Economic Damages           $        46,628.70
 23
            Non-EconomicDamages        $       400,000.00
 24
      Jane Doe 17:
 25
            Economic Damages           $        46,628.70
 26
            Non-EconomicDamages        $       500,000.00
 27
 28
                                            -184-
                                  STATEMENTOF DECISION


                                                                  EXH. 1 - 184
Case 3:20-cv-02440-WQH-KSC             Document 8-3 Filed 12/22/20              PageID.264     Page
                                          186 of 189
  1   Jane Doe 18:

  2           Economic Damages                      $       46,628.70

  3           Non-Economic Damages                  $      250,000.00
  4   Jane Doe 19:

  5           Economic Damages                      $       46,628.70

  6           Non-Econ.omicDamages                  $      400,000.00                                 .   .,
  7   Jane Doe 20:

  8           Economic Damages                     $        46,628.70

  9           Non-Economic Damages                 $       400,000.00

 10   Jane Doe 21:
              Economic Damages                     $        46,628.70
 11
              Non-Economic Damages                 $       250,000.00
 12
      Jane Doe 22:
 13
              Economic Damages                     $        46,628.70
 14
              Non-Economic Damages                 $       250,000.00
 15
 16                  b. The Court Awards Equitable Relief

 J7           The Court, having found Defendants liable on all remainingclaims, supra, and pursuant to
 18   Plaintiffs' declaratory relief cause of action, orders the followingequitablerelief:

 19                          1.      Injunction

 20           The Court issues the following injunctive relief:

 21       •   Defendants' written agreements must clearly and af:finnativelydisclosein bold and centered
              at the top of the first page the following language: "the pornographic video subject to this
 22           agreement will be placed on the Internet, on www.GirlsDoPorn.com, or on free and
 23           public pornography websites."
          •   Defendants' must send any written agreements to prospectivemodels, at least five (5) days
 24           in advance of the video shoot and before they travel to attend the shoot.
          •   If utilized, Defendants' "verbal release" must include the following language:"I
 25           understand and agree that the pornographic video I am about to shoot will be placed
              on the Internet, on www.GirlsDoPorn.com, or on free and public pornography
 26
              websites."
 27       •   Defendants must obtain a model's explicit, unambiguousconsent in order to use her name
              or personal information for any purpose.
 28
                                                        -185-
                                            STATEMENTOF DECISION


                                                                                       EXH. 1 - 185
Case 3:20-cv-02440-WQH-KSC Document 8-3 Filed 12/22/20 PageID.265 Page
                                         187using,
          • Defendants are prohibited from    of 189
                                                   publishing,licensingor distributingPlaintiffs'
   1
             images, likenesses,videos or copyrights. Defendantsmust removePlaintiffs' images,
   2         likenesses, or.videosproduced by them from the internetsites ownedor controlledby
             Defendants. Defendantsmust take active steps to have such images,likenessesand videos
   3         removed from circulationand to safeguardPlaintiffs' privacy.
  4      • Defendants are prohibited from using or disseminatingPlaintiffs' names or personal
             information in connectionwith their images, likenessesor videos and must take active steps
  5         to have such informationremoved from circulationand to safeguardPlaintiffs' privacy.

   6                           2.      Restitution

   7           Based on the findings herein, the <;ourtorders Defendantsto returnto Plaintiffsall of
   8   Plaintiffs' property they took, including images, likenesses,videos,and/or copyrights.
   9                           3.      Avoidance of Transfers

  10           Based on the findings herein, the Court voids all of Defendants'purportedtransfersof
  11 videos and/or copyrightsto the Vanuatu entities.
  12                           4.      Declaratory Relief

  13           Based on the findings herein, the Court voids and rendersunenforceableall purportedmodel
  14 releases and other agreementsbetween Plaintiffs and Defendants.Court finds that Plaintiffshold all
  15 rights, title, and interest in images, likenesses,and videos featuringPlaintiffsproducedby
  16   Defendants.

  17           c. .TheCourtAwards PunitiveDamages
  18           The Court, having found by clear and convincingevidencethe Defendantsengagedin
 19 malice, oppression, or fraud, supra, awards each Plaintiff thesum of $150,000against all
 20 Defendants,jointly and severally.
 21                                               CONCLUSION

 22           The Court therefore finds in favor of Plaintiffs in the aggregateamounts of$9,475,831.50in

 23    compensatorydamages and $3,300,000in punitive damagesagainstall Defendants,jointly and

 24    severally, plus the additionalrelief stated.

 25           Judgment is to be entered accordingly.

 26           IT IS SO ORDERED.

 27    Dated:.
            __                  0__
                   f/,'-----Z_7_-_2_
 28                                                   Judge of the SuperiorCourt
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                                            STATEMENTOF DECISION



                                                                                     EXH. 1 - 186
       Case 3:20-cv-02440-WQH-KSC                     Document 8-3 Filed 12/22/20              PageID.266               Page
                                                         188 of 189
   SUPERIOR COURT OF CALIFORNIA COUNTY OF SAN DIEGO                                              FOR COURT USE ONLY
   [] COUNTY COURTHOUSE, 1100 UNION STREET, SAN DIEGO, CA 92101-3809
   [x ] HALL OF JUSTICE, 330 W. BROADWAY, SAN DIEGO, CA 92101-3817
   [ ] KEARNY MESA BRANCH, 8950 CLAIREMONT MESA BLVD., SAN DIEGO, CA 92123-1187
   [ ] NORTH COUNTY DIVISION, 325 S. MELROSE DR., VISTA, CA 92083-6643
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                                                                                                                     Cout
   [ ] EAST COUNTY DIVISION, 250 E. MAIN ST., EL CAJON, CA 92020-3941
   [ ] SOUTH COUNTY DIVISION, 500 3"' AVE., CHULA VISTA, CA 919!0-5649                              APR2'72020
   [ ] JUVENILE COURT, 2851 MEADOW LARK DR., SAN DIEGO, CA 92123-2792
   [ ] JUVENILE COURT, 325 S. MELROSE DR., VISTA, CA 92083-6634                                  By: R. Smith, Clerk
  PLAINTIFF(S)/PETITIONER(S):
  JANE DOE NOS. 1-22

  DEFENDANT(S)/RESPONDENT(S):                                                             JUDGE: JOEL R. WOHLFEIL
  GIRLSDOPORN.COM, et al.                                                                 DEPARTMENT       73

                                                                                          CASE NUMBER
           CLERK'S CERTIFICATE OF ELECTRONIC SERVICE                                      37 -2016-00019027 -CU-FR-CTL




I, certify that: I am not a party to the above-entitled case; that on the date shown, below, I served the following documents:

STATEMENT OF DECISION FILED APRIL 27, 2020 (ROA #3112)

by electronic service as set forth below.


        NAME                                         EMAIL ADDRESS.


Ed Chapin                                            Echapin2@sanfordheisler.com
John O'Brien                                         iohn@theobrienlawfirm.com
Brian Holm                                           brian@holmlawgroup.com
Cara Van Dorn                                        cvandorn@sanfordheisler.com
George Rikos                                         george@georqerikosslaw.com
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Daniel Kaplan                                        dkaplan@danielkaplanlaw.com
Aaron Sadock                                         asadock@panakoslaw.com
Bonnie McKnight                                      bmckniqht@panakoslaw.com




                                                              CLERK OF THE SUPERIOR COURT




Dated: _________
                  APR
                    2.7Z(l20
                           _                         by: ---~-~A---·                ________                    , Deputy

                                                                         R. Smith

                                CLERK'S CERTIFICATE OF ELECTRONIC SERVICE

                                                                                                        EXH. 1 - 187
          Case 3:20-cv-02440-WQH-KSC                Document 8-3 Filed 12/22/20                   PageID.267              Page
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                                                                                                     FOR COURTUSE ONLY
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
   18]CENTRALDIVISION,CENTRALCOURTHOUSE, 1100 UNIONST., SAN DIEGO, CA 92101
   0 CENTRALDIVISION,HALL OF JUSTICE, 330 W. BROADWAY,SAN DIEGO, CA 92101
   0 CENTRALDIVISION,KEARNY MESA, 8950 CLAIREMONTMESA BLVD., SAN DIEGO, CA 92123
   0 CENTRAL DIVISION,JUVENILECOURT, 2851 MEADOW LARK DR., SAN DIEGO, CA 92123
   0 EAST COUNTY DIVISION,250 E. MAIN ST., EL CAJON, CA 92020                                      F.BLEQ
   0 NORTH COUNTYDIVISION,325 S. MELROSE DR., VISTA, CA 92081                                        Clerk
                                                                                                         of IINSti~trlor
                                                                                                                      Court
   0 NORTH COUNTYDIVISION,JUVENILE COURT, 325 S. MELROSEDR., VISTA, CA 92081
   0 SOUTH COUNTYDIVISION,500 3RD AVE., CHULA VISTA, CA 91910                                         APR272020
 PLAINTIFF(S)/PETITIONER(S)                                                                        By: R. Smith, Clerk
 JANE DOE NOS. 1-22
 DEFENDANT(S)/RESPONDENT(S)                                                               JUDGE: KEVIN A. ENRIGHT
 GIRLSDOPORN.COM, et al.
                                                                                          DEPT:    904
                                                                                          CASE NUMBER
                            CLERK'S CERTIFICATE OF SERVICE BY MAIL                        37-2016-00019027-CU-FR-CTL

I certify that I am not a party to the above-entitled cause, that I placed a copy of the following document(s):

STATEMENT OF DECISION FILED APRIL 27, 2020 (ROA #3112)




in a sealed envelope addressed to the parties shown with postage prepaid, and deposited it in the United States mail at
D Chula Vista D El Cajon [8JSan Diego D Vista, California.

                             NAME &ADDRESS                                           NAME &ADDRESS

 Michael Pratt
 10375 Cerveza Baja Drive
 Escondido, CA 92026


 Matthew Wolfe
 c/o Keith H. Rutman
 501 W. Broadway, Suite 1650
 San Diego, CA 92101


 Andre Garcia
 c/o Gretchen Von Helms
 105 West F Street, 3r• Floor
 San Diego, CA 92101




                                                                Clerk of the Superior Court


 Date: April 27, 2020                                           by~                                                         , Deputy
                                                                   Rill\




SDSC CIV-286 (Rev. 12114)                CLERK'S CERTIFICATE OF SERVICE BY MAIL                                  Code Civ. Proc.§1013(a)(4)

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